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                    Case Nos.: 2:24-cv-02727-JMG
                               2:24-cv-06397-JMG
                               2:24-cv-06498-JMG
                               2:24-cv-06617-JMG


           IN THE UNITED STATES DISTRICT COURT
        FOR THE EASTERN DISTRICT OF PENNSYLVANIA


     IN THE MATTER OF: STREAM TV NETWORKS, INC., et al.

        APPEALS OF REMBRANDT 3D HOLDING LTD.
AND VISUAL SEMICONDUCTOR, INC. FROM ORDERS ENTERED IN
             BANKR. E.D. Pa. No. 23-10763-AMC




             APPELLEE’S SUPPLEMENTAL APPENDIX

                               Volume 1 of 2




Steven M. Coren, Esquire        Michael D. Vagnoni, Esquire
COREN & RESS, P.C.              Edmond M. George, Esquire
Two Commerce Square, Suite      OBERMAYER REBMANN MAXWELL & HIPPEL
3900                            LLP
2001 Market Street              Centre Square West
Philadelphia, PA 19103          1500 Market Street, Suite 3400
Telephone: (215) 735-8700       Philadelphia, PA 19102
                                Telephone: (215) 665-3066

        Counsel to Appellee William A. Homony, Chapter 11 Trustee
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Docket      Date                            Description                          Appx. Pg
 No.                                                                               Nos.

Docket Entries from In re: Stream TV Networks, Inc., et al., Bankr. E.D. Pa. No. 23-10763

  53      3/29/2023   Stream Schedule D: Creditors Who Have Claims              TA-001-
                      Secured by Property                                       TA-005

  54      3/29/2023   Stream Schedule E/F: Creditors Who Have Unsecured         TA-006-
                      Claims                                                    TA-055

  58      3/29/2023   Stream Statement of Financial Affairs                     TA-056-
                                                                                TA-068

 548      1/5/2024    Memorandum Opinion (the “Trustee Opinion”)                TA-069-
                                                                                TA-146

 630      5/6/2024    Motion Of William A. Homony in His Capacity as            TA-147-
                      Chapter 11 Trustee for Entry of an Order Approving a      TA-192
                      Settlement Agreement and Mutual Release with Hawk
                      Investment Holdings, Ltd., as Collateral Agent for the
                      Secured Noteholders of Seecubic, Inc., Pursuant to Fed.
                      R. Bankr. P. 9019(a) and 11 U.S.C. § 105(a)

 795     11/11/2024 Praecipe to Substitute Exhibit “B” to Motion of William TA-193
                    A. Homony in His Capacity as Chapter 11 Trustee for (i) TA-243
                    an Order (A) Approving the Bidding Procedures and
                    Form of Asset Purchase Agreement for the Sale of
                    Substantially All of the Debtors’ Assets, (B) Establishing
                    the Notice Procedures and Approving the Form and
                    Manner Of Notice thereof and Scheduling a Sale by
                    Auction, (C) Approving Procedures for the Assumption
                    and Assignment of Certain Executory Contracts and
                    Unexpired Leases, (D) Scheduling a Sale Hearing, (E)
                    Granting Expedited Consideration Pursuant to Local
                    Rule of Bankruptcy Procedure 5070-1(g), and (F)
                    Granting Related Relief, and (ii) an Order (A) Approving
                    the Sale of the Debtors’ Assets Free and Clear of All
                    Liens, Claims, Encumbrances, and Other Interests, (B)
                    Approving the Assumption and Assignment of Certain
                    Executory Contracts and Unexpired Leases Related
                    thereto, and (C) Granting Related Relief

 834     11/29/2024 Objection of William A. Homony, Chapter 11 Trustee, to TA-244
                    Visual Semiconductor, Inc.’s Motion for Expedited      TA-251
                    Consideration, Shortened Time, and Limited Notice of


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Docket     Date                           Description                          Appx. Pg
 No.                                                                             Nos.

                     Motion to Reconsider and/or Clarify November 14, 2024
                     Order Quashing the Remaining VSI Discovery

 835     11/29/2024 Omnibus Response of William A. Homony, in His            TA-252
                    Capacity as Chapter 11 Trustee, to the Objections to the TA-420
                    Trustee’s Motion for, inter alia, an Order (A) Approving
                    the Sale of the Debtors’ Assets Free and Clear of All
                    Liens, Claims, Encumbrances, and Other Interests, (B)
                    Approving the Assumption and Assignment of Certain
                    Executory Contracts and Unexpired Leases Related
                    thereto, and (C) Granting Related Relief

 845     12/2/2024   Notice of No Auction to be Held and Selection of        TA-421
                     Successful Bidder                                       TA-422

 850     12/3/2024   Declaration of William A. Homony in His Capacity as       TA-423
                     Chapter 11 Trustee, in Support of the Motion for Entry    TA-428
                     of an Order (A) Approving the Sale of the Debtors' assets
                     Free and Clear of All Liens, Claims, Encumbrances, and
                     Other Interests, (B) Approving the Assumption and
                     Assignment of Certain Executory Contracts and
                     Unexpired Leases Related thereto, and (C) Granting
                     Related Relief

 852     12/3/2024   Declaration of J. Scott Victor in Support of Chapter 11   TA-429
                     Trustee’s Motion for Entry of an Order (i) Authorizing    TA-435
                     and Approving, but Not Directing, the Sale of the Assets,
                     in Each Case with Such Sale Being Free and Clear of
                     Any and All Liens, Claims, Encumbrances and Interests,
                     (ii) the Assumption and Assignment of Certain
                     Executory Contracts and Unexpired Leases in
                     Connection with the Sale, and (iii) Granting Related
                     Relief

 898     12/23/2024 Motion of Visual Semiconductor, Inc. to Stay the Order TA-436
                    (A) Approving the Sale of Substantially all of the      TA-668
                    Debtors’ Assets Free and Clear of All Liens, Claims,
                    Encumbrances and Interests, (B) Authorizing the Trustee
                    to Enter Into and Perform Debtors’ Obligations Under
                    the Asset Purchase Agreement, (C) Approving
                    Assumption and Assignment of Certain Executory
                    Contracts and Unexpired Leases, and (D) Granting
                    Related Relief Pending Resolution of Appeal



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Docket        Date                           Description                          Appx. Pg
 No.                                                                                Nos.

 906       12/30/2024 Notice of Hybrid Hearing on Motion of Visual              TA-669
                      Semiconductor, Inc. to Stay the Order (A) Approving the TA-673
                      Sale of Substantially all of the Debtors’ Assets Free and
                      Clear of All Liens, Claims, Encumbrances and Interests,
                      (B) Authorizing the Trustee to Enter Into and Perform
                      Debtors’ Obligations Under the Asset Purchase
                      Agreement, (C) Approving Assumption and Assignment
                      of Certain Executory Contracts and Unexpired Leases,
                      and (D) Granting Related Relief Pending Resolution of
                      Appeal

 915        1/6/2025   Notice of Closing on Sale of Substantially All of the     TA-674
                       Assets of Stream Tv Networks, Inc. and Technovative       TA-675
                       Media Inc.

 938       1/29/2025   Order                                                     TA-676
                                                                                 TA-679

 N/A       2/13/2025   Stream Claims Register                                    TA-680
                                                                                 TA-684

  Docket Entries from In re: Technovative Media, Inc., Bankr. E.D. Pa. No. 23-10764

  1        3/15/2023   Voluntary Petition for Non-Individuals Filing for         TA-685-
                       Bankruptcy Technovative Media, Inc.                       TA-696

  3        3/15/2023   Technovative List of Creditors Who Have the 20 Largest TA-697
                       Unsecured Claims and Are Not Insiders                  TA-698

  48       3/29/2023   Technovative Schedule D: Creditors Who Have Claims        TA-699
                       Secured by Property                                       TA-703

  50       3/29/2023   Technovative Schedule E/F: Creditors Who Have             TA-704
                       Unsecured Claims                                          TA-708

 N/A       2/13/2025   Technovative Claims Register                              TA-709
                                                                                 TA-710

       Docket Entries from Visual Semiconductor, Inc., Petitioner, E.D. Pa. 24-06548

  1        12/9/2024   Emergency Joint Petition for (i) Writ of Mandamus; (ii)   TA-711
                       Writ of Prohibition; (iii) Motion for Stay Pending        TA-787
                       Appeal; and (iv) in the Alternative, Motion for
                       Withdrawal of Reference to Bankruptcy Court



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 Docket      Date                          Description                         Appx. Pg
  No.                                                                            Nos.

    9     12/11/2024 Response in Opposition to Emergency Joint Petition for   TA-788
                     (i) Writ of Mandamus; (ii) Writ of Prohibition; (iii)    TA-829
                     Motion for Stay Pending Appeal; and (iv) in the
                     Alternative, Motion for Withdrawal of Reference to
                     Bankruptcy Court

   16     12/12/2024 Order                                                    TA-830
                                                                              TA-831

                                         Respectfully submitted,


Dated: February 18, 2025                 By: /s/ Steven M. Coren
                                         Steven M. Coren, Esquire
                                         COREN & RESS, P.C.
                                         Two Commerce Square, Suite 3900
                                         2001 Market Street
                                         Philadelphia, PA 19103
                                         Telephone: (215) 735-8700

                                                    and

                                         By: /s/ Michael D. Vagnoni
                                         Michael D. Vagnoni, Esquire
                                         Edmond M. George, Esquire
                                         OBERMAYER REBMANN MAXWELL & HIPPEL LLP
                                         Centre Square West
                                         1500 Market Street, Suite 3400
                                         Philadelphia, PA 19102
                                         Telephone: (215) 665-3066

                                         Counsel to the Trustee




                                           iv
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GLOBAL NOTES TO SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS OF
    DEBTORS, STREAM TV NETWORKS, INC., CASE NO. 23-10763(mdc) AND
 TECHNOVATIVE MEDIA, INC., CAUSE NO. 10764 (Joint Administration Requested)

The Debtors develop their technology and conduct the majority of their business through their
direct and indirect foreign and domestic subsidiaries. The Debtors provided capital to their direct
and indirect foreign and domestic subsidiaries for the purpose of acquiring and developing assets
and to conduct business operations. The Debtors direct interested parties to the Declaration of
Mathu Rajan in Support of Stream TV Networks, Inc. and Technovative Media, Inc. Chapter 11
Petition, Supporting Emergency Relief, and First Day Motions [Docket No. 48] (“Rajan
Declaration”) in which the Debtors’ organizational and operational structure is described in greater
detail.

In its bankruptcy schedules, the Debtors disclose and describe the assets, including their ownership
interest in direct subsidiaries and their contracts, that the Debtors owned as of March 15, 2023 (the
“Petition Date”). The Debtors’ direct subsidiaries, in turn, hold or may hold ownership interests in
the Debtors’ indirect subsidiaries as depicted on the Debtor’s Organization Chart included in the
Rajans Declaration. The assets of the Debtors’ direct and indirect subsidiaries are not included in
the Debtors’ bankruptcy schedules.

The Debtors intend to complete a recovery of assets which were previously and improperly
transferred in contravention of express provisions of its corporate charter through an invalidated
board settlement agreement as confirmed by the Delaware Supreme Court through an en banc
unanimous decision on June 15, 2022. See Stream TV Networks, Inc. v. Seecubic, Inc., No. 360,
2021, p. 3 (Del. June 15, 2022) (Holding that “a majority vote of Class B stockholders is required
under Stream’s charter” to “transfer pledged assets to secured creditors in connection with what
was, in essence, a privately structured foreclosure transaction”).1 The Delaware Supreme Court
also held that the “agreement authorizing the secured creditors to transfer Stream’s pledged assets
. . . is invalid because Stream’s unambiguous certificate of incorporation required the approval of
Stream’s Class B stockholders.” Id.. at p. 34. (emphasis added).




1
 A debt resolution committee of the Debtor’s Board of Directors purporting to act on the
Debtor’s behalf reached an unauthorized settlement enshrined in an agreement titled as the
Omnibus Agreement, dated May 6, 2021, between the Debtor’s senior secured lender, SLS
Holdings VI, LLC (“SLS”) and the Debtor’s debt resolution committee, which was which
approved by the Delaware Court of Chancery and then held to be invalid by the Delaware
Supreme Court on appeal. Prior to the Delaware Supreme Court ruling the SLS Holdings and its
newly formed company,

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                      54493-02 STREAM TV NETWORKS / Ch 11 / Court / Qualifications 3.29.23b
                                                     TA-001
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The new company formed by the purported secured lenders,2 SeeCubic, Inc. (“SeeCubic”),3
asserted an ownership interest in all of the Debtor’s assets and took possession of, and in some
cases, destroyed the Debtors’ assets. The Chancery Court, on remand and with direction from the
Delaware Supreme Court to effectuate the dismissal and vacating of its prior injunctive relief, has
made it clear that the assets must be returned both in title and possession to the Debtors.4
Furthermore, the Chancery Court on August 10, 2022, issued an Order Granting Partial Final
Judgment in favor of the Debtor. The order stated: “Pending transfer of the Assets from SeeCubic
to Stream, SeeCubic and all those acting in concert with it shall not use, impair, encumber, or
transfer the Assets, except as necessary to maintain the Assets in the ordinary course of business
and preserve their value pending transfer to Stream.” Rajan Declaration, Exhibit BB. Despite these
clear directives, the purported secured lenders have resisted and continue to resist return of the
assets.

The Debtors have also been alerted to SeeCubic’s violation of intellectual property licenses which
were held by the Debtors and were non-transferable, actions violating third party rights under
applicable Federal and state law which cannot be remedied or cleansed by the invalidated
settlement, even prior to its invalidation by the Delaware Supreme Court. Even before the
Omnibus Agreement was invalidated, the transfers themselves were invalid under both a Phillips
license to the Debtors and a Rembrandt 3D Holding Ltd. (“Rembrandt”) license, both parties not
subject to the settlement or any now invalidated injunctive relief by the Chancery Court.5

The Debtors have been subjected to continuous damage by the purported secured creditors, even
after the Supreme Court decision. SeeCubic, the purported lenders, and Mr. Shad Stastney of
SeeCubic and SLS, were held in contempt by the Delaware Court of Chancery in October 2022
for their orchestrated efforts to seize control of the Debtor’s subsidiary, TechnoVative Media, Inc.,

2
 The Debtors contend that SLS Holdings VI, LLC (“SLS”) and Hawk Investment Holdings
Limited (“Hawk”) hold secured debt convertible to equity or must pursue their claims in chapter
11 where they will be paid in full, if their claims are allowed.
3
  SeeCubic, Inc., a Delaware entity, took its name from a foreign Dutch subsidiary of the
Debtors, SeeCubic B.V. (The Netherlands) (“SCBV”) and is likely in violation of trademark
laws protecting the Debtors and its foreign subsidiary).
4
 On August 9, 2022, nearly 8 weeks after the Delaware Supreme Court opinion, the Chancery
Court issued a TRO against SeeCubic. Vice Chancellor Laster specifically stated his
expectations: “SeeCubic will restore Stream’s assets to Stream in accordance with the Rule 54(b)
order. Once this has occurred, SeeCubic may seek to exercise any creditor’s rights it possesses
against Stream. SeeCubic must do so based on a status quo where Stream has title to and
possession of its assets, not a status quo in which SeeCubic acquired possession based on a
decision that the Delaware Supreme Court has held is erroneous.”
5
 On February 21, 2023, Rembrandt filed suit in the U.S. District Court for the District of Delaware
against parties using the Ultra-D technology without a Rembrandt license. It sued TechnoVative
USA, which was under the direction of the Chancery Court-appointed Receiver, Hawk, and
SeeCubic for trade secret violations and injunctive relief to prevent the sale of Stream’s assets
Rembrandt 3D Holding Ltd v Technovative Media, Inc., Hawk Investment Holdings Ltd. and
SeeCubic, Inc.

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                      54493-02 STREAM TV NETWORKS / Ch 11 / Court / Qualifications 3.29.23b
                                                     TA-002
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in the months after the Supreme Court decision. In ¶ 3 of his October 3, 2022 Opinion, Vice
Chancellor Laster wrote: “This decision holds that SeeCubic and Hawk engaged in contumacious
conduct. Shad L. Stastney was the puppet master who pulled the strings. He controls SeeCubic
and Technovative, and he also controls SLS Holdings VI, LLC (“SLS”), Stream’s only secured
creditor other than Hawk.” See Rajan Declaration, Exhibit AA.

SLS and SeeCubic possess some and claim to have obtained possession or control of other of the
Debtor’s assets before the Petition Date. The Debtor’s investigation into the location and condition
of its assets is ongoing. The Debtors have listed the assets that they believe they continue to own,
unless otherwise expressly indicated in its bankruptcy schedules. The Debtors intend to pursue
recovery of assets and to operate their business under the provisions of the Bankruptcy Code in
this case.

Additional Notes:

1.      Because US GAAP treatment may not apply to the Debtor’s assets located in foreign
jurisdictions, the values provided for certain assets may differ from typical accounting standards.

2.     Funding advanced by the Debtors to their direct and indirect subsidiaries are reflected in
intercompany loans.

3.    The Debtors’ goodwill and similar intangible value is not reflected in the Debtors’
bankruptcy schedules.

4.     SeeCubic BV (the Netherlands) is a subsidiary of the Debtors, SeeCubic BV (the
Netherlands) is unrelated to and is a separate entity from SeeCubic Inc., a company newly formed
in Delaware by SLS Holdings, Inc.




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                      54493-02 STREAM TV NETWORKS / Ch 11 / Court / Qualifications 3.29.23b
                                                     TA-003
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            Case 23-10763-mdc                      Doc 53      Filed 03/29/23 Entered 03/29/23 22:00:45                                Desc Main
                                                               Document     Page 4 of 5
 Fill in this information to identify the case:
 Debtor name          Stream TV Networks, Inc.

 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number          23-10763                                                                                    Check if this is an
 (if known)                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more               Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                   Amount of claim        Value of collateral
                                                                                                              Do not deduct the      that supports
                                                                                                              value of collateral.   this claim

 2.1      Creditor's name                                     Describe debtor's property that is
          Dell Financial Services, LLC                        subject to a lien                                     $77,340.57              $77,340.57

          Creditor's mailing address                          Dell Computer Servers
          Mail Stop-PS2DF-23                                  Describe the lien
          One Dell Way                                        UCC / Agreement
                                                              Is the creditor an insider or related party?
          Round Rock                 TX       78682            No
          Creditor's email address, if known                   Yes
                                                              Is anyone else liable on this claim?
          Date debt was incurred          12/04/2018           No
          Last 4 digits of account                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          number                          6    9      3   1   As of the petition filing date, the claim is:
          Do multiple creditors have an interest in           Check all that apply.
          the same property?                                   Contingent
           No                                                 Unliquidated
           Yes. Specify each creditor, including this         Disputed
            creditor, and its relative priority.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                                 $6,885,121.57


Official Form 206D                            Schedule D: Creditors Who Have Claims Secured by Property                                           page 1


                                                                            TA-004
             Case 2:24-cv-02727-JMG                          Document 19-1                 Filed 02/18/25               Page 10 of 341

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                                                            Document     Page 5 of 5
Debtor       Stream TV Networks, Inc.                                                      Case number (if known) 23-10763

 Part 1:       Additional Page                                                                             Column A               Column B
                                                                                                           Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                  Do not deduct the      that supports
sequentially from the previous page.                                                                       value of collateral.   this claim

 2.2     Creditor's name                                   Describe debtor's property that is
         SLS Holdings VI, LLC                              subject to a lien                                 $6,807,781.00            $6,807,781.00

         Creditor's mailing address                        All assets
         Attn: Shad Stastney                               Describe the lien
         392 Taylor Mills Road                             loan/investment / Agreement
                                                           Is the creditor an insider or related party?
         Marlboro                    NJ     07746           No
         Creditor's email address, if known                 Yes
                                                           Is anyone else liable on this claim?
         Date debt was incurred           2011-2012         No
         Last 4 digits of account                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                            As of the petition filing date, the claim is:
         Do multiple creditors have an interest in         Check all that apply.
         the same property?                                 Contingent
          No                                               Unliquidated
          Yes. Have you already specified the              Disputed
                relative priority?

             No. Specify each creditor, including this
                creditor, and its relative priority.

             Yes. The relative priority of creditors is
                specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2


                                                                         TA-005
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GLOBAL NOTES TO SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS OF
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 TECHNOVATIVE MEDIA, INC., CAUSE NO. 10764 (Joint Administration Requested)

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Mathu Rajan in Support of Stream TV Networks, Inc. and Technovative Media, Inc. Chapter 11
Petition, Supporting Emergency Relief, and First Day Motions [Docket No. 48] (“Rajan
Declaration”) in which the Debtors’ organizational and operational structure is described in greater
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2021, p. 3 (Del. June 15, 2022) (Holding that “a majority vote of Class B stockholders is required
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. . . is invalid because Stream’s unambiguous certificate of incorporation required the approval of
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approved by the Delaware Court of Chancery and then held to be invalid by the Delaware
Supreme Court on appeal. Prior to the Delaware Supreme Court ruling the SLS Holdings and its
newly formed company,

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                      54493-02 STREAM TV NETWORKS / Ch 11 / Court / Qualifications 3.29.23b
                                                     TA-006
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The new company formed by the purported secured lenders,2 SeeCubic, Inc. (“SeeCubic”),3
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The Debtors have been subjected to continuous damage by the purported secured creditors, even
after the Supreme Court decision. SeeCubic, the purported lenders, and Mr. Shad Stastney of
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for their orchestrated efforts to seize control of the Debtor’s subsidiary, TechnoVative Media, Inc.,

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against Stream. SeeCubic must do so based on a status quo where Stream has title to and
possession of its assets, not a status quo in which SeeCubic acquired possession based on a
decision that the Delaware Supreme Court has held is erroneous.”
5
 On February 21, 2023, Rembrandt filed suit in the U.S. District Court for the District of Delaware
against parties using the Ultra-D technology without a Rembrandt license. It sued TechnoVative
USA, which was under the direction of the Chancery Court-appointed Receiver, Hawk, and
SeeCubic for trade secret violations and injunctive relief to prevent the sale of Stream’s assets
Rembrandt 3D Holding Ltd v Technovative Media, Inc., Hawk Investment Holdings Ltd. and
SeeCubic, Inc.

92653228.1
                      54493-02 STREAM TV NETWORKS / Ch 11 / Court / Qualifications 3.29.23b
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in the months after the Supreme Court decision. In ¶ 3 of his October 3, 2022 Opinion, Vice
Chancellor Laster wrote: “This decision holds that SeeCubic and Hawk engaged in contumacious
conduct. Shad L. Stastney was the puppet master who pulled the strings. He controls SeeCubic
and Technovative, and he also controls SLS Holdings VI, LLC (“SLS”), Stream’s only secured
creditor other than Hawk.” See Rajan Declaration, Exhibit AA.

SLS and SeeCubic possess some and claim to have obtained possession or control of other of the
Debtor’s assets before the Petition Date. The Debtor’s investigation into the location and condition
of its assets is ongoing. The Debtors have listed the assets that they believe they continue to own,
unless otherwise expressly indicated in its bankruptcy schedules. The Debtors intend to pursue
recovery of assets and to operate their business under the provisions of the Bankruptcy Code in
this case.

Additional Notes:

1.      Because US GAAP treatment may not apply to the Debtor’s assets located in foreign
jurisdictions, the values provided for certain assets may differ from typical accounting standards.

2.     Funding advanced by the Debtors to their direct and indirect subsidiaries are reflected in
intercompany loans.

3.    The Debtors’ goodwill and similar intangible value is not reflected in the Debtors’
bankruptcy schedules.

4.     SeeCubic BV (the Netherlands) is a subsidiary of the Debtors, SeeCubic BV (the
Netherlands) is unrelated to and is a separate entity from SeeCubic Inc., a company newly formed
in Delaware by SLS Holdings, Inc.




92653228.1
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            Case 23-10763-mdc                 Doc 54       Filed 03/29/23 Entered 03/29/23 22:05:20                             Desc Main
                                                          Document      Page 4 of 50
 Fill in this information to identify the case:
 Debtor              Stream TV Networks, Inc.

 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number         23-10763                                                                              Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

        No. Go to Part 2.
        Yes. Go to line 2.
2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the               $2,688.27           $2,688.27
                                                                claim is: Check all that apply.
California Department of
Tax and Fee Adm                                                  Contingent
                                                                 Unliquidated
Account Info. Group, MIC 29                                      Disputed
PO Box 942879
                                                                Basis for the claim:
Sacramento                            CA      94279-0029        Disability insurance
Date or dates debt was incurred
                                                                Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                                 No
number
                                                                 Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



     2.2   Priority creditor's name and mailing address         As of the petition filing date, the               $8,805.72           $8,805.72
                                                                claim is: Check all that apply.
Internal Revenue Service
PO Box 7346                                                      Contingent
                                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Philadelphia                          PA      19101-7346        Medicare
Date or dates debt was incurred
                                                                Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                                 No
number
                                                                 Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1

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Debtor      Stream TV Networks, Inc.                                                 Case number (if known)    23-10763

 Part 1:       Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim         Priority amount


  2.3    Priority creditor's name and mailing address       As of the petition filing date, the                $8,805.72         $8,805.72
                                                            claim is: Check all that apply.
Internal Revenue Service
PO Box 7346                                                  Contingent
                                                             Unliquidated
                                                             Disputed
                                                            Basis for the claim:
Philadelphia                       PA     19101-7346        Medicare employer portion
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



  2.4    Priority creditor's name and mailing address       As of the petition filing date, the               $32,006.82       $32,006.82
                                                            claim is: Check all that apply.
Internal Revenue Service
PO Box 7346                                                  Contingent
                                                             Unliquidated
                                                             Disputed
                                                            Basis for the claim:
Philadelphia                       PA     19101-7346        Social Security employee portion
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



  2.5    Priority creditor's name and mailing address       As of the petition filing date, the               $69,097.66       $69,097.66
                                                            claim is: Check all that apply.
Internal Revenue Service
PO Box 7346                                                  Contingent
                                                             Unliquidated
                                                             Disputed
                                                            Basis for the claim:
Philadelphia                       PA     19101-7346        Income taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page 2

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Debtor      Stream TV Networks, Inc.                                                 Case number (if known)    23-10763

 Part 1:       Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim         Priority amount


  2.6    Priority creditor's name and mailing address       As of the petition filing date, the               $32,006.82       $32,006.82
                                                            claim is: Check all that apply.
Internal Revenue Service
PO Box 7346                                                  Contingent
                                                             Unliquidated
                                                             Disputed
                                                            Basis for the claim:
Philadelphia                       PA     19101-7346        Social Security Employer Portion
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



  2.7    Priority creditor's name and mailing address       As of the petition filing date, the                $4,580.49         $4,580.49
                                                            claim is: Check all that apply.
Internal Revenue Service
PO Box 7346                                                  Contingent
                                                             Unliquidated
                                                             Disputed
                                                            Basis for the claim:
Philadelphia                       PA     19101-7346        941/944
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



  2.8    Priority creditor's name and mailing address       As of the petition filing date, the                 $711.31           $711.31
                                                            claim is: Check all that apply.
Internal Revenue Service
PO Box 7346                                                  Contingent
                                                             Unliquidated
                                                             Disputed
                                                            Basis for the claim:
Philadelphia                       PA     19101-7346        941 Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




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 Part 1:      Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim        Priority amount


  2.9     Priority creditor's name and mailing address      As of the petition filing date, the                $476.88           $476.88
                                                            claim is: Check all that apply.
Nevada Dept. of Employment
Training & Rehabilitation                                    Contingent
                                                             Unliquidated
500 E. Third Street                                          Disputed
                                                            Basis for the claim:
Carson City                        NV     89713             Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



 2.10     Priority creditor's name and mailing address      As of the petition filing date, the                $399.14           $399.14
                                                            claim is: Check all that apply.
New Jersey Division of Taxation
Compliance&Enforcement-Bankruptcy                            Contingent
                                                             Unliquidated
50 Barrack Street, 9th Floor                                 Disputed
PO Box 245
                                                            Basis for the claim:
Trenton                            NJ     08695-0267        Income Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
12/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



 2.11     Priority creditor's name and mailing address      As of the petition filing date, the               $1,763.45         $1,763.45
                                                            claim is: Check all that apply.
Pennsylvania Department of Revenue
Department 280946                                            Contingent
                                                             Unliquidated
Attn: Bankruptcy Division                                    Disputed
                                                            Basis for the claim:
Harrisburg                         PA     17128-0946        Income Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
12/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




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 Part 1:      Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim        Priority amount


 2.12    Priority creditor's name and mailing address       As of the petition filing date, the                $460.47           $460.47
                                                            claim is: Check all that apply.
Pennsylvania Department of Revenue
Department 280946                                            Contingent
                                                             Unliquidated
Attn: Bankruptcy Division                                    Disputed
                                                            Basis for the claim:
Harrisburg                         PA     17128-0946        Unemployment Insurance
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



 2.13    Priority creditor's name and mailing address       As of the petition filing date, the                $156.00           $156.00
                                                            claim is: Check all that apply.
Pennsylvania Department of Revenue
Department 280946                                            Contingent
                                                             Unliquidated
Attn: Bankruptcy Division                                    Disputed
                                                            Basis for the claim:
Harrisburg                         PA     17128-0946        Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
12/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



 2.14    Priority creditor's name and mailing address       As of the petition filing date, the               $1,165.62         $1,165.62
                                                            claim is: Check all that apply.
Pennsylvania Department of Revenue
Department 280946                                            Contingent
                                                             Unliquidated
Attn: Bankruptcy Division                                    Disputed
                                                            Basis for the claim:
Harrisburg                         PA     17128-0946        Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
12/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




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 Part 1:       Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim         Priority amount


 2.15    Priority creditor's name and mailing address       As of the petition filing date, the                $1,324.21         $1,324.21
                                                            claim is: Check all that apply.
Pennsylvania Department of Revenue
Department 280946                                            Contingent
                                                             Unliquidated
Attn: Bankruptcy Division                                    Disputed
                                                            Basis for the claim:
Harrisburg                         PA     17128-0946        Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



 2.16    Priority creditor's name and mailing address       As of the petition filing date, the                $3,821.13         $3,821.13
                                                            claim is: Check all that apply.
Pennsylvania Department of Revenue
Department 280946                                            Contingent
                                                             Unliquidated
Attn: Bankruptcy Division                                    Disputed
                                                            Basis for the claim:
Harrisburg                         PA     17128-0946        Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



 2.17    Priority creditor's name and mailing address       As of the petition filing date, the               $10,642.58       $10,642.58
                                                            claim is: Check all that apply.
Philadelphia Department of Revenue
Municipal Services Building                                  Contingent
                                                             Unliquidated
1401 JFK Boulevard                                           Disputed
                                                            Basis for the claim:
Philadelphia                       PA     19102             Income Tax
Date or dates debt was incurred
                                                            Is the claim subject to offset?
12/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




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 Part 1:      Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim         Priority amount


 2.18    Priority creditor's name and mailing address       As of the petition filing date, the                $5,000.00         $5,000.00
                                                            claim is: Check all that apply.
Secretary of State - Delaware
Division of Corporations                                     Contingent
                                                             Unliquidated
Franchise Tax                                                Disputed
PO Box 898
                                                            Basis for the claim:
Dover                              DE      19903            Franchise Tax
Date or dates debt was incurred
                                                            Is the claim subject to offset?
12/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



 2.19    Priority creditor's name and mailing address       As of the petition filing date, the               $20,121.89       $20,121.89
                                                            claim is: Check all that apply.
State of California
Franchise Tax Board                                          Contingent
                                                             Unliquidated
Bankruptcy Section, MS: A-340                                Disputed
PO Box 2952
                                                            Basis for the claim:
Sacramento                         CA     95812-2952        Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
12/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



 2.20    Priority creditor's name and mailing address       As of the petition filing date, the                $9,808.22         $9,808.22
                                                            claim is: Check all that apply.
State of California Employment
Development Department                                       Contingent
                                                             Unliquidated
PO Box 826880, DICO, MIC 29                                  Disputed
                                                            Basis for the claim:
Sacramento                         CA     94280             CA PIT/SDI
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




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 Part 1:      Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim        Priority amount


 2.21    Priority creditor's name and mailing address       As of the petition filing date, the               $2,598.75         $2,598.75
                                                            claim is: Check all that apply.
State of California Employment
Development Department                                       Contingent
                                                             Unliquidated
PO Box 826880, UIPCD, MIC 40                                 Disputed
                                                            Basis for the claim:
Sacramento                         CA     94280             SUI/ETT
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



 2.22    Priority creditor's name and mailing address       As of the petition filing date, the                $123.75           $123.75
                                                            claim is: Check all that apply.
State of Florida, Dept. of Revenue
Attn: Mark Hamilton                                          Contingent
                                                             Unliquidated
P.O. Box 6668                                                Disputed
                                                            Basis for the claim:
Tallahassee                        FL     32314-6668        Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



 2.23    Priority creditor's name and mailing address       As of the petition filing date, the                 $11.11             $11.11
                                                            claim is: Check all that apply.
Texas Workforce Commission
P.O. Box 149037                                              Contingent
                                                             Unliquidated
                                                             Disputed
                                                            Basis for the claim:
Austin                             TX     78714-9037        Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




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Debtor        Stream TV Networks, Inc.                                                 Case number (if known)      23-10763

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $7,500.00
                                                                   Check all that apply.
3Detroit Film Co. LLC                                               Contingent
2385 N. Pine Center St                                              Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
West Bloomfield                          MI       48323            good, services

Date or dates debt was incurred         2017-2018                  Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes

     3.2   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $4,000.00
                                                                   Check all that apply.
Aaron Lamkin                                                        Contingent
793A East Foothill Blvd. #43                                        Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
San Luis Obisbo                          CA       93405            goods, services

Date or dates debt was incurred         5/20/2019                  Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes

     3.3   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $1,159.00
                                                                   Check all that apply.
Abu Dhabi Investment Council                                        Contingent
P.O. Box 61999                                                      Unliquidated
Abu Dhabi, UAE                                                      Disputed
                                                                   Basis for the claim:
                                                                   loan, investment

Date or dates debt was incurred         10/09/2017                 Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes

     3.4   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                   $35,820.00
                                                                   Check all that apply.
Ac Lordi                                                            Contingent
75 Valley Stream Parkway Suite 201                                  Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
Malvern                                  PA       19355            goods, services

Date or dates debt was incurred         2016-2019                  Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

   3.5     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $324,644.60
                                                               Check all that apply.
Adept Chip Service Private Ltd.                                 Contingent
Site No.86 1st Floor                                            Unliquidated
LRDI Layout Karthik Nagar                                       Disputed
fvlarathahalli Outer Ring                                      Basis for the claim:
 Bengaluru, India 560037                                       goods, services

Date or dates debt was incurred      2019                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

   3.6     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $19,682.75
                                                               Check all that apply.
Adrian & Roth                                                   Contingent
Personalberatung GmbH                                           Unliquidated
Tengstraße 45                                                   Disputed
Munchen, Germany 80796                                         Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2018                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

   3.7     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $15,000.00
                                                               Check all that apply.
Advanced Imaging Society                                        Contingent
16027 Ventura Blulevard Suite #301                              Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Encino                                 CA     91436            goods, services

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

   3.8     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $3,020.00
                                                               Check all that apply.
Alliance International Law Offices                              Contingent
75-1, 58 Chung Shan N. Rd. Sec. 3                               Unliquidated
Taipei, Taiwan                                                  Disputed
10452                                                          Basis for the claim:
                                                               Attorney Fees

Date or dates debt was incurred      2016-2018                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

   3.9     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $91,700.00
                                                                Check all that apply.
Alvarte Technology LLP                                           Contingent
S No29, PL52, Office #201                                        Unliquidated
Bhama Emrald, Satara Road, Dhankawadi                            Disputed
Pune, Maharashtra 411043                                        Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2019                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.10     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,544.12
                                                                Check all that apply.
Amanda Von Ahnen                                                 Contingent
105 Edwards Run Road                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Mount Royal                            NJ       08061           wages

Date or dates debt was incurred      Feb 16-29, 2020            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.11     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $49,632.62
                                                                Check all that apply.
AON Risk Services Inc. of New York                               Contingent
111 Wall Street                                                  Unliquidated
New York, NY                                                     Disputed
                                                                Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2017-2021                  Is the claim subject to offset?

Last 4 digits of account number       0     0    4   3
                                                                 No
                                                                 Yes

  3.12     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $132,500.00
                                                                Check all that apply.
Arasan Chip Systems, Inc.                                        Contingent
2150 North First Street, Suite 240                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Jose                               CA       95131           goods, services

Date or dates debt was incurred      2019-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.13     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $34,626.25
                                                                Check all that apply.
Aria Resort-Casino At Ctycntr                                    Contingent
4882 Frank Sinatra Dr.                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Las Vegas                              NV       89158           goods, services

Date or dates debt was incurred      2019-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.14     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $30,024.42
                                                                Check all that apply.
Avnet EM                                                         Contingent
2211 South 47th Street                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Phoenix                                AZ       85034           goods, services

Date or dates debt was incurred      2019                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.15     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $12,066.00
                                                                Check all that apply.
AY Commercial Law Offices                                        Contingent
9F, No. 333, Sec. 1, Keelung Road                                Unliquidated
Taipei City, Taiwan ROC 11012                                    Disputed
                                                                Basis for the claim:
                                                                Attorney Fees

Date or dates debt was incurred      2018-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.16     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $17,880.00
                                                                Check all that apply.
BDO USA, LLP                                                     Contingent
75 Valley Stream Parkway                                         Unliquidated
Suite 201                                                        Disputed
                                                                Basis for the claim:
Malvern                                PA       19355           goods, services

Date or dates debt was incurred      2014-2019                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.17     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $5,963.23
                                                               Check all that apply.
Blue Ocean Partners                                             Contingent
100 Queens Rd.                                                  Unliquidated
Central, Hong Kong, China                                       Disputed
                                                               Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2018-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.18     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $6,000.00
                                                               Check all that apply.
Bubble Communications East                                      Contingent
East Side Complex Rm 555                                        Unliquidated
Pinewood Studios, Pinewood Rd Iver Heath                        Disputed
Buckinghamshire, UK SL0 0NH                                    Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2018-2019                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.19     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $41,816.50
                                                               Check all that apply.
Buchanan Ingersoll & Rooney PC                                  Contingent
919 North Market Street                                         Unliquidated
Suite 1500                                                      Disputed
                                                               Basis for the claim:
Wilmington                             DE     19801            goods, services

Date or dates debt was incurred      2018-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.20     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $524,340.00
                                                               Check all that apply.
Cadence Design Systems, Inc.                                    Contingent
2655 Seely Avenue                                               Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Jose                               CA     95134            goods, services

Date or dates debt was incurred      2019-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.21     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $71,450.76
                                                                Check all that apply.
Capital One                                                      Contingent
P.O. Box 71083                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Charlotte                              NC       28272-1083      Credit Card

Date or dates debt was incurred      2009-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.22     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $8,720.42
                                                                Check all that apply.
Capital One-5                                                    Contingent
P.O.Box 71083                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Charlotte                              NC       28272-1083      Credit Card

Date or dates debt was incurred      2019-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.23     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $3,355.02
                                                                Check all that apply.
CCH Incorporated (Wolters Kluwer)                                Contingent
P.O. Box 4307                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Carol Stream                           IN       60197-4307      goods, services

Date or dates debt was incurred      2019                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.24     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $53,549.46
                                                                Check all that apply.
Charles Robertson                                                Contingent
10 Via Visione, Unit 201                                         Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Henderson                              NV       89011           goods, services

Date or dates debt was incurred      2019-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.25     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $3,818.92
                                                               Check all that apply.
Charles Robertson                                               Contingent
10 Via Visione, Unit 201                                        Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Henderson                              NV     89011            wages

Date or dates debt was incurred      Feb 16-29, 2020           Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.26     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $2,724.62
                                                               Check all that apply.
Che Wei Chang                                                   Contingent
327 Camphor Avenue                                              Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Jose                               CA     95131            goods, services

Date or dates debt was incurred      2019-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.27     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $117,600.00
                                                               Check all that apply.
Cipher Development Partners LLC                                 Contingent
1381 McCarthy Blvd.                                             Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Milpitas                               CA     95035            goods, services

Date or dates debt was incurred      2019-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.28     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $63,793.70
                                                               Check all that apply.
Citi Cards                                                      Contingent
PO BOX 9001037                                                  Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Louisville                             KY     40290-1037       Credit Card

Date or dates debt was incurred      2019-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.29     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $6,065.00
                                                                Check all that apply.
Cittone Demers & Arneri LLP                                      Contingent
11 Broadway                                                      Unliquidated
Suite 615                                                        Disputed
                                                                Basis for the claim:
New York                               NY       10040           Attorney Fees

Date or dates debt was incurred      2019-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.30     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,984.84
                                                                Check all that apply.
CNA INSURANCE                                                    Contingent
P.O. BOX 790094                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
ST LOUIS                               MO       63179-0094      goods, services

Date or dates debt was incurred      12/31/2019                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.31     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,012.96
                                                                Check all that apply.
Concur Technologies, Inc.                                        Contingent
62157 Collections Center Drive                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60693           goods, services

Date or dates debt was incurred      2018                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.32     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,200.00
                                                                Check all that apply.
Conference Technologies, Inc.                                    Contingent
11653 Adie Road                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Maryland Heights                       MO       63043           goods, services

Date or dates debt was incurred      9/30/2017                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.33     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $31,285.00
                                                                Check all that apply.
Coral Vision Ltd                                                 Contingent
Easton House, Manor Way                                          Unliquidated
Oxshott, UK KT22 0HU                                             Disputed
                                                                Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2017                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.34     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $90.00
                                                                Check all that apply.
Corporate Filings                                                Contingent
30 North Gould Street                                            Unliquidated
Suite 7001                                                       Disputed
                                                                Basis for the claim:
Sheridan                               WY       82801           goods, services

Date or dates debt was incurred      8/23/2019                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.35     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $27,947.08
                                                                Check all that apply.
Cousins Law                                                      Contingent
Brandywine Plaza West                                            Unliquidated
1521 Concord Pike, Suite 301                                     Disputed
                                                                Basis for the claim:
Wilmington                             DE       19803           Attorney Fees

Date or dates debt was incurred      2020                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.36     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,125.00
                                                                Check all that apply.
Coverall North America, Inc.                                     Contingent
2955 Momentum Place                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60689           goods, services

Date or dates debt was incurred      2019-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.37     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $45,600.00
                                                                Check all that apply.
Cryslink Technologies Co., Ltd                                   Contingent
Computer Village, ikeja, Lagos                                   Unliquidated
Otta Nigeria 101233                                              Disputed
                                                                Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2/24/2016                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.38     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,004.22
                                                                Check all that apply.
Daniel J. Rink                                                   Contingent
1017 E. 28th Street                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77009           goods, services

Date or dates debt was incurred      February 2020              Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.39     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,070.57
                                                                Check all that apply.
Daniel J. Rink                                                   Contingent
1017 E. 28th Street                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77009           wages

Date or dates debt was incurred       Feb 16-29, 2020           Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.40     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $6,250.00
                                                                Check all that apply.
DeMartino and Associates LLC                                     Contingent
875 Union Ave.                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Boulder                                CO       80304           goods, services

Date or dates debt was incurred      2019                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.41     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $7,976.63
                                                               Check all that apply.
Dezan Shira & Associates                                        Contingent
Suite EF06, East Tower B12                                      Unliquidated
Jian Guo Men Wai Avenue                                         Disputed
Beijing, China 100022                                          Basis for the claim:
                                                               Attorney Fees

Date or dates debt was incurred      2019                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.42     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $15,000.00
                                                               Check all that apply.
Digital Content Protection LLC                                  Contingent
3855 SW 153rd Drive                                             Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Beaverton                              OR     97006            goods, services

Date or dates debt was incurred      3/29/2019                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.43     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $798,925.44
                                                               Check all that apply.
DLA Piper LLP(US)                                               Contingent
6225 Smith Avenue                                               Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Baltimore                              MD     21209-3600       Attorney Fees

Date or dates debt was incurred      2011-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.44     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $420.00
                                                               Check all that apply.
Dunner Law PLLC                                                 Contingent
3243 P Street, N.W.                                             Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Washington                             DC     20007            Attorney Fees

Date or dates debt was incurred      2019                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.45     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $216,179.17
                                                               Check all that apply.
Elliott Greenleaf                                               Contingent
1105 North Market Street                                        Unliquidated
17th Floor                                                      Disputed
                                                               Basis for the claim:
Wilmington                             DE     19801-1216       goods, services

Date or dates debt was incurred      2020                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.46     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $600.00
                                                               Check all that apply.
EMA Design Automation                                           Contingent
225 Park Tech Dr.                                               Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Rochester                              NY     14623            goods, services

Date or dates debt was incurred      2019                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.47     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                      $68.99
                                                               Check all that apply.
EME Enterprise Inc.                                             Contingent
1256 West Winton Avenue                                         Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Hayward                                CA     94545            goods, services

Date or dates debt was incurred      2020                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.48     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $36,550.00
                                                               Check all that apply.
Eric Singer                                                     Contingent
200 E. 71st Street                                              Unliquidated
                                                                Disputed
                                                               Basis for the claim:
New York                               NY     10021            goods, services

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.49     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $5,000.00
                                                                Check all that apply.
ESPN Inc. Miscellaneous                                          Contingent
P.O. Box 732527                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75373-2527      goods, services

Date or dates debt was incurred      2015-2016                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.50     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $5,093.44
                                                                Check all that apply.
Farrukh Shah Kahn                                                Contingent
1564 Kooser Road                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Jose                               CA       95118           wages

Date or dates debt was incurred      Feb 16-29, 2020            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.51     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $23,432.00
                                                                Check all that apply.
Feng Tsang Corporation                                           Contingent
1F, No. 1, Alley 50                                              Unliquidated
Lane 737, Sec. 1                                                 Disputed
Nei Hu Road, Taipei, TAIWAN                                     Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2017-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.52     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $5,543.43
                                                                Check all that apply.
Feng Tsang Corporation-TWN                                       Contingent
1F, No. 1, Alley 50                                              Unliquidated
Lane 737, Sec. 1                                                 Disputed
Nei Hu Road, Taipei, TAIWAN                                     Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2016-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.53     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $17,000.00
                                                               Check all that apply.
FHP Consultants Ltd.                                            Contingent
Goddard's Green Barn                                            Unliquidated
Goddard's Green Road                                            Disputed
Benenden Kent, UK TN17 4AR                                     Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2018-2019                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.54     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $6,000.00
                                                               Check all that apply.
First Sentinel Advisory Limited                                 Contingent
Office Suite 12A                                                Unliquidated
55 Park Lane                                                    Disputed
London, England UK W1K 1QG                                     Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2019-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.55     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $22,944.55
                                                               Check all that apply.
Fornax Associates Ltd.                                          Contingent
70C 16 Buckhold Rd.                                             Unliquidated
London, England UK Sw18 4fy                                     Disputed
                                                               Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      1/1/2018                  Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.56     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $2,602.37
                                                               Check all that apply.
Frewin & Close Ltd.                                             Contingent
18 Oakley Street                                                Unliquidated
London, England SW3 5NT                                         Disputed
UK                                                             Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2018-2019                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.57     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $46,922.47
                                                               Check all that apply.
FTI Consulting (China) Limited                                  Contingent
Unit 2101-04, Central Plaza                                     Unliquidated
227 Huangpi (N) Road                                            Disputed
Shanghai, China 200003                                         Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2018-2019                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.58     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $13,005.90
                                                               Check all that apply.
FULL FRONTAL GROUP FZ LLE                                       Contingent
Unit P12, Rimal The Walk                                        Unliquidated
JBR PO Box 487177                                               Disputed
Dubai, UAE                                                     Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2016-2017                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.59     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $27,612.50
                                                               Check all that apply.
Global Tax Management                                           Contingent
656 E. Swedesford Rd., Suite 200                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Wayne                                  PA     19087            goods, services

Date or dates debt was incurred      2019                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.60     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $10,003.15
                                                               Check all that apply.
HDMI Licensing Administrator, Inc.                              Contingent
550 S. Winchester Blvd Suite 515                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Cose                               CA     95128            goods, services

Date or dates debt was incurred      2019-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.61     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $3,691.63
                                                               Check all that apply.
Hoang Nguyen                                                    Contingent
359 Dale Drive                                                  Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Jose                               CA       95127          wages

Date or dates debt was incurred      Feb 16-29, 2020           Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.62     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:               $1,813,662.35
                                                               Check all that apply.
Hold Jumper (Suzhou) Packing Co. Ltd.                           Contingent
No. 1, Xiang Street, High-Tech District                         Unliquidated
Suzhou, China                                                   Disputed
                                                               Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      12/28/2018                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.63     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $21,258.00
                                                               Check all that apply.
Howell International Trade Fair Ltd.                            Contingent
5A-604 Houxiandaicheng                                          Unliquidated
No. 16 Baiziwan Rd.                                             Disputed
Chaoyang District Beijing, China                               Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2016                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.64     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $805,177.00
                                                               Check all that apply.
HSBC Bank USA, N.A.                                             Contingent
140 Broadway                                                    Unliquidated
Suite 5020                                                      Disputed
                                                               Basis for the claim:
New York                               NY       10005          Paycheck Protection Program

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number       7     1   0    5
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.65     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $12,770.00
                                                               Check all that apply.
Hudson Valuation Group LLC                                      Contingent
One Glenlake Parkway Suite #700                                 Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Atlanta                                GA       30328          goods, services

Date or dates debt was incurred      2019                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.66     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:               $7,252,635.17
                                                               Check all that apply.
Iinuma Gauge Manufacturing Co., Ltd.                            Contingent
11400-327 Harayama, Tamagawa                                    Unliquidated
Chino-City Nagano, Japan 391-0011                               Disputed
Nagano, Japan 391-0011                                         Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2015-2019                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.67     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $426,437.00
                                                               Check all that apply.
IMG Media Ltd.                                                  Contingent
Building 6, Chiswick Park                                       Unliquidated
566 Chiswick High Road                                          Disputed
London, England UK W4 5HR                                      Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2019                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.68     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $500.00
                                                               Check all that apply.
infoComm International                                          Contingent
11242 Waples Mill Rd, Suite 200                                 Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Fairfax                                VA       22030          goods, services

Date or dates debt was incurred      4/6/2017                  Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.69     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $178,100.96
                                                                Check all that apply.
Innoventures Group LLC                                           Contingent
1105 William Penn Drive                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Bensalem                               PA       19020           goods, services

Date or dates debt was incurred      2020                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.70     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,893.63
                                                                Check all that apply.
Itaya Misa (TWD)                                                 Contingent
1F, No. 1, Alley 50                                              Unliquidated
Lane 737, Sec. 1, Nei Hu Road                                    Disputed
Taipei, TAIWAN                                                  Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2019-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.71     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $7,500.00
                                                                Check all that apply.
IZON                                                             Contingent
2005 Tree Fork Lane, Suite 109                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Longwood                               FL       32750           goods, services

Date or dates debt was incurred      12/29/2017                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.72     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $122,768.45
                                                                Check all that apply.
Jamuna Travels, Inc                                              Contingent
6439 Market St.                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Upper Darby                            PA       19082           goods, services

Date or dates debt was incurred      2018-2019                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.73     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $543.68
                                                               Check all that apply.
Jih-Chun Yeh                                                    Contingent
4F No., Ln. 232 Zhixiang 1st St.                                Unliquidated
Zhongli Dist                                                    Disputed
Taoyuan City Taiwan 320                                        Basis for the claim:
                                                               goods, services

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.74     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $4,318.00
                                                               Check all that apply.
Karen S. Donovan                                                Contingent
393 Mystic Street                                               Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Arlington                              MA     02474            goods, services

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.75     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $3,617.61
                                                               Check all that apply.
Kaushik Banerjee                                                Contingent
342 Stanforth Court                                             Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Ramon                              CA     94582            wages

Date or dates debt was incurred      February 2020             Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.76     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $9,264.97
                                                               Check all that apply.
Kaushik Banerjee                                                Contingent
342 Stanforth Court                                             Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Ramonn                             CA     94582            wages

Date or dates debt was incurred      Feb 16-29, 2020           Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.77     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $6,000.00
                                                               Check all that apply.
Kenneth W. Carroll                                              Contingent
8379 Sweet Briar Court                                          Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Liberty Township                       OH     45044-0000       goods, services

Date or dates debt was incurred      1/31/2017                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.78     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $4,376.87
                                                               Check all that apply.
Kevin Cabot                                                     Contingent
11 Rue Paul Langevin                                            Unliquidated
Saint Ouen                                                      Disputed
France 93400                                                   Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2020                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.79     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $1,010.73
                                                               Check all that apply.
Kleinwort Benson (GBP)                                          Contingent
14 St. George Street                                            Unliquidated
London, England UK W1S 1FE                                      Disputed
                                                               Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      8/30/2017                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.80     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $77,992.33
                                                               Check all that apply.
Law Offices of Young K. Park                                    Contingent
2009 Chestnut Street                                            Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Philadelphia                           PA     19103            Attorney Fees

Date or dates debt was incurred      2019-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.81     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,800.00
                                                                Check all that apply.
Lee and Ko                                                       Contingent
Hanjin Buliding, 63 Namdaemun-ro                                 Unliquidated
Jung-gu                                                          Disputed
Seoul, Korea 04532                                              Basis for the claim:
                                                                Attorney Fees

Date or dates debt was incurred      8/3/2016                   Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.82     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,347.73
                                                                Check all that apply.
Leo J. Riley                                                     Contingent
225 Aqua Lane                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Delran                                 NJ       08075           wages

Date or dates debt was incurred      Feb 16-29, 2020            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.83     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,317.08
                                                                Check all that apply.
Leo Riley                                                        Contingent
225 Aqua Lane                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Delran                                 NJ       08075           wages

Date or dates debt was incurred      3/3/2020                   Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.84     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $6,602.08
                                                                Check all that apply.
Luijks Advies B.V.                                               Contingent
Vinkenkade 41 R 3                                                Unliquidated
Vinkeveen, The Netherlands 3645 AP                               Disputed
                                                                Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      1/5/2019                   Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Debtor       Stream TV Networks, Inc.                                               Case number (if known)      23-10763

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.85     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $5,682.93
                                                                Check all that apply.
Luong D. Nguyen                                                  Contingent
2801 Camino Del Rey                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Jose                               CA       95132           wages

Date or dates debt was incurred      Feb 16-29, 2020            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.86     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $146,820.00
                                                                Check all that apply.
Marcum LLP                                                       Contingent
One SE Third Ave, Suite 1100                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Miami                                  FL       33131           goods, services

Date or dates debt was incurred      2019                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.87     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $5,325.57
                                                                Check all that apply.
Mathu Rajan                                                      Contingent
1105 William Penn Drive                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Bensalem                               PA       19020           wages

Date or dates debt was incurred      Feb 16-29, 2020            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.88     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $185,354.47
                                                                Check all that apply.
Mathu Rajan                                                      Contingent
1105 William Penn Drive                                          Unliquidated
Bensalem, PA19020                                                Disputed
                                                                Basis for the claim:
                                                                Services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.89     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $74,000.00
                                                                Check all that apply.
Mathu Rajan                                                      Contingent
1105 William Penn Drive                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Bensalem                               PA       19020           Services

Date or dates debt was incurred      2019-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.90     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $155,000.00
                                                                Check all that apply.
Matrex Exhibits, Inc.                                            Contingent
301 S. Church St.                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Addison                                IL       60101           goods, services

Date or dates debt was incurred      9/30/2019                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.91     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $120.46
                                                                Check all that apply.
Matt J. Lo.                                                      Contingent
7322 Carter Ave.                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Newark                                 CA       94560           goods, services

Date or dates debt was incurred      9/16/2019                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.92     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $7,128.63
                                                                Check all that apply.
Matthew Lo                                                       Contingent
7322 Carter Ave.                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Newark                                 CA       94560           wages

Date or dates debt was incurred      Feb 16-29, 2020            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Debtor        Stream TV Networks, Inc.                                             Case number (if known)      23-10763

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.93     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $60,000.00
                                                               Check all that apply.
Mediatainment, Inc                                              Contingent
1105 William Penn Drive                                         Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Bensalem                               PA     19020            goods, services

Date or dates debt was incurred      2018-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.94     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $890,590.68
                                                               Check all that apply.
Mediatainment, Inc.                                             Contingent
Attn: Raja Rajan                                                Unliquidated
1105 William Penn Drive                                         Disputed
                                                               Basis for the claim:
Bensalem                               PA     19020            Note

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.95     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $402,564.00
                                                               Check all that apply.
Mentor Graphics Corporation                                     Contingent
8005 SW Boeckman Rd.                                            Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Wilsonville                            OR     97070-7777       goods, services

Date or dates debt was incurred      2019-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.96     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $61,780.89
                                                               Check all that apply.
Modular Mobile GmbH                                             Contingent
Hansaallee 201                                                  Unliquidated
Dusseldorf, GERMANY                                             Disputed
D-450549                                                       Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2019-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.97     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $34,281.89
                                                               Check all that apply.
MotivIT                                                         Contingent
2880 Zanker Rd., Suite 203                                      Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Jose                               CA     95134            goods, services

Date or dates debt was incurred      2019-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.98     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $75,849.00
                                                               Check all that apply.
MTL Shipping & Investment Ltd.                                  Contingent
Hillside, Crocknorth Road                                       Unliquidated
East Horsley                                                    Disputed
Surrey KT24 5TF UK                                             Basis for the claim:
                                                               goods, services

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.99     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $2,535.00
                                                               Check all that apply.
Muni Mohan                                                      Contingent
4612 Aviara Ct.                                                 Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Jose                               CA     95135            wages

Date or dates debt was incurred      2/28/2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.100    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $6,113.47
                                                               Check all that apply.
Muni Mohan                                                      Contingent
4612 Aviara Ct.                                                 Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Jose                               CA     95135            wages

Date or dates debt was incurred      Feb 16-29, 2020           Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.101    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $75,811.00
                                                                Check all that apply.
MWL International Ltd.                                           Contingent
Attn: David Walpole                                              Unliquidated
1 Paper Mews, 330 High Street                                    Disputed
Dorking, Surrey RH4 2TU                                         Basis for the claim:
                                                                goods, services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.102    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,400.27
                                                                Check all that apply.
Nicole Marie Maneen                                              Contingent
2394 Barberee Drive                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Crestview                              FL       32536           wages

Date or dates debt was incurred      Feb 16-29, 2020            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.103    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $12,682.42
                                                                Check all that apply.
Open Sales Solutions, LLC                                        Contingent
548 Market Street, Suite 11745                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Francisco                          CA       94104           goods, services

Date or dates debt was incurred      2015-2017                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.104    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $24,539.78
                                                                Check all that apply.
Pactron                                                          Contingent
3000 Patrick Henry Dr.                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Santa Clara                            CA       95054-1814      goods, services

Date or dates debt was incurred      2019-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.105    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:               $2,125,415.54
                                                               Check all that apply.
Pegatron Corporation                                            Contingent
5F No. 76, Ligong St., Beitou District                          Unliquidated
Taipei City 112                                                 Disputed
Taiwan                                                         Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2017-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.106    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $206,006.36
                                                               Check all that apply.
Polsinelli PC                                                   Contingent
222 Delaware Avenue, Suite 1101                                 Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Wilmington                             DE     19801            Attorney Fees

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.107    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $3,000.00
                                                               Check all that apply.
Porter Digital Signage                                          Contingent
241 N. Caldwell Circle                                          Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Downingtown                            PA     19335            goods, services

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.108    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $9,198.00
                                                               Check all that apply.
PR NESWIRE ASSOCIATION, LLC                                     Contingent
G.P.O. Box 5897                                                 Unliquidated
                                                                Disputed
                                                               Basis for the claim:
New York                               NY     10087-5897       goods, services

Date or dates debt was incurred      2018                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.109    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $3,807.60
                                                                Check all that apply.
Raja Rajan                                                       Contingent
5215 Bishop View Circle                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Cherry Hill                            NJ       08002           wages

Date or dates debt was incurred      Feb 16-29, 2020            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.110    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $935.86
                                                                Check all that apply.
RL Systems                                                       Contingent
Old Post Office Cottage, Post Office Rd.                         Unliquidated
Inkpen, Berkshire, RG17 9PY                                      Disputed
United Kingdon                                                  Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      12/16/2019                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.111    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $30,321.53
                                                                Check all that apply.
Robert Half Management Svs.                                      Contingent
12400 Collections Center Drive                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60693           goods, services

Date or dates debt was incurred      2019-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.112    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $14,115.00
                                                                Check all that apply.
Robert S. French Revocable                                       Contingent
1712 KImberly Drive                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Sunnyvale                              CA       94087           loan

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.113    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $173,257.51
                                                                Check all that apply.
Salazar Law                                                      Contingent
2000 Ponce De Leon Boulevard, Penthouse                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Coral Gables                           FL       33134           Attorney Fees

Date or dates debt was incurred      2020-2021                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.114    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,527.57
                                                                Check all that apply.
Sara Leona Robertson                                             Contingent
1900 Tomahawk Drive                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Henderson                              NV       89074           wages

Date or dates debt was incurred      Feb 16-29, 2020            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.115    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $4,500.00
                                                                Check all that apply.
SeeCubic B.V.                                                    Contingent
Park Forum 1033 & 1035                                           Unliquidated
Eindhoven                                                        Disputed
The Netherlands 5657HJ                                          Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2011-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.116    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $7,500.00
                                                                Check all that apply.
SKC Haas Display Films Co.                                       Contingent
460,Chonheung-Ri,Songgo-Ub                                       Unliquidated
Chonan-City                                                      Disputed
Chungchongnam-Do 330-836, Korea                                 Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2015-2016                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.117    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $14,930.59
                                                                Check all that apply.
Special Counsel                                                  Contingent
Dept. CH 14305                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Palatine                               IL       60055-4305      Attorney Fees

Date or dates debt was incurred      2020                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.118    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $143,448.99
                                                                Check all that apply.
ST4M Electronics, Inc. Beijing Office                            Contingent
Room1102, Building313, Hui Zhong Bei Li                          Unliquidated
Beijing, Chaoyang District, China                                Disputed
                                                                Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2018-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.119    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $10,313.46
                                                                Check all that apply.
ST4M Electronics, Inc. Beijing Office                            Contingent
Room1102, Building313, Hui Zhong Bei Li                          Unliquidated
Beijing Chaoyang District China                                  Disputed
                                                                Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2018-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.120    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $3,877.66
                                                                Check all that apply.
Stoit Groep B.V.                                                 Contingent
Vestdijk 23                                                      Unliquidated
Eindhoven                                                        Disputed
The Netherlands 5611                                            Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2020                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Debtor       Stream TV Networks, Inc.                                              Case number (if known)      23-10763

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.121    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $27,569.35
                                                               Check all that apply.
Stream TV International B.V.                                    Contingent
Park Forum 1033 & 1035                                          Unliquidated
Eindhoven                                                       Disputed
The Netherlands 5657HJ                                         Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2017-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.122    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $2,158.50
                                                               Check all that apply.
Suby Joseph                                                     Contingent
48 Colleen Circle                                               Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Downingtown                            PA     19335            wages

Date or dates debt was incurred      2020                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.123    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $3,608.74
                                                               Check all that apply.
Suby Joseph                                                     Contingent
48 Colleen Circle                                               Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Downingtown                            PA     19335            wages

Date or dates debt was incurred      Feb 16-29, 2020           Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.124    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $55,447.78
                                                               Check all that apply.
Suzhou Industrial Equipment Installation                        Contingent
No. 3, Caixiang Road                                            Unliquidated
Suzhou, Jiangsu, China                                          Disputed
                                                               Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2019                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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Debtor       Stream TV Networks, Inc.                                              Case number (if known)      23-10763

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.125    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $105,227.59
                                                               Check all that apply.
Synopsys                                                        Contingent
690 East Middlefield Road                                       Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Mountain View                          CA     94043            goods, services

Date or dates debt was incurred      2019                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.126    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $29,912.61
                                                               Check all that apply.
TD BANK, N. A.                                                  Contingent
P.O.Box 16027                                                   Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Lewiston                               ME     04243-9513       loan

Date or dates debt was incurred      2018-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.127    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $5,300.00
                                                               Check all that apply.
Three D Holograms Pvt. Ltd.                                     Contingent
307 Kilfire House                                               Unliquidated
C-17 Dalia Industrial Area                                      Disputed
New Link Road, Andheri-West                                    Basis for the claim:
Mumbai, Maharashtra India 00040-0053                           goods, services

Date or dates debt was incurred      8/30/2019                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.128    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $420,000.00
                                                               Check all that apply.
Trans World International, LLC                                  Contingent
200 Fifth Ave 7th Floor                                         Unliquidated
                                                                Disputed
                                                               Basis for the claim:
New York                               NY     10010            loan

Date or dates debt was incurred      2018-2019                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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Debtor       Stream TV Networks, Inc.                                               Case number (if known)      23-10763

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.129    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $162,115.13
                                                                Check all that apply.
Triple Crown Consulting, LLC                                     Contingent
10814 Jollyville Rd, Suite 100                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Austin                                 TX       78759-0000      goods, services

Date or dates debt was incurred      2019                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.130    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $17,011.38
                                                                Check all that apply.
U.S. Legal Support, Inc.                                         Contingent
P.O. Box 4772                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77210-4772      goods, services

Date or dates debt was incurred      2020                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.131    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $880.08
                                                                Check all that apply.
UHaul Moving and Storage of Cinnaminson                          Contingent
201 US Highway 130S                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Cinnaminson                            NJ       08077           goods, services

Date or dates debt was incurred      2020                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.132    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $165,281.93
                                                                Check all that apply.
US Compliance Services LLC                                       Contingent
199 North Woodbury Road Suite # 103                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Pitman                                 NJ       08071           goods, services

Date or dates debt was incurred      2011-2019                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Debtor        Stream TV Networks, Inc.                                              Case number (if known)      23-10763

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.133    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $173,798.00
                                                                Check all that apply.
Vayikra Capital LLC                                              Contingent
1 Farmstead Road                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Short Hills                            NJ       07078           loan

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.134    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $214.81
                                                                Check all that apply.
Via Licensing Corporation                                        Contingent
1275 Market Street                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Francisco                          CA       94103-1410      goods, services

Date or dates debt was incurred      2019-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.135    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $4,729.98
                                                                Check all that apply.
Vikas Kshetrapal                                                 Contingent
2287 Ashbourne Drive                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Ramon                              CA       94583           wages

Date or dates debt was incurred      2020                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.136    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $6,509.32
                                                                Check all that apply.
Vikas Kshetrapal                                                 Contingent
2287 Ashbourne Dr.                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Ramon                              CA       94583           wages

Date or dates debt was incurred      Feb 16-29, 2020            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Debtor       Stream TV Networks, Inc.                                              Case number (if known)      23-10763

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.137    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $972.00
                                                               Check all that apply.
Visual Apex, Inc.                                               Contingent
7950 NE Day Road W, Suite B                                     Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Bainbridge Island                      WA     98110            goods, services

Date or dates debt was incurred      10/21/2016                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.138    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $4,947.49
                                                               Check all that apply.
Wah Woo Tan                                                     Contingent
243 Summerwind Drive                                            Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Milpitas                               CA     95035            wages

Date or dates debt was incurred      Feb 16-29, 2020           Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.139    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $1,874.05
                                                               Check all that apply.
Wai Ming Chiu                                                   Contingent
1798 Cape Coral Dr.                                             Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Jose                               CA     95133            wages

Date or dates debt was incurred      2019-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.140    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $5,053.11
                                                               Check all that apply.
Wai Ming Chiu                                                   Contingent
1798 Cape Coral Dr.                                             Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Jose                               CA     95133            wages

Date or dates debt was incurred      Feb 16-29, 2020           Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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Debtor       Stream TV Networks, Inc.                                               Case number (if known)      23-10763

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.141    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $10,640.00
                                                                Check all that apply.
Walsh C.H.B. Inc                                                 Contingent
189 Sunrise Highway Suite # 302                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Rockville Centre                       NY       11570           goods, services

Date or dates debt was incurred      2014-2019                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.142    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $56,316.40
                                                                Check all that apply.
Weida Freight System Co.                                         Contingent
Flat 402, 4/F., Yee Kuk Indust. Ctr.                             Unliquidated
555 Yee Kuk Street                                               Disputed
Cheung Sha Wan, Kowloon Hong Kong, China                        Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2019                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.143    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $10,383.77
                                                                Check all that apply.
Wharton Capital Partners                                         Contingent
5720 Lagorce Drive                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Miami Beach                            FL       33140           loan

Date or dates debt was incurred      2018-2019                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.144    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $4,617.50
                                                                Check all that apply.
WiLine Networks Inc.                                             Contingent
P.O. Box 102150                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Pasadena                               CA       91189-2150      goods, services

Date or dates debt was incurred      2019-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Debtor       Stream TV Networks, Inc.                                              Case number (if known)      23-10763

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.145    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $806.08
                                                               Check all that apply.
William Hennessey                                               Contingent
436 Lee Place                                                   Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Exton                                  PA     19341            goods, services

Date or dates debt was incurred      1/29/2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.146    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $372.00
                                                               Check all that apply.
Zach Lehman                                                     Contingent
1440 S. Stanley Ave.                                            Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Los Angeles                            CA     90019            wages

Date or dates debt was incurred      12/13/2019                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.147    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $3,182.43
                                                               Check all that apply.
Zach Lehman                                                     Contingent
1440 S. Stanley Ave.                                            Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Los Angeles                            CA     90019            wages

Date or dates debt was incurred      Feb 16-29, 2020           Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.148    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $2,058.00
                                                               Check all that apply.
Zeifang Hsu                                                     Contingent
101 Blaisdell Way                                               Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Fremont                                CA     94536            wages

Date or dates debt was incurred      2/28/2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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Debtor       Stream TV Networks, Inc.                                              Case number (if known)      23-10763

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.149    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $6,342.79
                                                               Check all that apply.
Zeifang Hsu                                                     Contingent
101 Blaisdell Way                                               Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Fremont                                CA     94536            wages

Date or dates debt was incurred      Feb 16-29, 2020           Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.150    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $29,577.86
                                                               Check all that apply.
Zygintas Papartis (EUR)                                         Contingent
Sarmos g. 7-2                                                   Unliquidated
Vilnius 04126                                                   Disputed
                                                               Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2019-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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Debtor      Stream TV Networks, Inc.                                          Case number (if known)    23-10763

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                  Total of claim amounts

5a. Total claims from Part 1                                                              5a.              $216,576.01

5b. Total claims from Part 2                                                              5b. +         $20,137,677.18


5c. Total of Parts 1 and 2                                                                5c.           $20,354,253.19
    Lines 5a + 5b = 5c.




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GLOBAL NOTES TO SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS OF
    DEBTORS, STREAM TV NETWORKS, INC., CASE NO. 23-10763(mdc) AND
 TECHNOVATIVE MEDIA, INC., CAUSE NO. 10764 (Joint Administration Requested)

The Debtors develop their technology and conduct the majority of their business through their
direct and indirect foreign and domestic subsidiaries. The Debtors provided capital to their direct
and indirect foreign and domestic subsidiaries for the purpose of acquiring and developing assets
and to conduct business operations. The Debtors direct interested parties to the Declaration of
Mathu Rajan in Support of Stream TV Networks, Inc. and Technovative Media, Inc. Chapter 11
Petition, Supporting Emergency Relief, and First Day Motions [Docket No. 48] (“Rajan
Declaration”) in which the Debtors’ organizational and operational structure is described in greater
detail.

In its bankruptcy schedules, the Debtors disclose and describe the assets, including their ownership
interest in direct subsidiaries and their contracts, that the Debtors owned as of March 15, 2023 (the
“Petition Date”). The Debtors’ direct subsidiaries, in turn, hold or may hold ownership interests in
the Debtors’ indirect subsidiaries as depicted on the Debtor’s Organization Chart included in the
Rajans Declaration. The assets of the Debtors’ direct and indirect subsidiaries are not included in
the Debtors’ bankruptcy schedules.

The Debtors intend to complete a recovery of assets which were previously and improperly
transferred in contravention of express provisions of its corporate charter through an invalidated
board settlement agreement as confirmed by the Delaware Supreme Court through an en banc
unanimous decision on June 15, 2022. See Stream TV Networks, Inc. v. Seecubic, Inc., No. 360,
2021, p. 3 (Del. June 15, 2022) (Holding that “a majority vote of Class B stockholders is required
under Stream’s charter” to “transfer pledged assets to secured creditors in connection with what
was, in essence, a privately structured foreclosure transaction”).1 The Delaware Supreme Court
also held that the “agreement authorizing the secured creditors to transfer Stream’s pledged assets
. . . is invalid because Stream’s unambiguous certificate of incorporation required the approval of
Stream’s Class B stockholders.” Id.. at p. 34. (emphasis added).




1
 A debt resolution committee of the Debtor’s Board of Directors purporting to act on the
Debtor’s behalf reached an unauthorized settlement enshrined in an agreement titled as the
Omnibus Agreement, dated May 6, 2021, between the Debtor’s senior secured lender, SLS
Holdings VI, LLC (“SLS”) and the Debtor’s debt resolution committee, which was which
approved by the Delaware Court of Chancery and then held to be invalid by the Delaware
Supreme Court on appeal. Prior to the Delaware Supreme Court ruling the SLS Holdings and its
newly formed company,

92653228.1
                      54493-02 STREAM TV NETWORKS / Ch 11 / Court / Qualifications 3.29.23b
                                                     TA-056
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The new company formed by the purported secured lenders,2 SeeCubic, Inc. (“SeeCubic”),3
asserted an ownership interest in all of the Debtor’s assets and took possession of, and in some
cases, destroyed the Debtors’ assets. The Chancery Court, on remand and with direction from the
Delaware Supreme Court to effectuate the dismissal and vacating of its prior injunctive relief, has
made it clear that the assets must be returned both in title and possession to the Debtors.4
Furthermore, the Chancery Court on August 10, 2022, issued an Order Granting Partial Final
Judgment in favor of the Debtor. The order stated: “Pending transfer of the Assets from SeeCubic
to Stream, SeeCubic and all those acting in concert with it shall not use, impair, encumber, or
transfer the Assets, except as necessary to maintain the Assets in the ordinary course of business
and preserve their value pending transfer to Stream.” Rajan Declaration, Exhibit BB. Despite these
clear directives, the purported secured lenders have resisted and continue to resist return of the
assets.

The Debtors have also been alerted to SeeCubic’s violation of intellectual property licenses which
were held by the Debtors and were non-transferable, actions violating third party rights under
applicable Federal and state law which cannot be remedied or cleansed by the invalidated
settlement, even prior to its invalidation by the Delaware Supreme Court. Even before the
Omnibus Agreement was invalidated, the transfers themselves were invalid under both a Phillips
license to the Debtors and a Rembrandt 3D Holding Ltd. (“Rembrandt”) license, both parties not
subject to the settlement or any now invalidated injunctive relief by the Chancery Court.5

The Debtors have been subjected to continuous damage by the purported secured creditors, even
after the Supreme Court decision. SeeCubic, the purported lenders, and Mr. Shad Stastney of
SeeCubic and SLS, were held in contempt by the Delaware Court of Chancery in October 2022
for their orchestrated efforts to seize control of the Debtor’s subsidiary, TechnoVative Media, Inc.,

2
 The Debtors contend that SLS Holdings VI, LLC (“SLS”) and Hawk Investment Holdings
Limited (“Hawk”) hold secured debt convertible to equity or must pursue their claims in chapter
11 where they will be paid in full, if their claims are allowed.
3
  SeeCubic, Inc., a Delaware entity, took its name from a foreign Dutch subsidiary of the
Debtors, SeeCubic B.V. (The Netherlands) (“SCBV”) and is likely in violation of trademark
laws protecting the Debtors and its foreign subsidiary).
4
 On August 9, 2022, nearly 8 weeks after the Delaware Supreme Court opinion, the Chancery
Court issued a TRO against SeeCubic. Vice Chancellor Laster specifically stated his
expectations: “SeeCubic will restore Stream’s assets to Stream in accordance with the Rule 54(b)
order. Once this has occurred, SeeCubic may seek to exercise any creditor’s rights it possesses
against Stream. SeeCubic must do so based on a status quo where Stream has title to and
possession of its assets, not a status quo in which SeeCubic acquired possession based on a
decision that the Delaware Supreme Court has held is erroneous.”
5
 On February 21, 2023, Rembrandt filed suit in the U.S. District Court for the District of Delaware
against parties using the Ultra-D technology without a Rembrandt license. It sued TechnoVative
USA, which was under the direction of the Chancery Court-appointed Receiver, Hawk, and
SeeCubic for trade secret violations and injunctive relief to prevent the sale of Stream’s assets
Rembrandt 3D Holding Ltd v Technovative Media, Inc., Hawk Investment Holdings Ltd. and
SeeCubic, Inc.

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in the months after the Supreme Court decision. In ¶ 3 of his October 3, 2022 Opinion, Vice
Chancellor Laster wrote: “This decision holds that SeeCubic and Hawk engaged in contumacious
conduct. Shad L. Stastney was the puppet master who pulled the strings. He controls SeeCubic
and Technovative, and he also controls SLS Holdings VI, LLC (“SLS”), Stream’s only secured
creditor other than Hawk.” See Rajan Declaration, Exhibit AA.

SLS and SeeCubic possess some and claim to have obtained possession or control of other of the
Debtor’s assets before the Petition Date. The Debtor’s investigation into the location and condition
of its assets is ongoing. The Debtors have listed the assets that they believe they continue to own,
unless otherwise expressly indicated in its bankruptcy schedules. The Debtors intend to pursue
recovery of assets and to operate their business under the provisions of the Bankruptcy Code in
this case.

Additional Notes:

1.      Because US GAAP treatment may not apply to the Debtor’s assets located in foreign
jurisdictions, the values provided for certain assets may differ from typical accounting standards.

2.     Funding advanced by the Debtors to their direct and indirect subsidiaries are reflected in
intercompany loans.

3.    The Debtors’ goodwill and similar intangible value is not reflected in the Debtors’
bankruptcy schedules.

4.     SeeCubic BV (the Netherlands) is a subsidiary of the Debtors, SeeCubic BV (the
Netherlands) is unrelated to and is a separate entity from SeeCubic Inc., a company newly formed
in Delaware by SLS Holdings, Inc.




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                               EASTERN DISTRICT OF PENNSYLVANIA13
                                                         READING DIVISION
    IN RE:                                                                         CHAPTER       11
    Stream TV Networks, Inc.


    DEBTOR(S)                                                                      CASE NO       23-10763



                                            LIST OF EQUITY SECURITY HOLDERS

 Registered Name of Holder of Security                             Class of Security          Number Registered          Kind of Interest
 Last Known Address or Place of Business                                                                                 Registered

 See Schedule attached                                             A

                                         DECLARATION UNDER PENALTY OF PERJURY
                                       ON BEHALF OF A CORPORATION OR PARTNERSHIP

    I, the                   CEO and Director                        of the                        Corporation
named as the debtor in this case, declare under penalty of perjury that I have read the foregoing list and that it is true and correct to the
best of my information and belief.




       March 29, 2023
Date:__________________________________                 Signature:________________________________________________________
                                                                   Mathu Rajan
                                                                   CEO and Director




                                                                       TA-059
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Holder                               Class A Common Shares Class B Preferred Shares         Warrants   Options/SARS               FD   Class B Voting   Class C Voting   Economic %                Voting %
Visual Semiconductor, Inc                          63,062                        ‐                 ‐             ‐            63,062           ‐         45,000,000          0.04%                 80.06%
Akshaya Holdings LLC                            5,021,551                                                                  5,021,551    19,253,216                           2.81%                  8.79%
Mathu Rajan                                        18,200                                          ‐                          18,200        18,200                           0.01%                 0.009%
Visual Technology Innovations, Inc                 52,562                                          ‐                          52,562           ‐                             0.03%                 0.002%
Glasses‐Free Technologies, Inc.                     9,273                                          ‐                           9,273           ‐                             0.01%                0.0004%
                                                                                                                                                                                      2.889%               88.855%      These companies/entities are controlled by Mathu Rajan and control 88.86% of the Company
Hawk Investment Holdings Limited               89,201,430                 336,645        399,566,883         9,500     489,114,458       1,091,538                          50.09%                   4.47% Post conversion as of Oct 2022
Joseph Corso                                    2,782,389                       ‐                  ‐                     2,782,389       1,182,389                           1.56%                   0.65%
SLS Holdings VI, LLC                           13,583,605                                 13,226,566                    26,810,171             ‐                             7.60%                   0.60%
Vayikra Capital LLC                             4,429,002                        ‐        10,266,248                    14,695,250         495,691                           2.48%                   0.42%
Todd D Tuls                                     1,669,062                                    300,000                     1,969,062         739,062                           0.93%                   0.40%
Jeffrey A Grossman                                807,480                                     50,000                       857,480         792,480                           0.45%                   0.39%
Tom Sego                                        5,110,000                        ‐            26,668                     5,136,668          34,483                           2.86%                   0.24%
Billy J. Knott                                    268,003                                          ‐                       268,003         268,003                           0.15%                   0.13%
Estate of Harold A Sorgenti                     1,006,009                        ‐                 ‐                     1,006,009         184,232                           0.56%                   0.13%
Hadron Master Fund                              2,666,668                                  5,666,668                     8,333,336             ‐                             1.49%                   0.12%
MTL Shipping & Investment Ltd                   2,509,448                                 12,985,942                    15,495,390             ‐                             1.40%                   0.11%
Raja Rajan                                      2,500,000                                                                2,500,000             ‐                             1.40%                   0.11%
Charles William David Birchall                  2,300,000                                  4,233,331                     6,533,331             ‐                             1.29%                   0.10%
Broughton Ltd.                                  2,132,080                                    497,316                     2,629,396             ‐                             1.19%                   0.09%
Alvaro Ramirez                                    997,761                        ‐                 ‐                       997,761         107,761                           0.56%                   0.09%
Pershing Nominees Ltd a/c CCCLT                 1,801,573                                    861,971                     2,663,544             ‐                             1.01%                   0.08%
Sonny Mandell                                   1,711,260                                                                1,711,260             ‐                             0.96%                   0.08%
Adolfo & Donna Carmona                            451,668                        ‐           483,335                       935,003         125,000                           0.25%                   0.08%
Alastair Duncan Hadfield Crawford               1,382,073                                  1,164,584                     2,546,657             ‐                             0.77%                   0.06%
Jerry Schwartz                                    114,018                                          ‐                       114,018         114,018                           0.06%                   0.06%
Charles Lasley                                    113,702                                          ‐                       113,702         113,702                           0.06%                   0.06%
Lawrence Ciarcia                                  113,702                                          ‐                       113,702         113,702                           0.06%                   0.06%
Hallfield Holdings SA                           1,250,001                                    833,335                     2,083,336             ‐                             0.70%                   0.06%
Vipul Patel                                     1,128,492                        ‐           900,003                     2,028,495           9,216                           0.63%                   0.05%
MWL International Ltd                           1,213,152                                  3,866,684                     5,079,836             ‐                             0.68%                   0.05%
Nigel Hamilton‐Smith                            1,066,426                                  1,688,221                     2,754,647             ‐                             0.60%                   0.05%
Pepper Grove Holdings Limited                   1,055,005                                  1,141,670                     2,196,675             ‐                             0.59%                   0.05%
Debt Opportunity Fund, LLC                         94,693                                          ‐                        94,693          94,693                           0.05%                   0.05%
Total CFO, LLC                                     94,693                                          ‐                        94,693          94,693                           0.05%                   0.05%
St Peter Port Capital                           1,007,913                                                                1,007,913             ‐                             0.56%                   0.04%
Eugene Jhong and Jisun Rhee Trust                  86,206                        ‐                 ‐                        86,206          86,206                           0.05%                   0.04%
Margaret Valentine                                 75,000                                          ‐                        75,000          75,000                           0.04%                   0.04%
Puddles 2 Limited                                 786,337                                          ‐                       786,337             ‐                             0.44%                   0.03%
Adrian Conrad Holmes                              785,000                                    930,000                     1,715,000             ‐                             0.44%                   0.03%
William & Joanne Jellison                          88,966                        ‐                 ‐                        88,966          68,966                           0.05%                   0.03%
Andrew James Roughley                             750,001                                  8,000,000                     8,750,001             ‐                             0.42%                   0.03%
Mark Daniel Roughley                              750,001                                  8,000,000                     8,750,001             ‐                             0.42%                   0.03%
Dennis Lavin                                      725,000                                  1,000,000                     1,725,000             ‐                             0.41%                   0.03%
Ian David Tanner                                  675,000                                  1,083,332                     1,758,332             ‐                             0.38%                   0.03%
Jaystyle Limited                                  113,626                        ‐                 ‐                       113,626          51,726                           0.06%                   0.03%
John McCrossin                                     57,167                                          ‐                        57,167          57,167                           0.03%                   0.03%
Barry Alan Rutledge                                56,851                                          ‐                        56,851          56,851                           0.03%                   0.03%
Thomas L. Glen III                                 56,851                                          ‐                        56,851          56,851                           0.03%                   0.03%
TR Reddy                                           56,851                                          ‐                        56,851          56,851                           0.03%                   0.03%
Windsor International Corporation                 600,000                                  2,800,000                     3,400,000             ‐                             0.34%                   0.03%
Sanford Lipstein                                   54,498                        ‐                 ‐                        54,498          54,498                           0.03%                   0.03%
Soniya Patel                                       73,154                        ‐                 ‐                        73,154          51,725                           0.04%                   0.03%
Neulight Living Trust                             589,267                                          ‐                       589,267             ‐                             0.33%                   0.03%
Godefridus Vranken                                576,000                                    300,000                       876,000             ‐                             0.32%                   0.03%
Emson Holdings Ltd                                570,000                                  3,800,000                     4,370,000             ‐                             0.32%                   0.03%
Walsh CHB, Inc.                                    51,166                                          ‐                        51,166          51,166                           0.03%                   0.03%

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Holder                                     Class A Common Shares Class B Preferred Shares        Warrants    Options/SARS               FD   Class B Voting    Class C Voting   Economic %   Voting %
Framse Holding GmbH                                     515,002                                 1,260,000                        1,775,002           ‐                              0.29%      0.02%
Keith O. Newton                                          55,734                                         ‐                           55,734        45,734                            0.03%      0.02%
Lisa Walsh                                              509,878                                         ‐                          509,878           ‐                              0.29%      0.02%
Leonardo Zampatti                                       500,000                                   250,000                          750,000           ‐                              0.28%      0.02%
Londer Securities S.A.                                  500,000                                   250,000                          750,000           ‐                              0.28%      0.02%
Chris Monson / CWM Real Estate
Services, Inc.                                           43,207                                        ‐                           43,207         43,207                            0.02%      0.02%
Lester Amey                                              43,104                        ‐               ‐                           43,104         43,104                            0.02%      0.02%
Michael T and Cheryl A Blakeslee                         42,937                        ‐               ‐                           42,937         42,937                            0.02%      0.02%
Silverwood Enterprises Limited                          121,383                        ‐               ‐                          121,383         34,483                            0.07%      0.02%
Edinburgh Capital Management                            465,000                                  200,000                          665,000            ‐                              0.26%      0.02%
David Weber                                              41,160                                        ‐                           41,160         41,160                            0.02%      0.02%
Batten Trustee Ltd as Trustee of the
Arrow Trust                                             450,001                                   833,335                        1,283,336           ‐                              0.25%      0.02%
Keith Owen Claude Merrick                               450,001                                   441,668                          891,669           ‐                              0.25%      0.02%
Jan‐Age Ronnestad                                        95,748                        ‐          160,040                          255,788        34,483                            0.05%      0.02%
LRC 2011 Trust                                           55,434                        ‐           16,670                           72,104        37,933                            0.03%      0.02%
Intrinsyc Technologies Corporation                      415,346                                         ‐                          415,346           ‐                              0.23%      0.02%
Mark Dyer                                               401,024                                   200,512                          601,536           ‐                              0.22%      0.02%
Kishore Ganji & Srilalitha Bhattaram                     54,483                        ‐                ‐                           54,483        34,483                            0.03%      0.02%
Harry Gierman                                            44,483                        ‐                ‐                           44,483        34,483                            0.02%      0.02%
David Cohen                                              35,269                        ‐                ‐                           35,269        35,269                            0.02%      0.02%
Dr Alex Ortolano                                         34,500                        ‐                ‐                           34,500        34,500                            0.02%      0.02%
Owen Nutto                                               34,300                                         ‐                           34,300        34,300                            0.02%      0.02%
Shadron Stastney                                        360,339                                 1,201,130                        1,561,469           ‐                              0.20%      0.02%
Eamonn Manson                                           351,024                                   175,512                          526,536           ‐                              0.20%      0.02%
Paul Stamatis Jr                                         95,000                        ‐                ‐                           95,000        25,000                            0.05%      0.02%
Stephen M Andress                                        49,313                        ‐           33,335                           82,648        29,312                            0.03%      0.02%
Laurence Catterson and Helen Tonar
Pitt Catterson                                          338,367                                         ‐                         338,367            ‐                              0.19%      0.02%
Bruno Widmer                                             32,500                        ‐                ‐                          32,500         30,000                            0.02%      0.01%
Michael Haggiag Family Trust u/a dtd
1/6/2014                                                325,000                                  350,000                          675,000            ‐                              0.18%      0.01%
Miriam Mandell                                          319,841                                                                   319,841            ‐                              0.18%      0.01%
Mark Andrew Vully De Candole                            316,667                                  150,000                          466,667            ‐                              0.18%      0.01%
David P Lamoreaux                                        29,870                                        ‐                           29,870         28,620                            0.02%      0.01%
Paul Fauci                                               28,425                                        ‐                           28,425         28,425                            0.02%      0.01%
Fred A. Shabel                                          135,999                                        ‐                          135,999         17,156                            0.08%      0.01%
Reyker Nominees Limited                                 303,277                                  234,972                          538,249            ‐                              0.17%      0.01%
Mr AI and Mrs HA Patel A&M
Settlement Trust                                         27,500                        ‐                ‐                           27,500        27,500                            0.02%      0.01%
Sheila Lois Laboda                                       27,288                                         ‐                           27,288        27,288                            0.02%      0.01%
David Taylor                                            300,000                                   150,000                          450,000           ‐                              0.17%      0.01%
S Bruce Rubin                                            42,931                        ‐            5,086                           48,017        25,431                            0.02%      0.01%
Amlin Investments Ltd                                   295,000                                   408,330                          703,330           ‐                              0.17%      0.01%
Leo Hindery, Jr                                         292,596                                 3,193,108      2,000,000         5,485,704           ‐                              0.16%      0.01%
Timothy D.K. Simond                                     292,501                                   608,334                          900,835           ‐                              0.16%      0.01%
Pepper J Frazier and Elizabeth P Frazier
JT Ten                                                   26,250                        ‐               ‐                            26,250        26,250                            0.01%      0.01%
Guy H.A. Chisenhale‐Marsh                               255,000                                  215,000                           470,000           ‐                              0.14%      0.01%
Joseph A Saiia                                           78,515                        ‐               ‐                            78,515        17,245                            0.04%      0.01%
Paul & Rachel Becker                                     22,740                                        ‐                            22,740        22,740                            0.01%      0.01%
Sharon Kostaroff                                         22,740                                        ‐                            22,740        22,740                            0.01%      0.01%
Lapis Ventures SAC Limited                              250,000                                        ‐                           250,000           ‐                              0.14%      0.01%
Sharad Patel                                            249,000                                  830,000                         1,079,000           ‐                              0.14%      0.01%
Antoinette Garrison Trust                                69,992                        ‐               ‐                            69,992        17,500                            0.04%      0.01%
Robert N Garrison Trust                                  69,992                        ‐               ‐                            69,992        17,500                            0.04%      0.01%

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Sorgenti Investors, L.P.                              243,381                                                                   243,381            ‐                              0.14%      0.01%
Peter Thomas Kaursland                                227,499                                  503,330                          730,829            ‐                              0.13%      0.01%
Alkis P Zingas Trust                                   20,000                        ‐               ‐                           20,000         20,000                            0.01%      0.01%
Quaker Holdings L.P.                                  213,494                                  500,000                          713,494            ‐                              0.12%      0.01%
Adolfo Carmona                                        200,000                                        ‐                          200,000            ‐                              0.11%      0.01%
Cereals & Vegetable Oils Trading Corp
FZE                                                   200,000                                 1,066,664                        1,266,664           ‐                              0.11%      0.01%
Leman Management Nominees Limited                     200,000                                   100,000                          300,000           ‐                              0.11%      0.01%
Jurgen Toorneman                                       27,242                        ‐                ‐                           27,242        17,242                            0.02%      0.01%
Antoinette Garrison                                    17,500                        ‐                ‐                           17,500        17,500                            0.01%      0.01%
Jacob Winigrad                                         17,242                        ‐                ‐                           17,242        17,242                            0.01%      0.01%
Sanford Lipstein, Trustee Eugene
Lipstein                                               17,173                                         ‐                          17,173         17,173                            0.01%      0.01%
James Marussich                                        17,055                                         ‐                          17,055         17,055                            0.01%      0.01%
Larry Schmalz                                          18,370                        ‐                ‐                          18,370         16,370                            0.01%      0.01%
David Walpole, Helene Webb and The
SRB Trustee Company Limited as
Trustees of The DKM Walpole DT                        180,000                                  600,000                          780,000            ‐                              0.10%      0.01%
Mary C McBrearty                                       16,250                        ‐               ‐                           16,250         16,250                            0.01%      0.01%
Charles Neulight                                      171,315                                        ‐                          171,315            ‐                              0.10%      0.01%
Richard E. Carp                                        54,292                                        ‐                           54,292         11,370                            0.03%      0.01%
Brooks W Garrison                                      15,000                        ‐               ‐                           15,000         15,000                            0.01%      0.01%
Robert N Garrison Jr                                   15,000                        ‐               ‐                           15,000         15,000                            0.01%      0.01%
MP Tavill Revocable Trust                              49,250                        ‐          51,668                          100,918         11,250                            0.03%      0.01%
Nicholas Toppin                                       160,183                                                                   160,183            ‐                              0.09%      0.01%
Robert S French Revocable Trust 2018                   20,043                        ‐          19,500                           39,543         13,793                            0.01%      0.01%
Pershing (CI) Nominees Limited a/c
JCCLT                                                 157,269                                         ‐                         157,269            ‐                              0.09%      0.01%
Elizabeth P Frazier                                   156,791                                                                   156,791            ‐                              0.09%      0.01%
Roberto Villaquiran                                   156,539                                                                   156,539            ‐                              0.09%      0.01%
LBJ Investors, LP                                      38,361                                        ‐                           38,361         11,449                            0.02%      0.01%
Charles J Caminada                                    150,000                                   75,000                          225,000            ‐                              0.08%      0.01%
Frank Dearie and Cindy Dearie                         149,574                                        ‐                          149,574            ‐                              0.08%      0.01%
Mark & Sherri Finnegan                                 13,500                        ‐               ‐                           13,500         13,500                            0.01%      0.01%
Bixx Tech Limited                                     147,899                                  333,335                          481,234            ‐                              0.08%      0.01%
Anthony Wigram                                        146,001                                  195,000                          341,001            ‐                              0.08%      0.01%
Spirit Shore Ventures, LLC                             20,000                        ‐               ‐                           20,000         12,500                            0.01%      0.01%
Rafael E Osona and Gail E Osona                        12,931                        ‐               ‐                           12,931         12,931                            0.01%      0.01%
David Lombardi                                         40,311                        ‐               ‐                           40,311         10,094                            0.02%      0.01%
Neil Thacker Maclachan                                140,000                                   70,000                          210,000            ‐                              0.08%      0.01%
Estate of Alfred Waber                                 25,813                                        ‐                           25,813         11,370                            0.01%      0.01%
Susan Spratt and David Spratt                          35,000                        ‐               ‐                           35,000         10,000                            0.02%      0.01%
Primorus Investments PLC                              133,333                                        ‐                          133,333            ‐                              0.07%      0.01%
Sebastian Andrew Marr                                 133,333                                        ‐                          133,333            ‐                              0.07%      0.01%
Timothy John Morton                                   126,030                                  683,233                          809,263            ‐                              0.07%      0.01%
Bowman Sculpture International Ltd                    125,939                                                                   125,939            ‐                              0.07%      0.01%
Peter Jay Gilmore and Susan Florence
Gilmore                                                11,437                                        ‐                           11,437         11,437                            0.01%      0.01%
Stuart Evan Horwich                                    17,781                        ‐           7,000                           24,781         10,781                            0.01%      0.01%
Glen and Peggy Bordak                                  11,370                                        ‐                           11,370         11,370                            0.01%      0.01%
Gregory P. Gifford                                     11,370                                        ‐                           11,370         11,370                            0.01%      0.01%
John R. Bartos                                         11,370                                        ‐                           11,370         11,370                            0.01%      0.01%
Nicholas Ercolano                                      11,370                                        ‐                           11,370         11,370                            0.01%      0.01%
Joan Pileggi                                           11,000                        ‐               ‐                           11,000         11,000                            0.01%      0.01%
Martin Fasack                                          34,514                        ‐               ‐                           34,514          8,621                            0.02%      0.01%
The 2012 Sanford Lipstein Family Trust                119,483                                                                   119,483            ‐                              0.07%      0.01%
Keith Young                                           119,108                                         ‐                         119,108            ‐                              0.07%      0.01%

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Holder                                   Class A Common Shares Class B Preferred Shares        Warrants   Options/SARS             FD   Class B Voting    Class C Voting   Economic %   Voting %
Jonathan Gellis                                        10,813                        ‐               ‐                         10,813        10,813                            0.01%      0.01%
Leon J. Dutkiewicz, JR                                 10,782                        ‐               ‐                         10,782        10,782                            0.01%      0.01%
Guy Spelman                                            10,776                        ‐               ‐                         10,776        10,776                            0.01%      0.01%
Keith Gordon Marsden                                  116,898                                  133,335                        250,233           ‐                              0.07%      0.01%
Newman Chittenden                                      28,264                        ‐               ‐                         28,264         8,621                            0.02%      0.01%
Mirdas Limited                                        112,688                                        ‐                        112,688           ‐                              0.06%      0.01%
Bruce Deluca                                           10,000                        ‐               ‐                         10,000        10,000                            0.01%      0.00%
David Blomquist                                        10,000                        ‐               ‐                         10,000        10,000                            0.01%      0.00%
Gordon Michael Howard                                  10,000                        ‐               ‐                         10,000        10,000                            0.01%      0.00%
John W Quaintance III                                  10,000                        ‐               ‐                         10,000        10,000                            0.01%      0.00%
Vincent A Pileggi                                      10,000                        ‐               ‐                         10,000        10,000                            0.01%      0.00%
Sheila Laboda Revocable Trust                          53,013                        ‐               ‐                         53,013         5,178                            0.03%      0.00%
Christopher Matthews                                  100,781                                                                 100,781           ‐                              0.06%      0.00%
Joseph S. Zuritsky                                    100,781                                                                 100,781           ‐                              0.06%      0.00%
Grahame Paul Alan Lovett                              100,500                                  268,000                        368,500           ‐                              0.06%      0.00%
CSS Ltd                                               100,001                                  666,670                        766,671           ‐                              0.06%      0.00%
CSS Recruitment                                       100,001                                        ‐                        100,001           ‐                              0.06%      0.00%
DEAR SPA                                              100,001                                  333,335                        433,336           ‐                              0.06%      0.00%
Joel Pace Kallan                                      100,001                                  333,335                        433,336           ‐                              0.06%      0.00%
Donald E Bates                                        100,000                                  250,000                        350,000           ‐                              0.06%      0.00%
Hanson Holdings Lux S.à r.l.                          100,000                                   50,000                        150,000           ‐                              0.06%      0.00%
RAB Capital Holdings Limited                          100,000                                        ‐                        100,000           ‐                              0.06%      0.00%
WB Nominees Limited                                   100,000                                   91,666                        191,666           ‐                              0.06%      0.00%
George M. Ross Irrevocable Indenture
of Trust dated as of July 29, 1998                     98,564                                                                  98,564            ‐                             0.06%      0.00%
National Financial Services FBO Emilio
DiSanluciano IRA                                        8,862                        ‐               ‐                          8,862          8,862                           0.00%      0.00%
Peter Kaizer                                           22,503                        ‐               ‐                         22,503          7,394                           0.01%      0.00%
Irwin Gruverman                                         8,621                        ‐               ‐                          8,621          8,621                          0.005%      0.00%
John M Apathy & Susan G Apathy                          8,621                        ‐               ‐                          8,621          8,621                          0.005%      0.00%
Oz Ventures, LLC                                        8,621                        ‐               ‐                          8,621          8,621                          0.005%      0.00%
RBC Capital Markets LLC Cust FBO David
W Nock, Roth IRA                                        8,621                        ‐               ‐                          8,621          8,621                          0.005%      0.00%
Warren Scott Hilton & Judith Kenney
Hilton                                                  8,620                        ‐               ‐                          8,620          8,620                          0.005%      0.00%
RBC Capital Markets LLC Cust FBO
Pieter Van Hoeven SEP IRA                               8,276                        ‐               ‐                          8,276          8,276                          0.005%      0.00%
S F Booth                                              87,693                                        ‐                         87,693            ‐                            0.049%      0.00%
Etta Winigrad                                          16,941                        ‐               ‐                         16,941          6,897                          0.009%      0.00%
Jeffrey A. Dominick                                    25,852                                        ‐                         25,852          5,719                          0.014%      0.00%
Gary Ruchaber                                          13,147                        ‐               ‐                         13,147          6,897                          0.007%      0.00%
Joel Vine                                              81,278                                                                  81,278            ‐                            0.045%      0.00%
Larry Evans                                            77,609                                        ‐         24,000         101,609            ‐                            0.043%      0.00%
Jarl Saal                                               7,000                        ‐               ‐                          7,000          7,000                          0.004%      0.00%
Scott Lindell                                           6,897                        ‐               ‐                          6,897          6,897                          0.004%      0.00%
Young Park                                             75,593                                                                  75,593            ‐                            0.042%      0.00%
Leonard I. Korman                                      75,180                                                                  75,180            ‐                            0.042%      0.00%
Hugh Rokeby Holland                                    75,001                                   58,334                        133,335            ‐                            0.042%      0.00%
Nicholas P Wentworth‐Stanley                           75,001                                   58,334                        133,335            ‐                            0.042%      0.00%
Charles David Murch                                    75,000                                  250,000                        325,000            ‐                            0.042%      0.00%
Fourys Co Ltd                                          75,000                                  250,000                        325,000            ‐                            0.042%      0.00%
Guy Henry Toller                                       75,000                                  100,000                        175,000            ‐                            0.042%      0.00%
Joseph J Karcsmar & Rene Laracuente                    75,000                                  250,000                        325,000            ‐                            0.042%      0.00%
Michael Gray                                           75,000                                  250,000                        325,000            ‐                            0.042%      0.00%
Oliroma Holdings SRL                                   75,000                                  350,000                        425,000            ‐                            0.042%      0.00%
Patrick Miles                                          75,000                                  250,000                        325,000            ‐                            0.042%      0.00%
Yask sa                                                75,000                                        ‐                         75,000            ‐                            0.042%      0.00%

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Ronald L Caplan                                      74,505                                                                  74,505            ‐                            0.042%      0.00%
Diane L Buechel Exempt Marital Trust
5/6/09                                               74,430                                                                  74,430            ‐                            0.042%      0.00%
Alan Robert Orchard                                  68,853                                        ‐                         68,853            ‐                            0.039%      0.00%
Charles L. Orr                                       68,281                                                                  68,281            ‐                            0.038%      0.00%
Kathryn Toller                                       67,500                                  195,000                        262,500            ‐                            0.038%      0.00%
Ronald B. Mandell                                    60,560                                        ‐                         60,560            ‐                            0.034%      0.00%
Christopher Ernest Inns                              60,001                                  120,000                        180,001            ‐                            0.034%      0.00%
David Kenneth Michael Walpole                        60,000                                  260,000          9,500         329,500            ‐                            0.034%      0.00%
Lauterstein Consulting Inc.                          60,000                                        ‐                         60,000            ‐                            0.034%      0.00%
Richard Peter Pease                                  60,000                                        ‐                         60,000            ‐                            0.034%      0.00%
Melvin B. Miller                                     59,396                                                                  59,396            ‐                            0.033%      0.00%
Marjonjac LLC                                        57,143                                  166,665                        223,808            ‐                            0.032%      0.00%
George Simon                                          5,173                        ‐               ‐                          5,173          5,173                          0.003%      0.00%
Briana Deluca                                         5,000                        ‐               ‐                          5,000          5,000                          0.003%      0.00%
Danielle Deluca                                       5,000                        ‐               ‐                          5,000          5,000                          0.003%      0.00%
Jill Homorodean                                       5,000                        ‐               ‐                          5,000          5,000                          0.003%      0.00%
Russell Malsam                                       55,000                                        ‐                         55,000            ‐                            0.031%      0.00%
Sarah Caroline Drnec                                 54,152                                        ‐                         54,152            ‐                            0.030%      0.00%
Mark Savarese and John Savarese
JTWROS                                               53,724                                        ‐                         53,724            ‐                            0.030%      0.00%
Walmer Capital Limited                               53,126                                  331,399                        384,525            ‐                            0.030%      0.00%
Brendan O'Neill                                       9,507                        ‐               ‐                          9,507          4,311                          0.005%      0.00%
Kim Herold                                           51,283                                                                  51,283            ‐                            0.029%      0.00%
Edward J Borkowski and Nancy B
McCormick                                            51,003                                        ‐                         51,003            ‐                            0.029%      0.00%
Daniel Erlanger and Beth Erlanger                    50,620                                        ‐                         50,620            ‐                            0.028%      0.00%
Steven Anthony Sussman                               50,250                                   67,000                        117,250            ‐                            0.028%      0.00%
Stephen James Blackford                              50,100                                  167,000                        217,100            ‐                            0.028%      0.00%
Alan Wood                                            50,000                                   66,666                        116,666            ‐                            0.028%      0.00%
Andrew Charles Finnemore Capon                       50,000                                   25,000                         75,000            ‐                            0.028%      0.00%
Elizabeth Anne Merrick                               50,000                                   25,000                         75,000            ‐                            0.028%      0.00%
Henry Guy Merrick                                    50,000                                   25,000                         75,000            ‐                            0.028%      0.00%
Jacopo Franzan                                       50,000                                  166,665                        216,665            ‐                            0.028%      0.00%
Josephine Linden                                     50,000                                   25,000                         75,000            ‐                            0.028%      0.00%
Natasha Imogen Merrick                               50,000                                   25,000                         75,000            ‐                            0.028%      0.00%
Olivia Louise Merrick                                50,000                                   25,000                         75,000            ‐                            0.028%      0.00%
Pains Fireworks Limited                              50,000                                   66,666                        116,666            ‐                            0.028%      0.00%
Richard F.B. Milligan‐Manby                          50,000                                   25,000                         75,000            ‐                            0.028%      0.00%
Matthew Hammond                                      47,920                                        ‐                         47,920            ‐                            0.027%      0.00%
Tarlton Parsons                                      47,667                                        ‐                         47,667            ‐                            0.027%      0.00%
Esther and Murray Alter                              47,500                                  125,000                        172,500            ‐                            0.027%      0.00%
Michele Laboda                                       12,036                        ‐               ‐                         12,036          3,454                          0.007%      0.00%
Alane Laboda                                         10,680                        ‐               ‐                         10,680          3,454                          0.006%      0.00%
Amy L Marz Revocable Trust                           10,680                        ‐               ‐                         10,680          3,454                          0.006%      0.00%
Jacob T. Laboda                                      10,680                        ‐               ‐                         10,680          3,454                          0.006%      0.00%
David Simon                                          45,185                                        ‐                         45,185            ‐                            0.025%      0.00%
Kevin John Gollop                                    45,001                                  210,000                        255,001            ‐                            0.025%      0.00%
Brad Weiner                                          44,711                                                                  44,711            ‐                            0.025%      0.00%
Gene Pendyke                                         44,711                                                                  44,711            ‐                            0.025%      0.00%
Mactaggart & Mickel Investments
Limited                                              44,267                                        ‐                         44,267            ‐                            0.025%      0.00%
Edward Napier Tremayne Miles                         44,250                                  147,500                        191,750            ‐                            0.025%      0.00%
Paul Vincent Adams                                        ‐                  43,110           43,110                         86,220            ‐                            0.024%      0.00%
James Weinstein                                      40,639                                                                  40,639            ‐                            0.023%      0.00%
Andrew L Epstein                                     40,000                                   50,000                         90,000            ‐                            0.022%      0.00%
PCL Investments                                      37,792                                                                  37,792            ‐                            0.021%      0.00%

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Connie J. Braden                                       10,746                        ‐               ‐                           10,746           2,587                          0.006%      0.00%
Adam Bidwell                                           36,000                                   18,000                           54,000             ‐                            0.020%      0.00%
Helen Jane Jenson                                      36,000                                  168,000                          204,000             ‐                            0.020%      0.00%
Helene Kathleen Webb                                   36,000                                  168,000                          204,000             ‐                            0.020%      0.00%
Lisa Ann Walpole                                       36,000                                  168,000                          204,000             ‐                            0.020%      0.00%
James Kenneth Baudains                                 35,964                                        ‐                           35,964             ‐                            0.020%      0.00%
Rachel Baudains                                        35,964                                        ‐                           35,964             ‐                            0.020%      0.00%
Keith B. Ward                                          34,990                                                                    34,990             ‐                            0.020%      0.00%
Walter John Schoendorf Jr                                   ‐                  33,333                 ‐                          33,333             ‐                            0.019%      0.00%
Family Trust created under Stuart A.
Marcus Revocable Trust dated 4‐4‐93,
as amended                                             32,117                                                                    32,117             ‐                            0.018%      0.00%
Geraldine M. Rosato                                    31,240                                                                    31,240             ‐                            0.017%      0.00%
Joan Johnson, Trustee Under
Declaration of Revocable Trust,
December 12, 2012                                      30,812                                                                    30,812             ‐                            0.017%      0.00%
Linda E. Johnson                                       30,812                                                                    30,812             ‐                            0.017%      0.00%
Mark Lombardi                                          30,217                                                                    30,217             ‐                            0.017%      0.00%
Robert and Monique Currie                              30,217                                                                    30,217             ‐                            0.017%      0.00%
Andrew Lawley                                          30,000                                        ‐                           30,000             ‐                            0.017%      0.00%
Andrew Mark Slinger                                    30,000                                  100,000                          130,000             ‐                            0.017%      0.00%
Tammy S Maury and Steven C Maury                       30,000                                   80,000                          110,000             ‐                            0.017%      0.00%
Victoria Alice Slinger                                 30,000                                  100,000                          130,000             ‐                            0.017%      0.00%
David Brookland and Valerie Brookland                  27,849                                        ‐                           27,849             ‐                            0.016%      0.00%
Alvin Block                                            27,426                                                                    27,426             ‐                            0.015%      0.00%
Frederic J Leonard                                     26,851                                        ‐                           26,851             ‐                            0.015%      0.00%
Tracy Anne Pernice                                     25,001                                   33,334                           58,335             ‐                            0.014%      0.00%
Jennifer and Eden Cahan                                25,000                                        ‐                           25,000             ‐                            0.014%      0.00%
Jo Ellen Spitz Trust                                   25,000                                        ‐                           25,000             ‐                            0.014%      0.00%
Kenneth Hanover and Sylvia T Hanover
JTWROS                                                 25,000                                         ‐                           25,000            ‐                            0.014%      0.00%
William Philip Richards                                25,000                                         ‐                           25,000            ‐                            0.014%      0.00%
Dale Phillips                                          22,272                                         ‐                           22,272            ‐                            0.012%      0.00%
John R Clarke                                          22,272                                         ‐                           22,272            ‐                            0.012%      0.00%
Elizabeth Lynn Bruce                                   21,500                                         ‐                           21,500            ‐                            0.012%      0.00%
Edward M Snider Estate                                 20,974                                                                     20,974            ‐                            0.012%      0.00%
Gerald Laboda                                          20,158                                                                     20,158            ‐                            0.011%      0.00%
Jonathan and Elizabeth Raith                           20,133                                                                     20,133            ‐                            0.011%      0.00%
Jonathan Paul Speck                                    20,005                                        ‐                            20,005            ‐                            0.011%      0.00%
Rupert Corfield                                        20,000                                        ‐                            20,000            ‐                            0.011%      0.00%
Jim Saltzman                                           19,473                                   17,850                            37,323            ‐                            0.011%      0.00%
Howard M. Casper                                       17,261                                                                     17,261            ‐                            0.010%      0.00%
Musser Foundation                                      17,261                                                                     17,261            ‐                            0.010%      0.00%
Gordaldo Limited                                       16,667                                 1,041,667                        1,058,334            ‐                            0.009%      0.00%
Eric Neulight and Caroline Neulight                    16,208                                         ‐                           16,208            ‐                            0.009%      0.00%
Gary Ackerman and Valerie Ackerman                     16,208                                    14,857                           31,065            ‐                            0.009%      0.00%
Gregory Allen Doran and Jennifer Burke
Doran                                                  16,208                                                                    16,208             ‐                            0.009%      0.00%
James Gorman and Megan Othersen
Gorman                                                 16,208                                         ‐                          16,208             ‐                            0.009%      0.00%
Katie B Hauer                                          16,208                                         ‐                          16,208             ‐                            0.009%      0.00%
Marc Bozzacco                                          16,208                                                                    16,208             ‐                            0.009%      0.00%
Ray Terwilliger                                        16,208                                   14,857                           31,065             ‐                            0.009%      0.00%
Euripides Psiloyenis                                   15,000                                   40,000                           55,000             ‐                            0.008%      0.00%
Gerald Laboda Revocable Trust                          14,857                                                                    14,857             ‐                            0.008%      0.00%
Mi Sook Han                                            13,551                                                                    13,551             ‐                            0.008%      0.00%


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Ram K. Sreekakula and Vijaya L
Sreekakula JTWROS                                   13,551                                                                  13,551            ‐                            0.008%      0.00%
Peter Musser                                        12,599                                                                  12,599            ‐                            0.007%      0.00%
Steve Atlas                                         12,599                                                                  12,599            ‐                            0.007%      0.00%
Catherine M Mintzer                                 12,500                                        ‐                         12,500            ‐                            0.007%      0.00%
Lawrence Mintzer                                    12,500                                        ‐                         12,500            ‐                            0.007%      0.00%
Rose and James Tarangelo                            12,070                                                                  12,070            ‐                            0.007%      0.00%
Coralroot Limited                                   12,000                                        ‐                         12,000            ‐                            0.007%      0.00%
Eugene J. Lipstein Trust                            11,924                                                                  11,924            ‐                            0.007%      0.00%
Albert, Abram & Ivan Nalibotsky, JT                 11,455                                                                  11,455            ‐                            0.006%      0.00%
Carl H Grossman                                     10,500                                   35,000                         45,500            ‐                            0.006%      0.00%
Gerald A. Mandell                                   10,488                                                                  10,488            ‐                            0.006%      0.00%
James W. and Elizabeth A. Smith                     10,488                                                                  10,488            ‐                            0.006%      0.00%
Judith Goldstein                                    10,488                                                                  10,488            ‐                            0.006%      0.00%
Thomas R. Cronin Trust                              10,488                                                                  10,488            ‐                            0.006%      0.00%
Carol Fries                                         10,044                                                                  10,044            ‐                            0.006%      0.00%
Cottage & Castle Ventures, Inc.                     10,044                                                                  10,044            ‐                            0.006%      0.00%
Daniel Southey                                      10,044                                                                  10,044            ‐                            0.006%      0.00%
Robert and Debra DeCosta                            10,044                                                                  10,044            ‐                            0.006%      0.00%
Cheryl and Thomas Guerin                            10,000                                        ‐                         10,000            ‐                            0.006%      0.00%
Christopher Edward Catling                          10,000                                   10,000                         20,000            ‐                            0.006%      0.00%
Sarena L Snider                                      8,794                                                                   8,794            ‐                            0.005%      0.00%
Ellen Rubin                                          7,448                                        ‐                          7,448            ‐                            0.004%      0.00%
The 2012 Gail Lipstein Family Trust                  7,101                                                                   7,101            ‐                            0.004%      0.00%
Sang Don and Anthony Kim                             6,778                                                                   6,778            ‐                            0.004%      0.00%
Thomas R. Masseria                                   6,778                                                                   6,778            ‐                            0.004%      0.00%
Brian & Robyn Carp                                   6,048                                                                   6,048            ‐                            0.003%      0.00%
Estate of Leonard Siegel                             6,048                                                                   6,048            ‐                            0.003%      0.00%
Larry J. Goldsborough                                6,048                                                                   6,048            ‐                            0.003%      0.00%
Gary Jacobs                                          5,250                                   14,000                         19,250            ‐                            0.003%      0.00%
Nisim Mirakov                                        5,040                                                                   5,040            ‐                            0.003%      0.00%
Vinod and Sailaja Kuruvadi                           5,040                                                                   5,040            ‐                            0.003%      0.00%
Robert A. Zuritsky                                   5,019                                                                   5,019            ‐                            0.003%      0.00%
Karen S Donovan                                      5,000                                   14,000                         19,000            ‐                            0.003%      0.00%
Madan G Moudgal                                      5,000                                        ‐                          5,000            ‐                            0.003%      0.00%
Russell D Coon Jr                                    5,000                                        ‐                          5,000            ‐                            0.003%      0.00%
Elizabeth Garrison Trust                             4,122                                                                   4,122            ‐                            0.002%      0.00%
Jacqueline B. Garrison Trust                         4,122                                                                   4,122            ‐                            0.002%      0.00%
Jennifer Garrison Trust                              4,122                                                                   4,122            ‐                            0.002%      0.00%
Kyle McBrearty Trust                                 4,122                                                                   4,122            ‐                            0.002%      0.00%
Megan McBrearty Trust                                4,122                                                                   4,122            ‐                            0.002%      0.00%
Robert N. Garrison, III Trust                        4,122                                                                   4,122            ‐                            0.002%      0.00%
Yeon Ho Kim                                          4,062                                                                   4,062            ‐                            0.002%      0.00%
A2MI Trinity 2 Partners                              3,750                                        ‐                          3,750            ‐                            0.002%      0.00%
Silverplay Limited                                   3,750                                        ‐                          3,750            ‐                            0.002%      0.00%
Warren Scott Hilton                                  3,750                                        ‐                          3,750            ‐                            0.002%      0.00%
George Xixis                                         2,500                                        ‐                          2,500            ‐                            0.001%      0.00%
Andrew Kim                                           2,016                                                                   2,016            ‐                            0.001%      0.00%
Gary Edelman                                         2,000                                        ‐                          2,000            ‐                            0.001%      0.00%
Harry F Mcann                                        1,356                                                                   1,356            ‐                            0.001%      0.00%
John M Apathy                                        1,250                                        ‐                          1,250            ‐                            0.001%      0.00%
Bernard Spain                                            1                        ‐          87,920                         87,921            ‐                         0.000001%      0.00%
Bernard Spain Family Partnership                         1                        ‐          40,644                         40,645            ‐                         0.000001%      0.00%
Don Freeman                                              1                                        ‐                              1            ‐                         0.000001%      0.00%
Paul Kelly                                               1                        ‐          39,022                         39,023            ‐                         0.000001%      0.00%
Remy Fox                                                 1                        ‐           9,274                          9,275            ‐                         0.000001%      0.00%
Renee Freeman                                            1                                        ‐                              1            ‐                         0.000001%      0.00%

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Wendy Trow‐Fox                                          1                       ‐            4,709                            4,710            ‐                         0.000001%      0.00%
A.C.L.M. Luijks                                         ‐                                   35,500                           35,500            ‐                              0.0%      0.00%
Accrued Agent Warrants                                  ‐                                  700,408                          700,408            ‐                              0.0%      0.00%
AJ Yeh                                                  ‐                                        ‐        15,000             15,000            ‐                              0.0%      0.00%
Amanda Von Ahnen                                        ‐                                        ‐       100,000            100,000            ‐                              0.0%      0.00%
Bart Barenbrug                                          ‐                                        ‐       600,704            600,704            ‐                              0.0%      0.00%
Blake Capital Investments Limited                       ‐                                   18,303                           18,303            ‐                              0.0%      0.00%
Blue Ocean Partners Ltd                                 ‐                                  950,000                          950,000            ‐                              0.0%      0.00%
Bradley Woods & Co Ltd                                  ‐                                  250,000                          250,000            ‐                              0.0%      0.00%
Bram Riemens                                            ‐                                        ‐       532,276            532,276            ‐                              0.0%      0.00%
Bud Robertson                                           ‐                                        ‐       350,000            350,000            ‐                              0.0%      0.00%
Dan Rink                                                ‐                                        ‐       200,000            200,000            ‐                              0.0%      0.00%
Don Freeman & Renee Freeman                             ‐                       ‐           14,431                           14,431            ‐                              0.0%      0.00%
Duncan Humphreys                                        ‐                                        ‐       350,000            350,000            ‐                              0.0%      0.00%
Eric Leenman                                            ‐                                        ‐         7,907              7,907            ‐                              0.0%      0.00%
Eric Singer                                             ‐                                  256,000                          256,000            ‐                              0.0%      0.00%
Francisco Heredia                                       ‐                                        ‐         7,265              7,265            ‐                              0.0%      0.00%
Franklin Rodgers                                        ‐                                        ‐       200,000            200,000            ‐                              0.0%      0.00%
Geoval Consultants LLC                                  ‐                                1,300,000                        1,300,000            ‐                              0.0%      0.00%
Gollop Consulting LLC                                   ‐                                   67,134                           67,134            ‐                              0.0%      0.00%
Grazina Seskeviciute                                    ‐                                        ‐       469,090            469,090            ‐                              0.0%      0.00%
Hans Wouters                                            ‐                                        ‐        15,172             15,172            ‐                              0.0%      0.00%
Hans Zuidema                                            ‐                                        ‐       750,889            750,889            ‐                              0.0%      0.00%
Island Investment Holdings                              ‐                                   63,243                           63,243            ‐                              0.0%      0.00%
Jack Wu                                                 ‐                                        ‐         60,000            60,000            ‐                              0.0%      0.00%
Jasmin Zhang                                            ‐                                        ‐         22,864            22,864            ‐                              0.0%      0.00%
Jason Xu                                                ‐                                        ‐         15,000            15,000            ‐                              0.0%      0.00%
Jeffrey Chan                                            ‐                                        ‐         19,708            19,708            ‐                              0.0%      0.00%
Jing Cao                                                ‐                                        ‐         17,505            17,505            ‐                              0.0%      0.00%
Jolene Sun                                              ‐                                        ‐         15,000            15,000            ‐                              0.0%      0.00%
Joop Martens                                            ‐                                        ‐          8,570             8,570            ‐                              0.0%      0.00%
Kaushik Banerjee                                        ‐                                        ‐        250,000           250,000            ‐                              0.0%      0.00%
Kevin Cabot                                             ‐                                        ‐         50,000            50,000            ‐                              0.0%      0.00%
Leo Riley                                               ‐                                        ‐         70,000            70,000            ‐                              0.0%      0.00%
Lily Wang                                               ‐                                        ‐         15,000            15,000            ‐                              0.0%      0.00%
Linda Wang                                              ‐                                        ‐         15,000            15,000            ‐                              0.0%      0.00%
Liu Zhen                                                ‐                                        ‐         75,000            75,000            ‐                              0.0%      0.00%
Lixin Wang                                              ‐                                        ‐         15,000            15,000            ‐                              0.0%      0.00%
Lizzy Zhou                                              ‐                                        ‐         75,000            75,000            ‐                              0.0%      0.00%
Mark Chen                                               ‐                                        ‐         50,000            50,000            ‐                              0.0%      0.00%
Mark Groot                                              ‐                                        ‐         37,507            37,507            ‐                              0.0%      0.00%
Mark Hsu                                                ‐                                        ‐        375,000           375,000            ‐                              0.0%      0.00%
Mark J Coleman                                          ‐                                1,687,975      1,000,000         2,687,975            ‐                              0.0%      0.00%
Mark R Savarese                                         ‐                                  100,000                          100,000            ‐                              0.0%      0.00%
Marten Voogt                                            ‐                                        ‐          8,843             8,843            ‐                              0.0%      0.00%
Martin Harwig                                           ‐                                        ‐         33,793            33,793            ‐                              0.0%      0.00%
Matt JJ Lo                                              ‐                                        ‐      1,105,500         1,105,500            ‐                              0.0%      0.00%
Michael Cremers                                         ‐                                        ‐         35,536            35,536            ‐                              0.0%      0.00%
Michael F Aguilar                                       ‐                                    3,000                            3,000            ‐                              0.0%      0.00%
Mick McDonald                                           ‐                                        ‐       470,432            470,432            ‐                              0.0%      0.00%
Miriam Banken                                           ‐                                        ‐        10,078             10,078            ‐                              0.0%      0.00%
Misa Itaya                                              ‐                                        ‐        15,000             15,000            ‐                              0.0%      0.00%
Muni Mohan                                              ‐                                        ‐       150,000            150,000            ‐                              0.0%      0.00%
Mutlaq Alzayed                                          ‐                                   66,666                           66,666            ‐                              0.0%      0.00%
Neel Erp                                                ‐                                        ‐         8,220              8,220            ‐                              0.0%      0.00%
Nicole Maneen                                           ‐                                        ‐       100,000            100,000            ‐                              0.0%      0.00%
Pamela Wang                                             ‐                                        ‐        15,000             15,000            ‐                              0.0%      0.00%

                                                                                                       TA-067
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Holder                        Class A Common Shares Class B Preferred Shares          Warrants    Options/SARS             FD   Class B Voting    Class C Voting   Economic %   Voting %
Patric Theune                                     ‐                                         ‐         84,751           84,751            ‐                              0.0%      0.00%
Peter Bergmans                                    ‐                                         ‐         10,691           10,691            ‐                              0.0%      0.00%
Peter Roelen                                      ‐                                         ‐        133,433          133,433            ‐                              0.0%      0.00%
Qiqi Wang                                         ‐                                         ‐         15,000           15,000            ‐                              0.0%      0.00%
Ragu Pati                                         ‐                                         ‐        150,000          150,000            ‐                              0.0%      0.00%
Robert Petch                                      ‐                                    50,874                          50,874            ‐                              0.0%      0.00%
Ronald Jacobs                                     ‐                                   250,000                         250,000            ‐                              0.0%      0.00%
Rosie Zhang                                       ‐                                         ‐          15,000          15,000            ‐                              0.0%      0.00%
Russell Burke                                     ‐                                     7,500                           7,500            ‐                              0.0%      0.00%
S Neelam                                          ‐                                         ‐        150,000          150,000            ‐                              0.0%      0.00%
Sacha Petrovic                                    ‐                                         ‐          7,286            7,286            ‐                              0.0%      0.00%
Sara Robertson                                    ‐                                         ‐         75,000           75,000            ‐                              0.0%      0.00%
Sheeba Rajesh                                     ‐                                         ‐        156,878          156,878            ‐                              0.0%      0.00%
Simon Ford                                        ‐                                         ‐        200,000          200,000            ‐                              0.0%      0.00%
Stefan Riemens                                    ‐                                         ‐          7,816            7,816            ‐                              0.0%      0.00%
Suby Joseph                                       ‐                                         ‐        200,000          200,000            ‐                              0.0%      0.00%
Tonneke Roelen                                    ‐                                         ‐         51,052           51,052            ‐                              0.0%      0.00%
Toon Berkel                                       ‐                                         ‐        216,202          216,202            ‐                              0.0%      0.00%
Vikas Kshetrapal                                  ‐                                         ‐        100,000          100,000            ‐                              0.0%      0.00%
Walther Roelen                                    ‐                                         ‐        896,412          896,412            ‐                              0.0%      0.00%
Wangling                                          ‐                                         ‐         15,000           15,000            ‐                              0.0%      0.00%
Zhu Lin                                           ‐                                         ‐         60,000           60,000            ‐                              0.0%      0.00%
Zygintas Papartis                                 ‐                                         ‐        197,038          197,038            ‐                              0.0%      0.00%
Total (Pre‐HIHL Conversion)            178,355,839                 413,088         513,385,367     12,521,418     704,675,712     26,970,380        45,000,000




                                                                                                   TA-068
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                             UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF PENNSYLVANIA


      In re:
                                                                 Chapter 11
      Stream TV Networks, Inc.,
                                                                 Bky. No. 23-10763 (MDC)
                     Debtor.


      In re:                                                     Chapter 11

      Technovative Media, Inc.,                                  Bky. No. 23-10764 (MDC)

                 Debtor.                                         (Jointly Administered)1


                                        MEMORANDUM

 I.        INTRODUCTION

           Before the Court for disposition are two motions by Hawk Investment Holdings Ltd.

 (“Hawk”). The first motion (the “Hawk Stay Relief Motion”) 2 seeks relief from the automatic

 stay in order to proceed with an action in the Delaware Court of Chancery (the “Delaware

 Chancery Court”) seeking relief pursuant to §225 of Title 8 of the Delaware Code (the “Section

 225 Action”) against debtors Stream TV Networks, Inc. (“Stream”) and Technovative Media Inc.

 (“Technovative”, and together with Stream, the “Debtors”). The second motion (the “Section

 1112/1104 Motion”) seeks an order, pursuant to §1112(b) of the United States Bankruptcy Code,

 11 U.S.C. §§101, et seq. (the “Bankruptcy Code”), converting the Debtors’ chapter 11

 bankruptcy cases to cases under chapter 7 of the Bankruptcy Code or dismissing them, or




 1
  On April 11, 2023, the Court entered an order directing joint administration of the above-captioned
 cases. Bankr. Docket No. 81.
 2
     Bankr. Docket No. 16.

                                                     1


                                                   TA-069
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 alternatively, appointing a trustee to administer the Debtors’ bankruptcy cases pursuant to

 §1104(a) of the Bankruptcy Code.

         For the reasons set forth herein, the Court will (i) grant the Section 1112/1104 Motion to

 the extent it seeks the appointment of a trustee to administer the Debtors’ chapter 11 bankruptcy

 cases, and (ii) grant the Hawk Stay Relief Motion to permit the Section 225 Action to proceed, as

 set forth below.

 II.     RELEVANT PROCEDURAL AND FACTUAL BACKGROUND 3

         The history of the Debtors, their relationship with their creditors, and, in particular from

 the Court’s perspective, the events during these bankruptcy cases, are convoluted, and for the

 most part, riddled with strife. The docket in the Debtors’ main case spans over 500 entries,

 telling a story of near-endless conflict.4 The Court has spent an inordinate amount of time

 dealing with expedited motion practice, emergency hearings, and drawn-out contested matters.

 While the Court does not typically summarize the major activity in a case in order to explain a

 decision, here it believes a lengthy summary is necessary in order to paint the picture of the

 acrimony, relative lack of progress, and overlapping and simultaneous controversies these cases

 have endured over the nearly ten months they have been pending. Set forth below, therefore, is a

 summary of the major events not only that led to the Debtors’ bankruptcy cases, but also that

 have transpired before this Court since the Debtors filed their bankruptcy petitions.




 3
   The factual background recited herein is drawn from various pleadings filed on the docket as well as the
 testimony and evidence adduced at Trial (as defined infra). The Court notes, however, that to the extent
 such facts as set forth in the parties’ various pleadings are disputed, such disputes are irrelevant to the
 Court’s resolution of the pending motions, as the Court has drawn its conclusions from the record at Trial
 and the procedural history of these cases.
 4
   This does not even account for the approximately 120 docket entries in the adversary action the Debtors
 filed in August 2023 against various parties, discussed infra. See Adv. Pro. No. 23-00057.

                                                      2


                                                    TA-070
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           A.      Pre-Petition Events

                   1.    Formation of the Debtors

           Stream was founded in 2009 by Mathu Rajan (“Mr. Rajan”) and Raja Rajan (together

 with Mr. Rajan, “the Rajans”). The company was founded to develop and commercialize a

 proprietary technology for viewing three-dimensional content without the need for 3D glasses or

 goggles (“Ultra-D”). Stream created Technovative, a wholly owned subsidiary, which in turn

 directly or indirectly owns various subsidiaries, including SeeCubic B.V. (“SCBV”), an entity

 formed under the laws of the Netherlands and which functions as the primary research and

 development engine for the business.5 Together, these subsidiaries own and hold rights in

 technology including Ultra-D. Stream’s Ultra-D technology was developed, in part, based on

 certain intellectual property, including a portfolio of glasses-free 3D patents licensed from

 Koninklijke Philips Electronics (“Philips”). Stream also has a technology license from

 Rembrandt 3d Holding Ltd. (“Rembrandt”), which allows it to use the Rembrandt technology

 incorporated into Stream’s Ultra-D products (the “Rembrandt Licensing Agreement”).

                   2.    Funding from SLS and Hawk

           From 2011 to 2020, Stream’s senior secured creditor, SLS Holdings VI, LCC (“SLS”),

 loaned Stream $6 million through a series of secured promissory notes (the “SLS Notes”). In

 return, Stream pledged all of its assets, and the assets of its wholly-owned subsidiaries, as

 security for the SLS Notes. Stream and SLS executed a security agreement which authorized

 SLS to take control of Stream’s assets to satisfy the SLS Notes in the event Stream defaulted.

 Between 2011 and 2014, Shadron Stastney (“Mr. Stastney”), the principal of SLS, served as an

 outside director of Stream. He rejoined the board as Vice Chairman in 2018 in a strategic role


 5
     See Exhibit D-5.

                                                   3


                                                TA-071
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 until resigning in January 2020.

        Between 2014 and 2020, Stream’s junior secured creditor, Hawk Investment Holdings

 Limited (“Hawk”), loaned Stream more than £50 million through a series of junior secured notes

 (the “Hawk Notes”, and together with the SLS Notes, the “Notes”). Subject to the senior

 security interest held by SLS, Stream pledged all of its assets as security for the Hawk Notes and

 executed a security agreement that authorized Hawk to take control of Stream’s assets to satisfy

 the Hawk Notes if Stream defaulted. On January 29, 2018, Stream entered into a conversion

 agreement with Hawk, whereby the parties agreed to terms pursuant to which Stream would be

 permitted to convert the outstanding portion of the Hawk Notes to Stream equity (the “Hawk

 Conversion Agreement”). Stream and SLS contemporaneously entered into a parallel agreement

 with respect to conversion of the SLS Notes to Stream equity (the “SLS Conversion Agreement”

 and together with the Hawk Conversion Agreement, the “Conversion Agreements”).

                3.     Omnibus Agreement

        In March 2020, Stream was notified it was in default under the SLS and Hawk Notes. In

 May 2020, Stream, Hawk, SLS, and 52 of its stockholders entered into an Omnibus Agreement

 whereby Stream would transfer all of its assets to a newly formed entity, SeeCubic Inc.

 (“SeeCubic”), and in exchange, SLS and Hawk would no longer pursue a foreclosure, and their

 claims under the Notes would be entirely extinguished. Mr. Stastney, who by then had left

 Stream, formed SeeCubic as a Delaware corporation to acquire Stream’s assets pursuant to the

 Omnibus Agreement.

                4.     Litigation Over the Omnibus Agreement

        In September 2020, Stream filed suit against SeeCubic in the Delaware Chancery Court

 to invalidate the Omnibus Agreement. Both Stream and SeeCubic moved for preliminary



                                                 4


                                               TA-072
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 injunctions whereby Stream sought to prevent SeeCubic from taking any actions to enforce the

 Omnibus Agreement, and SeeCubic sought to compel Stream’s compliance therewith. In

 December 2020, the Delaware Chancery Court issued an opinion finding that SeeCubic was

 entitled to injunctive relief and barring Stream from failing to comply with the Omnibus

 Agreement. In September 2021, the Delaware Chancery Court granted SeeCubic’s motion for

 summary judgment (the “Summary Judgment Order”), declaring the Omnibus Agreement to be

 valid and entering a permanent injunction preventing Stream from interfering with the

 agreement.

        In November 2021 Stream appealed the Delaware Chancery Court’s ruling, 6 alleging that

 the Delaware Chancery Court erred because Stream’s unambiguous certificate of incorporation

 required the approval of Stream’s Class B stockholders for Stream’s entry into the Omnibus

 Agreement. In June 2022, the Delaware Supreme Court vacated the Summary Judgment Order

 on the grounds that the Omnibus Agreement was invalid without the approval of Stream’s Class

 B Stockholders. The Delaware Supreme Court also found that (1) Hawk was a secured creditor

 of Stream, (2) Stream had pledged all of its assets as security for the more than $50 million

 Hawk lent to Stream, and (3) the Hawk Notes were executed in conjunction with security

 agreements authorizing Hawk to take control of Stream’s assets to satisfy the Hawk Notes if

 Stream defaulted.

        On remand, in September 2022, the Delaware Chancery Court ordered the parties to

 unwind the Omnibus Agreement but confirmed that Hawk’s and SLS’s rights remained intact.


 6
   On November 10, 2021, the Delaware Chancery Court issued an Order Entering Partial Final Judgment
 Under Rule 54(b) (the “Partial Final Judgment Order”), effectively making the rulings in the Summary
 Judgment Order final in order to permit appeal, finding that even though SeeCubic’s conversion claim
 remained unresolved, there was “no risk that after addressing [whether the Omnibus Agreement was
 valid] on appeal, the Delaware Supreme Court might have to revisit the same issue in an appeal from a
 final trial-level adjudication.” See First Day Declaration, at Exhibit X.

                                                   5


                                                 TA-073
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 In its opinion, the Court held that because the Omnibus Agreement did not validly transfer legal

 title of Stream’s assets to SeeCubic and that SeeCubic would be required to transfer back to

 Stream the equity placed in the operating subsidiary, Technovative.

                5.     Stream’s Prior Bankruptcies

        While the Omnibus Agreement litigation was playing out, on February 24, 2021, Stream

 filed a voluntary chapter 11 bankruptcy petition in the United States Bankruptcy Court for the

 District of Delaware (the “Delaware Bankruptcy Court”). On May 17, 2021, the Delaware

 Bankruptcy Court dismissed the case as a bad faith filing. After dismissal, on May 23, 2021,

 three of Stream’s purported unsecured creditors, including Rembrandt, filed an involuntary

 Chapter 7 bankruptcy petition against Stream. On June 10, 2021, the Delaware Bankruptcy

 Court again dismissed the involuntary bankruptcy action as a bad faith filing, and imposed a

 twelve-month bar on Stream re-filing for bankruptcy.

                6.     Mr. Rajan’s Formation of VSI

        Mr. Rajan formed Visual Semiconductor, Inc. (“VSI”) in 2022, purportedly as a vehicle

 to raise new capital and support Stream. Upon formation, Mr. Rajan was the CEO of VSI. Mr.

 Rajan and members of his family are minority economic shareholders in VSI but have the

 majority of voting stock.

                7.     The Proxy Notice, Marshaling Directive and Section 225 Action

        On October 17, 2022, after ownership of the Technovative shares was transferred to

 Stream, in furtherance of the unwinding of the Omnibus Agreement, Hawk issued a Proxy

 Notice, purportedly pursuant to its rights under the Hawk Notes, to remove Mr. Rajan as the sole

 director of Technovative and replace him with Mr. Stastney. Hawk further directed Stream to

 marshal its collateral to prepare for a sale under the Uniform Commercial Code in order to



                                                 6


                                               TA-074
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 satisfy the outstanding indebtedness (the “Marshaling Directive”). Stream refused to comply

 with the Proxy Notice and Marshaling Directive, arguing that it had converted Hawk’s secured

 debt to Stream equity pursuant to the Hawk Conversion Agreement, and therefore Hawk no

 longer possessed secured creditor rights pursuant to which it could issue the Proxy Notice or the

 Marshaling Directive.

        On the same date, Hawk responded by filing the Section 225 Action to resolve whether

 Hawk validly appointed Mr. Stastney as the sole director of Technovative as of October 17,

 2022. On October 20, 2022, the Delaware Chancery Court entered an order providing that,

 pending resolution of the Section 225 Action, Technovative was to operate according to the

 status quo, and by separate order, appointing a receiver to operate Technovative on a day-to-day

 basis (the “Receiver”).

        On November 13, 2022, Hawk moved for summary judgment in the Section 225 Action

 on the issue of whether Stream defaulted under the Hawk Notes. On November 29, 2022, the

 Delaware Chancery Court issued a decision finding that, notwithstanding the Supreme Court

 Opinion’s reversal of the legal determination that the Omnibus Agreement was valid, the

 underlying factual findings were undisturbed, such that Stream was collaterally estopped from

 challenging whether (1) the Notes are valid and binding obligations of Stream; (2) Stream is in

 default under the Notes; (3) Hawk may exercise the “Secured Creditor Rights” under the Notes,

 including issuance of the Proxy Notice; (4) as of November 10, 2021, the Hawk Notes had not

 been converted or satisfied; and (5) any conversion of the Hawk Notes must be supported by new

 money, which had not occurred as of November 10, 2021 (the “Collateral Estoppel Opinion”).

        Trial in the Section 225 Action was scheduled to commence on March 23, 2023, but was

 stayed by the filing of the Debtors’ instant bankruptcy petitions.



                                                  7


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           B.      Debtors’ Pending Bankruptcy Cases

                   1.     The Filing of the Petitions

           The Debtors each filed voluntary bankruptcy petitions (each, a “Petition” and together,

 the “Petitions”) under chapter 11 of the Bankruptcy Code on March 15, 2023. 7 Notwithstanding

 the dispute to be litigated over who is the rightful director of Technovative, Mr. Rajan signed

 both Stream’s Petition and Technovative’s Petition as Director. 8 The Corporate Resolutions

 attached to each of the Petitions identified Mr. Rajan as a Director, Secretary and Chief

 Executive Officer of Stream and Technovative, respectively, and he executed the Corporate

 Resolutions as Secretary of each entity.

           Attached to Stream’s Petition was Official Form 204, setting forth a list of its 20 largest

 non-insider unsecured creditors. Those creditors held purported claims totaling over $14

 million.9 Attached to Technovative’s petition was its Official Form 204, which listed only

 Rembrandt, with a claim purported claim of $10,000,000.00.

                   2.     Hawk’s Stay Relief Motion

           Less than one week after the Petitions were filed, on March 20, 2023, Hawk filed the

 Hawk Stay Relief Motion. Hawk seeks relief from stay to proceed with the Section 225 Action

 against the Debtors in the Delaware Chancery Court. Hawk argues the Section 225 Action was


 7
     Bankr. Docket No. 1; Bankr. Case No. 23-17064, Docket No. 1.
 8
   On May 4, 2023, Stream filed an amended bankruptcy Petition, executed by Mr. Rajan as CEO and
 Director. Bankr. Docket No. 186. The amended Petition made two changes to the initial Petition. First,
 it responded in the affirmative to Question 12, asking whether the debtor owns or has possession of any
 real property or personal property that needs immediate attention, and by attachment references the
 Bonding Equipment (defined infra) located in China. Second, in response to Question 15 regarding its
 estimated assets, it reduced the range of value from $500,000,001-$1 billion to $100,000,001-
 $500,000,000.
 9
   On April 12, 2023, the Office of the United States Trustee (the “U.S. Trustee”) filed a statement stating
 that an unsecured creditors’ committee had not been appointed due to lack of response from unsecured
 creditors regarding serving on a committee. Bankr. Docket No. 100.

                                                      8


                                                    TA-076
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 days away from trial when the Petitions were filed, and the Delaware Chancery Court is already

 intimately familiar with the dispute between Hawk and the Debtors and the governing Delaware

 law. Hawk asserts that the Section 225 Action will resolve issues of state law that, while

 fundamental to the Debtors’ bankruptcy cases, are most efficiently and appropriately resolved by

 the Delaware Chancery Court, including (i) who was the rightful director of Technovative pre-

 petition, and therefore whether Technovative’s bankruptcy filing was authorized (the

 “Technovative Director Issue”), and (ii) whether Stream’s secured debt to Hawk was converted

 to equity pre-petition (the “Debt Conversion Issue”). 10

           On April 5, 2023, the Debtors objected to the Hawk Stay Relief Motion (the “Debtors’

 Stay Relief Objection”).11 The Debtors argue that Hawk’s purpose in prosecuting the Section

 225 Action is to obtain a declaration that it can exercise rights as a purported secured creditor of

 Technovative, enabling it to conduct a sale of Technovative’s assets under Article 9 of the

 Uniform Commercial Code (and “Article 9 Sale”). The Debtors argue that even if Hawk were to

 obtain such a declaration, it would be prohibited by the automatic stay from exercising any such

 rights absent further stay relief, and that such a sale would eviscerate the Debtors’ primary

 assets, consisting of intellectual property held by their subsidiaries. Rembrandt filed a joinder to

 the Debtors’ Stay Relief Objection.12

           On April 14, 2023, the Court held an initial hearing on the Hawk Stay Relief Motion and



 10
    Hawk argues that rulings by the Delaware Chancery Court will “result in a complete resolution of
 issues surrounding (1) the amount and priority of the claims in respect of the Hawk Notes and the SLS
 Notes, (2) the validity of the liens securing the Hawk Notes and the SLS Notes, (3) the resolution of any
 current defense to the Hawk Notes and the SLS Notes, and (4) the requirements for any potential future
 conversion of the Hawk Notes,” which Hawk asserts are “all critical to the resolution of these Chapter 11
 cases.” Hawk Stay Relief Motion, at 21.
 11
      Bankr. Docket No. 78.
 12
      Bankr. Docket No. 101.

                                                     9


                                                   TA-077
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 determined that disputed facts would require an evidentiary trial. That trial (the “Trial”) was

 initially scheduled to commence on May 22, but was then rescheduled to June 26.

                   3.     Debtors’ Stay Violation Motion

           On March 28, 2023, the Debtors filed an emergency motion seeking enforcement of the

 automatic stay (the “Stay Violation Motion”)13 and imposition of related sanctions against

 SeeCubic and SCBV, as well as certain entities and individuals purportedly acting on their behalf

 (the “SeeCubic Parties”). In general, the Debtors asserted that SeeCubic and SCBV were

 exercising possession and/or control over certain bonding equipment (the “Bonding Equipment”)

 of the Debtors located at a warehouse in China, which the Debtors asserted was essential to their

 ability to receive client orders and commence production of their Ultra-D products. The Stay

 Violation Motion asserted that SeeCubic and SCBV, at the direction of Mr. Stastney, were

 interfering with the Debtors’ repossession and relocation of the Bonding Equipment, in violation

 of the automatic stay and the Delaware Supreme Court’s decision directing the unwinding of the

 Omnibus Agreement. The Stay Violation Motion also asserted that SeeCubic and SCBV, at the

 direction of Mr. Stastney, were exercising possession and control over other Stream assets (the

 “Other Stream Assets”), including Ultra-D demonstrator samples, engineering assets, laptops,

 and intellectual property and software, in violation of the automatic stay.

           On April 5, 2023, the Debtors filed an amended stay violation motion (the “Amended

 Stay Violation Motion”).14 In addition to their assertions regarding SeeCubic and SCBV’s

 interference with and control over the Bonding Equipment and Other Stream Assets, the Debtors

 asserted that Mr. Stastney, SLS, SeeCubic, and Hawk had initiated proceedings in Amsterdam



 13
      Bankr. Docket No. 49.
 14
      Bankr. Docket No. 76.

                                                  10


                                                TA-078
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 “to take certain measures preventing Debtors from managing its subsidiaries.” The Debtors

 sought a directive from the Court that the SeeCubic Parties’ possession and control over the

 Bonding Equipment and Other Stream Assets was to cease, and such estate property was to be

 turned over to the Debtors.15

           On April 7, 2023, Debtors filed a supplement to the Amended Stay Violation Motion (the

 “Stay Violation Supplement”),16 asserting that Mr. Stastney, SLS, SeeCubic, and Hawk had filed

 a joint legal action (the “Amsterdam Action”), apparently different from the summary

 proceeding described in the Amended Stay Violation Motion, seeking the removal of Mr. Rajan

 as a director and CEO of Stream’s Dutch subsidiaries, in further violation of the automatic stay.

           On April 12, 2023, SeeCubic objected to the Stay Violation Motion and the Amended

 Stay Violation Motion,17 asserting that the Bonding Equipment and Other Stream Assets were

 not property of Debtors’ estates, and even if they are, mere possession did not constitute

 violation of the automatic stay because it does not apply to the non-debtor Dutch subsidiaries.

 Hawk filed a joinder in support of SeeCubic’s objection. 18

           The Court held an initial hearing on the Stay Violation Motion on April 14, 2023. With

 respect to the portions of that motion related to the Other Stream Assets and the Amsterdam

 Action, the Court reserved ruling pending additional information and evidence. 19 With respect to

 the Bonding Equipment, on July 13, 2023, the Court entered an order appointing my colleague,


 15
   The Amended Stay Violation Motion did not seek specific relief with respect to the Amsterdam
 proceedings that were assumedly the reason for the amendment.
 16
      Bankr. Docket No. 90.
 17
      Bankr. Docket No. 105.
 18
      Bankr. Docket No. 106.
 19
   The Debtors followed with another emergency motion on April 18, 2023, seeking withdrawal of the
 Amsterdam Action in advance of a scheduled April 20 hearing in the Netherlands. Bankr. Docket No.
 125. The Amsterdam court, however, thereafter postponed the scheduled hearing.

                                                   11


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 Judge Mayer, to mediate that dispute.20 To the Court’s knowledge, this dispute remains in

 mediation.

                   4.     Hawk’s Section 1112/1104 Motion

           On April 6, 2023, Hawk filed the Section 1112/1104 Motion. As noted supra and

 discussed in greater detail infra, the motion seeks either conversion or dismissal of the Debtors’

 bankruptcy cases pursuant to §1112(b) of the Bankruptcy Code, or alternatively, the appointment

 of a chapter 11 trustee to administer the Debtors’ bankruptcy cases pursuant to §1104(a) of the

 Bankruptcy Code.

           With respect to conversion or dismissal, Hawk argues that there are three statutorily-

 grounded bases for converting or dismissing the cases under §1112(b) of the Bankruptcy Code.

 First, Hawk argues there has been substantial and continuing loss to the Debtors’ bankruptcy

 estates without likelihood of rehabilitation, as contemplated by §1112(b)(4)(A). Second, Hawk

 argues there has been gross mismanagement of the estates, as contemplated by §1112(b)(4)(B).

 Third, Hawk argues the Debtors have engaged in the unauthorized use of cash collateral, as

 contemplated by §1112(b)(4)(D).21 In addition to these statutory grounds for finding cause to

 convert or dismiss, Hawk argues the Debtors lacked good faith in filing their bankruptcy cases,

 providing an alternate grounds for dismissal under §1112(b). Finally, Hawk argues that

 Technovative’s bankruptcy filing was unauthorized because Mr. Rajan was replaced as a director

 of Technovative prior to its Petition being filed, and therefore could not have authorized the

 filing on behalf of the entity. After asserting that multiple grounds exist for conversion or

 dismissal, Hawk argues in the Section 1112/1104 Motion that the Court should dismiss the


 20
      Bankr. Docket No. 294.
 21
   As discussed infra, Hawk did not address the unauthorized use of cash collateral in its post-trial brief,
 and therefore the Court understands Hawk to no longer be asserting this basis for conversion or dismissal.

                                                     12


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 Debtors’ cases with prejudice, rather than convert them, because it would alleviate any fears of

 the Debtors refiling, the Debtors are non-operational, and the both conversion and dismissal will

 likely conclude with the sale of the Debtors’ equity in their subsidiaries. 22

           With respect to the appointment of a chapter 11 trustee, Hawk asserts that even if the

 Court is not inclined to convert or dismiss the Debtors’ cases, cause exists to appoint a trustee

 based on the Debtors’ pre- and post-petition history of fraud, dishonesty, incompetence, and

 gross mismanagement of the Debtors’ businesses. Hawk further argues that Mr. Rajan has

 engaged in self-dealing for the benefit of VSI that has led to irreconcilable acrimony between the

 Debtors’ management and several stakeholders.

           On May 8, 2023, the Debtors filed an opposition to the Section 1112/1104 Motion (the

 “Debtors’ Section 1112/1104 Opposition”).23 Rembrandt also filed an opposition to the Section

 1112/1104 Motion (the “Rembrandt Section 1112/1104 Opposition”). 24

           As was the case with the Hawk Stay Relief Motion, the Section 1112/1104 Motion was

 scheduled to be heard at the Trial commencing on May 22, and subsequently rescheduled to June

 26.

                   5.     Debtors’ Expedited Motion to Approve Employee Obligations

           On April 21, 2023, the Debtors filed an expedited motion (the “Employee Obligations




 22
   As discussed infra, since filing the Section 1112/1104 Motion, Hawk’s position has evolved, in that it
 now seeks conversion of the Debtors’ cases rather than dismissal.
 23
   Bankr. Docket 196. The Debtors filed an initial response to the Section 1112/1104 Motion on April 10,
 2023, see Bankr. Docket No. 94, based on and contesting Hawk’s request that the motion be heard on an
 expedited basis. The Court held an initial hearing on the motion on April 14, 2023, at which time it set a
 briefing schedule and a trial date. The Debtors’ Section 1112/1104 Opposition was filed in accordance
 with that briefing schedule.
 24
      Bankr. Docket No. 193.

                                                     13


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 Motion”)25 seeking authority to make certain payments the Debtors characterized as employee

 obligations.

           First, the Debtors sought authority to pay various obligations in connection with the

 employees of SCBV, including payroll, taxes, paid leave, benefits payments, etc. 26 According to

 the motion, there were 28 full-time, salaried employees of SCBV at the time of filing. The

 Debtors claimed that there were no pre-petition amounts owing to these employees, but that post-

 petition payroll was about $180,000 per month. The motion also sought to pay (a) six

 independent contractors $193,000 for pre-petition services, as well ongoing post-petition fees of

 $46,000 per month, (b) post-petition payroll taxes of $149,000 per month, (c) payroll processing

 fees of $9,000 per month, and (d) pension contributions of $43,000 per month. The Debtors also

 sought to pay approximately $20,000 in pre-petition reimbursable business expenses to SCBV

 employees.

           The Employee Obligations Motion, however, sought additional relief unrelated to current

 employee and independent contractor obligations. It also sought authority to re-hire nine U.S.-

 based Stream employees that purportedly left after the Delaware Chancery Court’s Omnibus

 Agreement decision in 2020, and who are now employed by VSI. In connection with re-hiring

 them, the Debtors sought to pay those employees approximately $30,000 in pre-petition wages

 owed (subject to the $15,150 cap on pre-petition wages under §507(a)(4)). The Debtors also

 sought to pay certain independent service providers both pre-petition amounts owed, in the

 amount of approximately $30,000 owed to one provider, and ongoing post-petition amounts of

 approximately $10,000 per month. The Debtors further sought to pay the re-hired employees’


 25
      Bankr. Docket No. 134.
 26
  The motion required expedited treatment because the post-petition compensation Debtors sought to pay
 SCBV employees was coming due just four days later, on April 25.

                                                   14


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 post-petition payroll taxes of approximately $10,000 to $12,000 per month, as well as the pre-

 petition payroll taxes owing as necessary, up to $178,000. The Debtors also sought to reinstate

 their paid leave program and benefit plans at a cost of approximately $23,000 per month, as well

 as pay approximately $267,000 in unreimbursed pre-petition business expenses.

        In addition to the U.S.-based former Stream employees, the Debtors also sought to re-hire

 three Taiwan-based Stream employees who purportedly left after the Delaware Chancery Court’s

 2020 Omnibus Agreement decision as well, and who are also now employed by VSI. In

 connection with these former employees, the Debtors sought authority to pay post-petition

 payroll costs of $7,000 and medical plan costs of about $3,000, but did not believe there were

 any pre-petition amounts owed. The Debtors also sought authority to pay approximately $3,000

 in unreimbursed pre-petition business expenses.

        Finally, the Debtors stated that they had been using 15 independent contractors in China

 for various services through an entity called ST4M, Inc. The Debtors sought authority to

 establish a Beijing-based subsidiary to employ these 15 individuals as full-time employees. The

 gross payroll would be approximately $22,000 monthly, and the Debtors would also be required

 to pay approximately $29,000 quarterly for a state-sponsored health-plan.

        As discussed infra, the Court held an emergency hearing on the Employee Obligations

 Motion on April 24, but limited its consideration to whether and what payments to current SCBV

 employees were needed on an expedited basis.

                6.     Debtors’ Expedited Stock Sale Motion

        On the same day that they filed the expedited Employee Obligations Motion, the Debtors

 filed an expedited motion for authority to sell up to $10 million in unissued shares of Stream’s




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 Class A common stock to VSI to fund their post-petition operations (the “Stock Sale Motion”). 27

 The Stock Sale Motion represented that VSI, formed by Mr. Rajan as a vehicle to raise new

 capital for Stream and to support Stream while fighting the transfer of Stream’s assets pursuant

 to the Omnibus Agreement, had made pre-petition strategic investments in Stream, in addition to

 having engaged key Stream employees. Per the Stock Sale Motion, VSI was prepared to fund

 the Debtors’ post-petition product development and supply chain, but “as compensation for this

 support” Stream had entered into an exclusive distribution agreement (the “Distribution

 Agreement”) whereby VSI would accept orders from and make delivery to third-party

 customers, issue a purchase order to Stream for 90% of the value of the third-party order, and

 retain the 10% difference as “margin for funding technical, business, and sales development.”

 The Debtors represented that VSI would also assist with “productization of electronics,” and

 asserted that the 10% fee was “industry standard for distribution agreements.”

           Together with the Debtor’s expedited Employee Obligations Motion, the Court held an

 emergency hearing on the Stock Sale Motion on April 24, as discussed infra.

                   7.     Debtors’ Emergency Financing Motion and Seecubic’s Proposed
                          Alternative Funding

           As will be discussed in further detail infra, on April 25, 2023, the Debtors filed an

 emergency motion for the approval of debtor-in-possession financing from VSI as an alternative

 to the proposed sale of stock to VSI, in order to fund the SCBV payroll obligations coming due

 the following day.28 On the same day, SeeCubic filed an alternative funding motion that would

 have compelled SCBV, or alternatively the Debtors, to borrow under an existing line of credit

 from SeeCubic that had been put in place while the Receiver was managing Technovative and its


 27
      Bankr. Docket No. 135.
 28
      Bankr. Docket No. 156.

                                                    16


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 subsidiaries, including SCBV.29 Later that day, the Court held an eight-hour emergency hearing

 on the alternative funding proposals that ended at approximately 11:00 p.m., after which it

 determined that neither proposal would be approved.

                   8.     Debtors’ Motion to Retain Thomas Park as Chief Financial Officer

           On June 14, 2023, the Debtors filed a motion seeking authority to enter into an

 employment agreement with Thomas Jung Ho Park (“Mr. Park”) as Chief Financial Officer to

 the Debtors (the “Park Retention Motion”).30 The Debtors asserted in the Park Retention Motion

 that, given their need to raise capital and the complexity of their businesses and structure of their

 debt, it was necessary to have an experienced CFO to support the Debtors’ financial operations

 and successfully navigate the Debtors’ businesses during their Chapter 11 cases and post-

 emergence from bankruptcy. Although the Debtors asserted that their entry into the employment

 agreement with Mr. Park was within the ordinary course of their business, and therefore did not

 require approval of the Court, after discussions with the United States Trustee the Debtors filed a

 revised motion to employ Mr. Park on July 18, 2023.31

           On July 25, 2023, Hawk filed an objection to the Park Retention Motion. In its objection,

 Hawk argued that the Debtors neither provided a basis justifying the need for Mr. Park’s

 employment nor have the Debtors established that Mr. Park is not a disinterested person for the

 purposes of §327 of the Bankruptcy Code. A hearing on the Park Retention Motion was

 originally scheduled for August 16, 2023, but has been continued a number of times to allow for

 Trial and other more pressing contested matters to go forward.




 29
      Bankr. Docket No. 155.
 30
      Bankr. Docket No. 234.
 31
      Bankr. Docket No. 298.

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                   9.     Debtors’ Motion to Continue Trial Due to Mr. Rajan’s
                          Hospitalization

           On June 16, 2023, the Debtors filed an expedited motion to continue the Trial on the

 Hawk Stay Relief Motion and the Section 1112/1104 Motion, scheduled to commence on June

 26.32 The Debtors represented that Mr. Rajan was hospitalized after suffering a recent injury,

 and upon his medical provider’s instruction, would be unable to participate in or attend Trial,

 whether remotely or in-person, nor would he be able to attend, remotely or in-person, his

 deposition. The Debtors therefore sought a continuation of the commencement of Trial for 45

 days to allow Mr. Rajan to recuperate sufficiently to participate. Hawk objected to the

 continuation request, citing the prejudice a further delay would cause, and asserting that Mr.

 Rajan’s absence would not affect the outcome to the extent the pending motions entailed strictly

 legal issues, as opposed to factual issues requiring testimony from Mr. Rajan. On June 21,

 2023, the Court held an expedited hearing on the Debtors’ continuance request, at which time it

 determined that Trial would proceed on June 26 to allow the parties to commence with the

 presentation of evidence, but that Trial would need to be continued to allow Mr. Rajan to

 recuperate sufficiently to be deposed and testify.

           Trial then commenced from June 26 to June 29, and was subsequently continued on

 August 15 and 17, and again on September 22 and 25, to permit Mr. Rajan’s recuperation and

 participation.

                   10.    Debtors’ Amendment to Stock Sale Motion

           On June 23, 2023, the Debtors filed an amendment to their Stock Sale Motion (the “Stock

 Sale Motion Amendment”).33 The Debtors informed the Court that they had continued to


 32
      Bankr. Docket No. 236.
 33
      Bankr. Docket No. 258.

                                                   18


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 explore the sale of Class A common stock of Stream to third parties, one of which was a Chinese

 company named Zhongsheng Group Holdings Ltd. (“Zhongsheng”). As a result, the Debtors had

 entered into a non-binding term sheet with Zhongsheng on June 6, 2023 (the “Zhongsheng Term

 Sheet”), pursuant to which Zhongsheng would invest $300 million in Stream through the

 purchase of Stream Class A shares.

           As discussed in further detail infra, a wave of motion practice followed the Stock Sale

 Motion Amendment, and it later became one of the primary issues in the Trial.

                   11.     Debtors’ Adversary Proceeding and TRO Motion

           On August 12, 2023, with the resumption of Trial days away and in the midst of

 contested hearings regarding discovery over the Zhongsheng Term Sheet, the Debtors filed an

 adversary action ( the “Adversary Action”) against a host of parties, including, among others,

 Hawk, SLS, SeeCubic, and Mr. Stastney (collectively, the “Defendants). 34 In their Complaint in

 the Adversary Action, the Debtors allege that the Defendants have engaged in an effort to (a)

 sabotage the Debtors’ exercise of certain debt-to-equity conversion rights held against the

 secured debtholders, (b) vitiate the Debtors’ recapitalization, which would have rendered certain

 Defendants’ debt instruments obsolete; (c) restrict and/or interfere with the Debtors’ ability to

 raise funds and sell products, and (d) use their status as secured lenders to deny Stream the assets

 and other business resources essential to its successful reorganization.

           On September 1, 2023, the Debtors filed a motion in the United States District Court for

 the Eastern District of Pennsylvania (the “District Court”) to withdraw reference of the

 Adversary Action from this Court.35 The Debtors followed that on September 28, 2023 with an


 34
      Bankr. Docket No. 335; Adv. Pro. Docket No. 1.
 35
   On November 16, 2023, the District Court denied the Debtors’ request to withdraw the reference. See
 Case No. 23-mc-135, at Docket No. 18.

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 emergency motion in the District Court (the “TRO Motion”) for a temporary restraining order,

 preliminary injunction, and permanent injunction. The District Court denied the motion on the

 grounds that it was not properly filed in the District Court absent withdrawal of the reference of

 the Adversary Action. Therefore on September 30, 2023, the Debtors refiled the TRO Motion in

 the Adversary Action before this Court.36

           By the TRO Motion, the Debtors assert that Mr. Stastney testified in mid-September in

 the Amsterdam Action, during which he admitted that SeeCubic is in direct competition with

 Stream, and is currently working with twelve or thirteen customers using the Ultra-D technology

 developed by Stream. Stream alleges that this action by SeeCubic puts its technology licenses

 with Philips and Rembrandt at risk because they strictly prohibit sub-licensing. The Debtors

 further argue that SeeCubic’s unauthorized use of the Philips and Rembrandt technology, as

 embedded in Stream’s technology, violates the Philips and Rembrandt licenses and presents the

 potential of irreparable harm to Stream should Philips and Rembrandt decide to revoke their

 respective licenses.

           The Court held a contested evidentiary hearing on the TRO Motion over the course of

 multiple days in October and November, after which the Court provided the parties certain dates

 in December that were available for the conclusion of the hearing, and directed that they confer

 regarding their mutual availability. The parties thereafter advised the Court that they had agreed

 to postpone continuation of the TRO hearing, as well as multiple other matters that were

 scheduled for hearing in December, until late January or early February to pursue settlement

 discussions. On December 14, the Court held a status hearing with the parties to discuss the

 impact of the proposed continuation on the status of the TRO hearing. The Court determined


 36
      Adv. Pro. Docket No. 27.

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 that the entry of a limited temporary restraining order was warranted, based strictly on the

 evidence presented at the TRO hearing to that point and in light of the lengthy delay that

 continuation of the hearing would cause to the Court’s final resolution of the matter. The Court

 directed Debtors’ counsel to prepare an agreed form of order reflecting the Court’s ruling at the

 status hearing. Indicative of the acrimony that has stalled progress in this case at nearly every

 turn, the parties subsequently advised the Court that they were unable to reach agreement

 regarding the terms of a proposed order. The Court therefore prepared an Order consistent with

 its ruling at the December 14 status hearing, which was entered on January 4, 2024. 37

                   12.    Trial on the Pending Motions

            Commencing on June 26, the Court held Trial over eight days, concluding on September

 25. During the Trial, the Court heard testimony from Mr. Stastney, Mr. Park, Mr. Rajan, and

 Christopher Michaels of Rembrandt. Approximately 130 exhibits were admitted into evidence. 38

                   13.    The Parties’ Positions After Trial

            At the Court’s direction, Hawk, the Debtors, and Rembrandt submitted post-trial briefs

 (each a “Post-Trial Brief”) setting forth their positions in light of the evidence presented at

 Trial.39

                          a.      The Section 1112/1104 Motion


 37
      Adv. Pro. Docket No. 119.
 38
    The transcripts of the Trial span nearly 2,000 pages, which is merely a fraction of the pages of
 transcripts that have accumulated from all of the contested hearings the Court has had to hold in these
 cases.
 39
    Although Rembrandt submitted post-trial briefing in opposition to the two pending motions, the
 arguments therein relate largely to Rembrandt’s history with the Debtors and its position with respect to
 the Rembrandt license. Although the Rembrandt license is a central feature of these cases, it does not
 factor into the Court’s analysis below regarding whether conversion, dismissal, or appointment of a
 trustee is warranted and whether cause exists to grant Hawk stay relief for resolution of the Technovative
 Director Issue and the Debt Conversion Issue. The Court therefore will not summarize Rembrandt’s
 arguments here.

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            Hawk argues that the Court should order conversion of the Debtors’ cases to chapter 7 for

 any of three independent reasons.40

            First, Hawk argues that the evidence established that conversion is warranted under

 §1112(b)(4)(A), based on the substantial or continuing losses to the Debtors’ estates and no

 reasonable prospect at rehabilitation.41 According to Hawk, the record evidence established that

 the Debtors are incurring substantial losses during the pendency of these cases in the form of

 accruing administrative expenses and post-petition payment obligations to Rembrandt, without

 any offsetting revenue, and have no reasonable likelihood of rehabilitation because they have

 never had any operations, as all of the value lies in their non-debtor operating subsidiaries (and

 to the extent Mr. Rajan testified regarding the Debtors’ operations, these are actually taking place

 at the VSI level).

            Next, Hawk argues that the evidence established conversion is warranted under

 §1112(b)(4)(B), based on the Debtors’ gross mismanagement of the estates. 42 Hawk argues that

 the evidence at Trial established the Debtors’ gross mismanagement in a number of ways: (a)

 Mr. Rajan’s breach of his fiduciary duties and conflicts of interest; (b) the Debtors’ lack of




 40
   In its Post-Trial Brief, Bankr. Docket No. 431, Hawk does not address its argument in the Section
 1112/1104 Motion that conversion or dismissal is warranted under §1112(b)(4)(D), based on the Debtors’
 unauthorized use of cash collateral. See Hawk Post-Trial Brief, at 42 (arguing that there are three bases
 under §1112(b) under which the Court can order conversion here: (i) substantial or continuing loss or
 diminution of the estate and absence of reasonable likelihood of rehabilitation under §1112(b)(4)(A); (b)
 gross mismanagement of the estate under §1112(b)(4)(B); and (c) lack of good faith in filing the
 Petitions). In its Post-Trial Reply Brief, Bankr. Docket No. 436, Hawk acknowledges that it has not
 identified any cash collateral the Debtors used without permission, but attributes that to the Debtors’
 failure to adhere to their financial reporting and disclosure obligations. Id. at 14. While the Court is not
 clear that Hawk is even advancing this basis for conversion or dismissal given its omission from the
 Hawk Post-Trial Brief, Hawk’s concession in its reply brief seems to end the inquiry, and the Court
 therefore does not address it further herein.
 41
      Hawk Post-Trial Brief, at 44-47.
 42
      Id. at 48-57.

                                                      22


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 candor to the Court and interested parties; (c) the Debtors’ “blatant gamesmanship” in their

 requests for relief in this Court and the litigation that has ensued; and (d) likely fraud in the

 fabrication of a purported funding transaction.

            Finally, Hawk argues that the evidence established conversion is warranted based on the

 Debtors’ bad faith in commencing these cases. 43 Hawk argues that the timing of the Debtors’

 Petitions alone establishes per se bad faith because they were filed on the eve of trial in the

 Section 225 Action as a bad faith litigation tactic. Hawk further argues that under the totality of

 the circumstances test used in the Third Circuit, twelve of the fourteen factors used support a

 finding of bad faith.

            Hawk argues that conversion of the Debtors’ cases, rather than dismissal, is warranted so

 that the Court may continue to oversee them but curtail Mr. Rajan’s influence in administering

 them.44 Barring conversion, Hawk argues that dismissal is appropriate because the existence of

 cause has been established under §1112. If, however, the Court is not inclined to either convert

 or dismiss, Hawk argues the evidence establishes that appointment of a trustee is proper based on

 Mr. Rajan’s pattern of fraud and dishonesty in managing the Debtors, his gross mismanagement

 not only of the estates, but also of the pre-petition Debtors, and the conflicts of interest between

 Mr. Rajan and his roles with and interests in the Debtors and VSI that have revealed themselves

 through the administration of these cases. 45 Hawk argues that the costs of appointing a trustee

 “are effectively nil” because Mr. Rajan’s administration of the estates to date has been so



 43
      Id. at 57-61.
 44
   Id. at 62. The Court notes Hawk’s request for conversion rather than dismissal represents a change
 from its preference for dismissal with prejudice as stated in the Section 1112/1104 Motion, but is
 consistent with the evolved position Hawk took in its pre-trial brief filed in May. See Bankr. Docket No.
 195, at ¶¶23 to 42.
 45
      Id. at 64-67.

                                                     23


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 harmful to creditors’ prospects for recovery.

            The Debtors argue that Hawk has failed to establish by a preponderance of the evidence

 that cause exists for conversion, dismissal, or the appointment of a trustee. 46

            First, the Debtors argue the evidence does not establish the absence of a reasonable

 likelihood of rehabilitation. The Debtors assert that their proposed plan of reorganization, 47 the

 post-petition purchase orders they have procured, and Mr. Rajan’s testimony at Trial regarding

 expected revenues to be generated from new and existing Stream customers belie Hawk’s

 narrative of a non-operating entity that has no ability to rehabilitate.48 Moreover, the Debtors

 argue, the evidence does not establish substantial or continuing loss to the estates because

 operating expenses are being funded by VSI in exchange for Stream shares. 49

            The Debtors also argue that the evidence does not establish gross mismanagement of the

 estates supporting conversion or dismissal. The Debtors assert that their efforts to obtain

 financing from VSI to fund operations pursuant to the Debtor DIP Motion were the subject of

 “extreme resistance” that ultimately resulted in the Court declining to approve the financing, and

 that they have retained Mr. Park to provide independent oversight of the Debtors’ post-petition

 finances and internal systems, thereby buffering management of the estates with “another layer

 of independence to the Debtors’ management team.”50

            With respect to Hawk’s argument that the Petitions were filed in bad faith, thereby

 providing another basis for conversion or dismissal, the Debtors argue that the cases were filed to



 46
      Debtors Post-Trial Brief, Bankr. Docket No. 432, at 2-3.
 47
      See Bankr. Docket No. 293.
 48
      Debtors Post-Trial Brief, at 11-16.
 49
      Id. at 17-19.
 50
      Id. at 19-21.

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 provide breathing room and to develop a plan of reorganization, not as a litigation tactic solely

 for purposes of staying the Section 225 Action. 51

            Just as they argue there is no basis for conversion or dismissal, the Debtors argue there is

 no basis for the appointment of a trustee. The Debtors cite Mr. Rajan’s experience as a

 businessman, his intimate familiarity with the Debtors’ business and related technology, and the

 post-petition retention of Mr. Park as reasons for finding that the Debtors’ estates are better

 administered by current management. 52

                            b.      The Hawk Stay Relief Motion

            Hawk argues that cause exists to grant relief from stay to allow the Section 225 Action to

 proceed because its resolution “will determine: (1) the amount and priority of the claims in

 respect of the Hawk Notes and the SLS Notes, (2) the validity of the liens securing the Hawk

 Notes and the SLS Notes, (3) the resolution of any available defense(s) to the Hawk Notes and

 the SLS Notes, and (4) the requirements for any potential future conversion of the Hawk Notes –

 all critical to the resolution of these Chapter 11 cases.” 53 Relying on Mr. Stastney’s Trial

 testimony regarding the late stage at which the Section 225 Action was when the Petitions were

 filed, the expenses that had been incurred getting to that point, and the extensive discovery that

 had been undertaken, Hawk argues that a quick resolution by the Delaware Chancery Court

 would be efficient and conserve judicial and estate resources.

            The Debtors, in response, argue that relief from stay is not warranted. The Debtors first

 argue that Hawk has failed to articulate the exact relief and specific matters that it seeks to


 51
   Id. at 22-26 (arguing that “virtually none” of the factors set forth in Primestone Inv. Partners v.
 Vornado PS, L.L.C. (In re Primestone Inv. Partners L.P.), 272 B.R. 554, 557 (D.De. 2002) for analyzing
 whether a filing was in bad faith are present here).
 52
      Id. at 27.
 53
      Hawk Post-Trial Brief, at 62-63.

                                                     25


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 pursue in the Section 225 Action.54 Furthermore, they argue, the ultimate relief sought in that

 action is to authorize Hawk to exercise rights under the Hawk Notes and the SLS Notes,

 including pursuit of an Article 9 Sale of their purported collateral. 55 Hawk cannot do so, the

 Debtors argue, without resolution of the dispute regarding Stream’s rights in connection with

 ownership of 100% of Technovative shares, which are undisputedly estate property and therefore

 subject to resolution by this Court rather than the Delaware Chancery Court. 56 The Debtors

 further argue that allowing the Section 225 Action to proceed would greatly prejudice the

 Debtors by allowing Hawk to move forward with its plans to effectuate a sale of downstream

 assets, thereby inflicting irreparable harm on the Debtors’ ability to effectuate an orderly

 reorganization process. The Debtors also argue that they have strong defenses in the Section 225

 Action, militating against relief.

 III.        DISCUSSION

             A.     Cause Exists and It Is In the Best Interest of Creditors and the Estates at
                    This Stage to Appoint a Chapter 11 Trustee

                    1.      Legal Standard for Dismissal or Conversion Under §1112(b)

             Section 1112(b)(1) of the Bankruptcy Code sets forth the Court’s power to convert or

 dismiss a chapter 11 bankruptcy case:

             Except as provided in paragraph (2) and subsection (c), on request of a party in interest,
             and after notice and a hearing, the court shall convert a case under this chapter to a case
             under chapter 7 or dismiss a case under this chapter, whichever is in the best interest of
             creditors and the estate, for cause unless the court determines that the appointment under
             section 1104(a) of a trustee or examiner is in the best interests of creditors and the estate.

 11 U.S.C. §1112(b). The movant bears the initial burden to demonstrate cause by a



 54
      Debtors Post-Trial Brief, at 28.
 55
      Id.
 56
      Id. at 29.

                                                       26


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 preponderance of the evidence, and once shown, the burden shifts to the debtor to establish an

 exception under §1112(b)(2).57 In re Dr. R.C. Samanta Roy Institute of Science Technology, 465

 Fed. Appx. 93, 96-97 (3d Cir. 2011) (“[O]nce cause is found, the burden shifts to the opposing

 party to show why dismissal or conversion would not be in the best interests of the estate and the

 creditors.”); In re Mann Realty Assocs., 2019 WL 4780937, at *6 (M.D. Pa. Sept. 30, 2019)

 (“After cause is established, the burden shifts to the opposing party to identify unusual

 circumstances that suggest conversion would not be in the best interests of the estate and its

 creditors, and that there is a reasonable likelihood that a reorganization plan will be confirmed in

 a reasonable time.”); In re Vascular Access Centers, L.P., 611 B.R. 742, 761 (Bankr. E.D. Pa.

 2020) (citing cases).

         The Bankruptcy Code sets forth a non-exclusive list of circumstances that constitute

 “cause” for conversion or dismissal. 11 U.S.C. §1112(b)(4). As discussed supra, Hawk’s Post-

 Trial Brief focuses on two of these circumstances: (A) substantial or continuing loss to or

 diminution of the estate and the absence of a reasonable likelihood of rehabilitation; and (B)

 gross mismanagement of the estate.

         A motion filed under §1112(b) necessitates a two-step analysis: (1) to determine if cause

 exists to either dismiss the case or convert it to chapter 7, and (2) if so, which option is in the

 best interests of creditors and the estate (unless appointment of a trustee under §1104 is in the

 best interests). Camden Ordnance, 245 B.R. at 798. In considering whether to convert or


 57
    Section 1112(b)(2) provides that the court may not convert or dismiss a case if the court finds and
 identifies unusual circumstances establishing that converting or dismissing the case is not in the best
 interests of creditors and the estate and the debtor or a party in interest establishes (1) there is a reasonable
 likelihood a plan will be confirmed within the timeframes established in sections 1121(e) and 1129(e) or,
 if not applicable, within a reasonable period and (2) the grounds for converting or dismissing the case
 include an act or omission of the debtor other than under paragraph (4)(A) for which there exists a
 reasonable justification for the act or omission; and that will be cured within a reasonable period of time
 fixed by the court.

                                                        27


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 dismiss, a bankruptcy court may consider a variety of factors, including:

        (1)     whether some creditors received preferential payments, and whether equality of
                distribution would be better served by conversion rather than dismissal;

        (2)     whether there would be a loss of rights granted in the case if it were dismissed
                rather than converted;

        (3)     whether the debtor would simply file a further case upon dismissal;

        (4)     the ability of the trustee in a chapter 7 case to reach assets for the benefit of
                creditors;

        (5)     in assessing the interest of the estate, whether conversion or dismissal of the estate
                would maximize the estate's value as an economic enterprise;

        (6)     whether any remaining issues would be better resolved outside the bankruptcy
                forum;

        (7)     whether the estate consists of a “single asset”;

        (8)     whether the debtor had engaged in misconduct and whether creditors are in need
                of a chapter 7 case to protect their interests;

        (9)     whether a plan has been confirmed and whether any property remains in the estate
                to be administered;

        (10)    whether the appointment of a trustee is desirable to supervise the estate and
                address possible environmental and safety concerns; and

        (11)    consideration of the effect of dismissal under §349 of the Bankruptcy Code.

 In re Ramreddy, Inc., 440 B.R. 103, 115 (Bankr. E.D. Pa. 2009) (citing 7 C OLLIER ON

 BANKRUPTCY ¶1112.04[6]).

        Although §1112(b)(4)’s enumerated circumstances constituting cause are wide-ranging, a

 court may consider other factors as they arise and may use its equitable powers to reach an

 appropriate result in individual cases. In re Camden Ordnance Mfg. Co. of Arkansas, Inc., 245

 B.R. 794, 798 (E.D. Pa. 2000) (quoting Mechanical Maintenance, Inc., 128 B.R. 382, 386 (E.D.

 Pa. 1991)). For example, it is well-settled that a debtor’s inability to achieve confirmation of a



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 plan, by itself, provides sufficient cause for dismissal or conversion of a chapter 11 case. See,

 e.g., 1121 Pier Village LLC, 635 B.R. at 137 n.14; In re 3 Ram, Inc., 343 B.R. 113, 117 n.14

 (Bankr. E.D. Pa. 2006).

         Importantly, good faith is an implicit requirement in the filing of a chapter 11 bankruptcy

 case, and a case not filed in good faith is subject to dismissal under §1112(b). See, e.g., In re

 SGL Carbon Corp., 200 F.3d 154, 160 (3d Cir. 1999) (chapter 11 petitions are subject to

 dismissal unless filed in good faith); In re DCNC North Carolina I, LLC, 407 B.R. 651, 661

 (Bankr. E.D. Pa. 2009) (citing SGL Carbon). The debtor bears the burden of proving good faith.

 Id. (citing In re PPI Enterprises (U.S.), Inc., 324 F.3d 197, 211 (3d Cir. 2003)). In the business

 bankruptcy context, the preservation and rehabilitation of a going concern or the maximizing of

 the value of a debtor’s estate for the benefit of creditors through an orderly liquidation are valid

 bankruptcy purposes supporting a finding of good faith. Id. (citing In re Integrated Telecom

 Express, Inc., 384 F.3d 108 (3d Cir. 2004)); In re Team Systems International LLC, 640 B.R.

 296, 311 (Bankr. D. Del. 2022) (“The ultimate touchstone is whether the case is being used to

 accomplish one of the basic purposes of chapter 11 – to preserve a going concern and/or to

 maximize the property available to satisfy creditor claims.”). Whether a case should be

 dismissed for lack of good faith is committed to the discretion of the bankruptcy court, and the

 determination is a fact-intensive inquiry based on the totality of the circumstances. Id. at 662

 (citing Integrated Telecom). The inquiry is facilitated, however, by factors courts use, the

 presence of which suggests a case was not filed in good faith:

        (1)     the debtor has few or no unsecured creditors;

        (2)     there has been a previous bankruptcy petition by the debtor or a related entity;

        (3)     the prepetition conduct of the debtor has been improper;



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        (4)       the petition effectively allows the debtor to evade court orders;

        (5)       there are few debts to non-moving creditors;

        (6)       the petition was filed on the eve of foreclosure;

        (7)       the foreclosed property is the sole or major asset of the debtor;

        (8)       the debtor has no ongoing business or employees;

        (9)       there is no possibility of reorganization;

        (10)      the debtor's income is not sufficient to operate;

        (11)      there was no pressure from non-moving creditors;

        (12)      reorganization essentially involves the resolution of a two-party dispute;

        (13)      a corporate debtor was formed and received title to its major assets immediately
                  before the petition; and

        (14)      the debtor filed solely to create the automatic stay.

 Id. (citing In re SB Properties, Inc., 185 B.R. 198, 204 (E.D. Pa. 1995)).

        As discussed supra, the preservation and rehabilitation of a going concern is a valid

 bankruptcy purpose supporting a finding of good faith, and the determination of whether a case

 should be dismissed for lack of good faith is a fact-intensive inquiry based on the totality of

 circumstances.

                  2.     It Has Been Established by a Preponderance of the Evidence and the
                         History of These Cases that Current Management’s Actions and
                         Inactions Constitute Gross Mismanagement of the Estates

        Section 1112(b)(4)(B) provides that cause for conversion or dismissal exists where there

 has been gross mismanagement of the estate. 11 U.S.C. §1112(b)(4)(B). A debtor-in-possession

 owes a fiduciary duty to its creditors, and gross mismanagement is a breach of that duty. In re

 Ozcelebi, 639 B.R. 365, 388 (Bankr. S.D. Tex. 2022). Section 1112(b)(4)(B) focuses on the

 conduct of the estate’s affairs, not the pre-petition debtor’s, and requires that the mismanagement

                                                    30


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 be gross in character, meaning that it is “‘glaringly noticeable usually because of inexcusable

 badness or objectionableness.’” In re 210 West Liberty Holdings, LLC, 2009 WL 1522047, at *5

 (Bankr. N.D. W.Va. May 29, 2009) (citing Webster’s Ninth New Collegiate Dictionary 538

 (1991)); see also Ozcelebi, 639 B.R. at 388 (“[W]hile ‘gross mismanagement’ is not defined by

 the Bankruptcy Code, Black’s Law Dictionary defines ‘gross’ as ‘beyond all reasonable

 measure; flagrant.’ Given the plain language, a debtor’s mismanagement must be beyond all

 reasonable measure.”).

        The above summary outlining the major activity in these cases, which have been pending

 for months, evidences the acrimony and overall lack of progress that has plagued these cases

 from their inception. Rather than moving expeditiously toward confirmation of a

 reorganizational plan that addresses creditor claims and formulates the Debtors’ operations

 moving forward, these cases have stalled at virtually every turn. The Court has expressed its

 concern with the cases’ lack of progress and direction on multiple occasions. Furthermore, the

 evidence at Trial on the pending motions crystalized the Court’s primary and urgent concern

 with the administration of the Debtors’ cases to date, i.e., the plans, trustworthiness, and

 motivations of Mr. Rajan in his role as, for all intents and purposes, the singular figure in the

 Debtors’ management. There are many examples, large and small, that highlight (a) the Court’s

 lack of faith in Mr. Rajan’s ability or willingness to act consistent with the fiduciary duties the

 Debtors owe their creditors and the Court, (b) the relatively directionless nature of these cases to

 date, and (c) the entrenched acrimony between the Debtors, Hawk, SLS, and SeeCubic that has

 permeated the cases and driven nearly all activity to date. The Court discusses the most glaring

 examples below.




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                          a.         All Indications Are That the Purported $300 Million
                                     Transaction with Zhongsheng Was Not Real

           From the early days of these cases, the Court repeatedly raised concerns about how the

 Debtors were being funded. Although the Debtors attempted to answer that question in part with

 an ill-conceived emergency financing through the sale of stock to VSI, they later proposed a

 $300 million transaction for the sale of Stream Class A stock to Zhongsheng. That transaction

 was suspect from the start given its timing on the eve of Trial, lack of detail, and non-binding

 nature, but the dearth and opacity of information the Debtors provided about it at Trial when

 pressed, together with their abandonment of the proposed transaction, leads this Court to believe

 it never truly existed, and either embellished or fabricated to portray the Debtors’ cases and

 operations as sufficiently progressing.

            The Debtors filed the purported Zhongsheng Term Sheet on the evening of June 23, i.e.,

 the Friday prior to the start of the Trial on the pending Hawk Motions. 58 That term sheet, which

 states that it is non-binding, provides that Zhongsheng will invest $300 million in exchange for

 Class A Common Stock in Stream, resulting in Zhongsheng holding a 35% equity stake in

 Stream.59 Attached to the Term Sheet was a draft Subscription Agreement providing for

 Zhongsheng’s purchase of the Stream shares, with an initial $15 million tranche to be sold by an

 unspecified date in July 2023, and the balance of the sale to occur by December 31, 2023.

 According to the Debtors, they intended to use the first $30 million received from the sale of



 58
   The Term Sheet was filed as an attachment to a two-page pleading styled as an amendment to the Stock
 Sale Motion. Incredibly to the Court, the Debtors stated their position therein that they believed the relief
 sought by the Stock Sale Motion was broad enough to cover the sale of $300 million in Stream shares to
 Zhongsheng, but were filing the amendment out of an abundance of caution. The Court questions
 whether the post-petition sale of $300 million in equity in a debtor could ever be covered under an
 ordinary course of business concept, but it is enough to say that it certainly is not here.
 59
      See Bankr. Docket No. 258-1.

                                                      32


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 Stream’s Class A shares to fund their operations through confirmation. As such, the Zhongsheng

 transaction was to fund the Debtors through the issuance of Stream securities rather than the

 incurrence of debt.

           The authenticity of this transaction, however, quickly began to grow murky, particularly

 in light of the amount of the purported investment and its importance to the Debtors’ cases. Mr.

 Park testified at Trial less than a week later, on June 29, that he understood Zhongsheng to be a

 publicly traded entity on Hong Kong’s Hang Seng Index, involved in the high-end auto

 dealership business but with a finance arm as well. 60 Mr. Park wanted to make clear, however,

 that he was not involved in any negotiations with Zhongsheng related to the Term Sheet, despite

 serving as CFO and being tasked with raising capital for the Debtors. Instead, the negotiations

 were handled by Mr. Rajan, and Mr. Park had not discussed the proposed deal with Mr. Rajan

 notwithstanding its enormous size and implications for the Debtors’ finances. 61

           Following Mr. Park’s testimony, Hawk sought more information about the Zhongsheng

 Term Sheet through discovery, and ultimately filed a motion to compel the Debtors to produce

 information sufficient to permit Hawk to depose a Zhongsheng representative about the

 purported transaction (the “Motion to Compel”).62 By the Motion to Compel, Hawk made clear

 that it sought the information in order to, among other things, “evaluate the veracity of the Term

 Sheet.”63 Although the Court denied the Motion to Compel, it entered an order (the “Discovery




 60
      June 29, 2020 Hearing Transcript, 55:5 to 55:15.
 61
   Id. at 55:21 to 56:9. The idea that Mr. Park, as CFO, would not even discuss the proposed deal with
 Mr. Rajan, let alone be involved in the negotiations, is indicative of its specious nature, or otherwise
 speaks to the marginal role Mr. Park plays with the Debtors despite Mr. Rajan being their only other
 employee.
 62
      CR-242.
 63
      See Motion to Compel, at ¶17.

                                                         33


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 Order”)64 directing the Debtors to produce contact information for the individuals at Zhongsheng

 who negotiated the Zhongsheng Term Sheet, as well as documents and communications with

 Zhongsheng or any affiliate of Zhongsheng “including but not limited to letters of intent,

 proposals, and diligence materials between the Debtors and Zhongsheng Group Holdings Ltd. or

 any affiliate thereof.” After the Discovery Order was entered, Mr. Rajan submitted a Declaration

 in support of the legitimacy of the Zhongsheng Term Sheet (the “Zhongsheng Declaration”). 65 It

 is unnecessary to fully summarize the Zhongsheng Declaration, but in it Mr. Rajan states, inter

 alia, that (a) the Zhongsheng Term Sheet was the product of negotiations with William Wang

 and Tea Lee, both of Zhongzhi Enterprise Group (“ZEG”), an affiliate of Zhongsheng, and (b)

 contrary to Mr. Park’s testimony, the Zhongsheng entity that is party to the Zhongsheng Term

 Sheet is a privately held company of the People’s Republic of China, and is not the Zhongsheng

 entity publicly traded on the Hong Kong stock exchange. 66

           What came next was a motion by Hawk to hold the Debtors in contempt for failing to

 produce the information and documents required by the Discovery Order (the “Contempt

 Motion”).67 Hawk alleged in the Contempt Motion that the Debtors only produced business

 cards in Mandarin for William Wang and Tea Lee, and that of the 4,300 pages of mostly

 unresponsive documents produced, only one document related to the Zhongsheng Term Sheet: a

 mobile phone or tablet screenshot of the Term Sheet’s signature block, purportedly signed by

 Tea Lee on behalf of Zhongsheng, which was emailed from Jeff Shammah (“Mr. Shammah”) of



 64
      Bankr. Docket No. 322.
 65
      CR-237.
 66
   Although the Declaration is not entirely clear, the Court reads it to say that both the publicly-traded
 Zhongsheng and the privately-held Zhongsheng are affiliates of ZEG.
 67
      Bankr. Docket No. 328.

                                                      34


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 Blue Ocean Partners Ltd.68 to a Mark Savarese,69 who then forwarded it to Mr. Rajan. Hawk

 argued that the Debtors’ failure to produce any communications or other documents related to

 the Zhongsheng Term Sheet violated the Discovery Order and the Debtors’ obligations under the

 federal discovery rules. The Court heard the Contempt Motion at the start of the continued Trial

 on August 15, but took the matter under advisement in order to proceed with evidence. 70

            Mr. Rajan testified in August at the continued Trial that the Zhongsheng Term Sheet

 evolved from a November 2022 term sheet Zhongsheng had entered into with VSI, and that once

 Stream filed for bankruptcy the parties simply agreed to revise the agreement to make Stream,

 rather than VSI, the counterparty.71 During his cross-examination in September, however, Mr.

 Rajan was pressed on the legitimacy of the Zhongsheng Term Sheet. The Court found his

 testimony regarding his dealings with Zhongsheng difficult to believe. For example:

                   Although Mr. Rajan had stated on direct examination in August that he was

                    meeting with William Wang in Boston that weekend to work on the Zhongsheng

                    transaction,72 by his cross-examination in September he testified that

                    Zhongsheng’s trip was delayed and would be occurring in October. 73 Mr. Rajan

                    gave no explanation for why the trip was delayed, and admitted he did not ask

                    anyone from Zhongsheng to testify in support of the transaction’s authenticity. In



 68
   Mr. Rajan testified that the Debtors retained Mr. Shammah, an investment banker, post-petition to
 negotiate the transaction with Zhongsheng, but acknowledged that no court approval for the retention was
 sought or granted. See September 25, 2023 Hearing Transcript, at 32:17 to 33:12.
 69
   As will be discussed infra, Mr. Savarese evidently holds a role with VSI, but none with the Debtors of
 which the Court has been made aware.
 70
      Bankr. Docket No. 354.
 71
      See August 17, 2023 Hearing Transcript, at 88:4 to 95:20; 99:25 to 100:7.
 72
      Id. at 101:9 to 101:22.
 73
      September 25, 2023 Hearing Transcript, at 60:13 to 60:23.

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                   light of the questions Hawk was raising and the enormous amount of capital to be

                   infused into Stream under the proposed transaction, the Court finds it incredible

                   that Mr. Rajan would not (a) dig deeper into why Zhongsheng would was not able

                   to negotiate the transaction in August 2023, whether in Boston or otherwise, and

                   (b) at least request that a representative of Zhongsheng or ZEG testify at Trial in

                   support of the transaction.74

                  WeChat messages were the only documentation Mr. Rajan had supporting his

                   claim that William Wang and Tea Lee, as purported employees of ZEG, were

                   nonetheless authorized to negotiate a $300 million deal on behalf of

                   Zhongsheng.75

                  Mr. Rajan confirmed his testimony given on direct examination that

                   Zhongsheng’s preferred method of communication was WeChat, but when

                   pressed as to why no WeChat messages were produced evidencing those

                   communications, Mr. Rajan hedged, testifying that he “[didn’t] know if it was

                   WeChat or if it was photographs and those various programs.” 76

                  When asked whether he had received any financial information from Zhongsheng,

                   Mr. Rajan responded that he wasn’t sure and would have to “go back and check,”

                   but acknowledged that as of his deposition on August 14 he had not received any

                   financial information from Zhongsheng, did not know its gross revenues, did not




 74
   The Debtors gave no reason why a purported $300 million transaction could only be negotiated in-
 person in Boston and only at some uncertain date in the future, nor why it would be too much to ask a
 Zhongsheng or ZEG representative to travel to the United States to testify.
 75
      Presumably these are the same WeChat messages attached to his Zhongsheng Declaration.
 76
      September 25, 2023 Heating Transcript, at 74:21 to 75:17.

                                                      36


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                     know how many auto dealerships it operated, or even what make of car it sold. 77

                    Mr. Rajan was pressed on his statements in the Zhongsheng Declaration that the

                     privately-held Zhongsheng entity that signed the Term Sheet is distinct from the

                     publicly-traded Zhongsheng entity. When asked for an explanation as to why the

                     same address in Dalian, China was given by both the publicly-traded entity in its

                     2021 Annual Report78 for its corporate headquarters and by the privately-held

                     entity in the Zhongsheng Term Sheet for its principal place of business, Mr. Rajan

                     provided a convoluted response that provided no explanation at all. 79

                    Notwithstanding the enormity of the proposed transaction, which would infuse

                     $300 million of funding into Stream for a 35% stake in the company, Mr. Rajan

                     disclaimed its importance to the Debtors, testifying in September that funding is

                     now not needed to implement the Debtors’ proposed plan because Stream was

                     receiving financing from VSI instead. 80

            The Court finds the entire picture that Mr. Rajan painted of the Zhongsheng transaction

 to be not credible. The Court finds the almost complete lack of documentation and

 communications related to a purported $300 million transaction to be most damning and suggests



 77
      Id. at 70:2 to 72:9.
 78
      See CR-254 (page 2).
 79
   September 25, 2023 Hearing Transcript, 146:14 to 147:8 (“The way it works in China is if you want to
 do business in China, you need a company in China where you do all your operations. And what Stream
 TV believes from its understanding, is some of the shares from the China company were put into a Hong
 Kong company, traded on the Hong Kong Exchange. The Hong Kong Exchange company is just a
 holding company, and Zhongsheng has shares and investments in the private company and no liquidity
 because they don’t have no shares in the Hong Kong company. They wanted shares in Stream TV,
 because we have all these POs, on the hope that we could eventually get Zhongsheng some liquidity.
 They’re two separate companies.”). The Court finds this response to be non-responsive and, in the
 context of the question asked, largely nonsensical.
 80
      September 25, 2023 Hearing Transcript, at 191:22 to 192:2.

                                                      37


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 that the transaction was not real. In light of that lack of documentation, and Hawk putting the

 Debtors on notice in the Motion to Compel (if not earlier) that it questioned the existence of an

 actual deal with Zhongsheng, it was incumbent upon the Debtors to substantiate the transaction’s

 existence and legitimacy. Moreover, if the Zhongsheng transaction was both legitimate and

 intended, even as an alternate source of funding, the Court concludes that the Debtors would or

 should have viewed it as being of the utmost importance to have someone other than Mr. Rajan,

 whether an individual from Zhongsheng, Mr. Shammah, or someone else, testify in support of its

 authenticity. They did not, and the Court finds Mr. Rajan’s testimony was not believable and

 was instead suggestive that the transaction was never real to begin with. 81

         The Court views this as an enormous problem for the Debtors. Particularly in a case

 where funding for the Debtors has been a stated concern from the outset, the Court’s trust in the

 Debtors’ management was severely undermined both by their failure to satisfactorily substantiate

 the Zhongsheng transaction after submitting it to the Court, and their willingness to walk away

 from it after its bona fides came into doubt.82

                          b.      The Debtors’ Self-Imposed April Funding Crisis Nearly Left
                                  SCBV’s Payroll Unfunded

         Early in these cases, the Debtors’ management created a funding fiasco that greatly



 81
    The Court notes, anecdotally, that despite the authenticity of the Zhongsheng transaction being the
 subject of motion practice, hearings, and a significant portion of Mr. Rajan’s trial testimony, the Debtors’
 Post-Trial Brief does not address the transaction at all, let alone why the evidence supports a finding that
 it was legitimate.
 82
   On this, the Court agrees with Hawk’s point in its Reply Brief that the logic of the alternative funding
 from VSI under the Debtors’ proposed plan is difficult to square if the Zhongsheng transaction was real:
 “In other words, instead of waiting a few weeks for an investor to allegedly provide a $300 million
 investment for only a 35% share of the company, Mr. Rajan has opted to pursue an investment from his
 other company, VSI of $25 million (i.e., nearly 1/10th that amount) for a 90% share of the company (i.e.,
 nearly three times the equity share). In other words, if the Zhongsheng Term Sheet is genuine, Mr. Rajan
 has robbed these Debtors and their estates of $736.4 million in order to ensure that his other company,
 VSI, obtains voting control over the Debtors.” Hawk Post-Trial Reply Brief, at §B.5.

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 diminished the Court’s confidence in Mr. Rajan’s ability to guide the Debtors successfully in

 bankruptcy, and as importantly, in his ability to do so given his interest in and role with VSI.

            Stream’s Schedule A/B disclosed $2,362.50 in cash on hand as of the date its Petition

 was filed.83 The Debtors did not file a financing motion at the time their Petitions were filed, nor

 in the weeks thereafter. The issue of how the Debtors were funding their cases was raised from

 an early stage by Hawk, and by no later than April 14, the Court raised the issue with the Debtors

 in light of the fact that April payroll was coming due for SCBV by the end of the month. 84 At

 that time, the Court was advised that the Debtors had the means to fund their estates at a rate of

 at least $250,000 per month with cash from VSI, and that they would “have the appropriate

 documentation on file when we know how much money we actually need to do it.” 85 The Court

 advised the Debtors, given that §364(b) requires a motion and a hearing for debtor-in-possession

 financing, that “somebody needs to do something” to obtain funding for April payroll. 86

            On April 21, i.e., one week after the Court raised its concerns as to case funding, the

 Debtors filed the expedited Stock Sale Motion. The motion sought, among other things,

 authority to engage in what the Debtors asserted was the ordinary course sale of unissued Stream

 stock to VSI on an as-needed basis to fund their business operations. In connection with that

 request for authority, the Debtors also sought authority to enter into a stock purchase agreement

 with VSI for the sale of up to $10 million in Stream stock. According to the Debtors, they

 routinely sold shares of stock pre-petition to fund operations, and therefore did not need

 authority from the Court to do so post-petition, but did so “out of an abundance of caution to


 83
      See Bankr. Docket No. 52.
 84
      See April 14, 2023 Hearing Transcript, at 145:9 to 145:15; 163:2 to 163:6.
 85
      Id. at 164:12 to 166:5.
 86
      Id. at 173:5 to 173:10.

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 ensure their ability to continue selling and issuing new shares in Stream consistent with its pre-

 bankruptcy practices in order to bring valuable and necessary funds into these chapter 11

 cases.”87

            Given what it understood to be a funding crisis with respect to payroll obligations at the

 SCBV level due on April 25, the Court heard the Stock Sale Motion on an emergency basis on

 April 24. It was clear to the Court from the outset, as the Court advised the Debtors on the

 record at the hearing, that the circumstances creating a funding crisis with respect to the SCBV

 payroll was a self-created emergency, was foreseeable at the time the Petitions were filed, and

 should have been the subject of a first-day motion, rather than a motion filed days before payroll

 was coming due and packaged with a request for expedited approval of matters entirely

 irrelevant to funding SCBV and independent contracor payroll. 88 Moreover, as the Court

 expressed at the hearing, the Debtors were only advising the Court for the first time on an

 emergency basis that they were proposing to sell shares to VSI to fund their post-petition

 operations, which the Court was not going to approve on an expedited basis. 89

            At that point in the April 24 hearing, the Debtors pivoted on-the-fly, seeking approval for

 emergency debtor-in-possession financing from VSI. 90 It was unclear, however, whether VSI

 even had sufficient funds to cover the payroll-related amounts. 91 Meanwhile, SeeCubic advised

 the Court that it was willing to fund the SCBV payroll under a pre-petition facility used to fund



 87
      Stock Sale Motion, at ¶56.
 88
      See April 24, 2023 Hearing Transcript, 6:19 to 6:25; 22:16 to 23:6.
 89
      Id. at 38:23 to 39:3; 40:1 to 40:7.
 90
   This was done only after the Debtors suggested the payroll be funded with money they were holding
 from pre-petition subscription agreements, which upon the Court’s inquiry, was revealed to be funds not
 reported in the Debtors’ filed Schedules. Id. at 43:5 to 44:5.
 91
      Id. at 55:19 to 56:1; 57:11 to 57:16.

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 SCBV while the Receiver was in place.92 The Court concluded that it was not going to choose

 between the two alternatives without evidence, and expressed concern over whether the Debtors

 were even the entity that had an obligation to fund SCBV’s payroll in the first place. 93 The

 Court therefore required the Debtors to file a financing motion by the end of the day with the

 proposed terms, and allowed SeeCubic to file a proposed alternative financing, both of which

 would be considered at an emergency evidentiary hearing the following day.

            The Debtors filed their financing motion the following morning (the “Debtor DIP

 Motion”),94 and SeeCubic filed its motion for approval of alternative funding (the “Seecubic

 Alternative Funding Motion”).95 The Debtor DIP Motion sought authority either for (a) the

 Debtors to borrow approximately €872,000 from VSI on an unsecured basis to fund SCBV

 payroll obligations or, alternatively, (b) VSI’s issuance of one or more unsecured senior

 promissory notes to SCBV directly, with either option being in exchange for Stream’s entry into

 the Distribution Agreement with VSI, whereby VSI would accept orders and make delivery of

 Stream’s products to customers and retain a 10% margin. The SeeCubic Alternative Funding

 Motion proposed to fund SCBV’s payroll obligations with a loan directly to SCBV under the

 pre-existing unsecured facility with SeeCubic, or alternatively, with an unscured loan to the

 Debtors for the purpose of funding the SCBV payroll obligations.

            The Court held a lengthy emergency evidentiary hearing on the alternative proposals later

 that day, at which Mr. Rajan testified on behalf of the Debtors and Mr. Stastney testified on

 behalf of SeeCubic. Indicative of the Court’s chief concern with the Debtors’ proposal to obtain


 92
      Id. at 66:18 to 67:13.
 93
      Id. at 80:23 to 81:2.
 94
      Bankr. Docket No. 156.
 95
      Bankr. Docket No. 155.

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 financing from VSI, Mr. Rajan was also purporting to testify on behalf of VSI. 96 Although the

 Debtors ultimately withdrew Mr. Rajan as a representative of VSI when the Court questioned

 how that could be, Mr. Rajan’s dual role was indicative of the Court’s trouble with the Debtors’

 emergency financing proposal: the evidence at the hearing made clear to the Court that the

 proposal to have the Debtors incur $1 million in post-petition administrative debt to VSI was not

 only unnecessary given the availability of approximately €700,000 in funding directly from

 SeeCubic to non-debtor SCBV, but was also fatally flawed because Mr. Rajan was on both sides

 of the proposed transaction.97 As such, the Court denied the Debtor DIP Motion. With respect

 to the SeeCubic Alternative Funding Motion, because SCBV was a non-debtor foreign company,

 the Court held that it could not direct SCBV to borrow from SeeCubic, but also would not

 approve an alternative debt financing from SeeCubic to the Debtors to fund payroll because the

 incurrence of such debt by the estates was unnecessary given the availability of the existing

 SeeCubic facility directly with SCBV. The Court made clear to Mr. Rajan, however, that his

 fiduciary duties to the Debtors, their estates, and SCBV were implicated by the funding crisis,

 and recommended that he act consistent with them in approving SCBV’s borrowing from

 SeeCubic under the pre-existing facility.98

            The funding crisis in April was entirely of Debtors’ management’s own making. As the

 Court observed on multiple occasions during the April 24 and 25 hearings, the Debtors knew

 when they filed their petitions that SCBV payroll would need to be funded in April. They did

 not file a traditional financing motion at any point in the first month the cases were pending, and




 96
      April 25, 2023 Hearing Transcript, at 52:14 to 54:9.
 97
      Id. at 248:12 to 248:25.
 98
      Id. at 253:15-17.

                                                       42


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 inexplicably waited until just days before the SCBV payroll was coming due to seek authority

 for what they asserted was the ordinary course sale of $10 million in Stream shares to an entity

 owned by Mr. Rajan, while also seeking other relief that was entirely unrelated to the funding

 crisis. When the Court made clear that no such transaction would be approved absent a full

 opportunity for all parties and the Court to vet it, the Debtors proposed an insider financing

 transaction with no notice to other parties in interest. This necessitated an eleventh hour, full-

 day hearing, only for the Court to conclude that there was no need for the financing at all.

 Particularly given the Debtors’ acknowledgement in seeking such relief of the value SCBV holds

 and the calamitous effect its employees leaving would have, this funding crisis is further

 evidence that the Debtors’ management, and specifically Mr. Rajan, cannot be entrusted with the

 management of the Debtors’ estates.

                               c.   The Debtors Have Financed their Post-Petition Operations by
                                    the Transfer of Stream Shares to VSI Without Adequate
                                    Disclosure or Court Permission

            At the April 24 hearing on the Stock Sale Motion, given that the Debtors proposed to

 fund their cases through the sale of Stream shares to VSI, the Court expressly asked whether the

 Debtors had done so post-petition. The Court was advised that they had not, and were waiting

 for Court permission to do so.99 In fact, counsel for the Debtors acknowledged that “[W]e’re

 coming to you because we know that there are grave consequences to not getting permission

 from the court. So even when things are in the ordinary course people come to get permission,

 and that’s what we did.”100 As discussed supra, the Court did not give that permission.




 99
      See April 24, 2023 Hearing Transcript, at 28:10 to 28:15.
 100
       Id. at 31:22 to 32:1.

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            Without approval of the Stock Sale Motion, and with no revenue and no financing, how

 the Debtors were funding their cases and operations remained opaque to the Court. It became

 more clear, however, with Mr. Rajan’s testimony at Trial. Mr. Rajan testified that VSI had been

 paying all expenses of the Debtors since the inception of their bankruptcy cases, in exchange for

 shares in Stream.101 According to Mr. Rajan, Stream had been issuing shares to VSI every week

 or two since the Debtors’ Petitions were filed. 102 In connection therewith, the Debtors had pre-

 petition subscription agreements with VSI, but also had entered into new, post-petition

 agreements.103 Mr. Rajan was not sure how many Stream shares had been issued to VSI since

 the filings, but believed all were pursuant to pre-petition, rather than post-petition, subscription

 agreements.104 Mr. Rajan was aware there was a motion pending by which the Debtors were

 seeking approval of post-petition subscription agreements the Debtors had already entered into

 with VSI, but claimed to not be sure if the post-petition subscription agreements were related to

 VSI’s proposed role as plan sponsor or were the agreements proposed pursuant to the pending

 motion.105

            As of Mr. Rajan’s testimony in August, neither VSI’s funding of the Debtors’ post-

 petition operations nor the post-petition issuance of shares to VSI, whether pursuant to pre- or

 post-petition subscription agreements, had been disclosed in the Stream’s monthly operating

 reports or otherwise.106 Mr. Rajan claimed that the failure to make these disclosures was an



 101
       August 17, 2023 Hearing Transcript, at 205:21 to 206:1.
 102
       Id. at 212:25 to 213:3.
 103
       Id. at 206:2 to 206:8.
 104
       Id. at 206:12 to 207:1.
 105
       Id. at 246:19 to 247:2.
 106
   See Bankr. Docket Nos. 224, 253, 300 (April, May, and June 2023 Monthly Operating Reports);
 August 17, 2023 Hearing Transcript, at 219:9 to 219:24; 224:6 to 224:13.

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 oversight due to his hospitalization, and would be corrected promptly, but as of his testimony at

 Trial in late September, no such corrections had been made. 107

            The Court found Mr. Rajan’s testimony regarding the Debtors’ post-petition issuance of

 shares to VSI to be evasive, and as a result, untrustworthy. 108 Mr. Rajan was pressed on whether

 VSI had been issued shares pursuant to post-petition subscription agreements, and was shown

 his deposition testimony stating that Stream was issuing new shares to VSI every two weeks or

 so pursuant to post-petition subscription agreements. 109 In response, Mr. Rajan asserted he was

 talking about pre-petition subscription agreements. 110 This is not believable and is belied by his

 testimony. Mr. Rajan admitted he attended the April hearing where representations were made

 to the Court that Stream shares were not being issued to VSI post-petition, but he nonetheless

 allowed Stream to do so. Mr. Rajan cannot fall back on a supposed belief that all shares issued

 were pursuant to pre-petition subscription agreements, because even if that was authorized or did

 not require authorization, he could not say with certainty that this is, in fact, what had happened.

 Moreover, his failure to promptly amend the Debtors’ monthly operating reports to reflect both

 VSI’s post-petition funding of the Debtors’ operations and the issuance of shares to VSI is

 unacceptable and was without any legitimate excuse.111 This casual approach to what was

 clearly a highlighted concern of the Court at the outset of the case is further evidence that Mr.

 Rajan has administered these estates with an eye towards what he personally wants to



 107
       See September 25, 2023 Hearing Transcript, at 14:12 to 15:12.
 108
       See, e.g., August 17, 2023 Hearing Transcript, at 252:4 to 252:11; 253:23 to 254:4.
 109
       See CR-231, at 140:10 to 141:13.
 110
       August 17, 2023 Hearing Transcript, at 254:6 to 254:17.
 111
    Given the Debtors’ proposed retention of Mr. Park dating back to May 2023, Mr. Rajan’s
 hospitalization in June and July cannot serve as a basis for failing to amend the Debtors’ schedules by late
 September.

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 accomplish and disclose, rather than acting consistent with his obligations to the Court and the

 estates’ creditors.

                       d.          The Debtors Have Proposed Certain Major Transactions in
                                   these Cases Benefitting VSI without Clear Benefit to the
                                   Debtors or the Estates

         The Court has had concerns nearly from the inception of these cases about the

 relationship between the Debtors and VSI, given Mr. Rajan’s overlapping roles. Certain

 transactions the Debtors have proposed have only reinforced that concern. As discussed supra,

 the proposed funding transaction with VSI in April would have unnecessarily either issued

 Stream equity to VSI or created $1 million of administrative debt to VSI. It was therefore

 denied. The unauthorized post-petition issuance of shares in Stream to VSI also raises serious

 questions about the administration of these cases for the benefit of VSI. These, however, were

 not the only instances where the Court’s trust in the Debtor’s management has deteriorated in

 light of transactions the Debtors have proposed either at the eleventh hour or under cover of

 more innocuous requests for relief that seem to benefit VSI without justification.

                              i.         The Distribution Agreement

         A central feature of the Stock Sale Motion, and subsequently the Debtor DIP Motion, that

 created serious questions about how and for whose benefit these cases are being administered

 was the request for approval of the Distribution Agreement to be given to VSI, purportedly in

 exchange for its financial support in funding the Debtors’ product development and supply chain.

 As stated in the Stock Sale Motion, under the agreement, VSI “will accept orders from and make

 delivery to third-party customers … VSI will then issue back-to-back purchase orders to Stream

 for 90% of the value of those third-party orders, retaining a 10% margin for funding technical,

 business, and sales development. In essence, VSI will act as a distributor for Stream to these



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 customers.”112 This was not the first time, however, that the Court was hearing about the

 proposed Distribution Agreement. In a declaration filed in support of the Debtors’ Stay

 Enforcement Motion, filed on April 13 (the “Stay Enforcement Declaration”), 113 Mr. Rajan

 disclosed VSI’s willingness to fund the Debtors’ post-petition operations in exchange for the

 Distribution Agreement.114 At a hearing on April 14 on the Stay Enforcement Motion, the Court

 questioned why the Debtors need a distributor for their product. However, the Distribution

 Agreement was not the focus of that hearing, which, as discussed supra, was largely the urgent

 need for the Debtors’ to fund their cases.

            In response to the Court’s admonition at that hearing to the Debtors that funding needed

 to be procured, the Debtors filed the Stock Sale Motion a week later, and it was there that they

 sought (on an expedited basis) approval of the Distribution Agreement. The agreement was then

 the subject of Mr. Rajan’s testimony at the hearing on the Debtor DIP Motion on April 25. Mr.

 Rajan was asked directly whether the Distribution Agreement was part of the compensation VSI

 was to receive for providing post-petition funding to the Debtors. 115 Mr. Rajan evaded,

 responding that the Distribution Agreement “is an aspirational hope. The Court has to – we

 submitted it for approval to the Court.”116 Only upon the Court’s inquiry did Mr. Rajan affirm

 that the Distribution Agreement was part of VSI’s proposed compensation to fund the Debtors.



 112
    See Stock Sale Motion at ¶¶25, 26 (internal paragraph numbering omitted). The motion goes on to
 represent that “In addition to financial support, VSI will assist Debtors with productization of electronics,
 an area in which Stream needs support. VSI will also assist Debtors with translating computer software
 and hardware code, designing chips for use in end-user products, and supporting Debtors’ customers with
 integration of those chips into end-user products.” Id. at ¶27.
 113
       Bankr. Docket No. 114-1.
 114
       Bankr. Docket No. 114-1, at ¶12.
 115
       April 25, 2023 Hearing Transcript, at 93:11 to 93:13.
 116
       Id. at 93:14 to 93:16.

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            Notwithstanding that the Debtors ultimately filed the motion seeking approval of the

 Distribution Agreement, the Court found the way it was done disconcerting. The agreement was

 disclosed in a declaration from Mr. Rajan in support of the Stay Enforcement Motion, wholly

 unrelated to the Debtors’ funding proposal. Only when the Court questioned its necessity was

 the Stock Sale Motion filed, which sought the agreement’s approval on an expedited basis.

 When that relief was denied, the Debtors pivoted to include it in the Debtor DIP Motion. At no

 point during Mr. Rajan’s testimony in connection with that motion did the Debtors present a

 cogent business justification for VSI acting as a distributor of the Debtors’ product for a 10%

 share of the sales. In the end, the Court was left with the distinct impression that the Debtors

 sought to enter into the Distribution Agreement while attracting little attention to it, and once

 attention was drawn, failed to have a compelling reason for allowing VSI to benefit from the

 Debtors’ product sales. The Debtors argue that the Distribution Agreement is “beneficial to the

 Estates because VSI can provide support to the Debtors in terms of funding, customer contracts,

 technical know-how in the areas of electronic productization, translating computer software and

 hardware code, designing chips for use in end-user products, and integration of those chips into

 end-user products.”117 They cite to a portion of Mr. Rajan’s Trial testimony that does not touch

 on any of those supposed benefits, but even if it did, the Court is troubled by (a) the Debtors’

 failure to explain why VSI’s proposed financing was not subject to a note with market-rate

 interest, rather than a significant cut of the Debtors’ product sales, and (b) the Debtors seeking

 approval of the agreement on an expedited basis and in a landscape where other emergencies the

 Debtors had created were the focus of the Court and other interested parties.




 117
       Debtors’ Post-Trial Brief, at ¶27.

                                                    48


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                                    ii.       The Licensing Covenant

            The Court also has concerns regarding the Debtors’ post-petition Licensing Covenant

 with Rembrandt, entered into post-petition in August. 118 Pursuant to the Licensing Covenant,

 Rembrandt agreed that it would not issue a license to the Rembrandt IP (a defined term) to

 Hawk, SeeCubic, Mr. Stastney, or a host of related entities and parties. The Court understands

 the Debtors’ desire for such an agreement, given those parties’ adversarial relationship with the

 Debtors’ and their competing interests. Importantly, however, it also bars the licensing of the

 Rembrandt IP to any current or former subsidiary of Stream as well. 119 In exchange, Stream and

 VSI120 agreed to pay Rembrandt $3.6 million, payable in several installments. 121 The Licensing

 Covenant addressed Stream and VSI’s motivation to enter into it: “[T]he VSI Parties want the

 plan for reorganization to have an optimal chance of success and to ensure that it is clear that the

 VSI Parties will have the sole right to commercialize the technology and products developed by

 Stream among the lenders, creditors and shareholders of Stream … [T]he VSI Parties would like

 to enter into a Licensing Covenant with Rembrandt to prevent certain lenders, creditors, and

 shareholders of Stream [from] attempting to commercialize the technology and products

 developed by Stream.”122




 118
       CR-222.
 119
       Licensing Covenant, at §B.2.
 120
    Reinforcing their lock-step alliance under the Licensing Covenant and the interrelationship between
 them, Stream and VSI are defined together under the agreement as the VSI Parties.
 121
   Id. at §C.2. Those installments were to commence on September 1, 2023. At Trial, Mr. Rajan
 confirmed that Stream and VSI are jointly and severally liable for the payments under the Licensing
 Covenant. Stream and VSI also agreed to an increase in the number of units Rembrandt can obtain. Id. at
 §D.1 to D.3.
 122
       Id. at fifth, sixth Whereas clauses.

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            The Court recognizes VSI’s proposed role as plan sponsor, and as Mr. Rajan

 acknowledged during his testimony, if the Debtors’ proposed plan is confirmed VSI will own

 90% of Stream’s equity.123 The Court is nonetheless alarmed about the propriety and

 motivations of Stream entering into a post-petition transaction that is intended, at least in large

 part, to protect VSI’s interest in Stream’s technology and products, while at the same time

 expressly barring Rembrandt from issuing a license to any of Stream’s subsidiaries. The

 Licensing Agreement completely aligns Stream and VSI with respect to licensing the technology

 of Rembrandt, to the exclusion of, inter alia, Stream’s subsidiaries. While Mr. Rajan may assert

 that the purpose of the Licensing Covenant is “stopping the use of our technology by companies

 who do not own our technology, specifically SeeCubic of Delaware, to stop the use of our

 technology to compete against us,”124 the Licensing Covenant goes beyond that, precluding the

 issuance of a license to any Stream subsidiary notwithstanding the possibility that there may be a

 business reason for doing so at some point in the future. 125 Rather than simply preventing

 SeeCubic from competing with the Debtors, the Licensing Covenant benefits a non-debtor

 insider third-party while requiring the Debtors to make significant post-petition payments to

 Rembrandt. Moreover, not only did Mr. Rajan confirm that Stream is jointly and severally liable

 for the payments under the Licensing Covenant, 126 but as Hawk notes, the obligation to make

 payments under the Licensing Covenant is not conditioned on confirmation of the proposed plan,

 and in fact the agreement contemplates its effectiveness even if a plan is not confirmed. 127


 123
       September 25, 2023 Hearing Transcript, at 51:10 to 51:12.
 124
       Id. at 51:1 to 51:5.
 125
    As Hawk argues, the Licensing Covenant limits the potential avenues to capitalize on the Debtors’
 assets by foreclosing the issuance of a license to a downstream subsidiary. Hawk Post-Trial Brief, at 50.
 126
       Id. at 41:8 to 41:10.
 127
       Licensing Covenant, at §C.5.

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         Each of these transactions have had the taint of benefit to VSI without clear benefit to the

 Debtors and their estates. Where Mr. Rajan stands on both sides of those transactions, they only

 add to the Court’s conclusion that he has breached his fiduciary duties in proposing them without

 being able to articulate how they are a reasonable exercise of his business judgment.

                         e.      There Has Been Little to Substantiate Mr. Rajan’s Claims of
                                 Hundreds of Millions of Dollars in Nascent Purchase Orders
                                 Coming to Stream

         From the outset, Mr. Rajan has been touting the numerous deals and purchase orders the

 Debtors are on the verge of obtaining. Like the Zhongsheng transaction, however, there has been

 precious little evidence, other than Mr. Rajan’s self-serving testimony, offered to verify the

 existence of these deals, or even the negotiation of such deals. After listening to Mr. Rajan’s

 testimony, and having almost no other evidence against which to measure the veracity of his

 claims, the Court was left with the firm impression that Mr. Rajan was engaging in hyperbole at

 best, or fabrication at worst, in testifying regarding Stream being on the verge of obtaining

 customer commitments worth hundreds of millions of dollars.

                                 i.      The VSI Purchase Orders Were Not Substantiated by
                                         Anything Other than Mr. Rajan’s Testimony

         On April 13, the Debtors filed Mr. Rajan’s Stay Enforcement Declaration, in which he

 represented that Stream had secured two post-petition purchase orders totaling $138,600,000 in

 gross revenues, and attached the purchase orders as exhibits. 128 The securing of those purchase

 orders was given as a primary reason the Debtors needed to repossess the Bonding Equipment as

 soon as possible. Both orders are from VSI, the first dated March 20, 2023, in the amount of

 $12,600,000 (“VSI Purchase Order #1”), and the second dated April 11, 2023, in the amount of


 128
   Stay Violation Declaration, at ¶8. Mr. Rajan stated his opinion that revenues to be derived from these
 two purchase orders will allow the Debtors to successfully reorganize. Id. at ¶15.

                                                    51


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 $126,000,000 (“VSI Purchase Order #2” and together with the VSI Purchase Order #1, the “VSI

 Purchase Orders”). Joseph Corso (“Mr. Corso”), under limited power of attorney, executed the

 VSI Purchase Order #1 on behalf of VSI, and Mr. Savarese, under limited power of attorney,

 executed the VSI Purchase Order #2 on behalf of VSI.

            During the Trial, Mr. Rajan testified that the VSI Purchase Order #1 is for Cystar

 International Limited (“Cystar”) as the third-party customer. 129 A purchase order from Cystar to

 VSI was issued on the same date as VSI Purchase Order #1, which Mr. Rajan testified he

 negotiated on behalf of VSI.130 Mr. Rajan testified that the VSI Purchase Order #2 is for

 Southern Telecom as the third-party customer.131

            Mr. Rajan also testified at Trial about the role an entity he referred to as BOE had in the

 VSI Purchase Orders. According to Mr. Rajan, BOE is the “number 1 panel company in the

 world,” and BOE introduced Stream to a number of BOE’s customers, “and those customers

 have become customers of Stream TV.” 132 Two of those customers, according to Mr. Rajan, are

 Cystar and Southern Telecom.133 Mr. Rajan testified that under an August 2018 agreement

 between Stream and BOE’s factory entity by the name of Hefei Xinsheng Optoelectronics

 Technology Co. Ltd. (“BOE”), 134 BOE agreed to introduce Stream to customers, vendors, and

 suppliers, as well as providing purchase order financing to Stream. 135 Mr. Rajan testified that the


 129
    August 17, 2023 Hearing Transcript, 47:7 to 47:16; Exhibit D-18. As noted supra, Mr. Rajan also
 disclosed in his Stay Violation Declaration the Distribution Agreement with VSI. The VSI Purchase
 Orders were made in connection with this Distribution Agreement. See Stay Violation Declaration, at
 ¶12.
 130
       August 17, 2023 Hearing Transcript, 53:6 to 53:11.
 131
       Id. at 63:23 to 65:14; Exhibit D-19; Exhibit D-21.
 132
       August 15, 2023 Hearing Transcript at 201:3 to 201:7.
 133
       Id. at 201:9; 205:24 to 206:1.
 134
       Exhibit D-3.
 135
       August 15, 2023 Hearing Transcript, 205:8 to 206:2; September 25, 2023 Hearing Transcript, 154:8 to

                                                        52


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 2018 agreement is still in effect, and that Stream “has calls with BOE at least three to four times

 a week [and] meetings, at least once to twice a week, either in China or the United States.” 136

 According to Mr. Rajan, BOE “help[s] us with customers. They help us with vendors. They’re

 helping us with supply chain finance. They’re ramping up more introductions and they’re also

 working on their own sales activities.”137

            The VSI Purchase Orders are, on their face, clearly for a considerable sum and require

 considerable production from Stream.138 The Debtors have repeatedly stated that the importance

 of these purported deals to the Debtors’ reorganization and success going forward is

 fundamental, but it is beyond dispute that the VSI Purchase Orders are not traditional contracts

 with the panoply of provisions governing performance of the parties’ agreement. They also do

 not provide for any further commitment by Cystar and Southern Telecom. At Trial, however,

 Mr. Rajan testified that Cystar wants to increase its order from the 10,000 units under the VSI

 Purchase Order #1 to “about 75 to 100,000 once he gets the bonding machine, which is about

 $140 million in revenue if he goes up to 100,000.” 139 Likewise, Mr. Rajan testified that Southern




 155:15. Mr. Rajan pointed to Articles 4 and 5 of the BOE agreement as binding them to provide purchase
 order financing. August 17, 2023 Hearing Transcript, at 189:2 to 192:2.
 136
       August 15, 2023 Hearing Transcript, at 208:25 to 209:6.
 137
       Id. at 209:4 to 209:10.
 138
    Mr. Rajan testified that, without the Bonding Equipment, it had made arrangements with an entity
 called Fuji-Prem to provide the bonding services needed to meet the production requirement under the
 VSI Purchase Orders and “for most of our customers.” August 15, 2023 Hearing Transcript, at 193:6 to
 193:19; August 17, 2023 Hearing Transcript, at 28:21 to 28:23.
 139
    August 15, 2023 Hearing Transcript, 201:15 to 201:17. Consistent with the Court’s concern regarding
 Mr. Rajan’s tendency to be loose with the purported sales he expects, he later testified that Cystar’s “plan,
 once they receive the bonding machine is to increase their order to 75 to 100,000 units, which is over 100
 million in revenue.” See September 25, 2023 Hearing Transcript, at 31:2 to 31:6. He also testified that
 the VSI Purchase Order #1 was for “14 million, but Stream TV believes it’s going to be increased to
 about 75 million.” Id., at 156:1 to 156:3.

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 Telecom wants to increase its order from the 100,000 units under the VSI Purchase Order #2 to

 “about 300,000 TVs.”140

            SeeCubic signaled almost immediately that it questioned the legitimacy of the VSI

 Purchase Orders.141 Beyond Mr. Rajan’s testimony, however, the Debtors did nothing to

 establish their bona fides. It seemingly would have been both very easy and very urgent for the

 Debtors, given the consequences if Hawk is successful in obtaining dismissal, conversion, or

 appointment of a trustee, to provide witness testimony from Cystar, Southern Telecom, and/or

 BOE to substantiate, at the very least, the VSI Purchase Orders, if not the asserted interest of

 Cystar and Southern Telecom in greatly increasing purchases going forward. This is particularly

 true with respect to Southern Telecom, as Mr. Rajan testified that it is a “big supporter” of

 Stream, and in addition to allegedly placing an order for 100,000 units, is interested in a merger

 or acquisition as well as cross-marketing activity.142 Despite that level of purported support and

 interest in Stream, however, the Debtors did not bring anyone from Southern Telecom to

 substantiate the VSI Purchase Order #2. At a bare minimum, the Court would have expected the

 Debtors to put on the testimony of Mr. Corso and/or Mr. Savarese, each of whom purportedly

 bound VSI, to establish that the VSI Purchase Orders are legitimate. 143 The Debtors instead


 140
    Id. at 202:1 to 202:10; see also id. at 194:3 to 194:6 (“Southern Telecom has indicated that they are
 going to increase their order from 100,000 TVs, which is $140 million in revenues to about 300,000,
 which would push us to 400 million in revenue.”).
 141
       April 14, 2023 Hearing Transcript, 64:23 to 66:17.
 142
       August 15, 2023 Hearing Transcript, 202:12 to 203:8.
 143
    In their post-trial reply brief, see Bankr. Docket No. 437, the Debtors argue that it is disingenuous for
 Hawk to point out that VSI did not appear at Trial to provide supporting testimony. Id. at 19. It is true
 that the Debtors attempted, at the eleventh hour, to add Tom Sego, a purported independent board
 member of VSI, and Bud Robertson, a current VSI employee, to their witness list in advance of the
 resumption of the Trial on August 15. See Bankr. Docket No. 334. It is also true that Hawk requested
 that neither witness be permitted to testify given the late notice and extremely limited windows of time
 the Debtors were proposing to make Mr. Sego and Mr. Robertson available for depositions. See Bankr.
 Docket No. 327. After a hearing the Court barred both Mr. Sego and Mr. Robertson from testifying.

                                                       54


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 relied only Mr. Rajan, whose credibility with this Court has been greatly diminished. While the

 Debtors may have had their reasons for doing so, that gap in substantiation left the Court with the

 unanswered questions regarding the veracity of the VSI Purchase Orders and Mr. Rajan’s claims

 that Cystar and Southern Telecom intend to exponentially increase the amount of product

 purchased from Stream. Unfortunately, in the context of so many other instances where the

 Court has concerns regarding Mr. Rajan’s truthfulness, this is just another example.

                                     ii.    The Debtors Offered No Supporting Evidence for the
                                            Other Potential Customers and Deals Mr. Rajan Touted
                                            During Trial

            Mr. Rajan testified at Trial regarding a host of other deals and partnerships on which he

 alleged the Debtors were working and/or were imminent:

                    Mr. Rajan testified at Trial on August 15 that there are “eight or nine” other

                     customers interested in the same unit that Cystar is ordering, including Google,

                     and that a company from Thailand would be making an offer that morning. 144

                    Mr. Rajan alluded to other deals with “Hisense and some other brands, like

                     Chunghwa Telecom, which will be ordering once we get the samples from [Fuji-

                     Prem].”145 Mr. Rajan subsequently testified that Chunghwa Telecom wants to

                     purchase 60,000 units.146




 Bankr. Docket No. 343. Even if the Court had permitted their testimony, however, neither VSI witness
 was proposed to testify regarding the legitimacy of the VSI Purchase Orders. See Bankr. Docket No. 327-
 1 (Exhibit A).
 144
       Id. at 201:18 to 201:24.
 145
       Id. at 203:5 to 203:8.
 146
       Id. at 217:6 to 217:12.

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                   Mr. Rajan testified that the Debtors were in negotiations with Lenovo, Sony, and

                    Samsung, and had just received a request for a price quotation from LG. 147 Mr.

                    Rajan subsequently testified that he was in negotiations with LG for the sale of

                    5,000,000 units.148

                   Mr. Rajan also named other potential customers Skyworth, Highsense, Huawei,

                    and Vizio.149 According to Mr. Rajan, Skyworth is “expected to order TVs in the

                    two to three million unit range.”150

                   Mr. Rajan testified that Stream was in discussions with Bosch, with which it had a

                    pre-petition deal for an automotive-based product that allegedly fell apart once

                    SeeCubic took control of Stream’s assets under the Omnibus Agreement. 151 Mr.

                    Rajan acknowledged, however, that Bosch is not a current customer of Stream. 152

                   Mr. Rajan testified that in addition to Bosch, Stream was in discussions with other

                    potential customers for an automotive-based product, including Geely, Honda,

                    Nissan, and Toyota.

                   Mr. Rajan testified about certain other expressions of interest Stream has received

                    for its product from Cystar, IQH3D, BBack Inc., and Sunny Hill Technology Ltd.

                    (“Sunny Hill”), and the Debtor introduced into evidence letters from each of those




 147
       Id. at 203:22 to 204:6.
 148
       Id. at 219:8 to 219:10.
 149
       Id. at 217:15 to 217:24.
 150
       August 17, 2023 Hearing Transcript, at 30:7 to 30:13.
 151
   August 15, 2023 Hearing Transcript, at 219:21 to 220:12. The pre-petition agreement with Bosch was
 admitted as Exhibit D-4.
 152
       August 17, 2023 Hearing Transcript, at 25:6 to 25:14.

                                                       56


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                    companies purportedly expressing such interest. 153 Three of four of these letters,

                    however, were issued pre-petition, and the fourth, from Sunny Hill, was dated

                    only days after the Debtors filed for bankruptcy. 154

                   Mr. Rajan testified that he understood, based on a February 2023 discussion with

                    Google, that once Stream provides Google with a lens sample Google had ordered

                    pre-petition but that was never provided, Google would be interested in resuming

                    discussions on acquisition of various sizes of Stream’s units, which Mr. Rajan

                    stated are both “very high margin type” and “very easy to do, very easy to make,

                    and it’s a very easy project.”155

                   Mr. Rajan testified regarding his post-petition negotiations with “various large

                    content companies and sports leagues” on cross-marketing deals, but asserted he

                    was subject to a strict non-disclosure agreement and could not reveal the names of

                    the sports leagues.156

                   Mr. Rajan testified that he had “probably 100 customer meetings” since the

                    Debtors’ Petitions were filed, but provided no additional detail. 157

            After listening to Mr. Rajan’s testimony regarding these purported customers and

 relationships, the Court found his testimony not credible. Rather, it appeared to the Court that

 Mr. Rajan was “name-dropping” large players in the television and panel space, but had nothing

 to verify that Stream has had any post-petition discussions or negotiations with these parties, let



 153
       Id. at 68:25 to 77:3
 154
       Exhibits D-44 to D-47s D-44 to D-47.
 155
       August 15, 2023 Hearing Transcript, 214:7 to 217:1.
 156
       August 17, 2023 Hearing Transcript, at 120:1 to 120:22.
 157
       Id. at 121:6 to 121:10.

                                                         57


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 alone is on the precipice of transactions with them. Rather, on cross-examination, despite having

 referred to many of these parties as customers of Stream, Mr. Rajan acknowledged that Stream

 was not “at a contract stage yet” with respect to any of the parties about which he testified. 158

 Moreover, although the Debtors have repeatedly stressed the need to regain the Bonding

 Equipment so that they may begin meeting production requirements. Mr. Rajan testified that

 alternative bonding arrangements had been made with Fuji-Prem to meet production needs, and

 therefore that the yet-unresolved dispute over the Bonding Equipment would not seem to be an

 impediment to at least some of these purported deals having come to fruition. 159 Particularly

 where Mr. Rajan represented that the deals in the works would result in hundreds of millions, if

 not billions, of dollars of revenue for the Debtors, the Court is confounded that the Debtors did

 not produce any potential contract-counterparty to corroborate Mr. Rajan’s claims. In that void,

 the Court was left with only Mr. Rajan’s assertions, which the Court found not credible.

                           f.       The Net Effect of the Debtors’ Conduct in These Cases, By and
                                    Through Mr. Rajan, Is That the Court Has No Faith in the
                                    Debtors’ Ability to Effectively Manage These Bankruptcy
                                    Cases

            The Court’s discussion of the general procedural history of these cases, specific events

 that have transpired, and representations the Debtors, and specifically Mr. Rajan, have made, is

 intended to illustrate the cloud of mistrust and mystery that has hung over these cases virtually

 from the beginning. In arguing that Mr. Rajan has engaged in gross mismanagement of the

 estates, Hawk points to much of the same conduct and actions by the Debtors during these cases

 that the Court has cited above, including (a) the Debtors’ proposed entry into the Distribution



 158
       August 17, 2023 Hearing Transcript at 164:13 to 165:11.
 159
    The Court notes that the Debtors did not provide any agreement or other documentary evidence of an
 agreement with Fuji-Prem.

                                                      58


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 Agreement with VSI, (b) the VSI Purchase Orders using VSI as an intermediary with customers

 for a 10% fee, (c) the transfer of Stream shares to VSI in exchange for funding the Debtors’ post-

 petition operations without Court approval, (d) the entry into the Rembrandt License Covenant

 for the purpose of steering licensed intellectual property from Rembrandt to VSI, and (e) the

 failure to file accurate monthly operating reports, and the failure to timely correct them. 160 Hawk

 asserts that Mr. Rajan has administered these cases for the benefit of VSI, rather than creditors,

 and that this blatant breach of fiduciary duty, together with failing to disclose proposed

 agreements and transactions until the eleventh hour, and in the case of the Zhongsheng Term

 Sheet, fabricating the transaction entirely, constitutes gross mismanagement of the Debtors’

 estates warranting conversion or dismissal.

            The already-discussed transactions and requested relief that appear to be primarily for the

 benefit of VSI are reason enough to find that Mr. Rajan has engaged in gross mismanagement of

 the Debtors’ estates. Another glaring example, however, is the Debtors’ failure to revise

 knowingly false monthly operating reports, on which the Court and all interested parties rely in

 assessing the Debtors’ post-petition performance and prospects, until December, months after the

 initial MORs were filed. Furthermore, as discussed infra, the Revised MORs (as defined herein)

 appear to represent facts regarding payments VSI has made on behalf of Stream that contradicts

 Mr. Rajan’s testimony at Trial, leaving the Court and interested parties unclear as to the Debtors’

 post-petition operations and finances. A debtor-in-possession’s fiduciary duties include the duty

 to keep the Court and creditors informed about the status and condition of its business. See In re

 Gateway Access Solutions, Inc., 374 B.R. 556, 565 (Bankr. M.D. Pa. 2007). Monthly operating

 reports are “the lifeblood of Chapter 11, enabling creditors to keep tabs on the debtor’s post-


 160
       Hawk Post-Trial Brief, at 49-56.

                                                    59


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 petition operations.” In re Kholyakva, 2008 WL 3887653, at *4 (Bankr. E.D. Pa. 2008). They

 are designed to allow the U.S. Trustee and creditors to monitor business operations during

 chapter 11 and to avoid continued business operations that generate losses and administrative

 insolvency. In re Domiano, 442 B.R. 97, 106 (Bankr. M.D. Pa. 2010). Importantly in the

 context of these cases, the failure of a debtor to properly report income and expenses constitutes

 evidence of gross mismanagement under §1112(b)(4)(B). In Domiano, the court found the

 debtor’s monthly operating reports had been completed in cursory, if not casual fashion, omitted

 significant information, and were completed “in such a summary fashion that creditors are left to

 guess as to much of the Debtors’ operations and financial results … The MORs have not been

 completed in a fashion consistent with the Debtors’ fiduciary duties.” Id. The Domiano court

 found that this was grounds for conversion due to the debtor’s gross mismanagement of the

 estate.

           Mr. Rajan’s flippant explanation for why VSI’s millions of dollars in payments on behalf

 of Stream in exchange for Stream shares was not disclosed on its MORs is unacceptable. The

 Court does not attribute any credibility to Mr. Rajan’s explanation that this lack of disclosure

 was due to an oversight or attributable to his hospitalization. There is no reason that Mr. Park, as

 the nominal CFO of the Debtors, or someone else with knowledge of the Debtors’ operations and

 finances should not have ensured the disclosure of the funding arrangement with VSI in the

 MORs. The fact that it was not done, that it became clear only at Trial, and that the Debtors did

 not file the Revised MORs until December is a breach of the Debtors’ fiduciary duties to the

 estates’ creditors and its disclosure obligations to the Court. The Court simply does not believe

 Mr. Rajan that the lack of disclosure was an oversight. 161


 161
   On September 28, 2023, the U.S. Trustee submitted a proposed Rule 2004 consent order (the “Rule
 2004 Order”), providing for, inter alia, authorization to examine the Debtors regarding post-petition

                                                    60


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            In sum, apart from this fundamental breach of the Debtors’ disclosure obligations and the

 Court’s overall concerns regarding Mr. Rajan’s trustworthiness, the history of these cases has

 been littered with questions about the role and involvement of VSI, the Debtors’ ability to

 operate independently of VSI, and whether Mr. Rajan is able to differentiate his role with the

 Debtors from his role with VSI. Alarmingly, the interrelationship between VSI, Stream, and Mr.

 Rajan’s overlapping interests and roles in each is so entrenched that Mr. Rajan’s testimony at

 Trial was at times rendered unintelligible, or alternatively, intentionally deceptive, by his

 inability or unwillingness to draw distinction between the entities and his roles with each. 162 It

 has consistently appeared that he cannot, and the Debtors’ transactions and requested relief

 outlined herein are indicative of his inherent conflict of interest. The result has been delay,

 confusion, mistrust, and unending acrimony that has led to the Court’s assessment that, even if

 the Debtors have a reasonable likelihood of rehabilitation, they have made little progress to date

 in attaining it under Mr. Rajan’s stewardship.

            Mr. Rajan’s conflicted interests, gamesmanship, and lack of candor to the Court and

 creditors rises to the level of gross mismanagement of the estates, even when viewed against the

 high standard of glaring and inexcusable badness. See In re 210 West Liberty Holdings, LLC,



 payments made by or on behalf of the Debtors, the issuance of shares from Stream and/or Technovative to
 VSI, and any post-petition agreement between the Debtors and VSI for VSI to fund the Debtors’
 subsidiaries, including SCBV. Bankr. Docket No. 428. On October 3, 2023, the Court entered the Rule
 2004 Order. Bankr. Docket No. 433. On December 29, 2023, the U.S. Trustee filed a motion to dismiss
 the Debtors’ bankruptcy cases (the “UST Dismissal Motion”), based on their failure to file timely and
 complete monthly operating reports and other required reports, failure to provide accurate information in
 the initial MORs or the Revised MORs, and failure to comply with the Rule 2004 Order’s terms regarding
 document production and appearing for examination. See Bankr. Docket No. 534. While the Debtors
 have not yet had opportunity to respond to the UST Dismissal Motion, and the Court has not yet held a
 hearing on it, its filing in and of itself is further evidence of the lack of cooperation and conflict that has
 permeated these cases, and only reinforces the Court’s conclusion that Mr. Rajan cannot serve as a
 productive and responsible steward of the Debtors’ bankruptcy estates.
 162
       See, e.g., August 17, 2023 Hearing Transcript, at 151:14 to 153:25.

                                                       61


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 2009 WL 1522047, at *5. The nearly ten months since the Debtors filed their Petitions have

 been marred by delay, conflict, suspect proposals, lack of transparency, and lack of candor.

 While the delay has been the result of numerous circumstances, the Court will not permit this to

 continue under Mr. Rajan’s watch. The only question for the Court is whether the Debtors’ cases

 should be dismissed, converted, or a trustee should be appointed to determine what value the

 Debtors’ operations hold, and what claims, if any, should be pursued, and how the cases move

 expeditiously to reorganization or liquidation. As discussed infra, notwithstanding current

 management’s gross mismanagement of the Debtors’ estates, the Court believes conversion or

 dismissal is not in the best interests of creditors at this time.

                 3.      It Has Not Been Established by a Preponderance of Evidence That
                         There is Both Substantial or Continuing Loss to the Debtors’ Estates
                         and No Reasonable Likelihood of Rehabilitation

         Section 1112(b)(4)(A) of the Bankruptcy Code provides that cause for conversion or

 dismissal exists where there is substantial or continuing loss to or diminution of the estate and

 the absence of a reasonable likelihood of rehabilitation. It is written in the conjunctive, and

 therefore both components must be shown. See, e.g., In re 1121 Pier Village LLC, 635 B.R. 127,

 137 n.14 (Bankr. E.D. Pa. 2022); In re Northeast Family Eyecare, P.C., 2002 WL 1836307, at *3

 (Bankr. E.D. Pa. July 22, 2002) (stating that the subsection codifies a “two-prong test”); In re

 Route 202 Corp., 37 B.R. 367, 372 (Bankr. E.D. Pa. 1984).

         In determining whether a loss to, or diminution of, the estate exists, a court must make a

 full evaluation of the present condition of the estate, not merely look at the debtor’s financial

 statements. In re Plasterer, 2023 WL 6217801, at *6 (Bankr. E.D.N.Y. Sept. 25, 2023) (stating

 that even where a debtor shows positive cash flow, continuing loss to or diminution of the estate

 can also be established by an actual depreciation in the value of property of the estate).



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 Importantly, §1112(b)(4)(A) requires not only a consideration of whether a debtor is suffering

 continuing losses but whether the debtor’s business prospects justify continuing the chapter 11

 case. In re EnCap Golf Holdings, LLC, 2008 WL 4200324, at *9 (D.N.J. Sept. 4, 2008); see also

 In re Andover Covered Bridge, LLC, 553 B.R. 162, 175 (B.A.P. 1st 2016) (“‘Rehabilitation’ in

 this context means whether the debtor will be able to reestablish its business.”).

            Hawk argues that the Debtors have no operations, no expenses, and no sources of

 financing, and the Debtors’ own filings prove the estates are suffering catastrophic losses during

 these cases based on over $7 million in administrative expenses incurred. 163 Hawk further

 argues that to the extent there are any operations, they are at the VSI level, and without

 operations the Debtors cannot establish a business plan based on future operations, and therefore

 are per se unable to rehabilitate.164

            The Court agrees with Hawk that, based on the Debtors’ originally-filed monthly

 operating reports (the “MORs”) from March through June, it would appear that Stream has no

 expenses, employees, or financing. Stream’s originally-filed April, May, and June MORs reflect

 little cash on hand, no full-time employees, no receipts, very little in disbursements, and no

 disbursements made by a third party for the benefit of the estate. 165 Mr. Rajan had his

 explanation for that at Trial. With respect to employees, Mr. Rajan testified in August that the

 Debtors had retained independent contractors through VSI to work on its projects. 166 Mr. Rajan




 163
    Hawk Post-Trial Brief, at 45-46 (citing $750,000 in legal fees incurred, approximately $75,000 in
 salary for Mr. Park, and $6 million in post-petition obligations to Rembrandt under the Licensing
 Covenant and related subscription agreement).
 164
       Id. at 46.
 165
       Bankr. Docket Nos. 224, 253, 300; August 17, 2023 Hearing Transcript, at 196:20 to 200:3.
 166
    August 17, 2023 Hearing Transcript, at 202:18 to 205:2. While the Court cannot verify that based only
 on Mr. Rajan’s testimony, it is consistent with representations made in the Employee Obligation Motion.

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 alleged that the failure to make this clarification in the MORs was “an oversight” that would be

 revised by the following week.167 With respect to expenses and financing, Mr. Rajan testified, as

 discussed supra, that VSI was paying all expenses of Stream since its bankruptcy was filed, in

 exchange for Stream shares.168 Mr. Rajan acknowledged, however, that none of the $1.5 to $2

 million in expenses that VSI had allegedly paid on behalf of Stream were disclosed in the April,

 May, or June MORs.169 Mr. Rajan again claimed that this was an oversight that would be

 corrected the following week.170

            On December 8, 2023, the Debtors finally filed revised Stream MORs for March, April,

 May, and June 2023 (the “Revised MORs”). 171 Those Revised MORs still reflect no full-time

 employees, as do subsequent MORs. Attached to the Revised MORs, however, are letters from a

 Daniel Rink, Director of VSI, to Mr. Park, asserting the expenses VSI paid on behalf of Stream

 during the months of March, April, May, and June. According to those letters, 172 and as

 reflected in the Revised MORs, VSI paid expenses, and asserted it was entitled to Stream Class

 A shares, in the following amounts: (a) $85,161.53 in expenses for March, in exchange for

 56,774 Stream shares; (b) $331,134.30 in expenses for April, in exchange for 220,756 Stream



 167
   No amended or corrected MORs had been filed as of late September, which Mr. Rajan attributed to
 “going back and forth with the trustee.” September 25, 2023 Hearing Transcript, 14:24 to 15:12.
 168
       Id. at 205:21 to 206:4.
 169
       Id. at 214:14 to 219:14.
 170
    Mr. Rajan seemed to claim that the reason for this oversight was his three-month hospitalization, but
 also acknowledged that he was not the only individual involved with the Debtors that was aware of the
 expenses being paid by VSI. Id. at 219:22 to 219:24. The Court therefore attributes very little weight to
 Mr. Rajan’s explanation.
 171
       Bankr. Docket Nos. 502, 503, 505, 512.
 172
     Each of the letters is dated December 7, 2023, the day before the Revised MORs were filed and
 months after the expenses were purportedly paid. No explanation is provided for why the letters were not
 issued substantially contemporaneously with the end of each month, particularly where the subject of the
 letters has been a hot-button issue in the case since Trial.

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 shares; (c) $200,910.46 in expenses for May, in exchange for 133,940 Stream shares; and (d)

 $243,871.98 in expense for June, in exchange for 162,581 Stream shares. This totals

 approximately $861,078 in expenses purportedly paid by VSI, which is the cumulative total

 Stream discloses in its Revised June MOR for disbursements made by a third party. Attached to

 each letter is a breakdown of the general categories of expenses purportedly paid.

            The July MOR, filed after Mr. Rajan’s August testimony, reflects approximately

 $750,000 in July third-party disbursements.173 No letter from VSI is attached to the July MOR.

 Furthermore, the July MOR confusingly disclosed roughly the same figure for a cumulative total,

 seemingly in contradiction to Mr. Rajan’s testimony in August that VSI had paid $1.5 to $2

 million in expenses on behalf of Stream, and certainly in contradiction to the Revised MORs that

 represent over $861,000 in third-party disbursements for the three-and-a-half months prior to

 July. In September, Mr. Rajan testified that the cumulative total as of the end of July being the

 same as the figure for July alone could be harmonized because disbursements through the end of

 July had been approximately $750,000, whereas by the time he testified in mid-August the

 disbursements had apparently grown to $1.5 to $3 million.174 This testimony is clearly

 contradicted by the Revised MORs, and is just another example of what the Court perceives as

 Mr. Rajan’s propensity to come up with justifications or explanations on-the-fly when

 confronted with facts or information that seemed to contradict his prior statements.

 The August MOR discloses only $556 in third-party payments, 175 while the September MOR

 discloses approximately $104,000 in third-party payments. 176


 173
       Bankr. Docket No. 399.
 174
       September 25, 2023 Hearing Transcript, at 31:3 to 32:16.
 175
       Bankr. Docket No. 459.
 176
    Bankr. Docket No. 460. Perhaps even more confusingly, the Debtors separately filed a supplement
 (the “MOR Supplement”) to the August and September MORs, which among other things, attached

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            Hawk’s point is well-taken that Stream’s original MORs for April, May, and June,

 reflecting no employees, no post-petition receipts, and little cash on hand, are indicative of a

 non-operating entity.177 Moreover, the Court agrees with Hawk that the Debtors’ estates have

 continued to incur significant administrative expenses, not the least of which are asserted counsel

 fees, while the MORs reflect no post-petition revenue. However, notwithstanding that it is being

 done without having first obtained the Court’s permission, the unrefuted testimony from Mr.

 Rajan is that the Debtors’ post-petition operating expenses are being paid by VSI in exchange for

 Stream shares rather than debt. Moreover, Mr. Rajan testified as to the nature of the $750,000 in

 disbursements VSI made on behalf of the estate in August: “That’s money for payroll. That’s

 money for electronics to get ready for production. Also, we had to get a backup [bonding] deal

 put in place so we can get the production started on the TVs. So it’s mainly operational expenses

 to get things started.”178 Mr. Rajan also testified that the purported work is being done by

 independent contractors rather than Stream employees, and the letters from VSI attached to the

 Revised MORs purport to identify consultant payroll expenses totaling approximately $434,000.

 Hawk cites to no rule prohibiting a debtor from executing its business model with independent

 contractors, rather than full-time employees.



 letters from VSI to Mr. Park stating that VSI had identified $2,000 and $219,000 in transfers from VSI to
 Stream in August and September, respectively, pursuant to a stock purchase agreement dated July 10,
 2023, and as a result directed Stream to issue 1,333 and 146,000 shares of Stream Class A shares to VSI.
 Bankr. Docket No. 463. The MOR Supplement also includes a statement that payments were made by
 VSI on Stream’s behalf in August that were not included in the August MOR, that shares were issued to
 VSI in November in exchange for those payments, and that such payments will be reflected in the
 November MOR. No explanation was given as to why they would not be reflected in an amended August
 MOR.
 177
   In its Post-Trial Brief Hawk also argues that Stream is a non-operating entity based on the First Day
 Declaration and the Debtors’ corporate organizational chart reflecting that Stream owns 99.9% of
 Technovative shares. Hawk Post-Trial Brief at 2. This fact alone does not establish that Stream is not an
 operating entity.
 178
       September 25, 2023 Hearing Transcript, 162:22 to 163:2; see also id. at 173:18 to 174:3.

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            Therefore, with some indication of operational activity and financing by Stream, the

 Court cannot conclude that the Debtors are per se unable to rehabilitate. The Court is keenly

 aware of the fact that the Revised MORs, on which the Court places some reliance in arriving at

 this conclusion, were filed two-and-a-half months after the Trial concluded and appear to

 conflict with Mr. Rajan’s testimony at Trial. Hawk has had no opportunity to probe the veracity

 of the representations made in the Revised MORs, which represents a considerable handicap in

 Hawk being able to meet its evidentiary burden. However, as discussed infra, the timing of the

 Revised MORs and their seeming contradiction to Mr. Rajan’s testimony is simply more grounds

 for the Court’s determination that Mr. Rajan cannot continue to administer these estates. While

 the Court found not credible Mr. Rajan’s testimony regarding the Debtors’ current and

 prospective deals, where the Court is required to evaluate both the present condition of the

 estates and the Debtors’ business prospects going forward, it simply does not believe there has

 been sufficient and transparent information from the Debtors’ management to determine at this

 stage that there is no reasonable likelihood of rehabilitation.

                    4.      It Has Not Been Established by a Preponderance of the Evidence that
                            the Debtors’ Petitions Were Filed in Bad Faith

            As a general matter, Hawk’s argument is that the Debtors filed their bankruptcy cases on

 the eve of trial in the Section 225 Action with no other impetus for filing, but rather simply as a

 litigation tactic to stay what Hawk believes will be an adverse ruling from the Delaware

 Chancery Court. Hawk asserts that not only is this per se bad faith, but that under the Third

 Circuit’s fourteen-factor analysis for bad faith filings, twelve of the factors support a finding of

 lack of good faith here.179



 179
       Hawk Post-Trial Brief, at 59-60.

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            It is beyond dispute that the Debtors filed their Petitions with trial in the Section 225

 Action imminent. Hawk goes too far, however, in arguing that Mr. Rajan “confirmed the 225

 Action was the reason for filing,” citing to his First Day Declaration 180 as evidence. That

 declaration explained, from Mr. Rajan’s perspective, the history of the Omnibus Agreement, its

 invalidation by the Delaware Supreme Court, the failure of Hawk and SeeCubic to comply with

 the return of the Debtors’ assets, and the events leading to the Section 225 Action. When Mr.

 Rajan states in his First Day Declaration that “[t]he irreparable harm” of this chain of events

 necessitated the Debtors’ bankruptcy filings, he did not confirm that the Section 225 Action was

 the reason for filing.181 He clearly was referencing a broader series of events, of which the

 Section 225 Action was only the most recent. As such, there is no grounds for a finding of per se

 bad faith based on the timing of the Debtors’ Petitions alone.

            The Court also disagrees that Hawk has established by a preponderance of the evidence

 that a majority of the factors used in the Third Circuit to analyze whether a filing was in bad faith

 are present here. Clearly the Debtors have previously filed for bankruptcy. The Delaware

 Bankruptcy Court’s reasoning in dismissing those prior cases, however, is not a matter of record

 in these proceedings. Furthermore, while the current cases were filed on the eve of trial in the

 Section 225 Action and imposed a stay on that proceeding, the Court cannot conclude that the

 Debtors filed these cases solely to evade a Chancery Court order that would wrest control of

 Technovative from the Debtors. The Debtors have significant creditors other than Hawk,

 SeeCubic, and SLS,182 and as Hawk and SeeCubic have noted a number of times during these


 180
       See Bankr. Docket No. 48 (the “First Day Declaration”).
 181
       Id. at ¶¶90 to 94.
 182
     Although the claims of Hawk, SeeCubic, and SLS, as well as Rembrandt’s asserted claim of over $1.2
 billion, dominate the claims register, other claims of sizeable amounts have also been filed. Moreover, as
 discussed above, Stream’s Petition was accompanied by Official Form 204, representing that Stream’s

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 cases, Stream had virtually no funds of its own at the time of its Petition with which to satisfy

 claims. Mr. Rajan testified regarding the Stream assets to be used in obtaining and fulfilling

 potential post-petition product orders, 183 as well as the Debtors’ need to regain possession of the

 Bonding Equipment.184 Together these reflect a need for the breathing spell afforded debtors and

 an intention to use bankruptcy for a purpose other than avoiding an adverse judgment in the

 Section 225 Action. Moreover, although Hawk argues that the Section 225 Action the Debtors

 seek to avoid will determine who can control Technovative and the operating subsidiaries, and

 therefore the majority of the value of the enterprise, Mr. Rajan asserts that the Debtors do not

 need SCBV to execute the Debtors’ business plan because they have their own electronics and

 bonding arrangements.185 Therefore, assuming that is accurate, an adverse ruling in the 225

 Action would not necessarily torpedo the Debtors’ ability to reorganize. Finally, as discussed

 herein, the Court is not prepared at this stage, based on the evidence before it and the history of

 these cases, to conclude that there is no possibility of reorganization. The lack of clarity the

 Debtors’ management has created regarding the Debtors’ operations, future prospects, and

 sources of funding leaves this Court unable to determine whether the Debtors have the assets and

 operations to successfully reorganize, but the Court will not foreclose that possibility at this

 stage.

            Based on the evidence and in consideration of the factors used to determine whether a

 case has been filed in bad faith, the Court finds Hawk has not established by a preponderance of

 the evidence that the Debtors lacked good faith in filing their Petitions.



 unsecured creditors held over $14 million is asserted claims.
 183
       August 17, 2023 Hearing Transcript, at 128:6 to 129:23.
 184
       Id. at 191:6 to 191:20.
 185
       August 17, 2023 Hearing Transcript, 138:25 to 138:6.

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                    5.      The Court Will Not Dismiss or Convert the Debtors’ Chapter 11
                            Cases at this Stage Because a Chapter 11 Trustee is Needed to
                            Administer the Debtors’ Cases

            Having found that the Debtors’ have grossly mismanaged the estates, cause exists to

 convert or dismiss the cases under §1112(b) of the Bankruptcy Code. As discussed supra,

 however, that provision requires conversion or dismissal unless the Court determines the

 appointment of a trustee is in the best interests of the estate under §1104(a). Section 1104(a) of

 the Bankruptcy Code governs the appointment of a trustee in chapter 11 cases, providing that the

 court shall order the appointment of a trustee:

            (1)     For cause, including fraud, dishonesty, incompetence, or gross mismanagement of
                    the affairs of the debtor by current management, either before or after the
                    commencement of the case, or similar cause … or

            (2)     If such appointment is in the interests of creditors, any equity security holders,
                    and other interests of the estate….

 11 U.S.C. §1104(a) (emphasis added). The appointment of a trustee is an extraordinary remedy,

 representing a rare exception to the rule that the debtor remains in possession throughout its

 reorganization because current management “is generally best suited to orchestrate the process of

 rehabilitation for the benefit of creditors and other interests in the estate.” In re Marvel

 Entertainment Group, Inc., 140 F.3d 463, 471 (3d Cir. 2004). As such, the party moving for

 appointment of a trustee under §1104(a) must overcome that presumption by clear and

 convincing evidence, and the determination is made on a case-by-case basis. BELFOR USA

 Grp., Inc. v. Salem Consumer Square OH LLC (In re Salem Consumer Square OH LLC), 629

 B.R. 562, 575 (Bankr. W.D. Pa. 2021). Once the movant establishes cause for the appointment

 of a trustee, however, the burden shifts to the debtor to establish an exception under §1112(b)(2)

 of the Bankruptcy Code.186


 186
       Under §1112(b)(2), the court may not convert or dismiss a case if the court finds and identifies unusual

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         That said, a chapter 11 debtor’s invocation of the protections afforded under the

 Bankruptcy Code comes with a trade-off: “in exchange for the authority to continue to manage

 the affairs of a company, a debtor-in-possession owes fiduciary duties to its creditors and the

 estate, including the duty of care to safeguard assets, the duty of loyalty, and the duty of

 impartiality.” In re Morningstar Marketplace, Ltd., 544 B.R. 297, 303 (Bankr. W.D. Pa. 2016)

 (citing Marvel Entertainment). And because the rights of a debtor to manage the reorganization

 process are not absolute, they may be forfeited if these fiduciary duties are neglected. Id. (citing

 In re Eurospark Industries, Inc., 424 B.R. 621 (Bankr. E.D.N.Y. 2010)). The willingness of

 courts to leave debtors in possession is premised upon an assurance that the officers and

 managing employees can be depended upon to carry out the fiduciary responsibilities of a

 trustee, and where a debtor-in-possession is unwilling or unable to do so, it is necessary to

 appoint an independent trustee who will. See, e.g., In re Vascular Access Centers, L.P., 611 B.R.

 742, 764 (Bankr. E.D. Pa. 2020) (citing Fifth Third Bank v. Circulatory Ctrs. of Am., LLC (In re

 Circulatory Ctrs. of Am., LLC, 579 B.R. 752 (Bankr. W.D. Pa. 2017) and Marvel

 Entertainment).

         The list of situations in §1104(a)(1) is not an exclusive list of what constitutes cause to

 appoint a trustee, and situations that have been found to support a finding of cause for the

 appointment of a trustee include conflicts of interest, misuse of assets and funds, inadequate

 recordkeeping and reporting, failure to file required documents, lack of adequate disclosure, lack


 circumstances establishing that converting or dismissing the case is not in the best interests of creditors
 and the estate and the debtor or a party in interest establishes (1) there is a reasonable likelihood a plan
 will be confirmed within the timeframes established in sections 1121(e) and 1129(e) or, if not applicable,
 within a reasonable period and (2) the grounds for converting or dismissing the case include an act or
 omission of the debtor other than under paragraph (4)(A) for which there exists a reasonable justification
 for the act or omission; and that will be cured within a reasonable period of time fixed by the court. The
 Debtors have not established any such unusual circumstances, although as discussed infra, the Court
 concludes that the appointment of a trustee, rather than conversion or dismissal, is proper at this stage.

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 of appropriate cost controls, transgressions related to taxes, failure to make required payments,

 lack of credibility and creditor confidence, and breaches of fiduciary duty. Id.; see also

 Morningstar Marketplace, 544 B.R. at 303; Marvel Entertainment, 140 F.3d at 471 (finding the

 district court did not err in appointing trustee where the debtor’s management was unable to

 resolve conflicts with estate creditors). Appointment of a trustee is mandatory if cause is found

 under §1104(a)(1), but a bankruptcy court has wide discretion to determine what specific

 conduct establishes cause. Morningstar Marketplace, 544 B.R. at 303. By contrast, §1104(a)(2)

 envisions a flexible standard giving discretion to appoint a trustee when doing so would serve the

 estate’s and parties’ interests. Vascular Access Centers, 611 B.R. at 765 (citing Marvel

 Entertainment). Among the factors which may be considered in appointing a trustee under

 §1104(a)(2) are (a) the untrustworthiness of the debtor, (b) the debtor-in-possession’s past and

 present performance and prospects for rehabilitation, (c) the confidence – or lack thereof – of the

 business community and of creditors in present management, and (d) the benefits derived from

 the appointment of a trustee balanced against the cost of the appointment. Id.; see also

 Morningstar Marketplace, at 304 (citing In re Sharon Steel Corp., 871 F.2d 1217, 1225 (3d Cir.

 1989)).

           Without needing to address whether the Debtors mismanaged their affairs pre-petition, as

 Hawk asserts, clear and convincing evidence of the Debtors’ gross mismanagement of their

 estates, through Mr. Rajan, has resulted in a situation where the Court has no faith in Mr. Rajan

 administering the Debtors’ estates consistent with his fiduciary duties and obligations to this

 Court. Simply put, based on the history of these cases outlined above, the conflicted role of Mr.

 Rajan with both the Debtors and VSI, and the Court’s assessment of Mr. Rajan’s credibility

 throughout this case, the Court does not trust Mr. Rajan’s interest in or ability to maintain the



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 integrity of these bankruptcy proceedings. Months into the case, the Court lacks confidence that

 it has been given transparent information regarding what the Debtors are actually doing, who is

 doing it, at what stage those efforts are, and how that is being accomplished, and the evidence the

 Court has that the Debtors are operating is Mr. Rajan’s testimony and the Revised MORs and

 July MOR, themselves in conflict, representing that VSI funded certain unspecified Stream

 expenses in the first months of the case, none of which instills confidence in the Court. While

 the Court is not ready to wholly discount these meager signs of a path toward reorganization, it

 has reached the point where it needs more clarity and more progress, far more quickly, and does

 not believe this is possible with Mr. Rajan in charge of the estates. Therefore the appointment of

 a trustee pursuant to both §§1104(a)(1) and (a)(2) is warranted. See Vascular Access Centers,,

 611 B.R. at 769 (finding appointment of trustee was appropriate under both §§1104(a)(1) and

 (a)(2) based on the Court’s determination that the debtor’s principal and manager lacked

 credibility and trustworthiness and had engaged in self-serving conduct both before and during

 the debtor’s bankruptcy case).

        The Court is not convinced conversion or dismissal is appropriate at this stage. Because

 of the dearth of information, transparency, and relief sought by the Debtors to date, the Court

 remains unclear what assets and potential value the Debtors’ operations hold. The replacement

 of Mr. Rajan at the helm of the Debtors’ estates and the appointment of a trustee to evaluate the

 Debtors’ assets, potential deals, potential claims, etc. is needed. It is clear there needs to be a

 neutral, unconflicted party to deal with VSI at arms-length, including determining if there are

 pre- or post-petition claims that lie against VSI. A trustee is also needed to evaluate, resolve,

 and/or litigate the claims of Hawk, SLS, SeeCubic, Rembrandt, and others. If these cases have

 any chance of succeeding, it will be because there is transparency to the Court and creditors and



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 an impartial third-party evaluating assets, claims, and the Debtors’ reorganizational prospects. A

 trustee will obviously come with a cost, but the Court believes the value of an unconflicted,

 third-party neutral to assess the state of the Debtors’ operations, potential transactions, and

 claims, and efficiently determine whether and how the Debtors can achieve reorganization, more

 than offsets these costs. See Vascular Access Centers, 611 B.R. at 769 (finding that the cost of

 appointment of a chapter 11 trustee would be greatly outweighed by the benefits derived from

 such appointment and would result in a more efficient reorganization while ensuring the integrity

 of the process).

         Although cause exists under §1112(b)(4)(B) to convert or dismiss the Debtors’ cases, the

 Court believes the appointment of a trustee to evaluate the Debtors’ operations, prospects, and

 ability to successfully reorganize, and to implement such reorganization if possible, is in the best

 interests of creditors and the estate at this time. The Court will therefore exercise the

 extraordinary remedy of appointing a chapter 11 trustee pursuant to §1104(a) of the Bankruptcy

 Code.

         B.     Cause Exists to Grant Hawk Relief from Stay to Allow the Section 225
                Action to Resolve Certain Issues Critical to the Debtors’ Bankruptcy Cases

         The Court may grant relief from the stay under §362(d)(1) for cause, including the lack of

 adequate protection of an interest in property. 11 U.S.C. § 362(d)(1). Cause is an intentionally

 broad and flexible concept which must be determined on a case-by-case basis. In re Brown, 311

 B.R. 409, 412-413 (E.D. Pa. 2004) (citing In re Marchant, 256 B.R. 572, 576 (Bankr. W.D. Pa.

 2000)). As such, the test to be applied is a totality of the circumstances test based upon the

 particular facts of the case. Buncher Co. v. Flaberg Solar US Corp. (In re Flaberg Solar US

 Corp.), 499 B.R. 475, 482-83 (Bankr. W.D. Pa. 2013) (citing O’Neal Steel, Inc. v. Chatkin (In re

 Chatkin), 465 B.R. 54, 59 (Bankr. W.D. Pa. 2012)). In applying the test, courts in this district

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 have employed a variety of factors to determine whether cause exists to permit a non-debtor

 party to proceed with litigation in another forum:

                Given the broad discretion accorded to the bankruptcy court as described
                in Brown, it is therefore, not surprising that some courts have designed
                lists of “factors” to be considered in determining whether “cause” exists
                under §362(d)(1). For example, in In re Granati, the court identified four
                (4) factors to be considered:

                (1)    whether only issues of state law are involved;

                (2)    whether judicial economy will be promoted;

                (3)    whether the litigation will interfere with the bankruptcy case; and

                (4)    whether the estate can be protected by requiring that any judgment
                       obtained be enforced only through the bankruptcy court.

                271 B.R. 89, 93 (Bankr.E.D.Va. 2001) (citing In re Robbins, 964 F.2d 342
                (4th Cir.1992)).

                Other courts have developed a checklist of twelve (12) factors to be
                considered:

                (1)    Whether the relief will result in a partial or complete resolution of
                       the issues.

                (2)    The lack of any connection with or interference with the
                       bankruptcy case.

                (3)    Whether the non-bankruptcy proceeding involves the debtor as a
                       fiduciary.

                (4)    Whether a specialized tribunal has been established to hear the
                       particular cause of action and that tribunal has the expertise to hear
                       such cases.

                (5)    Whether the debtor's insurance carrier has assumed full financial
                       responsibility for defending the litigation.

                (6)    Whether the action primarily involves third parties.

                (7)    Whether litigation in another forum would prejudice the interests
                       of other creditors, the creditors' committee or other interested
                       parties.

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                 (8)     Whether the judgment claim arising from the foreign action is
                         subject to equitable subordination under Section 510(c).

                 (9)     Whether movant’s success in the foreign proceeding would result
                         in a judicial lien avoidable by the debtor under Section 522(f).

                 (10)    The interest of judicial economy and the expeditious and
                         economical determination of litigation for the parties.

                 (11)    Whether the non-bankruptcy proceedings have progressed to the
                         point where the parties are prepared for trial.

                 (12)    The impact of the stay on the parties and the “balance of hurt.”

                 See In re Sonnax Industries, Inc., 907 F.2d 1280 (2d Cir.1990); In re
                 Curtis, 40 B.R. 795, 800 (Bankr. D. Utah 1984) (citations omitted). See
                 also In re Brown, 311 B.R. at 413 (approving bankruptcy court's use of
                 factors set forth in Sonnax in ruling on § 362(d) motion).

                 The relevance and weight of the various overlapping factors outlined
                 above will depend upon the circumstances of the particular bankruptcy
                 case involved. Not all of the factors may be relevant in a particular case;
                 the factors that are relevant may not be entitled to equal weight. Thus, the
                 decision whether to grant relief from the automatic stay to an unsecured
                 creditor is not a mechanical or mathematical exercise.

 In re Chan, 355 B.R. 494, 499–500 (Bankr. E.D. Pa. 2006). 187




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     The Debtors have cited to In re Tribune Co., 418 B.R. 116, 126 (Bankr. D. Del. 2009) for the
 following three-prong test for determining whether cause exists to lift the stay to continue litigation: (1)
 whether any great prejudice to either the bankruptcy estate or the debtor will result from continuation of
 the civil suit; (2) whether the hardship to the non-bankrupt party by maintenance of the stay considerably
 outweighs the hardship to the debtor, and (3) whether the creditor has a probability of prevailing on the
 merits. The Tribune decision cited the test as being generally relied upon in that district. Id. A
 “balancing of the harms” analysis has been recognized in this district as well. See In re Cinelli, 2014 WL
 4106030, at *2 (E.D. Pa. Aug. 21, 2014) (“The first step to consider is whether there will be prejudice to
 either the estate or the debtor if the stay is lifted on the one hand and hardship to the movant if the stay
 continues on the other hand. Then, these two potential harms are weighed. The decision to lift the stay
 depends on where the scale tips.”); In re Glunk, 342 B.R. 717 (Bankr. E.D. Pa. 2006) (recognizing the
 “balancing of the harms” analysis used by courts). The Chan decision recognized that underlying
 guidepost, but employed the “different, more multi-faceted” approach for determining whether cause
 exists that looks to multiple factors. 355 B.R. at 499. That approach has been cited by decisions rendered
 since Chan was decided, see, e.g., In re Schaffer, 597 B.R. 777, 791, n.18 (Bankr. E.D. Pa. 2019), and it
 is the approach this Court takes as well.

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         Hawk filed the Stay Relief Motion at the outset of the case, but the Court determined it

 needed an evidentiary record to resolve it. The path to obtaining that record has been tortured at

 times, but the circumstances that Hawk argued warranted stay relief early in the case have not

 changed – the Section 225 Action is ripe to be heard. It will resolve the Technovative Director

 Issue and the Debt Conversion Issue, two issues critical to these bankruptcy cases going forward

 but governed by Delaware law for which the Delaware Chancery Court, while not a specialized

 tribunal per se, certainly has unique and established expertise. If Hawk were successful with

 respect to both of those issues, it has acknowledged that it will still need to return to this Court

 for permission to proceed with an Article 9 Sale of its collateral under the Notes. As such,

 resolution of the Technovative Director Issue and the Debt Conversion Issue will not prejudice

 the interests of other estate creditors by allowing Hawk to foreclose on Technovative assets

 without this Court’s authority. On the other hand, resolution of those will greatly advance

 resolution of the Debtors’ bankruptcy cases by providing clarity regarding the status of the

 Technovative filing and whether, and to what extent, Hawk is a secured creditor of the Debtors.

         As such, based on consideration of the factors used to determine whether causes exists to

 permit non-bankruptcy litigation to proceed, the Court finds Hawk has established, and the

 Debtors have not rebutted, that allowing the Section 225 Action to proceed to resolution with

 respect to the Technovative Director Issue and the Debt Conversion Issue will aid in

 administration of the Debtors’ bankruptcy cases. Relief from stay will therefore be granted to

 permit the parties to proceed before the Delaware Chancery Court on those two issues.

 IV.     CONCLUSION

         For the reasons discussed above, the Court will (i) grant the Section 1112/1104 Motion to

 the extent it seeks the appointment of a trustee to administer the Debtors’ chapter 11 bankruptcy



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 cases, and (ii) grant the Hawk Stay Relief Motion to permit the Section 225 Action to proceed

 solely with respect to the Technovative Director Issue and the Debt Conversion Issue. The U.S.

 Trustee will be directed to immediately begin the process for appointing a chapter 11 trustee, and

 in the interim, Mr. Rajan is no longer authorized to take any action on behalf of the Debtors’

 estates. To the extent the Debtors must take any urgent action, the Debtors shall identify any

 such actions needed to the U.S. Trustee, who may confer with Mr. Rajan in addressing such

 matters but who is not obligated to act in conformity with Mr. Rajan’s instruction or desired

 outcome.

        An Order consistent with this Memorandum shall be entered.



 Dated: January 5, 2024
                                                      MAGDELINE D. COLEMAN
                                                      CHIEF U.S. BANKRUPTCY JUDGE




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                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                        :   Chapter 11
     In re:                                             :
                                                        :   Bankruptcy No. 23-10763 (AMC)
     Stream TV Networks, Inc., et al.                   :   (Jointly Administered)1
                                                        :
                              Debtors.                  :   Hearing Date: June 26, 2024
                                                        :   Hearing Time: 12:30 p.m.
                                                            Hearing Place: Courtroom #4

 MOTION OF WILLIAM A. HOMONY IN HIS CAPACITY AS CHAPTER 11 TRUSTEE
  FOR ENTRY OF AN ORDER APPROVING A SETTLEMENT AGREEMENT AND
     MUTUAL RELEASE WITH HAWK INVESTMENT HOLDINGS, LTD., AS
 COLLATERAL AGENT FOR THE SECURED NOTEHOLDERS OF SEECUBIC, INC.,
        PURSUANT TO FED. R. BANKR. P. 9019(a) AND 11 U.S.C. § 105(a)

          William A. Homony (the “Trustee”), in his capacity as Chapter 11 trustee of the bankruptcy

 estates of Stream TV Networks, Inc. (“Stream”) and Technovative Media Inc. (“Technovative”

 when referred to with Stream, the “Debtors”), by and through his counsel, Obermayer Rebmann

 Maxwell & Hippel LLP, files this Motion for Entry of an Order Approving a Settlement Agreement

 and Mutual Release (the “Agreement”) with Hawk Investment Holdings, Ltd. (“Hawk”), as

 Collateral Agent for the secured noteholders of SeeCubic, Inc. (“SeeCubic” or in conjunction with

 the Trustee, Hawk and SeeCubic may be generally referred to as “Party” or collectively as the

 “Parties”) and SeeCubic pursuant to Fed. R. Bankr. P. 9019(a) and 11 U.S.C. § 105(a) (the

 “Motion”), and in support thereof, respectfully avers as follows:

                                      JURISDICTION AND VENUE

          1.         This Court has jurisdiction over this Motion under 28 U.S.C. § 1334. Venue is

 proper pursuant to 28 U.S.C. §§ 1408 and 1409.

          2.         This matter is a core proceeding within the meaning of 28 U.S.C. §§ 157(b)(2)(A),


 1
  On April 11, 2023, the Court entered an order directing joint administration of the above-captioned case and In re
 Technovative Media, Inc.; Case No. 23-10764 (AMC). (D.I. #81).

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 (B), (K) and (O).

          3.         The statutory basis for the relief requested herein is Fed. R. Bankr. P. 9019 and 11

 U.S.C. § 105(a).

                                              BACKGROUND

 A.       Bankruptcy Procedural Background.

          4.         On March 15, 2023, (the “Petition Date”), the Debtors filed voluntary petitions for

 relief under Chapter 11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101 et seq. (the

 “Bankruptcy Code”).

          5.         On March 20, 2023, Hawk filed a motion for relief from the automatic stay (the

 “Hawk Stay Relief Motion”) to proceed with an action against the Debtors (D.I. #16) in the Delaware

 Court of Chancery (the “Delaware Chancery Court”) under § 225 of Title 8 of the Delaware Code

 (the “225 Action”).

          6.         On April 5, 2023, the Debtors filed an objection to the Hawk Stay Relief Motion (D.I.

 #78).

          7.         On April 6, 2023, Hawk filed a motion pursuant to sections 1112/1104 of the

 Bankruptcy Code, seeing dismissal or conversion of the Debtors’ cases, or alternatively, the

 appointment of a Chapter 11 trustee pursuant to section 1104(a) of the Bankruptcy Code (the

 “1112/1104 Motion”) (D.I. #94).

          8.         In the 1112/1104 Motion, Hawk argued that cause existed to appoint a trustee based

 upon the Debtors’ pre- and post-petition history of fraud, dishonesty, incompetence, and gross

 mismanagement of their businesses.

          9.         The Debtors filed an opposition to the 1112/1104 Motion on May 8, 2023 (D.I. #193).

          10.        On January 5, 2024, the Court entered an order, which, among other things, (1)


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 granted the 1112/1104 Motion with respect to the appointment of a Chapter 11 trustee, and (2)

 granted the Hawk Stay Relief Motion to allow the Section 225 Action to proceed (the “Trustee

 Order”) (D.I. #549).

          11.        The Trustee Order instructed the United States Trustee’s Office to immediately begin

 the process of appointing a Chapter 11 trustee and set a status hearing for January 24, 2024 (the

 “Status Hearing”).

          12.        On January 9, 2024, the Office of the United States Trustee filed a notice of

 appointment of William A. Homony to serve as the chapter 11 trustee as well as an application for

 the entry of an Order approving the appointment of the Trustee. (D.I. #554 and #553, respectively).

          13.        On January 12, 2024, the Bankruptcy Court entered an Order Approving the

 Appointment of the Trustee (D.I. #558).

          14.        On January 17, 2024, the Trustee filed an Application to Employ Miller Coffey Tate

 LLP as his accountants/advisors (D.I. #566) and that Application was approved on February 15,

 2024 (D.I. # 586).

          15.        On January 17, 2024, the Trustee filed an Application to Employ Obermayer

 Rebmann Maxwell & Hippel LLP as his counsel (D.I. #564) and that Application was approved on

 January 29, 2024 (D.I. # 577).

          16.        On January 31, 2024, the Trustee filed an Application to Employ Steven M. Coren

 and Coren & Ress, P.C. as his litigation counsel (D.I. # 579) and that Application was approved on

 February 15, 2024 (D.I. # 587).




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 B.       The 225 Action and Chancery Court Litigation.

          17.        At the time of the Trustee’s appointment, the 225 Action was pending in the

 Delaware Chancery Court.

          18.        Prior to the commencement of the 225 Action, a contingent of the Debtors’ secured

 creditors entered into an Omnibus Agreement (the “Omnibus Agreement”), which the Delaware

 Court of Chancery upheld as validly effectuating a foreclosure.

          19.        In June 2022, the Delaware Supreme Court voided the Omnibus Agreement and

 reversed the the decision of the Delaware Court of Chancery.

          20.        Thereafter, Hawk sought to exercise certain of its rights as a secured creditor of the

 Debtors through the exercise of proxy rights in pursuit of a foreclosure sale under Article 9 of the

 UCC.

          21.        The Debtors contested that Hawk had validly exercised its proxy rights resulting in

 Hawk’s institution of the 225 Action to determine the proper composition of Technovative’s board

 of directors.

          22.        Numerous issues were raised in the 225 Action, including, inter alia, whether

 Hawk’s secured position had been converted from debt to equity pursuant to certain conversion

 agreements. Hawk alleges that collateral estoppel precludes the Trustee from advancing certain

 positions, a premise which the Trustee disputes. The Debtors contest Hawk’s positions and allege

 that the Hawk secured debt was converted to equity.

          23.        In any event, but for the settlement (the “Settlement”) embodied in the Agreement,

 the ultimate determination of Hawk’s status—and its impact on the Debtors—likely would require

 extensive and extremely expensive continuing litigation in the Delaware Chancery Court, the

 Delaware Supreme Court, this Court and perhaps other courts—the outcome of which is


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 unpredictable.

          24.        To prevail in the 225 Action, the Debtor must overcome significant factual and

 legal challenges, and its ability to do so is far from guaranteed.

          25.        On March 1, 2024, the Trustee filed an expedited motion to reinstate the automatic

 stay in connection with the 225 Action. On April 1, 2024, the Bankruptcy Court entered a consent

 order granting the Trustee’s motion, thereby affording the Trustee and his advisors additional time

 to prepare for and defend the 225 Action.

          26.        If the Agreement is not approved, the trial of the 225 Action likely would

 commence on July 31, 2024. Hawk will seek relief that, if awarded, may substantially prejudice

 the Debtors’ estates, and perhaps leave nothing for other creditors.

 C.       The Pending Adversary/Injunction Proceedings Against Hawk.

          27.        After the Petition Date, the Debtors instituted a proceeding in bankruptcy court

 against Hawk and others (the “Adversary”).

          28.        In the Adversary, the Debtors alleged, inter alia, that certain shareholders and their

 secured lenders (the “Secured Creditors”) conspired to and did exert control wrongfully over

 Debtor property. The Adversary further alleges that the defendants, including the Secured

 Creditors and SeeCubic, and certain board members interfered with employees and investors,

 while conspiring to cause the Debtors to breach their loan agreements with the Secured Creditors

 pursuant to which the Debtors were loaned more than $50,000,000.00 (US).2

          29.        The Debtors also allege that the Omnibus Agreement, which resulted in the transfer

 of certain assets to SeeCubic and the decision by board members to enter and consummate same,

 breached fiduciary duties to the Debtors. The Debtors complain that the Secured Creditors used


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   In addition to the Adversary and the 225 Action, the Settlement resolves all Pending Litigation Matters, as that term
 is defined in the Agreement.
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 their power and position to shift ownership away from the principals of the Debtors, and to

 wrongfully secrete, remove and convert assets of the Debtors.

 D.       The Trustee’s Efforts to Bring Value into the Estates.

          30.        In the relatively brief period since his appointment, the Trustee and his

 professionals have: (i) reviewed and analyzed volumes of documents relating to Debtors and their

 foreign subsidiaries; (ii) reviewed the extensive filings and hearing transcripts in the bankruptcy

 cases; (iii) investigated and analyzed Debtors’ Adversary, (iv) investigated and analyzed the

 Delaware Chancery Court cases including the 225 Action and the Delaware Supreme Court case,

 and (v) interviewed Debtors’ bankruptcy counsel, Delaware counsel, Netherlands counsel, and

 other representatives.

          31.        Since appointed, the Trustee has been faced with a “melting ice cream cone.”

          32.        Debtors have no money, faltering operations, and potentially valuable operations

 held by a foreign subsidiary—an indirect subsidiary of Technovative in the Netherlands known as

 SeeCubic BV (“SCBV”).

          33.        Debtors have been unable to fund SCBV, whose expenses have been funded post-

 petition by the Secured Creditors.

          34.        It is widely recognized that the principal value of Debtors’ assets resides in SCBV,

 its employee knowhow and operations, and Debtors’ downstream IP.

          35.        Unable to secure a DIP loan or to fund SCBV, SCBV employees in the Netherlands

 were close to leaving, and SCBV recently was on the verge of shutting down—to the substantial

 detriment of Debtors and their ability to garner value for the benefit of Debtors’ bankruptcy estates.

          36.        Because of the substantial and unliquidated secured claims and the disputes

 connected thereto, the Trustee was unable to obtain third-party debtor in possession financing to


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 begin operations, fund SCBV and/or fund case administration, including prosecution of the 225

 Action and the Adversary.

          37.        It quickly became clear to the Trustee that Debtors’ capital stack was in disarray,

 and that continuing litigation over debt-to-equity conversion and other matters would be risky,

 costly, and perhaps leave the estates without unencumbered assets to market or sell.

          38.         As the Trustee investigated the Debtors’ cash needs and available resources, it

 quickly became apparent that Stream was not selling televisions or technology and had no reliable

 revenue sources to fund operations or the bankruptcy proceedings. Rather, Debtors’ principal had

 been attempting to finance Stream through bootstrap equity raises in a non-debtor company known

 as Visual Semiconductor, Inc. or “VSI”. The Trustee made clear that neither the Debtors’ estates

 nor the Trustee would participate in post-petition equity raises.

          39.        The Trustee met unsuccessfully with Debtors’ principal to explore a viable plan of

 reorganization.

          40.        After a presentation of the Debtors’ technology and the principal’s envisioned

 future use of the technology, the Trustee awaited both a proposal for Debtor in Possession

 Financing (a “DIP”) and exit plan financing from the Debtors’ principal, with proof of financial

 wherewithal, which would allow the secured claims (if any) to be satisfied once determined and

 provide a return to unsecured creditors. In the Trustee’s business judgment, no such viable

 proposals were presented.

          41.        The Trustee also met with Rembrandt 3D Holding Ltd. (“Rembrandt”), who is

 alleged to be one of the Debtor’s largest unsecured creditors and a third party interested in the

 technology owned by or licensed to the Debtors. No offer to purchase or to provide a DIP was

 forthcoming, though Rembrandt continues to express interest in Debtors’ property.


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           42.       After open and robust discussion and negotiation, the Trustee has entered into the

 Agreement, and seeks Bankruptcy Court approval under Federal Rule of Bankruptcy Procedure

 9019.

 E.        The Proposed Settlement With Hawk (as Agent for the Secured Creditors).

           43.       The Trustee has interacted and negotiated with interested parties, including

 Debtors’ principal, Rembrandt, and Hawk. From the outset, the Trustee made clear that he would

 entertain only realistic proposals, coupled with proof of the financial ability to fund.

           44.       In the Trustee’s business judgment, only Hawk made a viable proposal.

           45.       The Settlement proposal embodied in the Agreement leaves open the possibility

 that others who have expressed interest, including the Debtors’ principal and Rembrandt, will have

 the opportunity to present a potentially higher or better offer when Debtor property is exposed to

 sale.

           46.       The Settlement with Hawk takes into account possible claims against Hawk, the

 prospect of litigating with Hawk into the future, the risk inherent in litigating with Hawk about the

 nature and extent of its liens while trying to administer the Bankruptcy Cases, and the importance

 of achieving a recovery for unsecured creditors in a reasonable time.

           47.       The Settlement reflects the substantial efforts of the Trustee and his advisors and

 the advisors of Hawk to achieve a commonsense resolution of the bankruptcy and related

 proceedings as expeditiously as possible, while minimizing further administrative expenses.

           48.       In the Trustee’s business judgment, the time is right to attempt a full resolution,

 which results in payments to creditors, rather than continued administration of potentially insolvent

 bankruptcy estates.

           49.       Significantly, the Trustee is faced with millions of dollars in administrative


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 expenses before money can be made available for unsecured creditors.

          50.        Under the circumstances, the Trustee has determined that the Agreement provides

 the best alternative for the bankruptcy estates.

          51.        Accordingly, the Trustee and Hawk seek to settle all claims between Debtors’

 estates and the Secured Creditors, while the Trustee undertakes a process to market and sell

 substantially all the Debtors’ assets, including the Secured Creditors’ collateral3 under Section 363

 of the Bankruptcy Code.

 F.       The Settlement

          52.        A detailed description of the terms of the Settlement and Agreement are set forth

 below and a copy of the Agreement is attached hereto as Exhibit “A” and incorporated herein.

          53.        Treatment of Secured Claims:

                a. Upon the entry of the order approving the 9019 Motion, the Hawk Claim shall be

                     deemed an allowed Secured Claim, secured by the Collateral as more fully set

                     forth in Claim No. 6 and the supporting documentation, in the amount of

                     $180 million, subject to increase as set forth in the Agreement (such amount, the

                     “Allowed Secured Claim”). The Trustee waives the right to object to any portion

                     of the Allowed Secured Claim or to seek the conversion or subordination of such

                     claim for so long as the applicable provision of the Agreement remains valid and

                     binding on the Parties.

                b. The Allowed Secured Claim shall increase on a dollar-for-dollar basis for

                     documented and evidenced amounts actually advanced to fund the operations of



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  For the avoidance of doubt, the Secured Creditors’ collateral excludes all claims and causes of action against third
 parties including but not limited to Chapter 5 claims against third parties and causes of action and D&O claims and
 any resulting proceeds therefrom.
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                     SeeCubic, B.V. (“SCBV”) between the Trustee’s appointment date and the sale

                     Closing in accordance with Section 6 of the Agreement, which advanced amounts

                     shall not constitute administrative expenses of the Debtors’ estates and shall only

                     increase the Allowed Secured Claim.

                c. Upon the entry of the order approving the 9019 Motion, the proofs of claim of

                     SLS Holdings VI, LLC [Claim No. 9 on the official claims docket of Stream and

                     Claim No. 2 on the official claims docket of TMI] and the proofs of claim of

                     SeeCubic, Inc. [Claim No. 14 on the official claims docket of Stream and Claim

                     No. 3 on the official claims docket of TMI] shall be deemed withdrawn of record

                     with no further order of the Bankruptcy Court necessary to effectuate such

                     withdrawal.

          54.        Sale of the Debtors’ Assets. The Trustee has sought approval of the retention of an

 investment banker to market the Collateral. The Trustee shall seek entry of the Bidding Procedures

 Order on an expedited basis to obtain approval thereof concurrently with the entry of the 9019

 Order. Subject to documentation satisfactory to Hawk (and drafted in consultation with Hawk),

 SCI shall serve as the stalking horse bidder for the Collateral, with such bid (the “Stalking Horse

 Bid”) and Asset Purchase Agreement (the “Stalking Horse APA”) attached to the Bidding

 Procedures. Subject to documentation satisfactory to Hawk and the Trustee, the Stalking Horse

 Bid shall consist of a credit bid of the Allowed Secured Claim in the amount of $150 million. The

 Secured Creditors waive the right to seek or obtain a “breakup fee” or a “topping fee” or any other

 bid protections as part of the Stalking Horse Bid.

          55.        The Bidding Procedures shall specify that in order for any bid other than the

 Stalking Horse Bid to constitute a “Qualifying Bid” such bid shall include:


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                a. A bid deposit in the amount of 10% of the proposed aggregate purchase price (the

                     “Bid Deposit”), and

                b. Evidence satisfactory to the Trustee of its financial wherewithal to consummate a

                     Sale in the amount of the proposed purchase price.

          56.        The Bidding Procedures shall specify that Qualifying Bids may include both cash

 and non-cash consideration, subject to the following conditions:

                a. The cash component shall be no less than $120 million,

                b. The non-cash component of the bid shall be backed by a letter of credit or other

                     security, over which Hawk shall have consultation rights as to the sufficiency and

                     form of such security, and

                c. The Bid Deposit shall be 10% of the aggregate purchase price, including both the

                     cash component and the non-cash component of the bid.

          57.        To the extent the Trustee receives any other Qualified Bids (exclusive of the

 Stalking Horse Bid which will be deemed a Qualified Bid), SCI may participate in the Auction.

 Any overbid submitted by SCI in excess of the Stalking Horse Bid at the Auction shall be in cash

 only. For the avoidance of doubt, SCI cannot utilize any of the remaining Allowed Secured Claim

 as part of any overbid; however, its overbid may include a credit bid up to $150 million.

          58.        Trustee/Estate Carve out. With respect to any sale that closes as contemplated by,

 and in accordance with, the terms of the Agreement, the Secured Creditors will provide a carve-

 out (“Carve-Out”) in the form of cash from the sale proceeds of their collateral, or SeeCubic shall

 fund the Carve-Out if the Secured Creditors’ Stalking Horse Bid or any subsequent overbid is

 determined to be the winning bid, as follows:




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               a. $7,500,000.00 and an additional 10% of each dollar in excess of the Stalking Horse

                     Bid for the benefit of the Debtors’ estates paid as follows:

                         i. $1,000,000.00 paid to the Trustee upon entry of an Order approving the

                            Agreement (ie: the 9019 Motion);

                        ii. $1,500,000.00 paid to the Trustee upon approval of the bidding procedures;

                            and

                        iii. The Trustee shall receive the balance of the Carve-Out (i.e., the Carve-Out

                            minus the Carve-Out Advance) at Closing:

                                  1. In the event SCI is the successful bidder, by SCI in cash at Closing.

                                  2. In the event a third party is the successful bidder, from the cash

                                     proceeds of the purchase price.

               b. Trustee to retain rights to the $1 million bond posted by the Debtors in the DE

                     Chancery Court.

               c. Trustee to retain all claims and cause of action not released against third-parties

                     including but not limited to Chapter 5 claims and causes of action and any claims

                     against the Debtors’ directors and officer (collectively “Litigation Claims”) and any

                     resulting proceeds from said Litigation Claims.

               c. The bankruptcy estates and/or any trustee or disbursing agent retain the right to

                     object to claims against the bankruptcy estates.

               d. The Secured Creditors will provide the Trustee with documentation regarding

                     SeeCubic’s financial ability to fund the Carve-Out.

               e. The Secured Creditors will be allowed a subordinate unsecured deficiency claim

                     subordinated to all other general unsecured creditors (the “Deficiency Claim”) to


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                     the extent that the Secured Creditor Distribution is not sufficient to satisfy the

                     Allowed Secured Claim in full. The Secured Creditors’ Deficiency Claim will be

                     recognized as an impaired unsecured claim which the Secured Creditor shall be

                     entitled to vote on confirmation of any Trustee Plan.

          54.        Releases.

                a. Included in the Agreement and the 9019 Motion (as defined below), the Trustee,

                     Debtors and the Debtors’ estates and the Secured Creditors (released parties to be

                     further defined in the 9019 Motion and agreement, but will include the foregoing

                     as well as any named defendants in any action currently pending initiated by the

                     Debtors who participate by granting releases to the Debtors and Trustee) will

                     exchange customary mutual general releases, effective upon the closing of any sale

                     of the Debtors’ assets as contemplated by, and in accordance with, the Agreement

                     (whether such sale is to the Secured Creditors or a third party), including, for the

                     avoidance of doubt, dismissal with prejudice all causes of action and claims

                     currently pending in any other federal or state court (or analogous foreign

                     jurisdiction) currently pending in the United States or abroad, and excluding any

                     obligations created under the Agreement or ultimate asset purchase agreement. The

                     Secured Creditors agree to not file any further pleadings in the Debtors’ pending

                     bankruptcy cases subsequent to a sale closing and receipt of any sale proceeds from

                     the Trustee, except to enforce or otherwise seek an interpretation of the Agreement

                     and the sale documents.

                                          RELIEF REQUESTED

          55.        The Trustee respectfully requests entry of an Order approving the Settlement and

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 the Agreement pursuant to 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 9019.

          56.        The discussion of the terms contained in the Agreement is intended as a summary

 only and all parties in interest are encouraged to read the Agreement in its entirety.

          57.        To the extent that there are discrepancies between the summary contained in the

 Motion and the terms contained in the Agreement, the terms of the Agreement shall control.

          58.        Federal Rule of Bankruptcy Procedure 9019(a) provides “on motion by the trustee

 and after notice and a hearing, the Court may approve a compromise or settlement. The decision

 to approve or disapprove a settlement is within the sound discretion of the bankruptcy judge.” See,

 In re Martin, 91 F.3d 389, 393 (3rd Cir. 1996).

          59.        The Debtors seek approval, pursuant to Bankruptcy Code § 105 and Fed. R. Bankr.

 P. 9019, of the Settlement of the claims among the Parties as set forth in the Agreement.

          60.        In Protective Committee for Independent Stockholders of TMT Trailer Ferry, Inc.

 v. Anderson, 390 U.S. 414, reh’g denied, 391 U.S. 909 (1968), the Supreme Court instructed as to

 those factors to be considered in determining whether to approve a settlement. The factors outlined

 by the Supreme Court in Anderson have been uniformly summarized as follows:

                     a.     the probability of success in the litigation;

                     b.     the complexity of the litigation involved and the expense, inconvenience
                            and delay necessarily attending it;

                     c.     the difficulties, if any, to be encountered in the matter of collection; and

                     d.     the paramount interest of the creditors.

 See, Martin, 91 F.3d at 393; In re Marvel Entertainment Group, Inc., 222 B.R. 243, 249 (D. Del.

 1998); In re Louise’s, Inc., 211 B.R. 798, 801 (D. Del. 1997); In re Pennsylvania Truck Lines,

 Inc., 150 B.R. 595, 598 (E.D. Pa. 1992), aff’d, 8 F.3d 812 (3d Cir. 1993); In re Grant Broadcasting

 of Philadelphia, Inc., 71 B.R. 390, 395 (Bankr. E.D. Pa. 1987).

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           61.       Bankruptcy Rule 9019 authorizes this Court to approve the settlement entered into

 by the Debtor. The decision whether to accept or reject a compromise is committed to the sound

 discretion of the Bankruptcy Court, “which must determine if the compromise is fair, reasonable,

 and in the interest of the estate.” See, Louis’s, 211 B.R. at 801. See also, In re Neshaminy Office

 Building Assocs., 62 B.R. 798, 803 (E.D. Pa. 1986).

           62.       The settlement need not be the best that the debtor could have achieved but must

 only fall “within the reasonable range of litigation possibilities.” See, In re Penn Central Transp.

 Co., 596 F.2d 1102, 1114 (3d Cir. 1979). In making its determination, a court is not to substitute

 its own judgment for that of the debtor. See, Neshaminy Office Bldg., 63 B.R. at 803. Moreover,

 it is not necessary for the court to conduct a truncated trial of the facts of the merits underlying the

 dispute. See Grant Broadcasting, 71 B.R. at 396. See also, In re A&C Properties, 784 F.2d 1377,

 1384 (9th Cir.), cert. denied, 479 U.S. 854 (1986). Rather, the court need only “canvass the issues

 to see whether the settlement fall[s] below the lowest point in the range of reasonableness.” See,

 Neshaminy Office Bldg., 62 B.R. at 803 (quoting, In re W.T. Grant Co., 4 B.R. 53, 69 (S.D.N.Y.

 1977)).

           63.       Here, the Agreement clearly falls within the range of reasonableness for purposes

 of satisfying Bankruptcy Rule 9019 criteria.

           64.       The dispute between the Parties involves numerous, complex issues.             The

 Agreement resolves these matters in a manner which, in the exercise of the Trustee’s business

 judgment, is appropriate and beneficial to the Bankruptcy Estates.

           65.       Faced with insolvent estates and understanding fully the complex and wasting

 collateral picture and the challenged capital structure of the Debtors, the Trustee has reasonably

 elected a path that minimizes additional administrative expenses and avoids the substantial


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 additional expenses to be incurred with continuing a litigation-based path to recovery—a path that

 is speculative and fraught with peril.

           66.       If the Agreement is not approved, Debtors’ property likely will devalue and waste,

 rendering it even more likely that creditors will receive nothing.

           67.       The looming hearing on the 225 Action may further limit the Trustee’s options

 should the proceedings not end in Debtors’ favor.

           68.       Moreover, a further delay in these Bankruptcy Cases will exponentially increase

 administrative expenses, to the prejudice of creditors.

           69.       Simply stated, litigation is time-consuming, costly, and uncertain. The Trustee

 cannot, in his exercise of business judgment, expose creditors to that risk when there is a potential

 for an assured recovery through settlement, and a chance for others who have shown interest to

 bid on the assets being put up for sale. The potential for an overbid recovery further enhances

 creditor’s potential opportunities.

           70.       Without the Agreement, the Trustee will be unable to conduct a realistic sale

 process, as it would be forced to fight with Hawk over the nature and extent of Hawk’s secured

 claims.

           71.       If the Agreement is not approved, Debtors’ estates will face stiff headwinds,

 without money to continue operations or fund case administration, and a future of hotly contested

 litigation whose outcomes are unpredictable.

           72.       Accordingly, the Trustee believes that the Agreement is in the best interests of the

 Debtors’ estates and requests that it be approved by this Court.

                                                  NOTICE

           73.       The Trustee’s counsel has served this Motion and Notice of Motion, Response


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 Deadline and Hearing Date upon: (a) the Office of the United States Trustee, (b) counsel to the

 former debtor in possession, (c) counsel to the signatories to the Agreement, and (d) all parties

 who have requested notice pursuant to Fed. R. Bankr. P. 2002. The Trustee’s counsel has also

 served the Notice of Motion, Response Deadline and Hearing Date upon all of the Debtor’s

 creditors.

          WHEREFORE, the Trustee respectfully requests that this Honorable Court enter an Order

 (i) granting the relief sought in the Motion; (ii) approving the Agreement and the Settlement

 contained therein; (iii) authorizing the Trustee to move forward with the Agreement and

 Settlement, and (iv) granting such other and further relief it deems just and proper.


                                               Respectfully submitted,




                                               /s/ Michael D. Vagnoni
                                               Edmond M. George, Esquire
                                               Michael D. Vagnoni, Esquire
                                               Obermayer Rebmann Maxwell & Hippel LLP
                                               Centre Square West
                                               1500 Market Street, Suite 3400
                                               Philadelphia, PA 19102
                                               Telephone: (215) 665-3066
                                               Facsimile: (215) 665-3165
                                               E-mail addresses:
                                               edmond.george@obertmayer.com
                                               michael.vagnoni@obermayer.com
                                               Counsel to William Homony, Chapter 11 Trustee

 Dated: May 6, 2024




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                  Exhibit A



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                        SHARING AND CARVE-OUT AGREEMENT

        This Sharing and Carve-out Agreement (this “Agreement”) is entered into as of May 6,
2024 by and between (a) William A. Homony, solely in his capacity as the Chapter 11 Trustee
(“Trustee”) of the bankruptcy estates of Stream TV Networks, Inc. (“Stream”) and Technovative
Media Inc. (“TMI” and, together with Stream, the “Debtors”) and (b) (i) Hawk Investment
Holdings, Ltd. (“Hawk”), in its capacity as Collateral Agent for the secured noteholders of
SeeCubic, Inc. (“SCI”) and (ii) all other individuals and entities individually who execute a
Release Supplement annexed hereto (collectively, the “Interested Parties”). The Trustee and Hawk
are referred to herein together as the “Parties” and each individually as a “Party” (unless the context
indicates otherwise).

                                            RECITALS

        WHEREAS, from 2011 through 2020, SLS Holdings VI, LLC (“SLS” and, together with
Hawk, the “Secured Creditors”) and Hawk lent Stream funds pursuant to a series of promissory
notes, with respect to which Hawk has filed proof of Claim No. 6-1 on the Official Proof of Claim
Docket in the Stream’s case (the “Hawk Claim”) asserting a claim secured by substantially all of
the Debtors’ property (the “Collateral”);

        WHEREAS, on March 15, 2023, the Debtors initiated the bankruptcy cases captioned as
In re Stream TV Networks, Inc., Case No. 23-10763 (Bankr. E.D. Pa.) (the “Chapter 11 Cases”),
before the United States Bankruptcy Court of the Eastern District of Pennsylvania (the
“Bankruptcy Court”), under chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”);

       WHEREAS, prior to the Petition Date, the Secured Creditors, the Debtors, and certain
other entities were party to several pending litigation matters, including, but not limited to: (a)
Stream TV Networks, Inc. v. Stastney, Case No. 22-00851-CJB (D. Del.) (the “District Court
Action”), (b) Hawk Investment Holdings Ltd. v. Stream TV Networks, Inc., C.A. 2022-0930-JTL
(Del. Ch.) (the “225 Action”),

        WHEREAS, after the Petition Date, the Debtors initiated the adversary proceeding against
the Secured Creditors and other Interested Parties captioned as Stream TV Networks, Inc. v.
Stastney, AP No. 23-00027-mdc (Bankr. E.D. Pa.) (the “Adversary Proceeding” and, together with
the District Court Action, the 225 Action, and all other pending litigation matters to which the
Parties are party to, the “Pending Litigation Matters”);

      WHEREAS, Hawk filed a motion with the Bankruptcy Court seeking relief from the
automatic stay to conclude the 225 Action on March 20, 2023 [ECF No. 16] (the “Stay Relief
Motion”) and a motion to appoint a chapter 11 trustee on April 6, 2023 [EF No. 83] (the “Trustee
Motion”);




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       WHEREAS, on January 5, 2024, the Bankruptcy Court granted Hawk limited relief under
the Stay Relief Motion and the Trustee Motion, appointing the Trustee in these Chapter 11 Cases
and granting relief from the automatic stay to conclude the 225 Action;

        WHEREAS, upon the Trustee’s appointment, the Trustee engaged in extensive
investigation, review, and analysis of the various Pending Litigation Matters, the Hawk Claim, the
Debtors’ need for funding, and other disputes and aspects of the relationship between the Secured
Creditors and the Debtors;

       WHEREAS, during the Trustee’s investigation, on March 1, 2024, the Trustee filed an
expedited motion to reinstate the automatic stay in connection with the 225 Action and on April
1, 2024, the Bankruptcy Court entered a consent order granting the Trustee’s motion;

        WHEREAS, the Trustee and Hawk have engaged in good faith negotiations in an attempt
to resolve the several disputes between the Debtors, Hawk, SLS, SCI, and several other parties
that have arisen over the course of the dealings of the several parties;

       WHEREAS, the Trustee, Hawk, and the Interested Parties have reached an agreement to
ensure the orderly disposition of the Collateral, funding of the Chapter 11 Cases, a recovery
mechanism for unsecured creditors and the release of any and all claims, whether monetary or
otherwise, between Hawk, SLS, SCI, the Debtors, and the Interested Parties;

      WHEREAS, Parties now wish to fully and finally resolve these matters by mutual
agreement;

        NOW, THEREFORE, for and in consideration of the mutual covenants and agreements
set forth herein, and for other good and valuable consideration, the receipt and sufficiency of which
are hereby acknowledged, the Parties hereby agree as follows:

       1.      Settlement Generally; Cooperation.

               a) The Trustee shall use his best efforts to consummate a sale of the Collateral
                  under section 363 of the Bankruptcy Code as contemplated under this
                  Agreement (any such sale, a “Sale”), which he shall endeavor to close (the
                  “Closing”) no later than August 2, 2024 (subject to further extension by written
                  agreement of Hawk and the Trustee, the “Outside Closing Date”), in
                  accordance with the provisions of the Agreement.

               b) The Parties and their attorneys, advisors and other agents and professionals,
                  shall cooperate in good faith to support the Sale with the goal of maximizing
                  the proceeds of the same. The Parties acknowledge the Sale will be only of the
                  Debtors’ interests in the Collateral, on an “as is where is” basis, without any
                  warranty express or implied. The Parties hereby acknowledge and agree that
                  such support shall include cooperating in providing requested diligence
                  materials, if available, and reasonably responding to diligence inquiries in a
                  timely manner consistent with this goal, as well as supporting (and not objecting
                  to) the entry of an order approving this Agreement (the “9019 Order”) and an

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                      order (the “Bidding Procedures Order”) establishing bidding procedures (the
                      “Bidding Procedures”) so long as such Bidding Procedures’ terms are in
                      accordance with this Agreement. The Parties acknowledge that the Trustee has
                      limited access to records to provide all requested due diligence, but will use his
                      best efforts to assist.

         2.       Treatment of Secured Creditors’ Claims.

                  a) Upon the entry of the 9019 Order, the Hawk Claim shall be deemed an allowed
                     Secured Claim, secured by the Collateral1 as more fully set forth in Claim No.
                     6-1 and the supporting documentation, in the amount of $180 million, subject
                     to increase as set forth below (such amount, the “Allowed Secured Claim”).
                     The Trustee waives the right to object to any portion of the Allowed Secured
                     Claim or to seek the conversion or subordination of such claim for so long as
                     this provision remains valid and binding on the Parties.

                  b) The Allowed Secured Claim shall increase on a dollar-for-dollar basis for
                     documented and evidenced amounts actually advanced to fund the operations
                     of SeeCubic, B.V. (“SCBV”) between the Trustee’s appointment date and the
                     sale Closing in accordance with Section 6 hereof, which advanced amounts
                     shall not constitute administrative expenses of the Debtors’ estates and shall
                     only increase the Allowed Secured Claim as set forth herein.

                  c) Upon the entry of the 9019 Order, the proofs of claim of SLS Holdings VI, LLC
                     [Claim No. 9 on the official claims docket of Stream and Claim No. 2 on the
                     official claims docket of TMI] and the proofs of claim of SeeCubic, Inc. [Claim
                     No. 14 on the official claims docket of Stream and Claim No. 3 on the official
                     claims docket of TMI] shall be deemed withdrawn of record with no further
                     order of the Bankruptcy Court necessary to effectuate such withdrawal.

      3.          Sale of Debtor’s Assets. The Trustee shall pursue a Sale, subject to the following
parameters:

                  a) The Trustee shall seek approval of the retention of an investment banker to
                     market the Collateral.

                  b) The Trustee shall seek entry of the Bidding Procedures Order on an expedited
                     basis to obtain approval thereof concurrently with the entry of the 9019 Order.

                  c) Subject to documentation satisfactory to Hawk (and drafted in consultation with
                     Hawk), SCI shall serve as the stalking horse bidder for the Collateral, with such
                     bid (the “Stalking Horse Bid”) and Asset Purchase Agreement (the “Stalking
                     Horse APA”) attached to the Bidding Procedures.


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  For the avoidance of doubt, Collateral excludes any and all claims and cause of action against third-parties
including but not limited to Chapter 5 claims and causes of action and any claims against the Debtors’ directors and
officer (collectively “Litigation Claims”) and any resulting proceeds from said Litigation Claims.

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           d) Subject to documentation satisfactory to Hawk and the Trustee, the Stalking
              Horse Bid shall consist of a credit bid of the Allowed Secured Claim in the
              amount of $150 million. The Secured Creditors waive the right to seek or obtain
              a “breakup fee” or a “topping fee” or any other bid protections as part of the
              Stalking Horse Bid.

           e) The Bidding Procedures shall specify that in order for a bid to constitute a
              “Qualifying Bid” such bid shall include:

                 i.   A bid deposit in the amount of 10% of the proposed aggregate purchase
                      price (the “Bid Deposit”), and

                ii.   Evidence satisfactory to the Trustee of its financial wherewithal to
                      consummate a Sale in the amount of the proposed purchase price.

           f) The Bidding Procedures shall specify that Qualifying Bids may include both
              cash and non-cash consideration, subject to the following conditions:

                 i.   The cash component shall be no less than $120 million,

                ii.   The non-cash component of the bid shall be backed by a letter of credit
                      or other security, over which Hawk shall have consultation rights as to
                      the sufficiency and form of such security, and

               iii.   The Bid Deposit shall be 10% of the aggregate purchase price, including
                      both the cash component and the non-cash component of the bid.

           g) To the extent the Trustee receives any other Qualified Bids (exclusive of the
              Stalking Horse Bid which will be deemed a Qualified Bid), SCI may participate
              in the Auction. Any overbid submitted by SCI in excess of the Stalking Horse
              Bid at the Auction shall be in cash only. For the avoidance of doubt, SCI cannot
              utilize any of the remaining Allowed Secured Claim as part of any overbid;
              however, its overbid may include a credit bid up to $150 million.

     4.    Trustee Carve-Out.

           a) With respect to any Sale that closes in accordance with the Section 3, the
              Secured Creditors shall carve out of the proceeds of the Collateral $7,500,000
              plus 10% of every additional dollar by which the ultimate purchase price at the
              conclusion of the Auction, exceeds the Stalking Horse Bid up to the amount of
              the Allowed Secured Claim (the “Carve-Out”).

           b) SCI shall pay a portion of the Carve-Out (such portion, the “Carve-Out
              Advance”) to the Trustee according to the following schedule:

                 i.   $1,000,000.00 within two business days of the entry of the 9019 Order;
                      and


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                ii.   $1,500,000.00 within two business days of the entry of the Bidding
                      Procedures Order.

           c) The Trustee shall receive the balance of the Carve-Out (i.e., the Carve-Out
              minus the Carve-Out Advance) at Closing:

                 i.   In the event SCI is the successful bidder, by SCI in cash at Closing.

                ii.   In the event a third party is the successful bidder, from the cash proceeds
                      of the purchase price.

           d) The Bidding Procedures and Sale Order shall provide that in the event a third
              party is the successful bidder, the Secured Creditors shall receive the “Secured
              Creditor Distribution” within five (5) business days of the Closing of a Sale,
              which “Secured Creditor Distribution” shall equal the purchase price minus the
              Carve-Out. The Secured Creditor Distribution shall not exceed the amount of
              the Allowed Secured Claim.

           e) Any sale proceeds in excess of the amount necessary to satisfy the Allowed
              Secured Claim in full (after giving effect to the Carve-Out) shall be retained by
              the Trustee.

     5.    Support of the Carve-Out. In support of the Carve-Out, the Parties further agree:

           a) The Secured Creditors shall provide the Trustee with documentation regarding
              SCI’s financial ability to fund the Carve-Out in the event the Stalking Horse
              Bid is the prevailing bid and sufficient to support any overbid.

           b) The bankruptcy estates and/or any trustee or disbursing agent retain the right to
              object to claims against the bankruptcy estates other than the Allowed Secured
              Claim.

           c) The Secured Creditors will be allowed a subordinate unsecured deficiency
              claim subordinated to all other general unsecured creditors (the “Deficiency
              Claim”) to the extent that the Secured Creditor Distribution is not sufficient to
              satisfy the Allowed Secured Claim in full. The Secured Creditors’ Deficiency
              Claim will be recognized as an impaired unsecured claim which the Secured
              Creditor shall be entitled to vote on confirmation of any Trustee Plan.

           d) The Secured Creditors agree to support and not oppose any Plan filed by the
              Trustee and that on or before the deadline to do so, each shall submit a written
              acceptance of any Plan containing terms consistent with this Agreement, in the
              full value of the Allowed Secured Claim and/or Deficiency Claim.

           e) Notwithstanding any provision herein to the contrary, the Trustee shall retain
              rights to the $1 million bond posted by or on behalf of the Debtors in the 225
              Action.


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       6.      Funding of SCBV. Until and through the Outside Closing Date (as such may be
extended with the consent of the Secured Creditors in their sole discretion), SCI shall continue to
fund all costs and expenses of SCBV incurred in the ordinary course of business and consistent
with SCBV’s operations during the pendency of these Chapter 11 Cases (and including any
employee claims arising therefrom); provided, however, immediately upon a breach of this
Agreement by the Trustee, SCI shall no longer have any obligations to continue funding SCBV.

       7.      Releases. Effective as of the Closing of any Sale:

               a) Each of (i) Hawk and (ii) SCI, on behalf of themselves and their respective
                  partners, general partners, limited partners, affiliates, parents, subsidiaries,
                  predecessors, successors, and all of the foregoing entities’ current and former
                  officers, directors, managers, managing directors, equity holders, investors,
                  beneficiaries, employees, agents, attorneys, advisors, insurers and reinsurers,
                  and (iii) separately and individually, any Interested Party signatory to the
                  Release Supplement annexed hereto (collectively, the “Creditor Releasing
                  Parties”), hereby release and discharge (i) the Trustee, (ii) the Debtors, and (iii)
                  the Debtors’ estates, and (iv) any attorneys, agents, and advisors retained by the
                  Trustee in connection with these Chapter 11 Cases (all of the foregoing, the
                  “Trustee Released Parties”) from any and all claims, liabilities, demands,
                  accounts, reckonings, or causes of action, whether known or unknown, matured
                  or unmatured, domestic or foreign, arising from, relating to, or in connection
                  with these Chapter 11 Cases, the various actions listed in Section 8 of this
                  Agreement and the subject matter thereof, and the Secured Creditors’ extension
                  of credit to and/or investment in the Debtors’ businesses, including efforts to
                  enforce rights with respect to same, including but not limited to the Omnibus
                  Agreement, dated as of May 6, 2020, and the ensuing litigation and related
                  subject matter; provided, however, the Creditor Releasing Parties do not release
                  or discharge the Trustee Released Parties from any claims, liabilities, demands,
                  accounts, reckonings, or causes of action arising from, relating to, the Trustee
                  Released Parties’ obligations arising under this Agreement or the Stalking
                  Horse APA and the other documents to be executed in connection therewith.

               b) The Trustee, on behalf of (i) himself, (ii) the Debtors, (iii) the Debtors’ estates
                  and (iv) any attorneys, agents, and advisors retained by the Trustee in
                  connection with these Chapter 11 Cases (collectively, the “Trustee Releasing
                  Parties”), hereby release and discharge (i) Hawk and (ii) SCI, individually and
                  their respective partners, general partners, limited partners, affiliates, parents,
                  subsidiaries, predecessors, successors, and all of the foregoing entities’ current
                  and former officers, directors, managers, managing directors, equity-holders,
                  investors, beneficiaries, employees, agents, attorneys, advisors, insurers and
                  reinsurers, and (iii) separately and individually, any Interested Party signatory
                  to the Release Supplement annexed hereto (all of the foregoing, the “Creditor
                  Released Parties”) from any and all claims, liabilities, demands, accounts,
                  reckonings, or causes of action, whether known or unknown, matured or
                  unmatured, domestic or foreign, arising from, relating to, or in connection with
                  these Chapter 11 Cases, the various actions listed in Section 8 of this Agreement

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              and the subject matter thereof, and the Secured Creditors’ extension of credit to
              and/or investment in the Debtors’ businesses, including efforts to enforce rights
              with respect to same, including but not limited to the Omnibus Agreement,
              dated as of May 6, 2020, and the ensuing litigation and related subject matter;
              provided, however, the Trustee Releasing Parties do not release or discharge the
              Creditor Released Parties from any claims, liabilities, demands, accounts,
              reckonings, or causes of action arising from, relating to, the Creditor Released
              Parties’ obligations arising under this Agreement or the Stalking Horse APA
              and the other documents to be executed in connection therewith.

           c) Entry of the 9019 Order shall constitute the Bankruptcy Court’s approval of the
              releases included in this provision, which shall only become effective upon the
              Closing of any sale of the Collateral and receipt by the Trustee of the entire
              Carve-Out. The Bankruptcy Court’s entry of the 9019 Order shall constitute
              the Bankruptcy Court’s finding that the foregoing release is: (a) in exchange for
              the good and valuable consideration provided by the Creditor Released Parties;
              (b) a good faith settlement and compromise of the claims and causes of action
              released by the Trustee and Debtors’ estates; (c) in the best interests of the
              Trustee, the Debtors, the Estates, and all holders of claims and interests against
              the estates in these Chapter 11 Cases; (d) fair, equitable, and reasonable; (e)
              given and made after reasonable investigation by the Trustee and after due
              notice and opportunity for hearing; and (f) a bar to any of the Trustee, the
              Debtors, the post-effective date Debtors under any plan of reorganization (if
              any), or the Debtors’ estates asserting any claim or cause of action hereby
              released.

           d) Only those individuals and entities listed as named defendants in any of the
              Pending Litigation Matters may execute a Release Supplement to become an
              “Interested Party” if they so choose; provided however, contemporaneously
              with the execution of this Agreement, each of Shadron L. Stastney, Arthur
              Leonard Robert “Bob” Morton, Alastair Crawford, Patric Theune, SCBV, and
              SLS shall execute Release Supplements and without the fully executed Release
              Supplement from each of the individuals and entities set forth above, this
              Agreement shall be null and void and of no legal effect. To become effective,
              such individuals or entities must execute the Release Supplement and deliver it
              to the Trustee and Hawk on or before ten (10) days prior to the entry of the 9019
              Order.

     8.    Dismissal of Pending Litigation Matters.

           a) As of the date hereof, the Debtors are party to the Pending Litigation Matters,
              including but not limited to:

                 i.   The 225 Action;

                ii.   The Adversary Proceeding;


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                    iii.   The District Court Action; and

                    iv.    Any other pending litigation matters currently pending in any federal or
                           state court (or analogous foreign jurisdiction), including, but not limited
                           to, any actions pending in the Netherlands with respect to control of
                           SCBV.

               b) Upon the entry of the 9019 Order, the Pending Litigation Matters will be or will
                  remain stayed indefinitely while the Parties pursue the consummation of the
                  Sale.

               c) On or within 14 calendar days of the Closing, the Trustee and/or Hawk as
                  appropriate, shall obtain dismissal with prejudice of each of the Pending
                  Litigation Matters.

        9.      Agreement Subject to Bankruptcy Court Approval. The Parties hereby agree and
acknowledge that this Agreement remains subject to Bankruptcy Court approval under Federal
Rule of Bankruptcy Procedure 9019, and this Agreement shall have no binding effect on any of
the Parties until entry of an order approving it pursuant thereto (such an order, the “9019 Order”).

        10.   Consent to Exclusive Jurisdiction of Bankruptcy Court. The Parties hereby agree
that the Bankruptcy Court shall have exclusive jurisdiction to interpret and implement the terms
of this Agreement.

        11.   Governing Law. This Agreement is to be governed by and construed in accordance
with the laws of the State of Delaware without giving effect to the conflict of laws principles
thereof.

      12.    Survival of Representations and Warranties. All representations and warranties
made hereunder shall survive the Closing.

        13.     No Admissions. It is understood by the Parties that this Agreement constitutes a
compromise of potential, unresolved, and disputed claims. This Agreement, and the negotiation
thereof, shall in no way constitute, be construed as, or be evidence of an admission or concession
of any violation of any statute or law; of any fault, liability, or wrongdoing; or of any infirmity in
the claims or defenses of the Parties with regard to any of the complaints, claims, allegations, or
defenses asserted or that could have been asserted in the Action or in connection with the subject
matter of this Agreement or the Action. This Agreement shall not be used, directly or indirectly,
in any way, in litigation or other proceedings between the Parties, and this Agreement shall not be
admissible as evidence in any legal proceeding between the Parties, other than in litigation or a
proceeding to enforce the terms of this Agreement.

        14.     Remedies Cumulative. All rights, powers, and remedies provided under this
Agreement or otherwise available in respect hereof at law or in equity shall be cumulative and not
alternative, and the exercise of any right, power, or remedy thereof by any Party shall not preclude
the simultaneous or later exercise of any other such right, power, or remedy by such Party.



                                                  8

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          Exhibit A Sharing and Carve-Out Agreement Page 10 of 25



        15.     Complete Agreement. The Parties hereby represent and warrant that no promise or
inducement not contained herein has been offered to them, that this Agreement constitutes the
entire agreement between them related to the subject matter hereof, and supersedes all prior
agreements, oral, or written, among the Parties with respect thereto. The Parties further represent
that this Agreement is executed without any reliance upon any statement or representation by the
other, their respective agents, representatives, or attorneys not set forth herein.

       16.     Effect of Breach.

               a) In the event a breach of this Agreement by either Party, the non-breaching Party
                  shall be entitled to terminate this Agreement in its entirety in its sole discretion
                  and this Agreement shall be null and void; provided, however, that any
                  documented and evidenced amounts actually advanced to fund SCBV in
                  accordance with Section 6 hereof shall survive such termination remain an
                  Allowed Secured Claim that is not subject to conversion under the Hawk
                  Conversion Agreement or SLS Conversion Agreement.

               b) In the event this Agreement is terminated for any reason other than a breach by
                  the Secured Creditors, (a) Section 2 of this Agreement shall remain in full force
                  and effect, and the Secured Creditors shall have an Allowed Secured Claim as
                  defined herein, and (b) the Carve-Out Advance shall be deemed an allowed
                  administrative claim against the estate as of the date the Secured Creditors made
                  the advance, subordinate to the allowed fees and expenses of the Chapter 11
                  Trustee and his retained professionals. .

               c) In the event the Secured Creditors breach this Agreement, the Trustee shall be
                  entitled to retain any portion of the Carve-Out previously received for the
                  benefit of the Debtors’ estates.

        17.     Amendment; Non-Waiver. This Agreement shall not be amended or modified
except by a written amendment signed by each of the Parties, approved by the Bankruptcy Court,
which writing expressly states that it is intended to be an amendment to or modification of this
Agreement. No other writing, irrespective of its content, and no course of conduct will act as an
amendment or modification of this Agreement. Any waiver by a Party of its rights hereunder shall
be effective only if in writing, and no waiver shall be implied by a party’s action(s) or inaction(s).
No failure or delay on the part of any Party in the exercise of any right or privilege hereunder shall
operate as a waiver thereof or of the exercise of any other right or privilege hereunder, nor shall
any single or partial exercise of any such right or privilege preclude other or further exercise
thereof or of any other right or privilege.

         18.    Successors and Assigns. The obligations and duties of the Parties under this
Agreement may not be assigned or transferred absent written consent of each Party, unless
specifically stated otherwise. This Agreement shall be binding upon the Parties and their respective
affiliates, successors and assigns.

       19.     Severability. In the event that any provision of this Agreement should be held to
be void, voidable, or unenforceable in a particular instance and such provision does not affect the

                                                  9

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basis of the bargain of the Parties hereunder, such provision shall be severed in such instance, and
the remaining portions hereof shall remain in full force and effect. Furthermore, in lieu of such
severed provision, there shall be added automatically in any such instance as a part of this
Agreement, a provision as similar to the severed provision as may be possible and be legal,
binding, and enforceable.

        20.     Cooperation/Further Assurances. Subject to the other terms of this Agreement, the
Parties and their attorneys, advisors, and other agents and professionals agree to cooperate in good
faith to execute and deliver all other instruments and perform any acts, in addition to the matters
herein specified, as may be appropriate or necessary from time to time, to effectuate and implement
the terms of this Agreement. The Parties and their attorneys, advisors and other agents and
professionals agree not to take any actions, either directly or indirectly through any other agent or
party, reasonably calculated to frustrate implementation of this Agreement or otherwise impair the
rights of any Party thereunder.

        21.    Multiple Counterparts. This Agreement may be executed in multiple counterparts,
each of which shall be deemed an original, but all of which constitute one and the same agreement.
The signature pages from any counterpart may be appended to any other counterpart to assemble
fully executed counterparts. Counterparts of this Settlement Agreement also may be exchanged
via electronic mail or facsimile, and an electronic, photocopied, or .pdf version of any Party’s
authorized signature shall be deemed to be an original signature for all purposes.

       22.     Headings. The headings of all sections of this Agreement are inserted solely for
the convenience of reference and are not a part of and are not intended to govern, limit, or aid in
the construction or interpretation of any term or provision hereof.

        23.     Interpretation and Rules of Construction. This Agreement is the product of
negotiations among the Parties, and in the enforcement or interpretation hereof, is to be interpreted
in a neutral manner, and any presumption with regard to interpretation for or against any Party by
reason of that Party having drafted or caused to be drafted this Agreement, or any portion hereof,
shall not be effective in regard to the interpretation hereof. The Parties were each represented by
counsel during the negotiations, drafting, and execution of this Agreement.


                                   [Signature Pages to Follow]




                                                 10

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          Exhibit A Sharing and Carve-Out Agreement Page 12 of 25



        IN WITNESS WHEREOF, the parties hereto have caused this Sharing Agreement to be
 duly executed as of the date first written above.

                                           WILLIAMA. HOMONY,
                                           solely in his capacity as Chapter 11 Trustee
                                           of the estates of Stream TV Networks, Inc. and
                                           Technovative Media

                                           By:

                                           Printed Name:

                                           Title:




                                           HAWK INVESTMENT HOLDINGS LIMITED,
                                           a Ouernsey holding company, as Collateral Agent


                                           By:

                                           Printed Name:

                                           Title:




                                           SEECUBIC, INC.,
                                          a Delaware corporation, as Stalking Horse Bidder


                                          By

                                          Printed Name:

                                          Title




                            fSignature Page to Sharing Agreement]




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          Exhibit A Sharing and Carve-Out Agreement Page 14 of 25



       IN WITNESS WHEREOF, the parties hereto have caused this Sharing Agreement to be
duly executed as of the date first written above.

                                         WILLIAM A. HOMONY,
                                         solely in his capacity as Chapter 11 Trustee
                                         of the estates of Stream TV Networks, Inc. and
                                         Technovative Media Inc.

                                         By:            ___________________________

                                         Printed Name: ___________________________

                                         Title:         ___________________________



                                         HAWK INVESTMENT HOLDINGS LIMITED,
                                         a Guernsey holding company, as Collateral Agent

                                         By:            ___________________________

                                         Printed Name: ___________________________

                                         Title:         ___________________________



                                         SEECUBIC, INC.,
                                         a Delaware corporation, as Stalking Horse Bidder

                                         By:            ___________________________

                                         Printed Name: ___________________________
                                                        Shad L. Stastney

                                         Title:          Chairman and CEO
                                                        ___________________________




                           [Signature Page to Sharing Agreement]

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                                                Annex

                                         Release Supplement

        This RELEASE SUPPLEMENT (the “Release Supplement”) to the Sharing and Carve-Out
Agreement, dated as of ______, 2024 (as may be amended, supplemented, restated, or otherwise
modified from time to time, the “Sharing Agreement”), by and among (a) William A. Homony,
solely in his capacity as the Chapter 11 Trustee of the bankruptcy estates of Stream TV Networks,
Inc. and Technovative Media Inc., and (b) Hawk Investment Holdings, Ltd. and SeeCubic Inc., is
executed and delivered by the party executing the signature page hereto (the “Interested Party”)
and shall be effective only upon the satisfaction of the conditions precedent as set forth in the
Sharing Agreement. Each capitalized term used herein but not otherwise defined shall have the
meaning set forth in the Sharing Agreement.

        1.      Agreement to Release. The Interested Party hereby affirmatively opts into the
Sharing Agreement solely with respect to granting and obtaining the Releases, in its/his/her
individual capacity and including the Interested Party’s respective partners, general partners,
limited partners, affiliates, parents, subsidiaries, predecessors, successors, and all of the foregoing
entities’ current and former officers, directors, managers, managing directors, equity holders,
investors, beneficiaries, employees, agents, attorneys, advisors, insurers and reinsurers, as set forth
in Section [7] of the Sharing Agreement, which is incorporated herein by reference in its entirety.

       2.       Representations and Warranties. The Interested Party hereby represents and
warrants that it has full authority to enter into this Release Supplement and no material consent or
approval of, or any registration or filing with, any other person or entity is required for it to do so.

        3.      Representation by Counsel. The Interested Party hereby acknowledges that it has
been represented by counsel (or had the opportunity to and waived its right to do so) in connection
with execution this Release Supplement and the releases contemplated hereby, and it is no relying
on the statement or representation of any of the Parties to the Sharing Agreement (or their counsel)
in exercising its/his/her right to execute this Release Supplement.

        4.      Reservation of Rights; Non-Consent to Jurisdiction. Nothing herein shall be
deemed or construed as (a) a waiver or release of any claim or right by the Interested Party other
than as expressly set forth herein and in Section [7] of the Sharing Agreement, (b) a consent by the
Interested Party to the jurisdiction of any court within the United States or abroad, or (c) an election
of remedies or choice of law.




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          Exhibit A Sharing and Carve-Out Agreement Page 20 of 25



        IN WITNESS WHEREOF, the party signing below has caused this Release Supplement
to the Sharing Agreement to be duly executed as of the date herein indicated.


                                   Signature Block for Individuals:


                                   Signature:      ________________________________

                                   Printed Name: ________________________________
                                                  Patrick Miles


                                   Date:           ________________________________
                                                    2nd May 2024



                                   Signature Block for Entities:


                                   Entity Name:                                      __

                                   Jurisdiction:                                     __

                                   Signature:                                        __

                                   Name:                                             __

                                   Title:                                            __

                                   Date:                                             __




                 [Signature Page to Release Supplement to Sharing Agreement]
318513638.2


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        IN WITNESS WHEREOF, the party signing below has caused this Release Supplement
to the Sharing Agreement to be duly executed as of the date herein indicated.


                                   Signature Block for Individuals:


                                   Signature:      ________________________________

                                   Printed Name: ________________________________

                                   Date:           ________________________________


                                   Signature Block for Entities:


                                   Entity Name:      SeeCubic BV                     __

                                   Jurisdiction:      Netherlands                    __

                                   Signature:                                        __

                                   Name:           Shad L. Stastney                  __

                                   Title:          Director A                        __

                                   Date:           30 April 2024                     __




                 [Signature Page to Release Supplement to Sharing Agreement]
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          Exhibit A Sharing and Carve-Out Agreement Page 22 of 25



        IN WITNESS WHEREOF, the party signing below has caused this Release Supplement
to the Sharing Agreement to be duly executed as of the date herein indicated.


                                   Signature Block for Individuals:


                                   Signature:      ________________________________

                                                 Shad L. Stastney
                                   Printed Name: ________________________________

                                   Date:           April 30, 2024
                                                   ________________________________


                                   Signature Block for Entities:


                                   Entity Name:                                      __

                                   Jurisdiction:                                     __

                                   Signature:                                        __

                                   Name:                                             __

                                   Title:                                            __

                                   Date:                                             __




                 [Signature Page to Release Supplement to Sharing Agreement]
318513638.2


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        IN WITNESS WHEREOF, the party signing below has caused this Release Supplement
to the Sharing Agreement to be duly executed as of the date herein indicated.


                                   Signature Block for Individuals:


                                   Signature:      ________________________________

                                   Printed Name: ________________________________

                                   Date:           ________________________________


                                   Signature Block for Entities:


                                   Entity Name: SLS Holdings VI, LLC                 __

                                   Jurisdiction:     Delaware                        __

                                   Signature:                                        __

                                   Name:           Shad L. Stastney                  __

                                   Title:          Managing Member                   __

                                   Date:           April 30, 2024                    __




                 [Signature Page to Release Supplement to Sharing Agreement]
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          Exhibit A Sharing and Carve-Out Agreement Page 24 of 25



        IN WITNESS WHEREOF, the party signing below has caused this Release Supplement
to the Sharing Agreement to be duly executed as of the date herein indicated.


                                   Signature Block for Individuals:


                                   Signature:      ________________________________

                                   Printed Name: ________________________________
                                                 Patric Theune


                                   Date:           ________________________________
                                                   1 May 2024



                                   Signature Block for Entities:


                                   Entity Name:                                      __

                                   Jurisdiction:                                     __

                                   Signature:                                        __

                                   Name:                                             __

                                   Title:                                            __

                                   Date:                                             __




                 [Signature Page to Release Supplement to Sharing Agreement]
318513638.2


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          Exhibit A Sharing and Carve-Out Agreement Page 25 of 25



        IN WITNESS WHEREOF, the party signing below has caused this Release Supplement
to the Sharing Agreement to be duly executed as of the date herein indicated.


                                   Signature Block for Individuals:


                                   Signature:      ________________________________

                                   Printed Name: ________________________________

                                   Date:           ________________________________


                                   Signature Block for Entities:


                                   Entity Name:                                         __

                                   Jurisdiction:                                        __

                                   Signature:                                           __

                                   Name:                                                __

                                   Title:                                               __

                                   Date:                                                __




                 [Signature Page to Release Supplement to Sharing Agreement]
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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                       :
    In re:                                             :    Chapter 11
                                                       :
    Stream TV Networks, Inc., et al.                   :    Bankruptcy No. 23-10763 (AMC)
                                                       :
                             Debtors.                  :    (Jointly Administered)1
                                                       :


                                                    ORDER

         AND NOW, upon consideration of the Motion of William A. Homony (the “Trustee”), in

his capacity as Chapter 11 trustee of the bankruptcy estates of Stream TV Networks, Inc.

(“Stream”) and Technovative Media Inc. (“Technovative” or in conjunction with Stream, the

“Debtors”), for Entry of an Order Approving a Settlement Agreement and Mutual Release with

Hawk Investment Holdings, Ltd. (“Hawk”), as Collateral Agent for the secured noteholders of

SeeCubic, Inc. (“SeeCubic”), Pursuant to Fed. R. Bankr. P. 9019(a) and 11 U.S.C. § 105(a) (the

“Motion”);2 and the Court having jurisdiction to consider the matters raised in the Motion pursuant

to 28 U.S.C. §§ 157 and 1334; and consideration of the Motion and the requested relief being a

core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before the Court pursuant

to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been provided to

the required and necessary parties; and such notice having been adequate and appropriate under

the circumstances, and it appearing that no other or further notice need be provided; and the Court

having reviewed the Motion; and the Court having held a hearing to consider the relief requested

in the Motion (the “Hearing”); and the Court having determined that the legal and factual bases

set forth in the Motion and at the Hearing establish just cause for the relief granted herein; and the


1
  On April 11, 2023, the Court entered an order directing joint administration of the above-captioned case and In re
Technovative Media, Inc.; Case No. 23-10764 (AMC). (D.I. #81).
2
  Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.
4875-7966-5596 v1
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                                                       TA-189
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Court having determined that the relief requested is in the best interests of the Debtors, their estates,

creditors and all parties in interest; and upon all of the proceedings had before the Court and after

due deliberation and sufficient cause appearing therefor; it is hereby ORDERED that:

         1.         The Motion is GRANTED.

         2.         The Agreement is APPROVED, subject to the conditions and requirements for

effectiveness set forth therein.

         3.         All objections to the Motion have been considered and are hereby overruled.

         4.         The Settlement represents a valid exercise of the Trustee’s business judgment,

having been informed by extensive research, investigation, and negotiation by the Trustee and

other parties in interests.

         5.         Upon the entry of this Order, the proof of claim of Hawk Investment Holdings Ltd.

[Claim No. 6 on the official claims docket of Stream] shall be deemed allowed in the amount of

$180 million (subject to increase as set forth in the Agreement) with no further order of the

Bankruptcy Court necessary to effectuate the same.

         6.         Upon the entry of this Order, the proofs of claim of SLS Holdings VI, LLC [Claim

No. 9 on the official claims docket of Stream and Claim No. 2 on the official claims docket of

TMI] and the proofs of claim of SeeCubic, Inc. [Claim No. 14 on the official claims docket of

Stream and Claim No. 3 on the official claims docket of TMI] shall be deemed withdrawn of record

with no further order of the Bankruptcy Court necessary to effectuate such withdrawal and SLS

Holdings VI, LLC and SeeCubic, Inc. shall not have an allowed claim against the bankruptcy

estates of the Debtors.

         7.         The Settlement and Agreement are in the best interest of the Debtors’ estates and

all of the Debtors’ stakeholders.

                                                    2
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         8.         The Parties are authorized to take all actions necessary to effectuate and

consummate the Agreement including, without limitation, the execution and delivery of any

documents, agreements, or other instruments.

         9.         This Order and the Agreement shall be binding on the Parties, the Debtors’ estates,

all creditors and parties-in-interest, and any trustee or plan administrator appointed in this case.

         10.        Notice of the Motion as provided therein shall be deemed good and sufficient

notice, service was proper and parties in interest were afforded adequate opportunity to file

opposition to the Motion and appear at the Hearing, and the requirements of the Federal Rules of

Bankruptcy Procedure and Local Rules of Bankruptcy Procedure are satisfied by such notice.

         11.        This Court shall retain exclusive jurisdiction to hear and determine all matters

arising from the implementation of this Order and consummation of the Agreement.


                                                  BY THE COURT:


Date: _____________                               ___________________________________
                                                  HONORABLE ASHELY M. CHAN,
                                                  UNITED STATES BANKRUPTCY JUDGE




                                                     3
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                             Certificate of Service Page 1 of 1



                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                :
  In re:                                        :   Chapter 11
                                                :
  Stream TV Networks, Inc., et al.              :   Bankruptcy No. 23-10763 (AMC)
                                                :
                          Debtors.              :   (Jointly Administered)
                                                :

                                 CERTIFICATE OF SERVICE

         I, Michael D. Vagnoni, Esquire, do hereby certify that on the 6th day of May, 2024 a copy

of the Motion for Entry of an Order Approving a Settlement Agreement and Mutual Release with

Hawk Investment Holdings, Ltd. (“Hawk”), as Collateral Agent for the secured noteholders of

SeeCubic, Inc. (“SeeCubic”) Pursuant to Fed. R. Bankr. P. 9019(a) and 11 U.S.C. § 105(a) (the

“Motion”) Pursuant to Fed. R. Bankr. P. 9019(a) and 11 U.S.C. § 105(a) and Notice of Motion,

Response Deadline and Hearing Date were served upon the parties on the attached list in the

manner indicated thereon.




                                              /s/ Michael D. Vagnoni
                                              Edmond M. George, Esquire
                                              Michael D. Vagnoni, Esquire
                                              Obermayer Rebmann Maxwell & Hippel LLP
                                              Centre Square West
                                              1500 Market Street, Suite 3400
                                              Philadelphia, PA 19102
                                              Telephone: (215) 665-3066
                                              Facsimile: (215) 665-3165
                                              E-mail addresses:
                                              edmond.george@obertmayer.com
                                              michael.vagnoni@obermayer.com
                                              Counsel to William Homony, Chapter 11 Trustee

Dated: May 6, 2024



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                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                       :
     In re:                                            :   Chapter 11
                                                       :
     Stream TV Networks, Inc., et al.                  :   Bankruptcy No. 23-10763 (AMC)
                                                       :
                              Debtors.                 :   (Jointly Administered)1
                                                       :

 PRAECIPE TO SUBSTITUTE EXHIBIT “B” TO MOTION OF WILLIAM A. HOMONY
 IN HIS CAPACITY AS CHAPTER 11 TRUSTEE FOR (I) AN ORDER (A) APPROVING
   THE BIDDING PROCEDURES AND FORM OF ASSET PURCHASE AGREEMENT
     FOR THE SALE OF SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS, (B)
  ESTABLISHING THE NOTICE PROCEDURES AND APPROVING THE FORM AND
   MANNER OF NOTICE THEREOF AND SCHEDULING A SALE BY AUCTION, (C)
    APPROVING PROCEDURES FOR THE ASSUMPTION AND ASSIGNMENT OF
        CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES, (D)
  SCHEDULING A SALE HEARING, (E) GRANTING EXPEDITED CONSIDERATION
  PURSUANT TO LOCAL RULE OF BANKRUPTCY PROCEDURE 5070-1(g), AND (F)
  GRANTING RELATED RELIEF, AND (II) AN ORDER (A) APPROVING THE SALE
      OF THE DEBTORS’ ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
 ENCUMBRANCES, AND OTHER INTERESTS, (B) APPROVING THE ASSUMPTION
   AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED
       LEASES RELATED THERETO, AND (C) GRANTING RELATED RELIEF

 TO THE CLERK OF BANKRUPTCY COURT:

          Kindly substitute the attached for Exhibit “B” – The Placeholder for the Asset Purchase

 Agreement to the Motion of William A. Homony in His Capacity as Chapter 11 Trustee for (I) an

 Order (A) Approving the Bidding Procedures and Form of Asset Purchase Agreement for the Sale

 of Substantially all of the Debtors’ Assets, (B) Establishing the Notice Procedures and Approving

 the Form and Manner of Notice Thereof and Scheduling a Sale by Auction, (C) Approving

 Procedures for the Assumption and Assignment of Certain Executory Contracts and Unexpired

 Leases, (D) Scheduling a Sale Hearing, (E) Granting Expedited Consideration Pursuant to Local



 1
  On April 11, 2023, the Court entered an order directing joint administration of the above-captioned case and In re
 Technovative Media, Inc. Case No. 23-10764 (AMC) (D.I. #81).


 4864-4811-3144 v1
                                                       TA-193
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 Rule of Bankruptcy Procedure 5070-1(g), and (F) Granting Related Relief, and (II) an Order (A)

 Approving the Sale of the Debtors’ Assets Free and Clear of All Liens, Claims, Encumbrances,

 and Other Interests, (B) Approving the Assumption and Assignment of Certain Executory

 Contracts and Unexpired Leases Related Thereto, and (C) Granting Related Relief, which was

 filed with the Court on September 30, 2024, at Docket No. 750, in the above-captioned matter.



 Dated: November 11, 2024               By: /s/ Michael D. Vagnoni
                                            Edmond M. George, Esquire
                                            Michael D. Vagnoni, Esquire (pro hac vice)
                                            OBERMAYER REBMANN MAXWELL & HIPPEL, LLP
                                            Centre Square West
                                            1500 Market Street, Suite 3400
                                            Philadelphia., PA 19102
                                            Telephone: (215) 665-3066
                                            Facsimile: (215) 665-3165
                                            E-mail: edmond.george@obermayer.com
                                                    michael.vagnoni@obermayer.com

                                             Counsel to William A. Homony Chapter 11 Trustee




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                   EXHIBIT "B"




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                      ASSET PURCHASE AGREEMENT

                                  by and among

                      STREAM TV NETWORKS, INC.,

                                       and

                       TECHNOVATIVE MEDIA INC.,

                                    as Sellers,

                                       and

                               SEECUBIC, INC.,

                                    as Buyer

                          Dated as of November [], 2024




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                            ASSET PURCHASE AGREEMENT

              This ASSET PURCHASE AGREEMENT, dated as of November [●], 2024
(this “Agreement”), is by and among Stream TV Networks, Inc., a Delaware corporation
(“Stream”), Technovative Media Inc., a Delaware corporation (“Technovative” and, together
with Stream, the “Debtors” or “Sellers”), by and through William A. Homony, solely in his
capacity as Chapter 11 trustee of the bankruptcy estates of Stream and Technovative (the
“Trustee”) and not individually, and SeeCubic, Inc., a Delaware corporation, or its designee
(“SeeCubic” or “Buyer” and, together with Sellers, the “Parties”).

                                          RECITALS

                WHEREAS, on March 15, 2023 (the “Petition Date”), the Debtors filed voluntary
petitions for relief under Chapter 11 of the Bankruptcy Code commencing cases that are being
jointly administered under Case No. 23-10763 (the “Bankruptcy Cases”) in the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”);

               WHEREAS, on March 20, 2023, Hawk Investment Holdings, Ltd. (“Hawk”) filed
a motion for relief from the automatic stay (the “Hawk Stay Relief Motion”) to proceed with an
action against the Debtors in the Delaware Court of Chancery (the “Delaware Chancery Court”)
under § 225 of Title 8 of the Delaware Code (the “225 Action”);

               WHEREAS, on April 6, 2023, Hawk, as Collateral Agent for the secured
noteholders of SeeCubic, filed a motion pursuant to sections 1112/1104 of the Bankruptcy Code,
seeking dismissal or conversion of the Bankruptcy Cases, or, alternatively, the appointment of a
Chapter 11 trustee pursuant to section 1104(a) of the Bankruptcy Code (the “1112/1104
Motion”);

              WHEREAS, on May 19, 2023, Hawk filed proof of claim No. 6-1 on the Official
Proof of Claim Docket (the “Hawk Claim”) asserting a claim secured by substantially all of the
Debtor’s property (the “Collateral”) and asserting the Debtors were indebted to SeeCubic in at
least the amount of $178,432,069.68, subject to additional accruing interest, fees, and expenses;

              WHEREAS, in the 1112/1104 Motion, Hawk argued that cause existed to appoint
a trustee based upon the Debtors’ pre- and post-petition history of fraud, dishonesty,
incompetence, and gross mismanagement of their businesses;

                WHEREAS, on January 5, 2024 (the “Appointment Date”), the Bankruptcy Court
entered an order, which, among other things, (i) granted the 1112/1104 Motion solely with
respect to the appointment of a Chapter 11 trustee, and (ii) granted the Hawk Stay Relief Motion
to allow the Section 225 Action to proceed [Docket No. 549] (the “Trustee Order”);

              WHEREAS, the Trustee Order instructed the United States Trustee’s Office to
immediately begin the process of appointing a Chapter 11 trustee;

                WHEREAS, on January 9, 2024, the Office of the United States Trustee filed a
notice of appointment of William A. Homony to serve as the Chapter 11 trustee as well as an
application for the entry of an Order approving the appointment of the Trustee;



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                WHEREAS the Trustee has, since the Appointment Date, been performing the
duties of a trustee for the Debtors in accordance with Section 1106 and the applicable provisions
of Section 704 of the Bankruptcy Code;

              WHEREAS, on January 12, 2024, the Bankruptcy Court entered an Order
Approving the Appointment of the Trustee and the Trustee accepted such appointment;

              WHEREAS, pursuant to Sections 105, 1106, and 1108 of the Bankruptcy Code
and Bankruptcy Rule 9019, the Trustee may operate the Debtors’ businesses and file a motion
seeking approval of a compromise or settlement;

              WHEREAS, on May 6, 2024, the Trustee filed a motion under Bankruptcy Rule
9019 and section 105 of the Bankruptcy Code (the “Settlement Motion”) seeking entry of an
order approving that certain Sharing and Carve-Out Agreement, dated May 6, 2024, by and
between Trustee, Buyer, Hawk, in its capacity as collateral agent for the secured noteholders of
Buyer and certain other parties thereto, Case 23-10763, Doc 630-1 (the “Settlement
Agreement”), pursuant to which, Trustee shall, among other things, use his best efforts to
consummate a “as-is-where-is” sale of the Collateral by auction, if needed under the Bid
Procedures, under Section 363 of the Bankruptcy Code and the Trustee shall endeavor to close
by August 2, 2024;

               WHEREAS, on June 5, 2024, the Bankruptcy Court entered an order granting the
Settlement Motion, approving the Settlement Agreement, and authorizing the Trustee’s entry
into the Settlement Agreement and certain Carve-Out Advance payments have been made
thereunder;

               WHEREAS, the Settlement Agreement provides, among other things, that, the
Buyer shall act as the Stalking Horse Bidder (as defined in the Settlement Agreement), and the
Hawk Claim shall be deemed an allowed, secured claim, secured by the Collateral in the amount
of $180,000,000, subject to increase as provided herein (the “Allowed Secured Claim”);

               WHEREAS, the Settlement Agreement further provides, among other things, that,
the stalking horse bid (“Stalking Horse Bid”) shall consist of a credit bid by SeeCubic of the
Allowed Secured Claim in the amount of $150,000,000 (the “Credit Bid Amount”);

                WHEREAS, Trustee believes, after consultation with his professionals and
consideration of available alternatives, that, in light of the current circumstances, that entering
into an agreement for the Stalking Horse Bid for the sale of the Debtors’ right, title, and interest,
if any, in substantially all of the Debtors’ assets, on an “as is, where is” basis as provided herein,
is necessary to preserve and maximize value and is in the best interest of the Debtors, and their
respective estates;

                WHEREAS, Sellers desire to sell to Buyer (or any Designated Buyers) all of the
Transferred Assets, and Buyer (or any such Designated Buyers) desires to purchase from Sellers
the Transferred Assets, other than the Excluded Assets, free and clear of any and all
Encumbrances, on the terms and subject to the conditions hereof, on an “as is, where is” basis,
without any warranty of any kind, express or implied, including as to merchantability or fitness
for a particular purpose, as further set forth in Section 3.6;

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               WHEREAS, the execution and delivery hereof and Sellers’ ability to consummate
the transactions contemplated hereby are subject to, among other things, the Bankruptcy Court’s
entry of the Sale Order under, among others, Sections 105, 363, and 365 of the Bankruptcy
Code, as further set forth herein;

              WHEREAS, the Parties desire to consummate the transactions contemplated
hereby as promptly as practicable after the Bankruptcy Court enters the Sale Order; and

               NOW, THEREFORE, in consideration of the foregoing and the representations,
warranties, covenants and agreements hereunder, and intending to be legally bound hereby, the
Parties agree as follows:

                                           ARTICLE I
                                          DEFINITIONS

               Section 1.1   Certain Defined Terms. As used herein, each of the following
underlined terms has the meaning specified in this Section 1.1:

                “Action” means any action, arbitration, audit, charge, claim, complaint, demand,
dispute, investigation, notice of violation, legal proceeding, litigation or similar proceeding
(whether civil, criminal, administrative, arbitral or investigative), petition, subpoena or suit, by or
before any Governmental Authority relating to the Transferred Assets.

                “Affiliate” means, with respect to any Person, any other Person that directly, or
indirectly through one or more intermediaries, controls, is controlled by, or is under common
control with, such first Person, where “control,” “controlled by” and “under common control
with,” means the possession, directly or indirectly, of the power to direct or cause the direction
of the management and policies of a Person, whether through the ownership of voting securities,
as trustee or executor, as general partner or managing member, by contract or otherwise.

                “Affiliate Claim” means any General Claim held, owned, or assertible by or on
behalf of any the Debtors or either or both of the Debtor’s estates against Buyer or any other
Affiliate of any Seller.

                “Alternative Sale Action” means (i) accepting or entering into any contract,
agreement, arrangement or understanding (whether or not legally binding) with any Person
relating to, or that would be reasonably expected to lead to, an Alternative Transaction or (ii)
committing to (conditionally or otherwise) enter into or consummate any Alternative
Transaction.

                “Alternative Transaction” means the sale, transfer or other disposition, directly or
indirectly, including through an asset sale, share sale, merger, amalgamation, consolidation or
other similar transaction, including a plan of reorganization approved by the Bankruptcy Court,
or resulting from the Auction, of a material portion of Sellers’ assets, in a transaction or series of
transactions with one (1) or more Persons other than Buyer (or any Designated Buyer), in each
case, except as set forth in the Bid Procedures.



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              “Ancillary Agreements” means, collectively, the Contracts to be executed in
connection with the transactions contemplated hereby, including the Assignment Agreement, the
IP Assignment Agreement, the Domain Transfer Agreement, and the Settlement Agreement.

                “Antitrust Law” means the HSR Act and any competition, merger control and
antitrust Law of any other applicable supranational, national, federal, state, provincial or local
Law designed or intended to prohibit, restrict or regulate actions having the purpose or effect of
monopolizing or restraining trade or lessening competition of any other country or jurisdiction,
to the extent applicable to the transactions contemplated hereby.

                “Auction” has the meaning set forth in the Bid Procedures.

                 “Bankruptcy Code” means Title 11 of the United States Code, Sections 101 et
seq., as in effect or as may be amended from time to time.

              “Bid Procedures” means the bidding procedures set forth and approved in the Bid
Procedures Order, as entered by the Bankruptcy Court.

               “Bid Procedures Hearing” means the hearing conducted by the Bankruptcy Court
to approve the Bid Procedures Order.

              “Bid Procedures Order” means an Order of the Bankruptcy Court approving the
Bid Procedures, substantially in the form of Exhibit B, with such changes as may be required by
the Bankruptcy Court that are in form and substance acceptable to Buyer.

                  “Books and Records” means all documents of, or otherwise in the possession,
custody or control of, or used by, any Seller and turned over to the Trustee, including all files,
instruments, papers, books, microfilms, photographs, letters, budgets, forecasts, ledgers, journals,
title policies, lists of past, present and/or prospective customers, supplier lists, regulatory filings,
technical documentation (design specifications, functional requirements, operating instructions,
logic manuals, flow charts, etc.), user documentation (installation guides, user manuals, training
materials, release notes, working papers, etc.), data, reports (including environmental reports and
assessments), plans, mailing lists, price lists, marketing information and procedures, advertising
and promotional materials, books and records and papers relating to Taxes (including Tax
Returns), equipment records, warranty information, architects agreements, construction
contracts, drawings, plans and specifications, records of operations, standard forms of
documents, manuals of operations or business procedures and other similar procedures
(including all discs, tapes and other media-storage data containing such information), in each
case, whether or not in electronic form.

                “Business” means any business conducted by the Debtors or any of their
Subsidiaries.

              “Business Day” means any day that is not a Saturday, a Sunday or other day on
which banks are required or authorized by applicable Law to be closed in the city of New York,
New York.



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              “Buyer Material Adverse Effect” means with respect to the Transferred Assets,
any event, change, circumstance, development, effect, occurrence that would prevent, or
materially impede Buyer’s consummation of the transactions contemplated hereby or by the
Ancillary Agreements.

             “Claim” shall have the meaning ascribed to such term under Section 101(5) of the
Bankruptcy Code.

               “Code” means the Internal Revenue Code of 1986.

               “Contract” means any written or oral contract, agreement, insurance policy, lease,
license, sublicense, sales order, purchase order, instrument, indenture, note, bond or other
evidence of indebtedness, or other commitment, that is binding on any Person or any part of its
assets or properties under applicable Law.

              “Controlled Group Liability” means any and all Liabilities of Sellers and their
ERISA Affiliates, if any (i) under Title IV of ERISA, (ii) under Section 302 of ERISA, (iii)
under Sections 412 or 4971 of the Code, (iv) as a result of a failure to comply with the
continuation coverage requirements of Section 601 et seq. of ERISA and Section 4980B of the
Code, (v) under any a “multiemployer plan,” as defined in Section 3(37) or 40001(a)(3) of
ERISA, or (vi) under corresponding or similar provisions of non-U.S. Laws.

                “Designated Buyer” means any Affiliate of Buyer designated by Buyer to Sellers
at least seven (7) Business Days prior to the Closing Date.

                “Employee Benefit Plans” if any such plan or plans exist, means each (i)
“employee benefit plan” within the meaning of Section 3(3) of ERISA, whether or not subject to
ERISA, (ii) other benefit and compensation plan, contract, policy, program, practice,
arrangement or agreement, including pension, profit-sharing, savings, termination, executive
compensation, phantom stock, change-in-control, retention, salary continuation, vacation, sick
leave, disability, death benefit, insurance, hospitalization, medical, dental, life (including all
individual life insurance policies as to which Stream is an owner, a beneficiary or both),
employee loan, educational assistance, fringe benefit, deferred compensation, retirement or post-
retirement, severance, equity or equity-based, incentive and bonus plan, contract, policy,
program, practice, arrangement or agreement and (iii) other employment, consulting or other
individual agreement, plan, practice, policy, contract, program and arrangement, in each case, (1)
which is sponsored or maintained by Stream or any of its ERISA Affiliates, if any in respect of
any current or former employees, directors, independent contractors, consultants or leased
employees of Stream or (2) with respect to which Stream has any actual or contingent Liability.

                “Encumbrance” means any lien, pledge, Claim, interest, encumbrance, right,
Liability, security interest, mortgage, deed of trust, hypothecation, preference, debt, suit, license,
option, right of first refusal, right of way, encroachment, occupancy right, preemptive right,
community property interest, easement, and judgment, order, and decree of any court, tax
(including foreign, state, and local tax), covenant, and restriction of any nature, against any
Person or its assets, including, without limitation, any debt arising under or out of, in connection
with, or in any way relating to, any act or omissions, obligation, demand, guarantee, de facto


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merger claim, cause of action (whether in law or in equity, under any law), whether arising prior
to or subsequent to the commencement of the Chapter 11 Cases or the facts and legal theories
giving rise thereto or asserted therein, whether known or unknown, contingent, or matured,
perfected or unperfected, liquidated, or unliquidated, statutory or non-statutory, legal, or
equitable, or otherwise arising under or out of, in connection with, or in any way related to any
of the Debtors, any of the Debtors’ interests in the Transferred Assets, the operation of any of the
Debtors’ businesses before the effective time of the Closing.

                “Environmental Law” means any Law related to pollution, the protection of,
restoration or remediation of or prevention of harm to the environment or natural resources, or
the protection of human health and safety, ecological planning or zoning including Laws related
to: (i) the exposure to Hazardous Materials, (ii) the generation, manufacture, processing,
distribution, use, transport, treatment, containment, storage, disposal, or handling of Hazardous
Materials or (iii) recordkeeping, notification, disclosure and reporting requirements respecting
Hazardous Materials.

               “ERISA” means the Employee Retirement Income Security Act of 1974.

               “ERISA Affiliate” means all employers, trades or businesses (whether or not
incorporated) that would be treated together with Sellers as a single employer for purposes of
Section 4001 of ERISA or Section 414 of the Code.

                “Excluded Assets” means those Assets reasonably identified in Section 2.2 hereof
and listed in Section 2.2(k) of the Disclosure Schedules.

                “Final Order” means an order of the Bankruptcy Court or any other court of
competent jurisdiction (i) as to which the time to appeal shall have expired and as to which no
appeal shall then be pending or (ii) if a timely appeal shall have been filed or sought, either (1)
no stay of the Order shall be in effect, (2) no motion or application for a stay of the Order shall
be filed and pending or such motion or application shall have been denied or (3) if such a stay
shall have been granted, then (A) the stay shall have been dissolved or (B) a final order of the
district court or circuit court having jurisdiction to hear such appeal shall have affirmed the
Order and the time allowed to appeal from such affirmance or to seek review or rehearing (other
than a motion pursuant to Rule 60(b) of the Federal Rules of Civil Procedure) thereof shall have
expired and the taking or granting of any further hearing, appeal or petition for certiorari shall
not be permissible, and if a timely appeal of such district court or circuit court Order or timely
motion to seek review or rehearing of such Order shall have been made, any appellate court
having jurisdiction to hear such appeal or motion (or any subsequent appeal or motion to seek
review or rehearing) shall have affirmed the district court’s (or lower appellate court’s) order
upholding the Order of the Bankruptcy Court and the time allowed to appeal from such
affirmance or to seek review or rehearing thereof shall have expired and the taking or granting of
any further hearing, appeal or petition for certiorari shall not be permissible; provided, however,
that Buyer in its sole discretion may treat any Order for which a motion or application for a stay
is filed or pending as a Final Order by affirmatively agreeing to such treatment in a writing
signed by Buyer.




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                “GAAP” means United States generally accepted accounting principles as in
effect on the date hereof.

               “Governmental Authority” means any government, court (including the
Bankruptcy Court), regulatory or administrative agency, commission or authority or other
governmental instrumentality, whether federal, state or local, domestic, non-U.S. or
multinational, or any contractor acting on behalf of such agency, commission, authority or
governmental instrumentality.

                “Hazardous Materials” means any material, substance, chemical or waste (or
combination thereof) that (i) is listed, defined, designated, regulated or classified as hazardous,
toxic, radioactive, dangerous, a pollutant, a contaminant, petroleum, oil, or words of similar
meaning or effect under any Law related to pollution, waste, or the environment or (ii) can form
the basis of any Liability under any Law related to pollution, waste or the environment.

               “Intellectual Property” means all intellectual property and intellectual property
rights and rights in confidential information of every kind and description throughout the world,
including all U.S. and non-U.S (i) trade names, trademarks and service marks, business names,
corporate names, domain names, trade dress, logos, slogans, design rights, and other similar
designations of source or origin, together with the goodwill symbolized by any of the foregoing
(“Trademarks”), (ii) patents, patent applications, invention disclosures, and all related
continuations, continuations-in-part, divisionals, reissues, re-examinations, substitutions and
extensions thereof (“Patents”), (iii) copyrights and copyrightable subject matter (whether
registered or unregistered) (“Copyrights”), (iv) rights in computer programs (whether in source
code, object code or other form) and software systems, algorithms, databases, compilations and
data, technology supporting the foregoing, and all documentation, including user manuals and
training materials, related to any of the foregoing (“Software”), (v) confidential or proprietary
information, trade secrets and know-how, and all other inventions, proprietary processes,
formulae, models, and methodologies, (vi) rights of publicity, privacy rights, and rights to
personal information, (vii) all rights in the foregoing and in other similar intangible assets, (viii)
all applications and registrations for any of the foregoing and (ix) all rights and remedies
(including the right to sue for and recover damages) against past, present, and future
infringement, misappropriation, or other violation related to any of the foregoing.

               “IRS” means the Internal Revenue Service of the United States.

              “Law” means any laws (statutory, common or otherwise), constitutions, treaties,
conventions, ordinances, codes, rules, regulations, Orders or other similar requirements enacted,
adopted, promulgated or applied by a Governmental Authority.

                “Lease” means with respect to the Transferred Assets, a lease, sublease, sub-
sublease, license, or purchase option with respect to any Asset to which a Seller is a party as
lessee, sublessee, sub-sublessee, option holder or other similar capacity.

               “Leased Real Property” means each parcel of real property subject to a Lease.

              “Liability” means any assessment, Claim of any kind or nature, commitment,
damage, deficiency, demand, fine, interest, liability (including any indebtedness), obligation,

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penalty, loss, charges, damages, Orders, cost or expenses, in each case, whether accrued,
absolute, contingent or otherwise, known or unknown, or due or to become due, and whether or
not required to be recorded or reflected on a balance sheet under GAAP.

                “Material Adverse Effect” means with respect to the Transferred Assets, any
event, change, or occurrence or state of facts that, individually or in the aggregate, (i) has had, or
would reasonably be expected to have, a material adverse effect on the Transferred Assets, each
taken as a whole, or (ii) prevents, or materially impedes Sellers’ consummation of the
transactions contemplated hereby or by the Ancillary Agreements; provided that, in the case of
the foregoing clause (i), any event, change, circumstance, development, effect, occurrence or
state of facts arising from any of the following shall not be a Material Adverse Effect and shall
not be considered in determining whether a Material Adverse Effect has occurred or would
reasonably be expected to occur:

               (1)     general changes or developments in the industry in which the Business
operates;

               (2)     changes in general economic, financial market or geopolitical conditions;

               (3)     natural disasters, acts of terrorism, sabotages, military actions or wars;

               (4)     changes in any applicable Laws or GAAP or interpretations thereof;

              (5)    the announcement, pendency or consummation of the transactions
contemplated hereby;

             (6)       the filing of the Bankruptcy Cases and any actions approved by the
Bankruptcy Court;

              (7)    any action taken by Sellers which is required hereby (except for
compliance with Section 5.1); or

               (8)     changes with respect to the identification of the Transferred Assets.

               “Order” means any judgment, decree, injunction, rule, order, decision, decree,
ruling, settlement, mediation agreement, arbitration decision, corporate integrity agreement or
assessment of any arbitrator or Governmental Authority.

              “Permit” means any franchise, grant, authorization, business license, permit,
easement, variance, exception, consent, certificate, approval, registration, clearance, order or
provider number issued or granted by any Governmental Authority or pursuant to any applicable
Law.

                “Person” means an individual, corporation, partnership, limited liability company,
limited liability partnership, syndicate, person, trust, association, organization or other entity,
including any Governmental Authority, and including any successor, by merger or otherwise, of
any of the foregoing.


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                “Representatives” means, with respect to any Person, the officers, managers,
directors, principals, employees, agents, auditors, advisors, bankers and other representatives of
such Person.

                “Retained Causes of Action” means Actions that are Excluded Assets that arise
under the Bankruptcy Code, as provided in Section 2.2(e), or applicable state law, including but
not limited to the Chapter 5 Causes of Action and any Action(s) against third parties, including
but not limited to, the Debtors’ principals (including but not limited to Mathu Rajan), officers,
directors, stockholders, agents, employees, or affiliates and any Action(s) against any entity
owned or controlled by the Debtors’ principals, officers, directors, stockholders, agents,
employees, or affiliates. For the avoidance of doubt, Retained Causes of Action shall not include
any Actions, Claims or Causes of Actions that have been released or waived under the
Settlement Agreement.

               “Required Approvals” means any Consent, whether from any Governmental
Authority or Contract counterparty, that Buyer determines (and communicates in writing to
Sellers) is required in connection with the transactions contemplated hereby following the
Closing.

               “Sale Hearing” means the hearing conducted by the Bankruptcy Court to approve
the Sale Order and the transactions contemplated hereby.

               “Sale Motion” means a motion filed with the Bankruptcy Court seeking, among
other things, approval of the Bidding Procedures Order and the Sale Order, which shall be in
form and substance acceptable to Buyer in its sole discretion.

              “Sale Order” means an Order of the Bankruptcy Court substantially in the form of
Exhibit A, with such changes as may be required by the Bankruptcy Court that are in form and
substance acceptable to Buyer in its sole and absolute discretion.

              “Seller Benefit Plan” means each Employee Benefit Plan that is solely sponsored
or maintained by Stream.

                “Subsidiary” of any Person means any entity (a) of which 50% or more of the
outstanding share capital, voting securities or other voting equity interests are owned, directly or
indirectly, by such Person, (b) of which such Person is entitled to elect, directly or indirectly, at
least 50% of the board of directors or similar governing body of such entity or (c) if such entity
is a limited partnership or limited liability company, of which such Person or one of its
Subsidiaries is a general partner or managing member or has the power to direct the policies,
management or affairs.
                “Successful Bidder” shall have the meaning set forth in the Bid Procedures Order.

                “Tax Return” means any return, document, declaration, report, claim for refund,
statement, information statement or other information or filing related to Taxes, including any
schedule or attachment thereto or amendment thereof, that is filed with or supplied to, or
required to be filed with or supplied to, any Governmental Authority.



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                “Tax” or “Taxes” means (i) any and all U.S. federal, state and local, non-U.S. and
other taxes, charges, fees, duties, levies, tariffs, imposts, tolls, customs or other assessments,
including all net income, gross income, gross receipts, sales, use, ad valorem, transfer, franchise,
profits, branch profits, profit share, license, lease, service, service use, value added, withholding,
payroll, employment, pension plan, social security, fringe, fringe benefits, health, disability,
excise, estimated, severance, stamp, occupation, premium, property, capital stock, unclaimed
property, escheat, inventory, windfall profits, wealth, net wealth, net worth, export and import
fees and charges, registration fees, tonnage, vessel, deposits, alternative or add-on minimum or
estimated taxes, fees, assessments, customs, duties, levies, tariffs, imposts, tolls or charges
imposed by any Governmental Authority, together with any interest, penalties, inflationary
adjustments, additions to tax, fines or other additional amounts imposed with respect thereto, or
related thereto, wherever and whenever imposed, (ii) any and all liability for the payment of any
items described in clause (i) above arising from, through, with respect to or attributable to, a
place of business, permanent establishment or a branch, or as a result of being (or ceasing to be)
a member of a fiscal unity, affiliated, consolidated, combined, unitary or other similar group (or
being included) in any Tax Return related to such group, (iii) any and all liability for the payment
of any amounts as a result of any successor or transferee liability, in respect of any items
described in clause (i) or (ii) above and (iv) any and all liability for the payment of any items
described in clause (i) or (ii) above as a result of, or with respect to, any express or implied
obligation to indemnify any other Person pursuant to any tax sharing, tax indemnity or tax
allocation agreement or similar agreement or arrangement with respect to taxes.

               “Third Party” means any Person who is not a Party or an Affiliate thereof.

              Section 1.2    Other Definitions. As used herein, each capitalized term listed
below has the meaning identified in the Section set forth opposite such term below.

               1112/1104 Motion..................................................................Recitals
               225 Action ..............................................................................Recitals
               245A Election ........................................................................Section 6.5(a)(ii)
               245A Election Agreement......................................................Section 6.5(a)(ii)
               245A Subsidiary.....................................................................Section 6.5(a)(i)
               Acquired Subsidiaries ............................................................Section 2.1(c)
               Agreement ..............................................................................Preamble
               Allocation ...............................................................................Section 2.8
               Allocation Statement..............................................................Section 2.8
               Allowed Secured Claim .........................................................Recitals
               Assignment Agreement ..........................................................Section 2.7(b)(i)
               Bankruptcy and Equitable Exceptions ...................................Section 3.2
               Bankruptcy Cases...................................................................Recitals
               Bankruptcy Court ...................................................................Recitals
               Buyer ......................................................................................Preamble
               Carve-Out ...............................................................................Recitals
               Closing ...................................................................................Section 2.7(a)
               Closing Date...........................................................................Section 2.7(a)
               Collateral ................................................................................Recitals
               Consent ..................................................................................Section 3.3(b)

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           Credit Bid Amount.................................................................Recitals
           Debtors ...................................................................................Preamble
           Delaware Chancery Court ......................................................Recitals
           Disclosure Schedules .............................................................Article III
           Domain Transfer Agreement .................................................Section 2.7(b)(ii)
           End Date.................................................................................Section 8.1(c)(i)
           Excluded Assets .....................................................................Section 2.2
           Excluded Liabilities ...............................................................Section 2.4
           Filing ......................................................................................Section 3.3(b)
           General Claims.......................................................................Section 2.1(b)(i)
           Governed Claims ...................................................................Section 9.10
           Hawk ......................................................................................Recitals
           Hawk Claim ...........................................................................Recitals
           Hawk Stay Relief Motion ......................................................Recitals
           Inventory ................................................................................Section 2.1(a)(xiv)
           IP Assignment Agreement .....................................................Section 2.7(b)(ii)
           Legal Restraint .......................................................................Section 7.1(a)
           Milestones ..............................................................................Section 5.8(b)
           Non-Periodic Taxes ...............................................................Section 6.3
           Parties.....................................................................................Preamble
           Periodic Taxes ........................................................................Section 6.3
           Petition Date...........................................................................Recitals
           Purchase Price ........................................................................Section 2.6
           Rembrandt ..............................................................................Section 2.2(k)
           SeeCubic ................................................................................Preamble
           Seller Maintained Transferred Asset .....................................Section 2.5(a)
           Sellers.....................................................................................Preamble
           Settlement Agreement ............................................................Recitals
           Settlement Motion..................................................................Recitals
           Specified Consents .................................................................Section 3.3(b)(ii)
           Specified Filings ....................................................................Section 3.3(b)(ii)
           Straddle Period .......................................................................Section 6.3
           Stream ....................................................................................Preamble
           Technovative ..........................................................................Preamble
           Transfer Taxes .......................................................................Section 6.1
           Transferred Assets .................................................................Section 2.1
           Transferred Interests ..............................................................Section 2.1(c)
           Trustee....................................................................................Preamble
           Trustee Order .........................................................................Recitals
           U.S. Tax Resident ..................................................................Section 6.5(a)(i)




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                                        ARTICLE II
                                    PURCHASE AND SALE

                Section 2.1    Purchase and Sale of Transferred Assets. On the terms and subject
to the conditions hereof and, subject to approval of the Bankruptcy Court, pursuant to Sections
105, 363 and 365 of the Bankruptcy Code, at the Closing, each Seller, as applicable, shall sell,
assign, transfer, convey and deliver to Buyer (or any Designated Buyers), and Buyer (or any such
Designated Buyers) shall purchase and accept, all of such Sellers’ right, title and interest in, to or
under the Transferred Assets, other than the Excluded Assets, free and clear of any
Encumbrances, on an “as is, where is” basis, without any warranties of any kind, express or
implied, including as to merchantability or fitness for a particular purpose, as further set forth in
Section 3.6. Buyer acknowledges and accepts that neither the Sellers nor the Trustee have the
ability to deliver to Buyer, the bonding equipment presently located in a warehouse in China or
other Transferred Assets not in the Sellers’ or the Trustee’s possession or control. As used
herein, “Transferred Assets” means:

               (a)     all rights, properties and assets of Stream of every kind and description,
wherever located, real, personal, or mixed, tangible or intangible, to the extent owned, leased,
licensed, used, held for use or claimed by Stream, as the same shall exist on the Closing Date,
including the following (in each case, to the extent owned, leased, licensed, used or held for use
by Stream):

                       (i)    all accounts receivables (whether current or noncurrent), notes
receivables or other receivables, including any security, Action (exclusive of Retained Causes of
Action), General Claim, remedy or other right related thereto, including all accounts receivables
as to which any Subsidiary of Stream is an obligor or is otherwise responsible or liable and
which are owed or payable to Stream;

                       (ii)    all promissory notes, chattel paper, letter-of-credit rights and
related instruments;

                       (iii)   all investment property;

                       (iv)    all credits, prepaid expenses, security deposits, other deposits,
refunds, claims for refunds, prepaid assets or charges, rebates, setoffs and recoupments;

                        (v)    all Intellectual Property, with the exception of any Intellectual
Property included as an Excluded Asset identified in Section 2.2 hereof and listed in Section
2.2(k) of the Disclosure Schedules hereof, including Intellectual Property listed in
Section 2.1(a)(vi) of the Disclosure Schedules, and all rights of Stream including all rights to sue
for and recover and retain damages for present and past infringement thereof, and in the case of
any trademarks, all goodwill appurtenant thereto, and all other intangible property;

                      (vi)   all tangible assets and personal property, including all machinery,
equipment, apparatus, appliances, implements, computers and computer-related hardware, files,
documents, network and internet and information technology systems-related equipment,
including all servers and computers used to develop and maintain code in various operating
environments and all development environments and software currently residing on such

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computers, wherever located, including the items listed in Section 2.1(a)(i) of the Disclosure
Schedules;

                       (vii) all rights and interests of Stream under nondisclosure or
confidentiality invention and Intellectual Property assignment covenants executed for the benefit
of Stream with current or former employees, consultants or contractors of Stream, noncompete
or nonsolicitation agreements with employees and agents of Stream or with third parties;

                       (viii)   all Books and Records of Stream or related to the other Transferred
Assets;

                       (ix)   all insurance benefits, including any right, claim or proceeds, of
Stream or related to any other Transferred Asset, including all insurance proceeds, condemnation
awards or other compensation in respect of loss or damage to any of the Transferred Assets and
all rights and claims of Stream to any such insurance proceeds, condemnation awards or other
compensation related thereto;

                      (x)     all general intangibles, goodwill and other intangible assets
associated with the Business or the Transferred Assets;

                      (xi)   all Permits to the extent the transfer thereof to Buyer (or any
Designated Buyer) is not prohibited by applicable Law;

                      (xii) all inventory, raw materials, work-in-process, finished goods,
supplies, samples (including samples held by any sales representatives or agents), components,
packaging materials and other inventories (“Inventory”);

                       (xiii) all telephone, telex and telephonic facsimile numbers, email
address, post-office box number and other directory listings used by Stream; and

                      (xiv)     all rights, assets and properties listed in Section 2.1(a)(xvi) of the
Disclosure Schedules; and

              (b)     all rights, properties and assets of Stream in the following (in each case, to
the extent owned, leased, licensed, used or held for use by Stream):

                        (i)     all direct, indirect, or derivative Actions (other than the Retained
Causes of Action), rights, claims, rebates, refunds, causes of action, hearings, rights of recovery,
rights of setoff, rights of recoupment, rights of reimbursement, rights of indemnity or
contribution, defenses and other similar rights against any Person, including Buyer or any of its
Affiliates (whether known and unknown, matured and unmatured, accrued or contingent,
regardless of whether any of the foregoing are currently exercisable or arise from or relate to
events, changes, circumstances, developments, effects, occurrences or states of facts occurring or
existing as of or prior to the Petition Date), including all warranties, representations, guarantees,
indemnities and other contractual claims (express, implied or otherwise) (collectively, “General
Claims”), which shall include (1) any General Claims for past infringement or misappropriation
of Intellectual Property, (2) any General Claims arising under or related to the other Transferred


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Assets or the Business and (3) all accounts receivables, notes receivables or other receivables
owed to a Seller by Buyer or any of its Affiliates; and

                       (ii)   prior to the Appointment Date, any and all legal privileges owned
by Stream, any communications privileged under the attorney–client privilege, the attorney
work-product doctrine or any self-auditing privilege or policy of a Governmental Authority,
however, to the extent that any pre Appointment Date privileged communications or other
documents are required by the Trustee to defend the Trustee or the Sellers’ bankruptcy estates,
the Trustee shall be permitted to use such privileged communications for that purpose;

               (c)     all shares of capital stock, equity interests, or other ownership interests
(including any securities convertible into, exchangeable or exercisable for any such interests) in
any Person directly owned or otherwise held by Technovative, including all of the outstanding
equity, membership, partnership or other ownership interests in Technology Holdings Delaware
LLC, a Delaware limited liability company, Media Holdings Co, LLC, a Delaware limited
liability company and Ultra-D Ventures C.V., a Commanditaire Vennootschap under the laws of
Curacao (the “Acquired Subsidiaries” and such interests, the “Transferred Interests”);

provided, however, that (x) notwithstanding the foregoing, Transferred Assets shall not include
any Excluded Assets and (y) a single right, asset or property may be within more than one (1) of
Sections 2.1(a) - 2.1(d) and such fact does not imply that such right, asset or property shall be
transferred more than once or that any duplication of such right, asset or property is required.

                 Section 2.2   Excluded Assets. As used herein, “Excluded Assets” means the
following:

                 (a)    All cash and cash equivalents including but not limited to the Carve-Out;

               (b)    any right, property or asset set forth as an Excluded Asset in a written
notice delivered by Buyer to Sellers prior to the Closing Date;

              (c)    any shares of capital stock, equity interests or other ownership interests in
Technovative beneficially owned or otherwise held by Stream;

                 (d)    the $1 million bond posted by or on behalf of the Debtors in the 225
Action;

               (e)     all avoidance claims or causes of action available to Sellers under Chapter
5 of the Bankruptcy Code (including Sections 510, 544, 545, 547, 548, 549, 550 and 553) or any
similar actions under any other applicable Law and any claims against third parties including but
not limited to Debtors’ directors, officers, owners, members or shareholders, and any causes of
action against any entity owned or controlled by the Debtors’ directors, officers, owners,
members or shareholders relating to conduct prior to the Closing and any resulting proceeds from
such claims or causes of action;

                 (f)    copies of any Books and Records that any Seller is required by applicable
Law to retain;


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                (g)    except as set forth in Section 2.1(d)(ii) all Tax assets (including Tax
refunds, Tax rebates, Tax credits, prepaid Taxes, Tax attributes or other Tax benefits) of Sellers
related to the other Excluded Assets or the Excluded Liabilities;

              (h)    all Third Party General Claims to the extent related to any Excluded Asset
or any Excluded Liability;

                 (i)     all Contracts (including all Seller Benefit Plans and Leases) of Stream and
all assets, trusts and funding arrangements related thereto;

               (j)    any grant of rights or license by Rembrandt 3D Holding Ltd.
(“Rembrandt”) or affiliates to Stream, including but not limited to the Rembrandt Grant of
Rights in the Settlement Agreement and Mutual Release between Rembrandt and Stream dated
May 23, 2021, any amendment thereto, and the Licensing Covenant between Rembrandt,
Stream, and Visual Semiconductor, Inc. dated August 14, 2023, each to the extent valid, existing
and enforceable as determined by a final, non-appealable order from a court of competent
jurisdiction;

               (k)     any physical assets that contain or include Rembrandt Intellectual
Property, to the extent valid, existing and enforceable as determined by a final, non-appealable
order from a court of competent jurisdiction; and

               (l)     [the rights, assets and properties listed in Section 2.2(m) of the Disclosure
Schedules.]

                Section 2.3    Assumed Liabilities. Except as otherwise set forth herein, in
accordance with 363(f) of the Bankruptcy Code, at the Closing, notwithstanding any provision in
this Agreement, the Ancillary Agreements or any other writing to the contrary, Buyer (or any
Designated Buyer) shall not assume any Liability of Sellers (or any predecessor of Sellers, or any
prior owner of all or part of the Business or Transferred Assets) of whatever nature, whether
absolute, accrued, contingent or otherwise, and whether presently in existence or arising
hereafter, whether or not relating to the Transferred Assets. For the avoidance of doubt, Buyer
(or any Designated Buyer) shall not assume or agree to pay, perform or discharge the Excluded
Liabilities, however, the Buyer (or any Designated Buyer) assumes any liability to the extent that
there is any claim or cause of action alleging that any Intellectual Property of any third party,
including but not limited to the Rembrandt Intellectual Property, has been improperly transferred
or sold to the Buyer (or any Designated Buyer) as part of the Transferred Assets at Closing
through the sale pursuant to this Agreement.

                 Section 2.4    Excluded Liabilities. As used herein, “Excluded Liabilities” means
all Liabilities of each Seller, whether arising on, prior to or after the Closing Date, including the
following:

                 (a)    All Liabilities for Taxes solely related to or arising from or with respect to
(i) the Transferred Assets or the operation of the Business, in each case, that are incurred in, or
attributable to, any taxable period, or portion thereof (in accordance with Section 6.3), ending on
or prior to the Closing Date, including any such Taxes which are not due or assessed until after
the Closing Date but which relate to a pre-Closing Date taxable period, (ii) the transactions

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contemplated hereby, including any Transfer Taxes for which any Seller is responsible pursuant
to Section 6.1 or (iii) the Excluded Assets or Excluded Liabilities;

               (b)     all Liabilities of any Seller resulting from the failure to comply with any
applicable “bulk sales,” “bulk transfer” or similar Law;

              (c)    unless otherwise assumed under this Agreement, all Liabilities under any
Contract or Permit of Sellers, whether accruing prior to, at, or after the Closing Date, in each
case;

                (d)     except as otherwise set forth herein, all Liabilities under or relating to any
grant of rights or license by Rembrandt or Affiliates of Stream, including but not limited to the
Rembrandt Grant of Rights in the Settlement Agreement and Mutual Release between
Rembrandt and Stream dated May 23, 2021, and the Licensing Covenant between Rembrandt,
Stream, and Visual Semiconductor, Inc. dated August 14, 2023, each to the extent valid, existing
and enforceable;

                 (e)     all Liabilities arising from, resulting from or related to (i) the employment
or service or termination of employment or service of any current or former employees, officers,
directors or service providers of Sellers by Sellers or their respective Affiliates, whenever
arising, (ii) any Seller Benefit Plans, whenever arising (including pension or retirement Liability
of Sellers to their current or former employees) and (iii) any Controlled Group Liability,
whenever arising;

               (f)     all Liabilities of Sellers arising in the Bankruptcy Cases;

               (g)     all indebtedness of Sellers for borrowed money, or guarantees thereof,
including Liabilities with respect to notes, bonds, indentures, letters of credit or similar Contracts
or instruments of Sellers;

                (h)     all Liabilities to distribute to any Seller’s equity holders or otherwise
apply all or any part of the consideration received hereunder;

               (i)    all Liabilities in respect of obligations for indemnification or advancement
of expenses, of any current or former officer or director of any Seller;

                (j)    all Liabilities arising under any Environmental Law or any other Liability
in connection with any environmental, health, or safety matters, including any such Liability
arising from or related to (i) the ownership or operation of the Business or the Transferred Assets
on or before the Closing Date, (ii) any action or inaction of Sellers or any other Person related to
the Business or Transferred Assets, (iii) any formerly owned, leased or operated properties of
Sellers or (iv) any condition first occurring or arising on or before the Closing Date with respect
to the Business or the Transferred Assets;

                (k)    except as specifically provided in the Settlement Agreement, all Liabilities
for (i) costs and expenses incurred by Sellers or owed in connection with the administration of
the Bankruptcy Cases (including the U.S. Trustee fees, the fees and expenses of attorneys,
accountants, financial advisors, consultants and other professionals retained by Sellers, and any

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official or unofficial creditors’ or equity holders’ committee and the fees and expenses of the
post-petition lenders or the pre-petition lenders incurred or owed in connection with the
administration of the Bankruptcy Cases), (ii) costs and expenses of Sellers incurred in connection
with the negotiation, execution and consummation of the transactions contemplated hereby or by
the Ancillary Agreements and (iii) except as otherwise set forth in this Agreement, including in
Section 2.3, all costs and expenses arising from or related to any third-party claims against
Sellers, pending or threatened, including any warranty or product claims;

                 (l)    any Liabilities hereunder or under the Ancillary Agreements;

                 (m)    all drafts or checks outstanding at the Closing under which Sellers are
obligated; and

               (n)      except as otherwise set forth herein, and unless related to or caused by
Buyer, all Liabilities arising from or related to any Action, claim, investigation, cause of action
or dispute brought, commended, arising or threatened against any Seller or arising from or
related to the ownership or operation of the Transferred Assets or the Business prior to the
Closing.

                 Section 2.5   Seller Maintained Transferred Assets.

               (a)     To the maximum extent permitted by the Bankruptcy Code and subject to
the other provisions of this Section 2.5, Sellers shall sell, assign, transfer, convey and to the
extent possible, deliver to Buyer (or any Designated Buyers) all of the Transferred Assets and
Buyer (or any such Designated Buyers) shall assume and accept all of the Transferred Assets
from Sellers on and “as is, where is” basis, pursuant to Section 3.6, as of the Closing Date,
pursuant to Sections 363 and 365 of the Bankruptcy Code, free and clear of any Encumbrance.
Notwithstanding any other provision hereof or of any Ancillary Agreement to the contrary, this
Agreement shall not constitute an agreement to sell, assign, transfer, convey or deliver any right,
asset or property if such sale, assignment, transfer, conveyance or delivery would, after giving
effect to the Sale Order and the Bankruptcy Code, (i) without the Consent of a Third Party,
which Consent has not been obtained prior to the Closing, constitute a breach of any Contract to
which Seller is a party or to which such right, asset or property is bound or would in any way
adversely affect the rights of Buyer or Sellers with respect thereto or (ii) would violate any
applicable Law (any such right, asset or property, a “Seller Maintained Transferred Asset”).

                (b)    If the Closing is consummated and there are any Seller Maintained
Transferred Assets, (i) Sellers shall use their commercially reasonable efforts, and Buyer shall
use commercially reasonable efforts to cooperate with Sellers, to obtain any applicable Consent
or to remove any restriction under applicable Law, as applicable, to the sale, assignment,
transfer, conveyance or delivery to Buyer (or any Designated Buyers) of each such Seller
Maintained Transferred Asset, and (ii) subject to the approval of the Bankruptcy Court, Sellers
and Buyer (or any Designated Buyer) shall enter into a Contract under which (1) Buyer (or any
Designated Buyer) would obtain, through a subcontracting, sublicensing or subleasing
arrangement or otherwise, the claims, rights and benefits of Sellers under such Seller Maintained
Transferred Asset, (2) Sellers would enforce for the benefit of Buyer (or any Designated Buyer),
any and all claims, causes of action, rights and benefits of Sellers against any Person with respect

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to such Seller Maintained Transferred Asset and (3) Sellers shall promptly pay to Buyer (or any
Designated Buyer) when received all monies received by Sellers with respect to such Seller
Maintained Transferred Asset. If and when such Consent is obtained or such restriction under
applicable Law is removed, such Seller Maintained Transferred Asset shall be deemed sold,
assigned, transferred, conveyed and delivered to Buyer (or any Designated Buyer) in accordance
herewith. The Parties shall treat any Seller Maintained Transferred Asset as having been sold to
Buyer (or any Designated Buyer) as of the Closing for all applicable Tax purposes to the extent
permitted by applicable Law. Each of Sellers and Buyer agrees to notify the other parties
promptly in writing if it determines that such treatment (to the extent consistent with the relevant
arrangement agreed to by such Seller and Buyer pursuant to this Section 2.5(b)) is not permitted
for any Tax purposes under applicable Law. Where such treatment is not so permitted, and
subject to the terms of any relevant arrangement agreed to by Sellers and Buyer pursuant to this
Section 2.5(b) (and without duplication of any such Taxes economically borne by Buyer or any
of its Affiliates pursuant thereto), (i) Buyer (or any Designated Buyer) shall indemnify and hold
harmless the applicable Seller for any Taxes imposed on such Seller or any of its Affiliates with
respect to any such Seller Maintained Transferred Asset for any taxable period or portion thereof
(in accordance with Section 6.3) beginning after the Closing Date (determined on a “with and
without” basis) and (ii) Seller and its Affiliates shall promptly pay to Buyer (or any Designated
Buyer) any Tax refund or credit received with respect to any such Seller Maintained Transferred
Asset for any taxable period beginning after the Closing Date or portion thereof (in accordance
with Section 6.3) (determined on a “with and without” basis).

              Section 2.6     Consideration. The consideration for the sale and transfer of the
Transferred Assets from Sellers to Buyer (or any Designated Buyers), shall be the sum of (i) the
Credit Bid Amount, plus (ii) any Cure Costs (the “Purchase Price”).

                    Section 2.7       Closing.

               (a)      Buyer and Sellers shall consummate the transactions contemplated
hereunder (the “Closing”) electronically (including by email) by the exchange of required
closing deliveries at 9:00 a.m. on the third (3rd) Business Day after the entry of the Sale Order or
on such other date, and time and at such other place as Buyer and Sellers may mutually agree in
writing. As used herein, the “Closing Date” means the date on which the Closing occurs.

              (b)    At or prior to the Closing, Sellers shall deliver or cause to be delivered to
Buyer (and any Designated Buyers): 1

                       (i)    a bill of sale, assignment and assumption agreement, substantially
in the form of Exhibit C (the “Assignment Agreement”), duly executed by Sellers or the Trustee
on behalf of the Debtors;

                     (ii)    (1) an Intellectual Property assignment agreement, substantially in
the form of Exhibit D (the “IP Assignment Agreement”), and (B) a domain transfer agreement


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substantially in the form of Exhibit E (the “Domain Transfer Agreement”), in each case duly
executed by the applicable Sellers;

                         (iii)    a certified copy of the Sale Order;

                         (iv)     a valid IRS Form W-9 duly executed by each Debtor;

                        (v)     a duly executed certificate of the Trustee certifying the satisfaction
of the conditions set forth in Section 7.3(a), Section 7.3(b) and Section 7.3(d);

                      (vi)    the Transferred Assets by making the Transferred Assets available
to Buyer (or any Designated Buyers) at their present location, except for any demonstration units
which shall be delivered as directed in writing by Buyer;

                         (vii)    assignments of the Transferred Interests; and

                     (viii) all other documents, instruments or writings of conveyance as
Buyer may reasonably request to consummate the transactions contemplated hereby and by the
Ancillary Agreements.

                 (c)     At or prior to the Closing, Buyer shall deliver or cause to be delivered to
Sellers:

                      (i)    payment of the remaining balance of the Carve-Out to Trustee
pursuant to and in accordance with Section 4I(i) of the Settlement Agreement;

                         (ii)     the Assignment Agreement, duly executed by Buyer (or any
Designated Buyers);

                     (iii)   the IP Assignment Agreement and the Domain Transfer
Agreement, in each case duly executed by Buyer (or any Designated Buyers); and

                        (iv)    a duly executed certificate of an executive officer of Buyer
certifying the satisfaction of the conditions set forth in Section 7.2(a).

               Section 2.8    Tax Allocation. The Purchase Price (plus any other amounts to the
extent properly taken into account as consideration under the Code) shall be allocated among the
[applicable Transferred Assets]2 in accordance with Section 1060 of the Code and the Treasury
Regulations promulgated thereunder (any such allocation, an “Allocation”). Buyer shall prepare
and deliver to the Debtors a statement (the “Allocation Statement”) setting forth the Allocation
as promptly as reasonably practicable following the Closing Date. The Trustee shall have thirty
(30) days following their receipt of the Allocation Statement to review and provide comments to
Buyer and Buyer agrees to consider in good faith any reasonable comments provided by the
Trustee. Buyer shall not be obligated to incorporate the Trustee‘s comments and revise the
Allocation Statement unless Buyer, in its reasonable discretion, determines that such

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incorporation is necessary or appropriate. If the Trustee does not provide any comments within
such period, Sellers shall be deemed to have accepted the Allocation Statement as prepared by
Buyer. The Allocation shall be adjusted, as necessary, by Buyer to reflect any subsequent
adjustments to the portion of the Purchase Price and any other consideration payable to any
Seller pursuant to this Agreement, to the extent properly taken into account under the Code.
Buyer and each Seller agrees to (a) timely file in a manner consistent with the Allocation with
each relevant Governmental Authority all forms and Tax Returns required to be filed in
connection with the applicable Allocation (including the filing of IRS Form 8594 with a U.S.
federal income Tax Return for the taxable year that includes the date of the Closing), (b) be
bound by the applicable Allocation for the purpose of determining Taxes, (c) prepare and file all
Tax Returns on a basis consistent with the applicable Allocation, and (d) not take any position
inconsistent with the applicable Allocation in any Tax Return, in any audit or proceeding related
to Taxes before any Governmental Authority or in any report made for Tax purposes; provided,
however, that notwithstanding anything in this Section 2.8 to the contrary, (a) the Sellers and the
Buyer (and any Designated Buyers) shall be permitted to take a position inconsistent with the
applicable Allocation if required to do so by a “determination” within the meaning of Section
1313 of the Code and (b) the Buyer (and any Designated Buyers) or the Sellers shall be
permitted to settle, solely on its own behalf, any proposed Tax deficiency or adjustment by any
Governmental Authority based upon or arising out of the Allocation.

                                  ARTICLE III
                        REPRESENTATIONS AND WARRANTIES
                                OF THE SELLERS

        [Except as disclosed in Schedule A (collectively, the “Disclosure Schedules”), in each
case, subject to Section 9.7(k),] Sellers represent and warrant to Buyer as follows:

              Section 3.1   Organization. Each Seller is duly organized, validly existing and in
good standing under the Laws of the jurisdiction of its organization or formation.

                Section 3.2   Authority. Trustee on behalf of itself and each Seller has all
necessary entity power and authority (a) to execute and deliver this Agreement and each
Ancillary Agreement to which it is or shall be a party and (b) subject to the Bankruptcy Court’s
entry of the Bid Procedures Order and the Sale Order, to perform and comply with its covenants
and agreements hereunder and thereunder and to consummate the transactions contemplated
hereby and thereby. Each Seller’s execution and delivery hereof and of each Ancillary
Agreement to which it is or shall be a party, such Seller’s performance and compliance with its
covenants and agreements hereunder and thereunder and the consummation of the transactions
contemplated hereby and thereby have been duly authorized by all necessary action on such
Seller’s part, and no other proceedings on such Seller’s part are necessary to authorize this
Agreement or any Ancillary Agreement to which it is or shall be a party, such Seller’s
performance of or compliance with its covenants and agreements hereunder or thereunder or the
consummation of the transactions contemplated hereby or thereby. Subject to the Bankruptcy
Court’s entry of the Bid Procedures Order and the Sale Order, each Seller has duly executed and
delivered this Agreement and each Ancillary Agreement to which it is or shall be a party and,
assuming Buyer’s due authorization, execution and delivery hereof and thereof, as applicable,
this Agreement and each Ancillary Agreement to which it is or shall be a party is such Seller’s

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legal, valid and binding obligation, enforceable against it in accordance with the terms hereof or
thereof, except as limited by bankruptcy, insolvency, reorganization, moratorium or similar Laws
affecting the enforcement of creditors’ rights generally, by general equitable principles
(regardless of whether enforcement is sought in a proceeding of law or in equity) or by the
discretion of any Governmental Authority before which any Action seeking enforcement may be
brought (the “Bankruptcy and Equitable Exceptions”).

                 Section 3.3      No Conflict; Filings and Consents.

                (a)     Each Seller’s execution and delivery hereof and of each Ancillary
Agreement to which it is or shall be a party does not, such Seller’s performance of and
compliance with its covenants and agreements hereunder and thereunder shall not, and the
consummation of the transactions contemplated hereby and thereby shall not, require such Seller
to make any registration, declaration, notice, report, submission or other filing (each, a “Filing”)
with or to, or to obtain any consent, approval, waiver, license, permit, franchise, authorization or
Order (“Consent”) of, any Governmental Authority, except for the following:

                         (i)      any Filings with or to or Consents of the Bankruptcy Court;

                      (ii)   [the Filings and Consents listed in Section 3.3(b)(ii) of the
Disclosure Schedules (respectively, the “Specified Filings” and the “Specified Consents”); and] 3

                      (iii)    any Filings or Consents the failure of which to make or obtain
would not, individually or in the aggregate, result in a Material Adverse Effect.

                 Section 3.4      Transferred Assets.

                (a)    Each Debtor, as applicable, unless stated otherwise, has good, valid,
marketable and indefeasible title to the Transferred Assets and owns and possesses all interests
in, including the right to use, each of the Transferred Assets (or, with respect to licensed
Transferred Assets a valid license to use), in each case, the transfer shall be free and clear of any
and all Encumbrances, on an “as is, where is” basis, without any warranty of any kind, express or
implied, including as to merchantability or fitness for a particular purpose, as further set forth in
Section 3.6. Buyers acknowledge that certain Intellectual Property may be subject to superior
rights of Rembrandt as Licensor, and that Sellers cannot transfer any interest in the Transferred
Assets that is not owned by the Sellers.

               (b)     Subject to the Sale Order, at the Closing, (i) Sellers, as applicable, shall
transfer to Buyer (or any Designated Buyers) all of their respective right, title and interest in, to
and under the Transferred Assets and (ii) and Buyer (or any such Designated Buyers) shall
acquire good, valid, marketable and indefeasible title to the Transferred Assets, in each case, free
and clear of any Encumbrance.



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               Section 3.5    Brokers. Except as set forth in Section 3.5 of the Disclosure
Schedules, no other broker, finder or investment banker is entitled to any brokerage, finder’s or
other fee or commission in connection with the transactions contemplated hereby based upon
arrangements made by or on behalf of Sellers. SSG Capital Advisors, LLC, as the Trustee’s
Investment Banker, is entitled to a commission for the conduct of the Sale as provided in its
engagement with the Trustee.

           Section 3.6   Exclusivity of Representations and Warranties. SELLERS ARE
CONVEYING THE TRANSFERRED ASSETS AS IS, WHERE IS, AND WITH ALL
FAULTS, AND, EXCEPT AS EXPRESSLY SET FORTH IN THIS ARTICLE III, NONE OF
SELLERS OR ANY OF THEIR AFFILIATES OR REPRESENTATIVES IS MAKING ANY
REPRESENTATION OR WARRANTY OF ANY KIND OR NATURE WHATSOEVER,
ORAL OR WRITTEN, EXPRESS OR IMPLIED (ALL OF WHICH SELLER HEREBY
DISCLAIMS)    AS      TO    FITNESS      FOR     ANY      PARTICULAR       PURPOSE,
MERCHANTABILITY, DESIGN, QUALITY, LAYOUT, PHYSICAL CONDITION,
OPERATION, COMPLIANCE WITH SPECIFICATIONS, ABSENCE OF LATENT
DEFECTS, OR COMPLIANCE WITH LAWS AND REGULATIONS (INCLUDING,
WITHOUT LIMITATION, THOSE RELATING TO HEALTH, SAFETY AND THE
ENVIRONMENT), OR ANY OTHER MATTER AFFECTING OR RELATING TO THE
CONDITION OF THE ASSETS. BUYER HEREBY FURTHER ACKNOWLEDGES AND
AGREES THAT, EXCEPT AS SPECIFICALLY SET FORTH HEREIN, BUYER IS RELYING
SOLELY UPON THE INSPECTION, EXAMINATION, AND EVALUATION OF THE
TRANSFERRED ASSETS BY BUYER AND BUYER WILL HAVE NO RIGHT TO BE
INDEMNIFIED BY OR OTHERWISE BRING ANY ACTION AGAINST SELLERS WITH
RESPECT TO ANY MATTER AFFECTING OR RELATING TO THE CONDITION OF THE
TRANSFERRED ASSETS, OR ANY PORTION THEREOF. THE PROVISIONS OF THIS
SECTION 3.6 SHALL SURVIVE CLOSING AND THE TERMINATION OF THIS
AGREEMENT.

                               ARTICLE IV
                 REPRESENTATIONS AND WARRANTIES OF BUYER

       Buyer represents and warrants to Sellers as follows:

               Section 4.1    Organization. Buyer is duly organized, validly existing and in good
standing under the Laws of the jurisdiction of its organization or formation and has all necessary
entity power and authority to own, lease and operate its properties and assets and to carry on its
businesses as currently conducted.

                Section 4.2   Authority. Buyer has all necessary entity power and authority and
financial ability (a) to execute and deliver this Agreement and each Ancillary Agreement to
which it is or shall be a party and (b) subject to the Bankruptcy Court’s entry of the Bid
Procedures Order and the Sale Order, to perform and comply with its covenants and agreements
hereunder and thereunder and to consummate the transactions contemplated hereby and thereby.
Buyer’s execution and delivery hereof and of each Ancillary Agreement to which it is or shall be
a party, Buyer’s performance and compliance with its covenants and agreements hereunder and
thereunder and the consummation of the transactions contemplated hereby and thereby have been

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duly authorized by all necessary action on Buyer’s part, and no other proceedings on Buyer’s
part are necessary to authorize this Agreement or any Ancillary Agreement to which it is or shall
be a party, Buyer’s performance of or compliance with its covenants and agreements hereunder
or thereunder or the consummation of the transactions contemplated hereby or thereby. Subject
to the Bankruptcy Court’s entry of the Bid Procedures Order and the Sale Order, Buyer has duly
executed and delivered this Agreement and each Ancillary Agreement to which it is or shall be a
party and, assuming Buyer’s due authorization, execution and delivery hereof and thereof, as
applicable, this Agreement and each Ancillary Agreement to which it is or shall be a party is
Buyer’s legal, valid and binding obligation, enforceable against it in accordance with the terms
hereof or thereof, except as limited by the Bankruptcy and Equitable Exceptions.

               Section 4.3     No Conflict; Filings and Consents.

                (a)    Buyer’s execution and delivery hereof and of each Ancillary Agreement to
which it is or shall be a party does not, Buyer’s performance of and compliance with its
covenants and agreements hereunder and thereunder shall not, and the consummation of the
transactions contemplated hereby and thereby shall not, (i) violate the constituent documents of
Buyer, (ii) subject to making the Filings and obtaining the Consents contemplated by
Section 4.3(b), violate any Law or (iii) breach, result in the loss of any benefit under, be a default
(or an event that, with or without notice or lapse of time, or both, would be a default) under,
result in the termination, cancelation or amendment of or a right of termination, cancelation or
amendment under, accelerate the performance required by, or result in the creation of any
Encumbrance on any of the respective properties or assets of Buyer under, any Contract to which
Buyer is a party or by which any asset of Buyer is bound or affected, except, in the case of the
foregoing clauses (ii) and (iii), as would not, individually or in the aggregate, result in a Buyer
Material Adverse Effect.

                (b)    Buyer’s execution and delivery hereof and of each Ancillary Agreement to
which it is or shall be a party does not, Buyer’s performance of and compliance with its
covenants and agreements hereunder and thereunder shall not, and the consummation of the
transactions contemplated hereby and thereby shall not, require Buyer make any Filing with or
to, or to obtain any Consent of, any Governmental Authority, except for the following:

                       (i)     any Filings with or to or Consents of the Bankruptcy Court;

                      (ii)     [the Specified Filings and the Required Approvals (including the
Specified Consents); and]

                      (iii)    any Filings or Consents the failure of which to make or obtain
would not, individually or in the aggregate, result in a Buyer Material Adverse Effect.

               Section 4.4      Third Party Intellectual Property Rights.

              (a)     Buyer has reviewed all of the Sellers’ Intellectual Property and has
confirmed, and hereby represents, that neither the Intellectual Property nor any of the
Transferred Assets contain any Intellectual Property rights or other rights of a third party.



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                (b)     Pursuant to Section 3.6 hereof, Buyer is relying solely upon Buyer’s own
inspection, examination, and evaluation of the Transferred Assets, including but not limited to
the Intellectual Property. Buyer acknowledges and agrees that Buyer will have no right to be
indemnified by or otherwise bring any action against Sellers with respect to any matter affecting
or relating to third party Intellectual Property rights or other third party rights in the Transferred
Assets.

               (c)     The provisions of this Section 4.4 shall survive closing and the termination
of this agreement.

                Section 4.5    Brokers. SSG Capital Advisors, LLC as investment banker is
entitled to any brokerage, finder’s or other fee or commission in connection with the transactions
contemplated hereby based upon arrangements made by or on behalf of Buyer. No other broker,
finder or investment banker is entitled to any brokerage, finder’s or other fee or commission in
connection with the transactions contemplated hereby based upon arrangements made by or on
behalf of Buyer.

                Section 4.6    Exclusivity of Representations and Warranties. Neither Buyer nor
any of its Affiliates or Representatives is making any representation or warranty of any kind or
nature whatsoever, oral or written, express or implied, except as expressly set forth in this
Article IV, and Buyer hereby disclaims any such other representations or warranties.

                                           ARTICLE V
                                          COVENANTS

               Section 5.1     Conduct of Business Prior to the Closing.

                (a)    Except (x) as otherwise expressly required hereby, (y) as required by
applicable Law (including an Order of the Bankruptcy Court) or (z) with the prior written
consent of Buyer (which consent shall not be unreasonably withheld, conditioned or delayed),
prior to the Closing, Sellers shall not:

                       (i)    fail to maintain, or allow to lapse, or abandon any Intellectual
Property owned by or registered to, licensed to or held for use by a Seller or enter into or become
bound by, terminate or materially amend or modify any Contract relating to the acquisition or
disposition or granting of any license with respect to any such Intellectual Property, or otherwise
subject to an Encumbrance any such Intellectual Property (including by the granting of any
covenant-not-to-sue or covenant-not-to-assert);

                      (ii)    (1) enter into any Contract or (2) modify, amend, extend or
terminate any Contract which is identified as a Transferred Asset in Section 2.2 of the Disclosure
Schedules, or waive, release or assign any rights or claims thereunder;

                     (iii)    (1) enter into agreements or arrangements providing for capital
expenditure or expenditures or otherwise commit to do so, or (2) fail to make any capital
expenditure or expenditures in accordance with such capital budget;



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                       (iv)    commence, waive, release, assign, compromise or settle any
Action (other than the Retained Causes of Action) (for the avoidance of doubt, including with
respect to matters in which a Seller is a plaintiff, or in which any of their officers or directors in
their capacities as such are parties) affecting the Business or the Transferred Assets that is not a
Retained Cause of Action;

                      (v)    cancel or fail to use commercially reasonable efforts to maintain
any of insurance policy covering the Transferred Assets, if any, any right, asset or property that
would be a Transferred Asset if existing on the Closing Date;

                      (vi)   pursue or seek, or fail to use commercially reasonable efforts to
oppose any Person in pursuing or seeking, a conversion of the Bankruptcy Cases to cases under
Chapter 7 of the Bankruptcy Code, the appointment of a trustee under Chapter 11 (other than the
Trustee) or Chapter 7 of the Bankruptcy Code or the appointment of an examiner with enlarged
powers;

                      (vii) take or cause to be taken any action that would reasonably be
expected to materially delay, materially impede or prevent the consummation of the transactions
contemplated hereunder;

                       (viii) (1) reject or terminate any Contract or seek Bankruptcy Court
approval to do so or (2) fail to use commercially reasonable efforts to oppose any action by a
third party to terminate (including any action by a third party to obtain Bankruptcy Court
approval to terminate) any such Contract;

                       (ix)    with respect to any Transferred Asset, (1) agree to allow any form
of relief from the automatic stay in the Bankruptcy Cases or (2) fail to use reasonable best efforts
to oppose any action by a third party to obtain relief from the automatic stay in the Bankruptcy
Cases;

                        (x)     settle, pursue, monetize, relinquish, or otherwise dispose of or seek
to dispose of the Affiliate Claims other than in accordance with the terms hereof; or

                       (xi)    agree or authorize, in writing or otherwise, to take any of the
foregoing actions.

                Section 5.2     Access to Information. Upon reasonable notice, each Seller shall
provide Buyer and its Representatives reasonable access, during normal business hours
throughout the period prior to the Closing, to such Seller’s properties, books, records, Tax
Returns (and all Tax Books and Records, including note papers and work papers, related
thereto), personnel and Representatives, and during such period, such Seller shall cause to be
furnished promptly to Buyer and its Representatives all readily available information concerning
the Business as Buyer may reasonably request; provided, however, that such access and
disclosure shall not be required to the extent it would violate any applicable Law or would
jeopardize any attorney client privilege or the attorney work product doctrine; provided, further,
that, if any such access or disclosure is limited for the reasons described in the foregoing proviso,
such Seller shall use commercially reasonable efforts to find a way to allow such access and
disclosure to the extent doing so would not be (in the good faith belief of Sellers after

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consultation with outside counsel) reasonably be likely to cause a violation of applicable Law or
such privilege to be jeopardized with respect to such information.

                Section 5.3    Notification of Certain Matters. Each Party shall promptly notify
the other Parties in writing of any event, change, circumstance, development, effect, occurrence
or state of facts of which it becomes aware that would or is reasonably likely to result in any of
the conditions set forth in Article VII becoming incapable of being satisfied prior to the End
Date.

                    Section 5.4         Consents and Filings; Further Assurances. 4

                (a)    Each Party shall use commercially reasonable efforts to take, or cause to
be taken, all appropriate action to do, or cause to be done, all things necessary, proper or
advisable under applicable Law to consummate and make effective the transactions
contemplated hereby and by the Ancillary Agreements and to confirm Buyer’s (or any
Designated Buyer’s) ownership of the Transferred Assets as promptly as reasonably practicable,
including using commercially reasonable efforts to obtain all Consents of Governmental
Authorities or other Third Parties necessary, proper or advisable in connection therewith.
Without limiting the generality of the foregoing, the Parties shall use commercially reasonable
efforts to (i) obtain from Governmental Authorities all Consents that are necessary for the
consummation of the transactions contemplated hereby and by the Ancillary Agreements and
Buyer’s (or any Designated Buyer’s) operation of the Business and the Transferred Assets, (ii)
promptly make all necessary Filings with or to Governmental Authorities that are related hereto
or to the Ancillary Agreements or the transactions contemplated hereby or thereby, (iii) comply
at the earliest reasonably practicable date with any request by a Governmental Authority for
additional information, documents or other materials received by each of them or any of their
Affiliates, (iv) reasonably cooperate with each other in connection with any such Filing or
request (including, to the extent permitted by applicable Law, providing copies of all such
documents to the non-filing parties prior to filing and considering all reasonable additions,
deletions or changes suggested in connection therewith). This Section 5.4(a) does not apply with
respect to Taxes.

                (b)     Each Party shall promptly notify the other Parties of any communication it
or any of its Affiliates receives from any Governmental Authority related to the matters that are
the subject hereof and permit the other Parties to review in advance any proposed
communication by such Party to any Governmental Authority. No Party shall agree to participate
in any meeting with any Governmental Authority in respect of any filings, investigation or other
inquiry unless it consults with the other Parties in advance and, to the extent permitted by such
Governmental Authority, gives the other Parties the opportunity to attend and participate at such
meeting. Subject to applicable Law, the Parties shall provide each other with copies of all
correspondence, filings or communications between them or any of their Representatives, on the
one hand, and any Governmental Authority or members of its staff, on the other hand, with
respect to this Agreement and the transactions contemplated hereby. This Section 5.4(b) does not
apply with respect to Taxes, however, notwithstanding the foregoing, to the extent the Buyer
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receives communication from any Governmental Authority related to Taxes attributable to or
associated with a pre-Closing Date taxable period, or to the extent the Sellers receive
communication from any Governmental Authority related to Taxes attributable to or associated
with a post-Closing Date taxable period, either Party shall timely share such correspondence with
the other Party.

               (c)     From time to time after the Closing, Sellers and Buyer shall execute,
acknowledge and deliver all such further conveyances, notices, assumptions and releases and
such other instruments, and shall take such further actions, as may be necessary or appropriate to
vest in Buyer (or any Designated Buyers) all the right, title and interest in, to or under the
Transferred Assets, to provide Buyer (or any Designated Buyers) and Sellers all rights and
obligations to which they are entitled.

               Section 5.5     Refunds and Remittances.

               (a)     After the Closing, if Sellers or any of their Affiliates receive any refund or
other amount that is a Transferred Asset or is otherwise properly due and owing to Buyer (or any
Designated Buyers) in accordance with the terms hereof, Sellers promptly shall remit, or shall
cause to be remitted, such amount to Buyer (or any Designated Buyers).

               (b)      In the event that, after the Closing Date, either Party reasonably believes
Sellers or any of their Affiliates have retained ownership of an asset intended to be conveyed to
Buyer (or any Designated Buyers) as a Transferred Asset as contemplated hereby, for no
additional consideration to Sellers or any of their Affiliates, Sellers shall convey, assign or
transfer promptly such Transferred Asset to Buyer (or any Designated Buyers), and the Parties
hereto shall execute all other documents and instruments, and take all other lawful actions
reasonably requested, in order to assign and transfer such Transferred Asset to Buyer (or any
Designated Buyers).

                Section 5.6     No Successor Liability. The Parties intend that, to the fullest extent
permitted by Law (including under Section 363 of the Bankruptcy Code), upon the Closing,
Buyer (or any Designated Buyers) shall not be deemed to: (i) be the successor of any Seller,
(ii) have, de facto, or otherwise, merged with or into any Seller, (iii) be a mere continuation or
substantial continuation of any Seller or its enterprise(s) or (iv) be liable for any acts or
omissions of any Seller in the conduct of the Business or arising under or related to the
Transferred Assets other than as set forth in this Agreement. Without limiting the generality of
the foregoing, and except as otherwise provided in this Agreement, the Parties intend that Buyer
(or any Designated Buyers) shall not be liable for any Encumbrance against any Seller or any of
any Seller’s predecessors or Affiliates, and Buyer (or any Designated Buyers) shall have no
successor or vicarious liability of any kind or character whether known or unknown as of the
Closing Date, whether now existing or hereafter arising, or whether fixed or contingent, with
respect to the Business, the Transferred Assets or any Liabilities of Sellers arising prior to the
Closing Date. The Parties agree that the provisions substantially in the form of
this Section 5.6 shall be reflected in the Sale Order.

             Section 5.7   Sale Free and Clear. Sellers acknowledge and agree, and the Sale
Order shall be drafted to provide, without limitation, that, (a) on the Closing Date and

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concurrently with the Closing, all then existing or thereafter arising Encumbrances against or
created by Sellers,, or the bankruptcy estates, to the fullest extent permitted by Section 363 of the
Bankruptcy Code, shall be fully released from and with respect to the Transferred Assets, and (b)
Buyer (or any Designated Buyer) is not successor to any Seller or the bankruptcy estates by
reason of any theory of law or equity, and Buyer (or any Designated Buyer) shall not assume or
in any way be responsible for any Liability or Claim of Sellers, any of their Affiliates and/or the
bankruptcy estates, except as expressly provided in this Agreement. On the Closing Date, the
Transferred Assets shall be transferred to Buyer (or any Designated Buyers) free and clear of all
Encumbrances to the fullest extent permitted by Section 363 of the Bankruptcy Code.

               Section 5.8     Bankruptcy Court Milestones; Alternative Transactions.

               (a)     Sellers shall consult with Buyer and Hawk regarding the Bankruptcy
Cases, including regarding the Sale Motion, the Bid Procedures Hearing, the Bid Procedures
Order, the Sale Hearing, the Sale Order, and any other Filings with or to the Bankruptcy Court,
any hearing before the Bankruptcy Court and any Order of the Bankruptcy Court related to the
transactions contemplated hereby or by the Ancillary Agreements and the Bankruptcy Cases in
connection therewith, and Sellers shall provide Buyer and Hawk with copies of any material
Filings to be filed by Sellers in the Bankruptcy Cases that are related to in any way to this
Agreement, the Ancillary Agreements or any transaction contemplated hereby or thereby at least
three (3) Business Days prior to the making of any such Filing. Sellers shall provide Buyer and
Hawk with prompt notice of (i) the filing of any objection to (or any threat or notice of intention
of any Person to file any objection to) this Agreement, the Ancillary Agreements, any transaction
contemplated hereby or thereby, the Bid Procedures or Buyer or (ii) the commencement of (or
any threat or notice of intention of any Person to commence), any Action that relates in any way
to this Agreement, the Ancillary Agreements, any transaction contemplated hereby or thereby,
the Bid Procedures or Buyer.

                (b)    The Parties agree that the following are the milestones (the “Milestones”)
to be satisfied in connection with the Bankruptcy Cases, and Sellers shall use reasonable efforts
to cause the Milestones to be satisfied:

                      (i)    not later than November 13, 2024, the Bankruptcy Court shall have
held the Bid Procedures Hearing and entered the Bid Procedures Order;

                      (ii)    the deadline for submission of Qualified Bids (as defined in the
Bid Procedures) shall be no later than November 15, 2024;

                       (iii)  if any other Qualified Bid (as defined in the Bid Procedures) is
submitted prior to the bid deadline set forth in the Bid Procedures, Sellers shall have commenced
the Auction on or before November 18, 2024; and

                      (iv)     not later than December 7, 2024, the Bankruptcy Court shall have
entered the Sale Order.

               (c)    Sellers shall promptly (and in no event later than twenty-four (24) hours
after receipt) advise Buyer in writing if either Seller or any of such Seller’s Affiliates or
Representatives receives any inquiry, request for nonpublic information, discussion or

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negotiation that is reasonably expected to lead to or that contemplates or relates to, or any
proposal that is for, an Alternative Transaction, in each case, together with a written summary of
the material terms and conditions thereof, the identity of the Person making any such inquiry,
request for nonpublic information, discussion, negotiation or proposal and any draft agreement
provided by such Person. Buyer as Secured Creditor shall have only consultation rights, and shall
have no ability to object to or impede any Alternate Transaction, but retains the right to assert its
Allowed Secured Claim and negotiate with the sponsor of the Alternate Transaction for the
treatment of its Allowed Secured Claim.

               (d)     In the event an appeal is taken or a stay pending appeal is requested, from
the Sale Order, Sellers shall immediately notify Buyer of such appeal or stay request and shall
provide to Buyer promptly a copy of the related notice of appeal or order of stay. Sellers shall
also provide Buyer with written notice of any motion or application filed in connection with any
appeal from such orders. Sellers agree to take all action as may be reasonable and appropriate to
defend against such appeal or stay request and Sellers and Buyer agree to use their commercially
reasonable efforts to obtain an expedited resolution of such appeal or stay request; provided that
nothing herein shall preclude the Parties from consummating the transactions contemplated
hereby if the Sale Order shall have been entered and has not been stayed and Buyer, in its sole
and absolute discretion, waives in writing the condition that the Sale Order be a Final Order.

                 (e)      After the Bankruptcy Court’s entry of the Sale Order, neither Buyer nor
Sellers shall take any action which is intended to or fail to take any action the intent of which
failure to act is to, result in the reversal, voiding, modification or staying of the Sale Order.

               (f)    None of Sellers or Buyer shall file any pleading or take any other action in
the Bankruptcy Court with respect hereto or the Ancillary Agreements or the consummation of
the transactions contemplated hereby or thereby that is inconsistent with performing and carrying
out the provisions hereof or thereof in accordance with the terms and subject to the conditions
herein and therein; provided, however, that the foregoing shall not limit Buyer’s rights and
remedies hereunder or Buyer’s right to advocate for the approval hereof and against any
Alternative Transaction.

                Section 5.9    Intellectual Property Registrations. After the Closing Date, Sellers
shall use commercially reasonable efforts to effect the necessary change of ownership and
recordals with all patent, trademark, and copyright offices and domain name registrars and other
similar authorities (a) where Intellectual Property of Stream is still recorded in the name of legal
predecessors of Stream or any Person other than Stream or (b) where the relevant recordals of the
patent, copyright, and trademark offices, and domain name registrars, and other similar
authorities, with respect to Stream Intellectual Property, are materially incorrect for any other
reason.

               Section 5.10 Name Change. Sellers shall, as promptly as practicable (but in no
event later than twenty (20) Business Days) after the Closing, cease using and displaying their
existing corporate names or any trademarks that are included in the Transferred Assets
(including, for the avoidance of doubt, any trademarks held by Subsidiaries of Sellers), and in
furtherance of such requirement, Debtors shall use commercially reasonable efforts to, no later
than twenty (20) Business Days after the Closing, legally change their corporate and business

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names to names that are not confusingly similar to such trademarks or existing names of the
Debtors, and file notices of such name changes with the Bankruptcy Court. Subject to the
approval of the Bankruptcy Court to change such Debtor’s name for purposes of the Bankruptcy
Cases (which approval the Sellers shall seek and use commercially reasonable efforts to obtain
promptly following the Closing), under no circumstance shall Sellers, after the Closing, use or
otherwise exploit the trademarks included in the Transferred Asset or any other indicia
confusingly similar to the trademarks included in the Transferred Assets, copyrights included in
the Transferred Assets, or any work substantially similar to the copyrights included in the
Transferred Assets, as a source identifier in connection with any Seller product, service or
corporate, business or domain name.

                                          ARTICLE VI
                                         TAX MATTERS

                 Section 6.1     Transfer Taxes. Any and all sales, harmonized sales, use, property
transfer or gains, real estate or land transfer or gains, documentary, stamp, registration,
recording, filing, goods and services or other similar Taxes payable in connection with the sale
or transfer of the Transferred Assets pursuant to this Agreement (such Taxes, “Transfer Taxes”)
shall (to the extent not subject to an exemption under the Bankruptcy Code, including Section
1146(a) of the Bankruptcy Code) be borne and split equally between Buyer and Sellers. Sellers
and Buyer shall use commercially reasonable efforts and cooperate in good faith to mitigate,
reduce or eliminate any such Transfer Taxes, and shall each sign and file (or cause its respective
Affiliates to sign and file) all documentation with the relevant Governmental Authority related to
such Transfer Taxes as it may be required to sign or file under applicable Law. The Party
responsible under applicable Law for filing the Tax Returns with respect to such Transfer Taxes
shall prepare and file all necessary Tax Returns or other documents with respect thereto and shall
promptly provide a copy of any such Tax Returns or other documents to the other Parties.

               Section 6.2     Tax Cooperation. Buyer (or any Designated Buyers) and Sellers
agree to furnish or cause to be furnished to each other, upon reasonable request, as promptly as
reasonably practicable, such information (including access to Books and Records related to
Taxes) and assistance related to the Business, the Transferred Assets as is reasonably necessary
for determining any Liability for Taxes, the filing of all Tax Returns, the making of any election
related to Taxes, the preparation for any audit by any Governmental Authority and the
prosecution or defense of any claim, suit or proceeding related to any Tax; provided, however,
that Buyer and its Affiliates (or Designated Buyers and their Affiliates) shall not be required to
disclose the contents of their Tax Returns to any Person. Any reasonable expenses incurred in
furnishing such information or assistance pursuant to this Section 6.2 shall be borne by the Party
requesting it.

               Section 6.3     Straddle Periods. For purposes hereof, with respect to any
Transferred Asset or the Business, Sellers and Buyer shall apportion the liability for property
Taxes, ad valorem Taxes and similar Taxes imposed on a periodic basis (“Periodic Taxes”) and
for Taxes that are either (i) based upon or related to income or receipts, (ii) imposed in
connection with any sale, transfer or assignment or any deemed sale, transfer or assignment of
property (real or personal, tangible or intangible), or (iii) payroll or similar Taxes with respect to
any employee, or independent contractor associated with any Transferred Asset or the Business

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(“Non-Periodic Taxes”) for any taxable period which begins on or before, and ends after, the
Closing Date (a “Straddle Period”) applicable to any Transferred Asset or the Business in
accordance with this Section 6.3. Periodic Taxes shall be apportioned between Sellers and Buyer
(or any Designated Buyers) as of the Closing Date, with Buyer (or any Designated Buyer) liable
for that portion of the Periodic Taxes for a Straddle Period (which portion of such Taxes shall for
purposes hereof be deemed attributable to the portion of the Straddle Period beginning after the
Closing Date) equal to the Periodic Taxes for such Straddle Period multiplied by a fraction, the
numerator of which is the number of days remaining in such Straddle Period after the Closing
Date, and the denominator of which is the total number of calendar days in such entire Straddle
Period. The Non-Periodic Taxes shall be apportioned between Sellers and Buyer (or any
Designated Buyers) as of the Closing Date, with Buyer (or any Designated Buyer) liable for that
portion of the Non-Periodic Taxes for a Straddle Period (which portion of such Taxes shall for
purposes hereof be deemed attributable to the portion of the Straddle Period beginning after the
Closing Date) equal to the amount that would be payable in the portion of the Straddle Period
beginning after the Closing Date if the taxable year or period ended at the end of the day on the
Closing Date; provided, however, that exemptions, allowances or deductions that are calculated
on an annual basis, such as the deduction for amortization or depreciation, shall be allocated to
the portion of the Straddle Period beginning after the Closing Date (notwithstanding that such
exemptions, allowances or deductions may under applicable Law be determined solely at the end
of the Straddle Period) by multiplying the total amount of such exemption, allowance, or
deduction for such Straddle Period by a fraction, the numerator of which is the number of days
remaining in such Straddle Period after the Closing Date, and the denominator of which is the
total number of calendar days in such entire Straddle Period. Sellers shall be liable for that
portion of the Periodic Taxes and Non-Periodic Taxes for a Straddle Period for which Buyer (or
any Designated Buyer) is not liable under the preceding sentences (which portion of such Taxes
shall for purposes hereof be deemed attributable to the portion of the Straddle Period ending on
the Closing Date). The party hereto responsible under applicable Law for paying a Tax described
in this Section 6.3 shall be responsible for administering the payment of such Tax. With respect
to any Periodic Taxes or Non-Periodic Taxes imposed with respect to any Transferred Asset or
the Business that are allocable to Buyer (or any Designated Buyer) under this Agreement, to the
extent such Periodic Taxes or Non-Periodic Taxes were paid by any Seller or any Affiliate
thereof, Buyer (or any Designated Buyer) shall pay to Sellers such Periodic Taxes or Non-
Periodic Taxes no later than ten (10) Business Days following receipt of written notice from
Sellers; and with respect to any Periodic Taxes or Non-Periodic Taxes imposed with respect to
any Transferred Asset, or the Business that are allocable to Sellers under this Agreement, to the
extent such Periodic Taxes or Non-Periodic Taxes were paid by Buyer or any Affiliate thereof,
Sellers shall pay to Buyer (or any Designated Buyer) such Periodic Taxes or Non-Periodic Taxes
no later than ten (10) Business Days following receipt of written notice from Buyer (or any
Designated Buyers).

               Section 6.4   Tax Treatment. Buyer and Sellers shall, consistently treat the
transactions hereunder for all Tax purposes as a fully taxable disposition of the Transferred
Assets.

               Section 6.5    Tax Elections.



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             (a)     At Buyer’s sole option, but only as would not be reasonably anticipated to
generate a material Tax liability for which Debtors would be liable under the terms of this
Agreement:

                      (i)      for any Subsidiary of Technovative that is treated as a foreign
corporation for U.S. federal income Tax purposes (each, a “245A Subsidiary”), Buyer, Debtor
and their respective Affiliates shall cooperate in good faith to determine each “U.S. tax resident”
within the meaning of Treasury Regulations Section 1.245A-5(i)(29) that will be a “United
States shareholder” within the meaning of Section 951(b) of the Code at the end of the Closing
Date that owns directly or indirectly stock of such 245A Subsidiary and is described in Treasury
Regulations Section 1.245A-5(e)(3)(i)(C)(1) (each, a “U.S. Tax Resident”);

                        (ii)    Buyer shall enter into and shall use reasonable best efforts to cause
all U.S. Tax Residents to enter into (and take all steps necessary to enter into), a written, binding
agreement as described in Treasury Regulations Section 1.245A-5(e)(3)(i)(C)(2) (a “245A
Election Agreement”) with applicable Debtors and their relevant Affiliates to make an election
pursuant to Treasury Regulations Section 1.245A-5(e)(3) to close the taxable year of such 245A
Subsidiary, effective as of the Closing Date (such an election, a “245A Election”). Buyer shall
prepare a form of a 245A Election Agreement and shall consider in good faith any reasonable
comments or proposed changes by Debtors. To the extent able to do so under applicable Law,
Buyer shall represent that the information provided is complete and that the U.S. Tax Residents
identified are the only direct or indirect shareholders of the 245A Subsidiary that are required for
purposes of making a valid 245A Election; and

                       (iii) Debtors and their Affiliates shall timely file, or cause to be timely
filed, valid 245A Elections.

               (b)    In the event that Debtors and their Affiliates file the 245 Election, Debtors,
Buyer and their respective Affiliates shall not take any position inconsistent with the taxable year
of the applicable 245A Subsidiary as closing for all purposes of the Code and Treasury
Regulations thereunder on the date of the “extraordinary reduction amount” or “tiered
extraordinary reduction amount” (as each are defined in Treasury Regulations Section 1.245A-5)
on any Tax Return or in any in any audit or proceeding related to Taxes before any
Governmental Authority or otherwise.

               Section 6.6  Bulk Sales. Notwithstanding any other provisions herein, Buyer
and Sellers hereby waive compliance with all “bulk sales,” “bulk transfer” and similar Laws that
may be applicable with respect to the sale and transfer of any or all of the Transferred Assets to
Buyer (or any Designated Buyer).

                                     ARTICLE VII
                              CONDITIONS TO THE CLOSING

              Section 7.1    Mutual Conditions. The respective obligations of each Party to
consummate the Closing shall be subject to the satisfaction (or waiver by Buyer and Sellers, if
permissible under applicable Laws) of the following conditions:



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                (a)    no Governmental Authority shall have issued a preliminary, temporary or
permanent Order that is in effect and prevents, makes illegal or prohibits the consummation of
any of the transaction contemplated hereby (any such Law or Order, a “Legal Restraint”);

              (b)     [(1) all Specified Filings shall have been made in accordance with
applicable Law and (2) all Specified Consents, shall have been obtained in form and substance
reasonably acceptable to Buyer;]

               (c)    the Bankruptcy Court shall have entered the Bid Procedures Order and the
Sale Order, and each of the Bid Procedures Order and the Sale Order shall be a Final Order.

              Section 7.2    Conditions to Obligations of Sellers. The obligation of Sellers to
consummate the Closing are further subject to the satisfaction (or waiver by Sellers, if
permissible under applicable Law) of the following conditions:

               (a)     Each representation and warranty in Article IV (read, for purposes of this
Section 7.2(a) only, without giving effect to any qualifier as to materiality, “material” or “Buyer
Material Adverse Effect”) shall be true and correct in all respects as of the Closing as if made as
of the Closing (except to the extent any such representation or warranty expressly speaks as of
the date hereof or any other specific date, in which case such representation or warranty shall
have been true and correct in all respects as of such date), except where the failure of such
representation and warranty to be true and correct at such time has not, individually or in the
aggregate, resulted in a Buyer Material Adverse Effect;

               (b)    Buyer shall have performed or complied in all material respects (in all
respects with respect to any covenant or agreement that is qualified by materiality) with each
covenant or agreement required to be performed or complied with by it hereunder at or prior to
the Closing; and

               (c)     Sellers shall have received the documents listed in Section 2.7(c)(ii) –
Section 2.7(c)(iv).

                Section 7.3   Conditions to Obligations of Buyer. The obligations of Buyer to
consummate the transactions contemplated hereby shall be subject to the satisfaction, at or prior
to the Closing, of each of the following conditions, any of which may be waived in writing by
Buyer in its sole discretion:

               (a)     each representation and warranty in Article III (read, for purposes of this
Section 7.3(a) only, without giving effect to any qualifier as to materiality, “material” or
“Material Adverse Effect”) shall be true and correct in all respects as of the Closing as if made as
of the Closing (except to the extent any such representation or warranty expressly speaks as of
the date hereof or any other specific date, in which case such representation or warranty shall
have been true and correct in all material respects as of such date), except where the failure of
such representation and warranty to be true and correct at such time has not, individually or in
the aggregate, resulted in a Material Adverse Effect;

                (b)    each Seller shall have performed or complied in all material respects (in
all respects with respect to any covenant or agreement that is qualified by materiality) with each

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covenant or agreement required to be performed or complied with by it hereunder at or prior to
the Closing;

              (c)     all Required Approvals shall have been obtained in form and substance
reasonably acceptable to Buyer;

               (d)    there shall not have occurred a Material Adverse Effect in connection with
the Transferred Assets;

               (e)     Buyer shall have received the documents listed in Section 2.7(b); and

               (f)     Sellers shall have received the Consents of the Third Parties set forth in
Section 7.3(f) of the Disclosure Schedules and delivered to Buyer evidence thereof, in form and
substance reasonably acceptable to Buyer.

                                          ARTICLE VIII
                                         TERMINATION

               Section 8.1     Termination Rights.

               (a)   Termination by Mutual Consent. Buyer and Sellers shall have the right to
terminate this Agreement at any time prior to the Closing by mutual written consent.

              (b)    Termination by Either Buyer or Sellers. Buyer, on the one hand, or Sellers,
on the other hand, shall have the right to terminate this Agreement at any time prior to the
Closing if:

                       (i)     a Legal Restraint is in effect that has become final and
nonappealable;

                      (ii)   the Bankruptcy Cases are dismissed or converted to cases under
Chapter 7 of the Bankruptcy Code; or

                       (iii)   Buyer is not the [Winning Bidder].

              (c)    Termination by Buyer. Buyer shall have the right to terminate this
Agreement at any time prior to the Closing if:

                       (i)     the Closing shall not have been consummated prior to 5:00 p.m. on
December 10, 2024 (the “End Date”), subject to extension by written consent of Hawk and the
Trustee; provided, however, that the right to terminate this Agreement under this Section
8.1(c)(i) shall not be available to Buyer if the failure of the Closing to have occurred prior to
5:00 p.m. on the End Date was primarily caused by, or primarily resulted from, Buyer’s breach
of any of its covenants or agreements hereunder;

                       (ii)      any Seller breaches any of its covenants or agreements hereunder
or violates the terms of the Settlement Agreement or Sale Order, or if any of the representations
or warranties in Article III fails to be true and correct, which breach or failure (1) would give rise


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to the failure of a condition in Section 7.1 or Section 7.3 and (2) is not reasonably capable of
being cured by such Seller within ten (10) days after receipt by such Seller of written notice from
Buyer of such breach or failure or, if reasonably capable of being cured during such ten (10) day
period, is not cured by such Seller within such ten (10) day period;

                      (iii)    any Seller or any of its Affiliates or Representatives takes any
Alternative Sale Action;

                       (iv)    any Milestone is not satisfied;

                       (v)     a Material Adverse Effect has occurred;

                       (vi)    any Required Approvals are denied;

                       (vii)   any Seller withdraws or seeks authority to withdraw the Sale
Motion; or

                       (viii) for any reason (including an Order of the Bankruptcy Court) Buyer
is unable or legally prohibited, pursuant to Section 363(k) of the Bankruptcy Code or otherwise,
to credit bid the amount agreed in the Settlement Agreement.

               (d)    Termination by Sellers. Sellers shall have the right to terminate this
Agreement at any time prior to the Closing if Buyer violates the terms of the Settlement
Agreement or breaches any of its covenants or agreements hereunder, or if any of the
representations or warranties in Article IV fails to be true and correct, which breach or failure (i)
would give rise to the failure of a condition in Section 7.1 or Section 7.2 and (ii) is not
reasonably capable of being cured by Buyer within ten (10) days after receipt by Buyer of
written notice from Sellers of such breach or failure or, if reasonably capable of being cured
during such ten (10) day period, is not cured by Buyer within such ten (10) day period.

               Section 8.2     Effect and Manner of Termination.

               (a)    If this Agreement is terminated under Section 8.1, this Agreement shall be
void and of no force or effect, without any Liability on the part of any Party, whether arising
prior to or after such termination, based on or related to this Agreement or the negotiation,
execution, performance or subject matter hereof (whether in contract or in tort or otherwise, or
whether at law (including at common law or by statute) or in equity); provided, however, that
this Section 8.2 and Article IX shall survive any such termination and remain in full force and
effect and no such termination shall relieve any Party of any willful, knowing and material
breach hereof occurring prior to such termination.

               (b)     This Agreement may be terminated only pursuant to Section 8.1. In order
to terminate this Agreement under Section 8.1 (except for Section 8.1(a)), the Party desiring to
terminate this Agreement shall give written notice of such termination to the other Parties,
specifying the provision hereof pursuant to which such termination is effected.




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                                       ARTICLE IX
                                   GENERAL PROVISIONS

               Section 9.1    Nonsurvival of Representations, Warranties and Covenants. The
respective representations, warranties and covenants of Sellers and Buyer contained herein and
any certificate delivered pursuant hereto shall terminate at, and not survive, the Closing;
provided that this Section 9.1 shall not limit any covenant or agreement of the Parties that by its
terms requires performance after the Closing.

                Section 9.2    Indemnification. Buyer (or any Designated Buyer) shall indemnify
and hold harmless the Sellers, the Sellers’ bankruptcy estates, the Trustee and his Court approved
professionals, their members, officers, directors and/or employees for any claim or cause of
action alleging that any Intellectual Property of any third party, including but not limited to the
Rembrandt Intellectual Property, has been improperly transferred or sold to the Buyer (or any
Designated Buyer) as part of the Transferred Assets at Closing through the sale pursuant to this
Agreement including the defense thereof. The indemnity provided for herein shall be broadly
construed to include but shall not be limited to the reimbursement of all costs, professional fees
and expenses including legal fees, when incurred by the Trustee, and all expert fees, court costs,
and expenses. In addition, in the event that the Sellers’ bankruptcy estates, the Trustee or his
Court approved professionals, their members, officers, directors and/or employees are sued by
any third party as a consequence of (i) the Closing, (ii) the transfer of the Transferred Assets, or
(iii) the utilization of the Transferred Assets, including but not limited to, the Rembrandt
Intellectual Property, Buyer (or any Designated Buyer) will immediately enter a defense on
behalf of the Sellers, the Sellers’ bankruptcy estates, the Trustee or his Court approved
professionals, their members, officers, directors and/or employees. Buyers (or any Designated
Buyer) may join any lawsuit with any other proceeding involving the same or affiliated
plaintiffs. Notwithstanding any other provision contained herein, this Section 9.2 shall survive
Closing. Buyer (or any Designated Buyer) shall have the right to assume control of or direct the
defense against any claim, cause of action, or lawsuit covered by this Section 9.2 and to select
counsel to represent Sellers, the Sellers’ bankruptcy estates, the Trustee and his Court approved
professionals, their members, officers, directors, and/or employees (the “Indemnified Parties”)
with respect to any claim, cause of action, or lawsuit covered by this Section 9.2 and shall use its
reasonable efforts in any such defense. The Indemnified Parties shall have the right to approve
or reject any counsel proposed by Buyer (or any Designated Buyer) selects, which approval shall
not be unreasonably withheld. Sellers, the Sellers’ bankruptcy estates, the Trustee and his Court
approved professionals, their members, officers, directors, and/or employees shall use reasonable
efforts to cooperate with Buyer (or any Designated Buyer) and its chosen counsel in the defense
of any such claim, cause of action, or lawsuit.

               Section 9.3    Fees and Expenses. Except as otherwise provided herein (including
Section 5.4(a) and Section 6.1), all fees and expenses incurred in connection with or related to
this Agreement and the Ancillary Agreements and the transactions contemplated hereby and
thereby shall be borne and paid by the Party incurring such fees or expenses, whether or not such
transactions are consummated.

             Section 9.4    Transition of Permits. To the extent that Buyer (or any Designated
Buyer) has not obtained all of the Permits that are necessary for Buyer (or any Designated

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Buyer) to take title to all of the Transferred Assets at the Closing and thereafter operate all
aspects of the Business at the Closing, Sellers shall, to the extent permitted by applicable Laws,
use commercially reasonable efforts to maintain after the Closing such Permits that Buyer
reasonably requests, at Buyer’s sole expense, until Buyer (or any Designated Buyer) has
obtained such Permits.

               Section 9.5  Amendment and Modification. This Agreement may not be
amended, modified or supplemented in any manner, whether by course of conduct or otherwise,
except by an instrument in writing specifically designated as an amendment hereto, signed on
behalf of each Party.

                Section 9.6     Waiver. No failure or delay of any Party in exercising any right or
remedy hereunder shall operate as a waiver thereof, nor shall any single or partial exercise of any
such right or power, or any abandonment or discontinuance of steps to enforce such right or
power, or any course of conduct, preclude any other or further exercise thereof or the exercise of
any other right or power. Any agreement on the part of either Party to any such waiver shall be
valid only if set forth in a written instrument executed and delivered by a duly authorized officer
on behalf of such Party.

                 Section 9.7   Notices. All notices and other communications hereunder shall be
in writing and shall be deemed duly given (a) on the date of delivery if delivered personally,
(b) on the first Business Day after the date of dispatch if delivered utilizing a next-day service by
a recognized next-day courier, (c) on the day of transmission if sent by email during regular
business hours on a Business Day and, if not, then on the following Business Day or (d) on the
earlier of confirmed receipt or the fifth (5th) Business Day after the date of mailing if delivered
by registered or certified mail, return receipt requested, postage prepaid, in each case, at the
following addresses and email addresses (or to such other address or email address as a Party
may have specified by notice given to the other Parties under this Section 9.6):

                   (i) if to Sellers, to:

                       William A. Homony, Chapter 11 Trustee
                       8 Penn Center, Suite 950
                       1628 John F. Kennedy Blvd.
                       Philadelphia, PA 19103
                       Email:         bhomony@mctllp.com

                       with a copy (which shall not constitute notice) to:

                       Obermayer Rebmann Maxwell & Hippel LLP
                       Centre Square West
                       1500 Market Street, Suite 3400

                       Philadelphia, PA 19102
                       Attention:     Michael D. Vagnoni
                       Email:         michael.vagnoni@obermayer.com



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                   (ii) if to Buyer and/or Hawk, to:

                       SeeCubic, Inc.
                       1732A Marsh Road, Suite 124
                       Wilmington, Delaware 19810
                       Attention:     Shad L. Stastney
                       Email:         shadron.stastney@seecubic.com

                       with a copy (which shall not constitute notice) to:

                       Skadden, Arps, Slate, Meagher & Flom LLP
                       320 South Canal Street
                       Chicago, Illinois 60606
                       Attention:     James J. Mazza, Jr.
                       Email:         james.mazza@skadden.com

                       and

                       K&L Gates LLP
                       301 Hillsborough St, Ste. 1200
                       Raleigh, North Carolina 27603
                       Attention:    Margaret R. Westbook
                       Email         margaret.westbrook@klgates.com

               Section 9.8    Interpretation.

               (a)     No Strict Construction. The Parties have been represented by counsel
during the negotiation and execution hereof and, therefore, waive the application of any Law,
holding or rule of construction providing that ambiguities in a Contract or other document shall
be construed against the Party drafting such Contract or document. Each Party has participated in
the drafting and negotiation hereof. If an ambiguity or question of intent or interpretation arises,
this Agreement must be construed as if it is drafted by all the Parties, and no presumption or
burden of proof shall arise favoring or disfavoring any Party by virtue of authorship of any of the
provisions hereof.

               (b)     Time Periods. When calculating the period of time prior to which, within
which or after which any act is to be done or step taken pursuant hereto, (i) the date that is the
reference date in calculating such period shall be excluded and (ii) if the last day of such period
is not a Business Day, the period in question shall end on the next succeeding Business Day.
Unless expressly provided otherwise, the measure of a period of a month(s) or a year(s) for
purposes hereof shall be that date of the following month or year corresponding to the starting
date; provided that if no corresponding date exists, the measure shall be that date of the
following month or year corresponding to the next day following the starting date.

             (c)      Dollars. Unless otherwise specifically indicated, any reference herein to
“$” means U.S. dollars.



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              (d)    Gender and Number. Any reference herein to gender shall include all
genders, and words imparting the singular number only shall include the plural and vice versa.

               (e)     Articles, Sections and Headings. When a reference is made herein to an
Article or a Section, such reference shall be to an Article or a Section hereof unless otherwise
indicated. The table of contents and headings herein are for reference purposes only and shall not
affect in any way the meaning or interpretation hereof.

               (f)     Include. Whenever the words “include,” “includes” or “including” are
used herein, they shall be deemed to be followed by the words “without limitation.”

               (g)     Hereof. The words “hereof,” “hereto,” “hereby,” “herein” and “hereunder”
and words of similar import when used herein shall refer to this Agreement as a whole and not to
any particular provision hereof.

              (h)      Extent; Or. The word “extent” in the phrase “to the extent” means the
degree to which a subject or other thing extends, and such phrase shall not mean simply “if.” The
word “or” shall not be exclusive.

               (i)   Laws. Any Law defined or referred to herein means such Law as from
time to time amended, modified or supplemented prior to the date hereof, and includes all rules
and regulations promulgated under such Law.

               (j)    Persons. References to a person are also to its successors and permitted
assigns.

               (k)     Exhibits and Disclosure Schedule. The Exhibits hereto and the Disclosure
Schedules are incorporated and made a part hereof and are an integral part hereof. Each
capitalized term used in any Exhibit or in the Disclosure Schedules but not otherwise defined
therein has the meaning given to such term herein. The Disclosure Schedules shall be organized,
for purposes of convenience only, into sections that correspond to the Sections hereof. Any item
in any section of the Disclosure Schedule that corresponds to a Section in Article III shall apply
to and qualify such Section and any other Section in Article III if such item’s relevance to such
other Section is reasonably apparent.

                (l)     Time. Unless specified otherwise herein, any reference herein to a specific
time shall be to such time in the North American Eastern Time Zone.

               Section 9.9     Entire Agreement. This Agreement, the Settlement Agreement and
the Ancillary Agreements constitute the entire agreement, and supersede all prior written
agreements, arrangements, communications and understandings and all prior and
contemporaneous oral agreements, arrangements, communications and understandings between
the Parties with respect to the subject matter hereof and thereof. Neither this Agreement nor the
Settlement Agreement or any Ancillary Agreement shall be deemed to contain or imply any
restriction, covenant, representation, warranty, agreement or undertaking of any Party with
respect to the transactions contemplated hereby or thereby other than those expressly set forth
herein or therein or in any document required to be delivered hereunder or thereunder, and none
shall be deemed to exist or be inferred with respect to the subject matter hereof.

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                Section 9.10 Parties in Interest. This Agreement shall be binding upon and inure
solely to the benefit of each Party hereto, and nothing herein, express or implied, is intended to
or shall confer upon any Person (including employees of Sellers) other than the Parties and their
respective successors and permitted assigns any legal or equitable right, benefit or remedy of any
nature whatsoever under or by reason hereof.

                Section 9.11 Governing Law. Except to the extent of the mandatory provisions
of the Bankruptcy Code, this Agreement, and all Actions, claims and causes of action (whether
in contract or in tort or otherwise, or whether at law (including at common law or by statute) or
in equity) that may be based on, arise out of or relate hereto or the negotiation, execution,
performance or subject matter hereof (collectively, “Governed Claims”) shall be governed by the
Laws of the State of [Delaware] applicable to agreements made and to be performed solely
therein, without giving effect to principles of conflicts of law.

                Section 9.12 Submission to Jurisdiction; Waiver of Jury Trial. Without limiting
any Party’s right to appeal any Order of the Bankruptcy Court, (a) the Bankruptcy Court shall
retain exclusive jurisdiction to enforce the terms hereof and to decide any Governed Claims and
(b) any and all Governed Claims shall be filed and maintained only in the Bankruptcy Court. The
Parties hereby consent and submit to the exclusive jurisdiction and venue of the Bankruptcy
Court for, and irrevocably waive the defense of an inconvenient forum to the maintenance of,
any Governed Claim; provided, however, that, if the Bankruptcy Case is closed, (i) each Party
irrevocably agrees that any Governed Claim shall be heard and determined in the Court of
Chancery of the State of Delaware or, to the extent such court does not have subject matter
jurisdiction, the U.S. District Court for the District of Delaware or, to the extent such court does
not have subject matter jurisdiction, the Superior Court of the State of Delaware and (ii) each
Party hereby irrevocably submits to the exclusive jurisdiction and venue of the courts set forth in
the foregoing clause (i) for, and irrevocably waives the defense of an inconvenient forum to the
maintenance of, any Governed Claim. Each Party further agrees that notice provided under
Section 9.6 shall constitute sufficient service of process and waives any argument that such
service is insufficient. Each Party hereby irrevocably and unconditionally waives, and agrees not
to assert, by way of motion or as a defense, counterclaim or otherwise, in any Governed Claim,
(1) any claim that it is not personally subject to the jurisdiction of the courts in Delaware as
described herein for any reason, (2) that it or its property is exempt or immune from jurisdiction
of any such court or from any legal process commenced in such courts (whether through service
of notice, attachment prior to judgment, attachment in aid of execution of judgment, execution of
judgment or otherwise) and (3) that (A) the suit, action or proceeding in any such court is
brought in an inconvenient forum, (B) the venue of such suit, action or proceeding is improper or
(C) this Agreement, or the subject matter hereof, may not be enforced in or by such courts.
EACH OF THE PARTIES TO THIS AGREEMENT HEREBY IRREVOCABLY
WAIVES ALL RIGHT TO A TRIAL BY JURY IN ANY GOVERNED CLAIM.

               Section 9.13 No Recourse. Notwithstanding any provision hereof or of any
Ancillary Agreement, by its acceptance of the benefits hereof, each Party agrees and
acknowledges on its own behalf and on behalf of its respective Affiliates that (a) no Person,
other than the Parties, have Liabilities hereunder, (b) this Agreement and the Ancillary
Agreements may be enforced only against the Parties, (c) no Governed Claim may be brought
against any Person that is not a Party and (d) no Party shall have any right of recovery related to

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a Governed Claim against any former, current, or future direct or indirect equity holders,
controlling persons, directors, officers, employees, agents, Affiliates, members, managers,
general or limited partners, Representatives or assignees of any Party.

                Section 9.14 Assignment; Successors. Neither this Agreement nor any of the
rights, interests or obligations hereunder may be assigned or delegated, in whole or in part, by
operation of law or otherwise, by any Seller without the prior written consent of Buyer, or by
Buyer without the prior written consent of Sellers, and any such assignment without such prior
written consent shall be null and void; provided, however, that no assignment shall limit Buyer’s
obligations hereunder. Notwithstanding the foregoing, Buyer may assign any of its rights or
delegate any of its obligations hereunder to any of its Affiliates without obtaining the prior
written consent of any Person. This Agreement shall be binding on, inure to the benefit of and be
enforceable by, the Parties and their respective successors and permitted assigns.

                Section 9.15 Enforcement. The Parties agree that irreparable damage would
occur in the event that any of the provisions hereof were not performed in accordance with their
specific terms or were otherwise breached. Accordingly, each Party shall be entitled to specific
performance of the terms hereof, including an injunction or injunctions to prevent breaches
hereof and to enforce specifically the terms and provisions hereof. Each Party hereby further
waives (a) any defense in any action for specific performance that a remedy at law would be
adequate and (b) any requirement under any law to post security as a prerequisite to obtaining
equitable relief.

                Section 9.16 Severability. Whenever possible, each provision or portion of any
provision hereof shall be interpreted in such manner as to be effective and valid under applicable
Law, but if any provision or portion of any provision hereof is held to be invalid, illegal or
unenforceable in any respect under any applicable Law or rule in any jurisdiction, such
invalidity, illegality or unenforceability shall not affect any other provision or portion of any
provision in such jurisdiction, and this Agreement shall be reformed, construed and enforced in
such jurisdiction as if such invalid, illegal or unenforceable provision or portion of any provision
had never been contained herein.

               Section 9.17 Counterparts. This Agreement may be executed in several
counterparts, each of which shall be deemed an original and all of which shall be one (1) and the
same instrument. Delivery of an executed counterpart hereof by facsimile or other electronic
transmission (including email or any electronic signature complying with the U.S. federal
ESIGN Act of 2000, e.g., www.docusign.com) shall be effective as delivery of an original
counterpart hereof.

               Section 9.18 Publicity. Except with respect to any dispute between or among the
Parties regarding this Agreement or the transactions contemplated hereby, from and after the date
hereof, the Parties shall consult with each other before making any press release or otherwise
making any public statements with respect to this Agreement or the transactions contemplated
hereby, and neither Buyer nor Sellers shall make any press release or any public statement prior
to obtaining Sellers’ (in the case of Buyer) or Buyer’s (in the case of Sellers) written approval,
which approval shall not be unreasonably withheld, except that no such approval shall be
necessary to the extent disclosure may be required by applicable Law.

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                          [SIGNATURE PAGES FOLLOW]




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              IN WITNESS WHEREOF, each of the undersigned has caused this
 Agreement to be executed as of the date first written above by a duly authorized person
 thereof.


                                                  TRUSTEE


                                                  By:
                                                        Name:



                                                  STREAM TV NETWORKS, INC.


                                                  By:
                                                        Name:
                                                        Title:


                                                  TECHNOVATIVE MEDIA, INC.


                                                  By:
                                                        Name:
                                                        Title:




                   [SIGNATURE PAGE TO ASSET PURCHASE AGREEMENT]

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       IN WITNESS WHEREOF, each of the undersigned has caused this Agreement to be
executed as of the date first written above by a duly authorized officer thereof.


                                            SEECUBIC, INC.


                                            By:
                                                  Name:
                                                  Title:




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                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                        :
      In re:                                            :       Chapter 11
                                                        :
      Stream TV Networks, Inc., et al.                  :       Bankruptcy No. 23-10763 (AMC)
                                                        :
                              Debtors.                  :       (Jointly Administered)1
                                                        :

       OBJECTION OF WILLIAM A. HOMONY, CHAPTER 11 TRUSTEE, TO VISUAL
               SEMICONDUCTOR, INC.’S MOTION FOR EXPEDITED
           CONSIDERATION, SHORTENED TIME, AND LIMITED NOTICE OF
       MOTION TO RECONSIDER AND/OR CLARIFY NOVEMBER 14, 2024 ORDER
              QUASHING THE REMAINING VSI DISCOVERY (D.I. #805)

           William A. Homony, in his capacity as Chapter 11 Trustee (the “Trustee”) of the

 bankruptcy estates of Stream TV Networks, Inc. (“Stream”) and Technovative Media Inc.

 (“Technovative”, or collectively with Stream, the “Debtors”), by and through his counsel,

 Obermayer Rebmann Maxwell & Hippel LLP, files this objection (“Objection”) to Visual

 Semiconductor, Inc.’s (“VSI”) Motion for Expedited Consideration, Shortened Time, and Limited

 Notice (the “Motion to Expedite”) of Motion to Reconsider and/or Clarify November 14, 2024,

 Order Quashing the Remaining VSI Discovery (the “Motion to Reconsider”) (D.I. #805). In

 support thereof, the Trustee respectfully represents as follows:

 I.        BACKGROUND

           1.        On March 15, 2023 (the “Petition Date”), the Debtors filed voluntary petitions for

 relief pursuant to Chapter 11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101, et seq. (the

 “Bankruptcy Code”).




 1
  On April 11, 2023, the Court entered an order directing joint administration of the above-captioned case and In re
 Technovative Media, Inc.; Case No. 23-10764 (AMC). (D.I. #81).

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         2.          After almost a year of “acrimony” and “relative lack of progress”, on January 5,

 2024, this Court entered a Memorandum and Order which, among other things, appointed a

 Chapter 11 trustee and granted the Debtors’ secured creditor Hawk Investment Holdings Limited

 (”Hawk”) relief from the automatic stay to permit litigation against the Debtors pending in the

 Delaware Court of Chancery under § 225 of Title 8 of the Delaware Code (the “225 Action”) to

 proceed (the “Trustee Order” and “Trustee Opinion”) (D.I. #549 and #548, respectively).

         3.          On January 9, 2024, the Office of the United States Trustee filed a Notice of

 Appointment of William A. Homony to serve as the Chapter 11 trustee (the “Appointment Date”)

 as well as an Application for the Entry of an Order Approving the Appointment of the Trustee.

 (D.I. #554 and #553 respectively).

         4.          On January 12, 2024, the Bankruptcy Court entered an Order granting the

 Application to Appoint the Trustee (D.I. #558).

         5.          After significant and lengthy investigation and consultations with his professionals,

 certain of the Debtor’s subsidiaries, Mathu Rajan (“Rajan”), VSI, Rembrandt 3D Holding Ltd.

 (“Rembrandt”), and the Debtors’ secured creditors, and further considering the significant legal

 and factual challenges involved in the 225 Action, the risk it posed to the Debtors’ assets and any

 creditor recovery, and the ongoing need to fund the operations of its research and development

 subsidiary, SCBV, the Trustee decided that, in his reasonable business judgment, settling the

 disputes with the Debtors’ secured creditors including, but not limited to, the 225 Action and the

 Adversary Proceeding and providing a process to market and sell the Debtors’ Assets was in the

 best interest of the Debtors’ creditors and stakeholders.

         6.          Through the Trustee’s substantial efforts, the Trustee reached a settlement with

 Hawk as collateral agent for the secured creditors (collectively, the “Secured Creditors”), resolving



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 several disputes between the parties and providing for a carve-out valued in the minimum amount

 of $9,000,000.00 for the Debtors’ estates, and a mechanism for the Debtor’s assets to be exposed

 to a sale process, whereby the true value of the assets could be assessed by exposing them to the

 market (the “Hawk Settlement”).

          7.         On May 6, 2024, the Trustee filed a Motion pursuant to Rule 9019 of the Federal

 Rules of Bankruptcy Procedure to approve the Hawk Settlement (the “9019 Motion”) (D.I. #630).

          8.         This Court conducted an evidentiary hearing on the 9019 Motion on June 5, 2024,

 in which the Trustee testified at length and was cross-examined by both VSI and Rembrandt and

 ultimately approved the Hawk Settlement (the “9019 Order”) (D.I. #653) over the objections of

 VSI and Rembrandt (D.I. #642 and #643, respectively).

          9.         Subsequently, on July 10, 2024, VSI filed a Motion to Reconsider the 9019 Order

 (the “9019 Reconsideration Motion”) (D.I. #702).

          10.        On July 26, 2024, VSI filed a Notice of Oral Deposition Subpoena Duces Tecum

 for the Trustee, seeking the deposition of the Trustee on August 9, 2024, and the production of

 certain documents relating to, inter alia, the 9019 Motion and the Settlement with Hawk (D.I.

 #712).

          11.        On August 24, 2024, VSI filed an Amended Notice of Oral Deposition Subpoena

 Duces Tecum for the Trustee, seeking the deposition of the Trustee on September 3, 2024, and the

 production of certain documents relating to, inter alia, the 9019 Motion and the Settlement with

 Hawk (D.I. #718).

          12.        Thereafter, on August 29, 2024, the Trustee filed a Motion to Quash and for

 Protective Order, seeking to quash the July 26th and August 24th Subpoena Duces Tecum for the

 Trustee (the “Motion to Quash”) (D.I. #724).



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          13.        Pursuant to the Hawk Settlement, on September 30, 2024, the Trustee filed a Sale

 Motion with this Court seeking authorization and approval of the Stalking Horse APA and the Bid

 Procedures in connection with the sale of substantially all of the Debtors’ assets on an “as is,”

 “where as” basis, without any warranty of any kind, express or implied (the “Sale Motion”).

          14.        October 11, 2024, VSI filed another Subpoena Duces Tecum directed at the Trustee

 (the "October Subpoena") that set a deposition date of October 29, 2024, and required document

 production by October 24, 2024 (D.I. #761).

          15.        October 30, 2024, the Court held a hearing on the Motion to Quash and entered an

 order that, inter alia, suspended a ruling on topics and documents sought through the October

 Subpoena pending a resolution of the 9019 Reconsideration Motion (D.I. #777).

          16.        Thereafter, on November 13, 2024, the Court held a hearing and approved the

 Bidding Procedures and the Stalking Horse APA with SeeCubic, Inc. (“SeeCubic”), once again,

 over the objections of VSI and Rembrandt (D.I. #788 and #789, respectively).

          17.        On November 14, 2024, the Court entered an order denying the 9019

 Reconsideration Motion and quashing the discovery sought through the October Subpoena (D.I.

 #805).

          18.        The order approving the Bidding Procedures was entered on November 20, 2024

 (the “Bidding Procedures Order”) (D.I. #811).

          19.        The Bidding Procedures Order, inter alia, set a Bid Deadline of December 2, 2024,

 at 12:00 p.m. (EST), the Auction for December 3, 2024, and the Sale Hearing for December 4,

 2024. See Id.




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          20.        Now, on November 27, 2024, less than one (1) week before the Sale Hearing and

 on the evening before the Thanksgiving holiday, VSI filed the Motion to Reconsider and the

 Motion to Expedite (D.I. #826 and #827, respectively).

          21.        VSI reached out to the Trustee seeking his consent for the Expedited Consideration

 of the Motion to Enforce, and the Trustee declined to consent for a number of reasons, as explained

 below.

 II.      ARGUMENT

          22.        Though the Motion to Expedite does not clearly state, the Motion to Reconsider is

 actually a motion to enjoin the sale scheduled for hearing on December 4, 2024.

          23.        The Motion to Expedite is nothing more than VSI’s latest desperate attempt to stall

 the sale of the Debtors’ assets and postpone the Sale Hearing, which should be denied on multiple

 grounds.

          24.        VSI’s efforts to date, including the various discovery requests, are indicative of its

 ultimate goal – to delay the Debtors’ Chapter 11 cases and prevent the sale of the Debtors’ assets

 to anyone other than VSI.

          25.        It is difficult to explain procedurally how inappropriate the Motion to Reconsider

 actually is - the Trustee will respond appropriately when required. However, the request for

 expedited consideration must be denied.

          26.        First, VSI has failed to articulate why, less than one (1) week before the Sale

 Hearing and at 3:00 p.m. on Thanksgiving eve, the instant emergency came into existence and why

 the Motion to Reconsider and the Motion to Expedite needed to be filed at this time.

          27.        Indeed, the need for expedited consideration of the Motion to Reconsider has been

 entirely fabricated by VSI.



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         28.         The Court entered the order denying the 9019 Reconsideration Motion and

 quashing the discovery sought through the October Subpoena on November 14, 2024 (D.I. #805),

 yet it took VSI nearly two (2) weeks to file the Motion to Reconsider.

         29.         If the Motion to Reconsider was so urgent as to require an expedited hearing, VSI

 should have filed it weeks ago.

         30.         Clearly, VSI did not see the Motion Reconsider as urgent until they needed it to be;

 when it would serve VSI best and directly threaten the Sale Hearing.

         31.         Second, VSI has failed to meet the procedural requirements for expedited

 consideration.

         32.         L.B.R. 5070-1(g)(A) requires VSI to state with particularity the reasons why

 expedited consideration is needed.

         33.         The controversy only became an emergency when VSI chose to raise an issue

 intended to derail the Trustee’s preparation for the hearing on the Sale Motion and thwart the sale

 of the Debtors’ assets.

         34.         VSI asserts that expedited consideration of the Motion to Reconsider is needed “so

 as not to jeopardize VSI's due process rights in these proceedings.” - however, VSI fails to explain

 how this is so, failing to provide any factual or other support for this proposition (D.I. #827, ¶ 6).

         35.         The Motion to Expedite goes on to confusingly state that it must be granted because

 the relief sought at the Sale Hearing “entitles VSI to discovery before the Sale Hearing” but, once

 again, fails to explain why this is the case (D.I. #827, ¶ 8).

         36.         Further, the Motion to Expedite baselessly states in a conclusory fashion, that the

 Motion to Reconsider being heard on an expedited basis is “in the best interest of all effected




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 parties and creditors as VSI is trying to prevent the Trustee from destroying the value' IP will be

 destroyed.” (D.I. #827, ¶ 9).

          37.        This claim is unsupported and entirely unfounded; VSI’s alleged concern is entirely

 disingenuous as the proposed Stalking Horse APA will provide substantial value to the Debtors

 and their creditors.

          38.        Finally, upon information and belief, VSI has failed to contact the United States

 Trustee concerning its availability and the request for expedited consideration as required pursuant

 to L.B.R. 5070-1(f)(1).

          39.        Indeed, there is no statement in the Motion to Expedite that VSI reached out to the

 United States Trustee.

 III.     CONCLUSION

          WHEREFORE, and for the foregoing reasons, the Trustee respectfully requests this Court

 deny the Motion to Expedite and grant such other relief as it deems equitable and just.



                                           Respectfully Submitted,



 Dated: November 29, 2024              By: /s/ Michael D. Vagnoni
                                           Edmond M. George, Esquire
                                           Michael D. Vagnoni, Esquire
                                           OBERMAYER REBMANN MAXWELL & HIPPEL LLP
                                           Centre Square West
                                           1500 Market Street, Suite 3400
                                           Philadelphia, PA 19102
                                           Telephone: (215) 665-3066
                                           Facsimile: (215) 665-3165
                                           E-mail: edmond.george@obermayer.com
                                                    michael.vagnoni@obermayer.com

                                           Counsel to William A. Homony Chapter 11 Trustee

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